Case 12-36495-KRH             Doc 72     Filed 11/14/12 Entered 11/14/12 16:18:52              Desc Main
                                        Document     Page 1 of 304


Patrick J. Nash, Jr. (pro hac vice pending)              Dion W. Hayes (VSB No. 34304)
Jeffrey D. Pawlitz (pro hac vice pending)                John H. Maddock III (VSB No. 41011)
KIRKLAND & ELLIS LLP                                     Sarah B. Boehm (VSB No. 45201)
300 North LaSalle                                        MCGUIREWOODS LLP
Chicago, Illinois 60654                                  One James Center
Telephone:         (312) 862-2000                        901 East Cary Street
Facsimile:         (312) 862-2200                        Richmond, Virginia 23219
                                                         Telephone:       (804) 775-1000
- and -                                                  Facsimile:       (804) 775-1061

Joshua A. Sussberg (pro hac vice pending)
KIRKLAND & ELLIS LLP
601 Lexington Avenue
New York, New York 10022
Telephone:       (212) 446-4800
Facsimile:       (212) 446-4900

Proposed Attorneys for the Debtors and
Debtors in Possession

                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE EASTERN DISTRICT OF VIRGINIA
                                   RICHMOND DIVISION

                                                     )
In re:                                               )   Chapter 11
                                                     )
AMF BOWLING WORLDWIDE, INC., et al.,1                )   Case No. 12-36495 (___)
                                                     )
                                    Debtors.         )   (Joint Administration Requested)
                                                     )

       INTERIM ORDER PURSUANT TO 11 U.S.C. §§ 105, 361, 362, 363, 364 AND 507
     (A) AUTHORIZING THE DEBTORS TO OBTAIN POST-PETITION FINANCING,
         (B) AUTHORIZING USE OF CASH COLLATERAL, (C) GRANTING LIENS
       AND PROVIDING SUPERPRIORITY ADMINISTRATIVE EXPENSE STATUS,
    (D) GRANTING ADEQUATE PROTECTION, (E) MODIFYING AUTOMATIC STAY,
     (F) SCHEDULING A FINAL HEARING, AND (G) GRANTING RELATED RELIEF



1
     The Debtors in the chapter 11 cases, along with the last four digits of each Debtor’s federal tax
     identification number include: AMF Bowling Worldwide, Inc. (3272); 300, Inc. (3632); American
     Recreation Centers, Inc. (1151); AMF BCH LLC (9642); AMF Beverage Company of Oregon, Inc.
     (4960); AMF Bowling Centers Holdings, Inc. (1697); AMF Bowling Centers, Inc. (1662); AMF
     Bowling Mexico Holding, Inc. (7931); AMF Holdings, Inc. (5037); AMF WBCH LLC (9643); AMF
     Worldwide Bowling Centers Holdings, Inc. (1641); Boliches AMF, Inc. (9631); Bush River
     Corporation (7033); King Louie Lenexa, Inc. (0814); Kingpin Holdings, LLC (5411); and Kingpin
     Intermediate Corp. (5447). The location of the Debtors’ service address is: 7313 Bell Creek Road,
     Mechanicsville, Virginia 23111.


DMSLIBRARY01-19506382.21
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Case 12-36495-KRH          Doc 72    Filed 11/14/12 Entered 11/14/12 16:18:52                 Desc Main
                                    Document     Page 2 of 304



        This matter having come before the Court upon the motion, dated November 12, 2012
                 2
(the “Motion”), filed by AMF Bowling Worldwide, Inc. (the “Borrower”), Kingpin Holdings,

LLC (“Holdings”), Kingpin Intermediate Corp., American Recreation Centers Inc., AMF BCH

LLC, AMF Bowling Centers Holdings Inc., AMF Bowling Mexico Holding, Inc., AMF

Holdings, Inc., AMF WBCH LLC, AMF Worldwide Bowling Centers Holdings Inc., King Louie

Lenexa, Inc., AMF Beverage Company of Oregon, Inc., Bush River Corporation, 300, Inc., AMF

Bowling Centers, Inc. and Boliches AMF, Inc. (each of the foregoing, including Holdings, a

“Guarantor,” and collectively, the “Guarantors” and together with the Borrower, the “Debtors”),

each as a debtor and debtor in possession in the above-captioned Chapter 11 cases (collectively

with any Successor Cases (as defined herein), the “Cases”), pursuant to sections 105, 361, 362,

363, 364(c)(1), 364(c)(2), 364(c)(3), 364(d), 364(e) and 507 of title 11 of the United States Code

(the “Bankruptcy Code”), Rules 2002, 4001 and 9014 of the Federal Rules of Bankruptcy

Procedure (the “Bankruptcy Rules”), and Rule 4001(a)-1 of the Local Bankruptcy Rules for the

United States Bankruptcy Court for the Eastern District of Virginia (the “Local Bankruptcy

Rules”), seeking entry of an interim order (this “Interim Order”), inter alia:

        (i)     authorizing the Debtors to obtain senior secured post-petition financing on a
superpriority basis pursuant to the terms and conditions of that certain Senior Secured Debtor-In-
Possession Credit Agreement attached hereto as Exhibit A (the “DIP Loan Agreement”; together
with the agreements, documents, instruments and certificates executed by the Debtors or
otherwise delivered in connection therewith, the “DIP Loan Documents”), by and among the
Debtors, Credit Suisse AG, Cayman Islands Branch (“Credit Suisse”), as post-petition
administrative agent (in such capacity, the “DIP Agent”), Credit Suisse Securities (USA) LLC,
as sole lead arranger and sole bookrunner, and the lenders party thereto from time to time
(collectively, the “DIP Lenders”), providing for, inter alia:

               (a)      a first lien, superpriority, new money, non-amortizing multiple draw term
        loan facility providing for the borrowing of term loans from time to time in accordance

2
    Capitalized terms not otherwise defined herein shall have the meanings ascribed to such terms in the
    Motion.


                                                    2
DMSLIBRARY01-19506382.21
Case 12-36495-KRH          Doc 72    Filed 11/14/12 Entered 11/14/12 16:18:52           Desc Main
                                    Document     Page 3 of 304



        with the Budget (as defined below) in an aggregate maximum principal amount not to
        exceed $50 million (the “DIP Facility”), $35 million of which shall be available to and
        shall be drawn in a single draw by the Debtors on the Closing Date (as defined below),
        and up to $20 million of which amount shall be used to provide cash collateral for the
        issuance of letters of credit under the DIP Loan Agreement (the “Letters of Credit”);

                (b)     on the Closing Date, the replacement of all outstanding letters of credit
        issued under the First Lien Loan Agreement (as defined below) (collectively, the “Pre-
        Petition Letters of Credit”) by Letters of Credit issued under the DIP Loan Agreement by
        the LC Issuer (as defined below);

               (c)     the cash collateralization, at 102% of face amount, of all Letters of Credit
        to be issued as soon as practicable but in no event more than one (1) business day
        following the Closing Date in replacement of the Pre-Petition Letters of Credit; and

                (d)    following entry of the Final Order (as defined below), up to three (3)
        additional drawings of the DIP Facility upon no less than five (5) business days’ prior
        written notice to the DIP Agent and the DIP Lenders, each in a principal amount of not
        less than $5 million and, in the aggregate for such three (3) additional drawings, in a
        principal amount not to exceed $15 million; and

       (ii)   authorizing the Debtors to execute and deliver the DIP Loan Agreement and the
other DIP Loan Documents and to perform such other acts as may be necessary or desirable in
connection with the DIP Loan Documents;

        (iii)   pursuant to section 364(c)(2) of the Bankruptcy Code, granting the DIP Agent, for
the benefit of itself and the DIP Lenders, valid, enforceable, non-avoidable automatically and
fully perfected first priority liens on and security interests in all DIP Collateral (as defined
below) that is not otherwise subject to a valid, perfected and unavoidable security interest or lien
as of the Petition Date (as defined below) to secure any and all obligations owing under and with
respect to the DIP Facility and the DIP Loan Documents (collectively, and including, without
limitation, all “Obligations” as defined in the DIP Loan Agreement, the “DIP Obligations”),
subject only to the Carve-Out (as defined below);

        (iv)     pursuant to section 364(c)(3) of the Bankruptcy Code, granting the DIP Agent, for
the benefit of itself and the DIP Lenders, for the purpose of securing the DIP Obligations, valid,
enforceable, non-avoidable automatically and fully perfected junior liens on and security
interests in all DIP Collateral that is subject to Permitted Prior Liens (as defined below), subject
only to the Carve-Out;
        (v)      pursuant to section 364(d)(1) of the Bankruptcy Code, granting the DIP Agent, for
the benefit of itself and the DIP Lenders, for the purpose of securing the DIP Obligations, valid,
enforceable, non-avoidable automatically and fully perfected first priority senior priming liens on
and security interests in all Pre-Petition Collateral (as defined below) securing the Pre-Petition
Obligations (as defined below), wherever located, subject only to (x) Permitted Prior Liens, and
(y) the Carve-Out;



                                                 3
DMSLIBRARY01-19506382.21
Case 12-36495-KRH          Doc 72    Filed 11/14/12 Entered 11/14/12 16:18:52           Desc Main
                                    Document     Page 4 of 304



       (vi)    pursuant to section 364(c)(1) of the Bankruptcy Code, granting all of the claims of
the DIP Agent and the DIP Lenders on account of the DIP Obligations allowed superpriority
administrative expense claim status in each of the Cases with priority over any and all
administrative expenses of the kind specified in or arising under any section of the Bankruptcy
Code (including, without limitation, sections 105, 326, 328, 330, 331, 503(b), 506(c), 507(a),
507(b), 546(c), 726 or 1114 of the Bankruptcy Code), subject only to the Carve-Out;

         (vii) authorizing the Debtors’ use of cash collateral, as defined in section 363(a) of the
Bankruptcy Code (collectively, “Cash Collateral”), pursuant to the terms and conditions set forth
in this Interim Order and the DIP Loan Agreement;

        (viii) providing adequate protection to the Pre-Petition Agents (as defined below) and
the Pre-Petition Lenders (as defined below) for the Diminution in Value (as defined below), if
any, of their interests in the Pre-Petition Collateral, including Cash Collateral;

        (ix)    authorizing and directing the Debtors to pay the principal, interest, fees, expenses
and other amounts payable under the DIP Loan Documents as such amounts become due and
payable, including, without limitation, continuing commitment fees, closing fees, servicing fees,
audit fees, structuring fees, backstopping fees, arrangement fees, syndication fees, administrative
agent’s fees, and the reasonable and documented fees and disbursements of attorneys and
advisors engaged by the DIP Agent and/or Midtown Acquisitions, L.P., Credit Suisse Loan
Funding LLC, Liberty Harbor Master Fund I, L.P. and Goldman Sachs Palmetto State Credit
Fund, L.P. (collectively, the “Backstop Parties”), all to the extent provided in, and in accordance
with the terms of, the DIP Loan Agreement, the other DIP Loan Documents, the AMF Bowling
Worldwide, Inc. $50,000,000 Senior Secured Debtor-In-Possession Credit Facility Commitment
Letter, dated as of November 12, 2012, between the Borrower, Credit Suisse, Credit Suisse
Securities (USA) LLC and the Backstop Parties (the “Commitment Letter”) and the AMF
Bowling Worldwide, Inc. Superpriority Secured Debtor-In-Possession Credit Facility Fee Letter,
dated as of November 12, 2012, between the Borrower, Credit Suisse and Credit Suisse
Securities (USA) LLC (the “Fee Letter”);

       (x)    vacating and modifying the automatic stay imposed by section 362 of the
Bankruptcy Code to the extent necessary to implement and effectuate the terms and provisions of
the DIP Loan Documents and this Interim Order; and

      (xi)    scheduling a final hearing (the “Final Hearing”) to consider the relief requested in
the Motion and approving the form of notice with respect to the Final Hearing;

and the Court having considered the Motion, the Flachs Declaration, the exhibits attached

thereto, the DIP Loan Documents, and the evidence submitted at the interim hearing held on

November 12, 2012 to consider the interim relief requested in the Motion (the “Interim

Hearing”); and notice of the Interim Hearing having been given in accordance with Bankruptcy



                                                 4
DMSLIBRARY01-19506382.21
Case 12-36495-KRH          Doc 72    Filed 11/14/12 Entered 11/14/12 16:18:52                 Desc Main
                                    Document     Page 5 of 304



Rules 4001(b), (c) and (d), and 9014; and the Interim Hearing having been held and concluded;

and all objections, if any, to the interim relief requested in the Motion having been withdrawn,

resolved or overruled by the Court; and it appearing to the Court that granting the interim relief

requested in the Motion is necessary to avoid immediate and irreparable harm to the Debtors and

their estates pending the Final Hearing, and otherwise is fair and reasonable and in the best

interests of the Debtors, their estates, and their creditors, and is essential for the continued

operation of the Debtors’ businesses; and it further appearing that the Debtors are unable to

obtain unsecured credit for money borrowed allowable as an administrative expense under

section 503(b)(1) of the Bankruptcy Code; and adequate protection being provided on account of

the interests of certain holders of liens on the property of the Debtors’ estates on which liens are

to be granted; and after due deliberation and consideration, and for good and sufficient cause

appearing therefor:

BASED UPON THE RECORD ESTABLISHED AT THE INTERIM HEARING, THE COURT

HEREBY MAKES THE FOLLOWING FINDINGS OF FACT AND CONCLUSIONS OF
       3
LAW:

           A.   Petition Date. On the date of the Motion (the “Petition Date”), each of the

Debtors filed a separate voluntary petition under Chapter 11 of the Bankruptcy Code in the

United States Bankruptcy Court for the Eastern District of Virginia (this “Court”) commencing

these Cases.

           B.   Debtors-in-Possession.       The Debtors continue to manage and operate their

businesses and properties as debtors-in-possession pursuant to sections 1107 and 1108 of the

Bankruptcy Code. No trustee or examiner has been appointed in any of the Cases.
3
    Where appropriate in this Interim Order, findings of fact shall be construed as conclusions of law and
    conclusions of law shall be construed as findings of fact pursuant to Bankruptcy Rule 7052.


                                                    5
DMSLIBRARY01-19506382.21
Case 12-36495-KRH          Doc 72    Filed 11/14/12 Entered 11/14/12 16:18:52           Desc Main
                                    Document     Page 6 of 304



        C.      Jurisdiction and Venue.     The Court has jurisdiction, pursuant to 28 U.S.C.

§§ 157(b) and 1334, over these proceedings, and over the persons and property affected hereby.

Consideration of the Motion constitutes a core proceeding under 28 U.S.C. § 157(b)(2). The

statutory predicates for the relief set forth herein are sections 105, 361, 362, 363, 364 and 507 of

the Bankruptcy Code and Rules 2002, 4001 and 9014 of the Bankruptcy Rules. Venue for these

Cases and proceedings on the Motion is proper in this district pursuant to 28 U.S.C. §§ 1408 and

1409.

        D.      Committee Formation.       As of the date hereof, the United States Trustee

(the “U.S. Trustee”) has not yet appointed the official committee of unsecured creditors in these

Cases (the “Committee”).

        E.      Debtors’ Stipulations.    Subject in all respects to paragraph 42 hereof, after

consultation with their attorneys, financial advisors, and other consultants, the Debtors admit,

stipulate, acknowledge, and agree that:

                (i)    Prior to the Petition Date: (a) each of the Debtors other than Holdings
(collectively, the “First Lien Obligors”), Credit Suisse, as Agent (in such capacity, the “First
Lien Agent”), Credit Suisse Securities (USA) LLC, as sole lead arranger and sole bookrunner,
and the lenders party thereto (collectively, the “First Lien Lenders”) entered into that certain
First Lien Credit Agreement, dated as of June 12, 2007 (as amended by that certain Amendment
No. 1, dated as of May 8, 2009, and as further amended by that certain Amendment No. 2 (the
“Second Amendment”), dated as of May 3, 2012, the “First Lien Loan Agreement”); and (b)
each of the Debtors other than Holdings (collectively, the “Second Lien Obligors,” and together
with the First Lien Obligors, the “Pre-Petition Debt Obligors”), Gleacher Products Corp., as
Agent (as successor to Credit Suisse in such capacity, the “Second Lien Agent”; together with
the First Lien Agent, collectively, the “Pre-Petition Agents”), Credit Suisse Securities (USA)
LLC, as sole lead arranger and sole bookrunner, and the lenders party thereto (collectively, the
“Second Lien Lenders”; together with the First Lien Lenders, collectively, the “Pre-Petition
Lenders”) entered into that certain Second Lien Credit Agreement, dated as of June 12, 2007 (as
amended by that certain Amendment No. 1, dated as of May 8, 2009, the “Second Lien Loan
Agreement”; together with the First Lien Loan Agreement, the “Pre-Petition Agreements”).

               (ii)    Each of the Pre-Petition Debt Obligors (other than the Borrower) is: (a) a
guarantor of the Borrower’s obligations under the First Lien Loan Agreement pursuant to the
terms of that certain First Lien Guaranty, dated as of June 12, 2007 (the “First Lien Guaranty”);


                                                 6
DMSLIBRARY01-19506382.21
Case 12-36495-KRH          Doc 72    Filed 11/14/12 Entered 11/14/12 16:18:52          Desc Main
                                    Document     Page 7 of 304



and (b) a guarantor of the Borrower’s obligations under the Second Lien Loan Agreement
pursuant to the terms of that certain Second Lien Guaranty, dated as of June 12, 2007 (the
“Second Lien Guaranty”).

               (iii)   The First Lien Loan Agreement, the First Lien Guaranty, the Intercreditor
Agreement (as defined below) and the other agreements, documents, instruments and certificates
executed by the First Lien Obligors or otherwise delivered in connection with the First Lien
Loan Agreement (collectively, the “First Lien Loan Documents”), are valid and enforceable in
accordance with their terms against each of the Pre-Petition Debt Obligors, are not subject to any
offset, defense, claim, counterclaim or diminution of any type, kind or nature whatsoever, and
are not subject to avoidance, subordination, recovery, disallowance, recharacterization or other
challenge pursuant to applicable state or federal law (including, without limitation, the
Bankruptcy Code).

                (iv)    Pursuant to the First Lien Loan Documents (after giving effect to the
Second Amendment), the First Lien Lenders agreed to provide the Borrower with revolving
loans in an aggregate amount up to $40,000,000, and a term loan in the amount of $245,000,000.
As of the Petition Date: (x) the outstanding principal amount owed by the First Lien Obligors
with respect to the revolving loans made under the First Lien Loan Agreement was not less than
$19,492.776.20, including Pre-Petition Letters of Credit with the outstanding face amount of not
less than $19,492.776.20; and (y) the outstanding principal amount owed by the First Lien
Obligors with respect to the term loans made under the First Lien Loan Agreement was not less
than $216,000,000 (collectively, together with any amounts incurred or accrued but unpaid prior
to the Petition Date in accordance with the First Lien Loan Documents, including, without
limitation, principal, accrued and unpaid interest (including at the default rate), premiums, any
reimbursement obligations (contingent or otherwise) in respect of letters of credit, any fees,
expenses and disbursements (including, without limitation, attorneys’ fees, financial advisors’
fees, related expenses and disbursements), treasury, cash management and derivative obligations,
indemnification obligations, any other charges, amounts and costs of whatever nature owing,
whether or not contingent, whenever arising, accrued, accruing, due, owing or chargeable in
respect of any of the Borrower’s or any other Loan Parties’ (as defined in the First Lien Loan
Agreement) obligations pursuant to the First Lien Loan Documents, the “First Lien
Obligations”).

                (v)     Pursuant to the Second Lien Loan Agreement, the Second Lien Guaranty,
the Intercreditor Agreement (as defined below) and the other agreements, documents,
instruments and certificates executed by the Second Lien Obligors or otherwise delivered in
connection with the Second Lien Loan Agreement (collectively, the “Second Lien Loan
Documents”; together with the First Lien Loan Documents, the “Pre-Petition Loan Documents”),
the Second Lien Lenders agreed to provide the Borrower with a term loan in the amount of
$80,000,000. As of the Petition Date, the outstanding principal amount owed by the Second
Lien Obligors with respect to the Second Lien Loan Agreement was not less than $80,000,000
(collectively, together with any amounts incurred or accrued but unpaid prior to the Petition Date
in accordance with the Second Lien Loan Documents, including, without limitation, accrued and
unpaid interest, any reimbursement obligations (contingent or otherwise) in respect of letters of
credit, any fees, expenses and disbursements (including, without limitation, attorneys’ fees,


                                                7
DMSLIBRARY01-19506382.21
Case 12-36495-KRH          Doc 72    Filed 11/14/12 Entered 11/14/12 16:18:52                   Desc Main
                                    Document     Page 8 of 304



financial advisors’ fees, related expenses and disbursements), treasury, cash management and
derivative obligations, indemnification obligations, any other charges, amounts and costs of
whatever nature owing, whether or not contingent, whenever arising, accrued, accruing, due,
owing or chargeable in respect of any of the Borrower’s or any other Loan Parties’ (as defined in
the Second Lien Loan Agreement) obligations pursuant to the Second Lien Loan Documents, the
“Second Lien Obligations”; together with the First Lien Obligations, the “Pre-Petition
Obligations”).

               (vi)     The First Lien Obligations are legal, binding and enforceable obligations
of the Pre-Petition Debt Obligors and are not subject to any offset, defense, claim, counterclaim
or any other diminution of any type, kind or nature whatsoever. No portion of the First Lien
Obligations, or any funds previously paid to the First Lien Agent or the First Lien Lenders, is
subject to any offset, defense, claim, or counter-claim of any type, kind or nature whatsoever, or
subject to avoidance, subordination, recovery, disallowance, recharacterization or other
challenge pursuant to applicable state or federal law (including, without limitation, the
Bankruptcy Code).

                (vii) To secure the Pre-Petition Obligations, the Pre-Petition Debt Obligors
granted to the Pre-Petition Agents and the Pre-Petitions Lenders security interests in and liens on
(collectively, the “Pre-Petition Liens”), among other things, substantially all of each of the Pre-
Petition Debt Obligors’ assets, whether tangible or intangible, including, without limitation,
accounts, equipment, goods, inventory, personal property, general intangibles, chattel paper,
contracts, deposit accounts, equity interests, real estate (including leasehold interests), fixtures,
instruments, intercompany obligations, investment property, patent, trademark and copyright
collateral, documents and records, all proceeds, products, rents and profits of the foregoing, all
accessions to, substitutions and replacements for, each of the foregoing, and any insurance,
indemnity, warranty or guaranty payable to the Borrower from time to time with respect to any
of the foregoing, in each case, subject to the terms of the Intercreditor Agreement (collectively,
the “Pre-Petition Collateral”).

                (viii) The First Lien Agent filed (a) UCC-1 Financing Statements regarding the
Pre-Petition Collateral against the First Lien Obligors in the applicable state and/or county filing
offices, the effectiveness of each of which, as applicable, was continued by the filing of a UCC-3
Financing Statement Amendment, (b) mortgages regarding the Pre-Petition Collateral consisting
of certain real estate of the First Lien Obligors in the applicable filing offices, and (c) notices of
security interest regarding the Pre-Petition Collateral consisting of intellectual property in the
applicable filing offices. In addition, the Second Lien Agent filed (a) UCC-1 Financing
Statements regarding the Pre-Petition Collateral against the Second Lien Obligors in the
applicable state and/or county filing office, the effectiveness of each of which, as applicable, was
continued by the filing of a UCC-3 Financing Statement Amendment, (b) mortgages regarding
the Pre-Petition Collateral consisting of certain real estate of the Second Lien Obligors in the
applicable filing offices, and (c) notices of security interest regarding the Pre-Petition Collateral
consisting of intellectual property in the applicable filing offices.4

4
    Copies of each of these UCC-1 Financing Statements, UCC-3 Financing Statement Amendments,
    mortgages and notices of security interest will be provided to the Court, if necessary, upon request.


                                                     8
DMSLIBRARY01-19506382.21
Case 12-36495-KRH          Doc 72    Filed 11/14/12 Entered 11/14/12 16:18:52              Desc Main
                                    Document     Page 9 of 304




                (ix)   The relative priority of the liens and security interests of the First Lien
Agent and First Lien Lenders, on the one hand, and the Second Lien Agent and Second Lien
Lenders, on the other hand, are governed by the terms of that certain Intercreditor Agreement,
dated as of June 12, 2007 (the “Intercreditor Agreement”), by and among the First Lien Agent,
the Second Lien Agent, Credit Suisse, as control agent, and the Pre-Petition Debt Obligors and
all the provisions of such agreement are valid and enforceable as set forth in Section 510 of the
Bankruptcy Code.

                (x)     Subject to the provisions of paragraph 40 hereof: (a) the liens and security
interests of the First Lien Agent and the First Lien Lenders in the Pre-Petition Collateral
(collectively, the “First Lien Pre-Petition Liens”) are senior in priority to all other liens on or
security interests in the Pre-Petition Collateral, subject only to the DIP Liens and any other liens
of the DIP Lenders under the DIP Facility, and certain liens otherwise permitted by the First Lien
Loan Agreement (to the extent any such permitted liens were (i) existing, valid, enforceable,
properly perfected and non-avoidable, and (ii) senior in priority to the First Lien Pre-Petition
Liens as of the Petition Date, the “Permitted Prior Liens”); (b) the liens and security interests of
the Second Lien Agent and the Second Lien Lenders in the Pre-Petition Collateral (collectively,
the “Second Lien Pre-Petition Liens”; together with the First Lien Pre-Petition Liens, the “Pre-
Petition Liens”) are senior in priority to all other liens on or security interests in the Pre-Petition
Collateral except for the DIP Liens, the First Lien Pre-Petition Liens and the Permitted Prior
Liens; (c) the First Lien Pre-Petition Liens are valid, binding, enforceable, non-avoidable and
perfected; (d) the First Lien Obligations constitute legal, valid, binding and non-avoidable
obligations of the Pre-Petition Debt Obligors, enforceable in accordance with the terms of the
First Lien Loan Documents (other than in respect of the stay of enforcement arising from section
362 of the Bankruptcy Code); (e) no offsets, challenges, objections, defenses, claims or
counterclaims of any kind or nature to any of the First Lien Pre-Petition Liens or the First Lien
Obligations exist, and no portion of the First Lien Pre-Petition Liens or the First Lien Obligations
is subject to any challenge or defense, including, without limitation, avoidance, disgorgement,
recharacterization or subordination pursuant to the Bankruptcy Code or applicable non-
bankruptcy law; (f) the Debtors and their estates have no offsets, defenses, claims, objections,
challenges, causes of actions and/or choses in action, including, without limitation, avoidance
claims under Chapter 5 of the Bankruptcy Code, against the First Lien Agent, the First Lien
Lenders and/or any of their respective affiliates, parents, subsidiaries, controlling persons,
agents, attorneys, advisors, professionals, officers, directors and employees arising out of, based
upon or related to the First Lien Loan Documents, as applicable; and (g) subject to paragraph 42
hereof, the Debtors have waived, discharged and released any right they may have to challenge
any of the First Lien Obligations, the priority of the First Lien Obligations and the security,
validity and priority of the First Lien Pre-Petition Liens, and to assert any offsets, defenses,
claims, objections, challenges, causes of action and/or choses of action related to the First Lien
Obligations against the First Lien Agent, the First Lien Lenders and/or any of their respective
affiliates, parents, subsidiaries, controlling persons, agents, attorneys, advisors, professionals,
officers, directors or employees.

              (xi)    Except with respect to league bowling fees collected, properly escrowed
and used to fund prize winnings, as set forth in more detail in the Debtors’ Motion for Entry of


                                                  9
DMSLIBRARY01-19506382.21
Case 12-36495-KRH            Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52               Desc Main
                                   Document    Page 10 of 304



an Order Authorizing, But Not Directing, the Debtors to Continue (I) Using Their Existing Cash
Management System, Bank Accounts, and Business Forms, and (II) Performing Ordinary Course
Intercompany Transactions (the “Cash Management Motion”), filed contemporaneously with the
Motion, the Debtors represent that all of the Debtors’ cash (other than cash advanced by the DIP
Lenders under the DIP Facility and cash proceeds of DIP Collateral that does not otherwise
constitute Pre-Petition Collateral), including the cash in their deposit accounts, wherever located,
whether as original collateral or proceeds of other Cash Collateral, constitute the Cash Collateral
of the Pre-Petition Agents and the Pre-Petition Lenders.

              (xii) The Pre-Petition Debt Obligors acknowledge and stipulate that the Pre-
Petition Debt Obligors are in default of their debts and obligations under the Pre-Petition Loan
Documents.

        F.      Findings Regarding the Post-Petition Financing.

                (i)        Request for Post-Petition Financing.     The Debtors seek authority to:

(a) enter into the DIP Facility on the terms described herein and in the DIP Loan Documents; and

(b) use Cash Collateral on the terms described herein to administer the Cases and fund the

operation of their businesses. At the Final Hearing, the Debtors will seek final approval of the

DIP Loan Documents and the proposed post-petition financing arrangements and use of Cash

Collateral arrangements pursuant to a proposed final order (the “Final Order”), which shall be in

form and substance acceptable to the DIP Agent and the DIP Lenders in all respects, and notice

of the Final Hearing and Final Order will be provided in accordance with this Interim Order.

Good cause has been shown for the entry of this Interim Order.

                (ii)       Priming of Pre-Petition Liens. The priming of the liens of the Pre-Petition

Lenders, as contemplated by this Interim Order and the DIP Facility and as further described

below, will enable the Debtors to obtain the DIP Facility and to continue to operate their

businesses for the benefit of their estates and creditors. However, the Pre-Petition Agents and

the Pre-Petition Lenders are entitled to receive adequate protection as set forth in this Interim

Order pursuant to sections 361, 363 and 364 of the Bankruptcy Code, for and only to the extent

of (subject to the terms of the Intercreditor Agreement) the diminution, if any, in the value of


                                                   10
DMSLIBRARY01-19506382.21
Case 12-36495-KRH            Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52             Desc Main
                                   Document    Page 11 of 304



each of their respective interests in the Pre-Petition Collateral (including, without limitation,

Cash Collateral) (the “Diminution in Value”).

                (iii)      Need for Post-Petition Financing and Use of Cash Collateral.         The

Debtors need to use Cash Collateral on an interim basis and to obtain credit on an interim basis

pursuant to the DIP Facility as provided for herein as is necessary to avoid immediate and

irreparable harm to the Debtors, their estates, their creditors and other parties-in-interest, and to

enable the Debtors to continue operations and to administer and preserve the value of their

estates. The ability of the Debtors to finance their operations, to maintain business relationships

with their vendors, suppliers and customers, to pay their employees and otherwise to finance

their operations through the Chapter 11 process requires the availability of working capital from

the DIP Facility and the use of Cash Collateral.             Without the ability to access the

Interim Financing (as defined below) and the DIP Facility and use Cash Collateral, the Debtors,

their estates and their creditors would suffer immediate and irreparable harm, and the Debtors’

chances for a successful exit and reorganization from the Cases would be jeopardized. The

Debtors do not have sufficient available sources of working capital and financing to operate their

businesses or maintain their properties in the ordinary course of business without the

DIP Facility and authorized use of Cash Collateral.

                (iv)       No Credit Available on More Favorable Terms.        Given their current

financial condition, financing arrangements and capital structure, the Debtors are unable to

obtain financing from sources other than the DIP Lenders on terms more favorable than provided

for in the DIP Facility. The Debtors have been unable to obtain unsecured credit allowable

under section 503(b)(1) of the Bankruptcy Code as an administrative expense. The Debtors also

have been unable to obtain sufficient credit (a) having priority over that of administrative



                                                 11
DMSLIBRARY01-19506382.21
Case 12-36495-KRH            Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52             Desc Main
                                   Document    Page 12 of 304



expenses of the kind specified in sections 503(b), 507(a) and 507(b) of the Bankruptcy Code,

(b) secured by a lien on property of the Debtors and their estates that is not otherwise subject to a

lien, or (c) secured solely by a junior lien on property of the Debtors and their estates that is

subject to a lien. Financing on a post-petition basis is not otherwise available without granting

the DIP Agent, for the benefit of itself and the DIP Lenders, (1) perfected priming security

interests in and liens on (each as provided herein) all of the Debtors’ existing and after-acquired

assets with the priorities set forth herein, (2) superpriority claims and liens, and (3) the other

protections set forth in this Interim Order.

                (v)        Use of Proceeds of the DIP Facility. As a condition to entry into the DIP

Loan Agreement, the extension of credit under the DIP Facility and the authorization to use Cash

Collateral (including, without limitation, the proceeds of the DIP Facility), the DIP Agent and

the DIP Lenders require, and the Debtors have agreed, that the proceeds of the DIP Facility shall

be used, in each case in a manner consistent with the terms and conditions of the DIP Loan

Documents and, except with respect to expenditures related to Professionals (as defined herein),

in accordance with the Budget, solely for (a) working capital and other general corporate

purposes of the Borrower and the Guarantors in the ordinary course of business, (b) payment of

costs of administration of the Cases, (c) payment of such prepetition expenses as consented to by

the DIP Lenders or as approved by the Court pursuant to orders approving the first day motions

filed by the Debtors, (d) in connection with the initial advance under the DIP Facility, the

replacement of all Pre-Petition Letters of Credit with replacement Letters of Credit issued under

the DIP Facility and the cash collateralization of such replacement Letters of Credit in an amount

equal to 102% of the face amount thereof, (e) to pay fees and expenses related to the DIP




                                                   12
DMSLIBRARY01-19506382.21
Case 12-36495-KRH            Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52            Desc Main
                                   Document    Page 13 of 304



Facility, including, without limitation, as set forth in the Commitment Letter and the Fee Letter,

and (f) to make the adequate protection payments provided for in this Interim Order.

        G.      Adequate Protection.

                (i)        The First Lien Agent and the First Lien Lenders are entitled to receive

adequate protection to the extent of the Diminution in Value of their interests in the Pre-Petition

Collateral (including Cash Collateral). Pursuant to section 361, 363 and 507(b) and subject to

the terms of this Interim Order, as adequate protection, the First Lien Agent, for the benefit of

itself and the First Lien Lenders, will receive the interest payments, the adequate protection liens

and claims, and the professional reimbursements, as more fully set forth in paragraph 15 herein.

                (ii)       The Second Lien Agent and the Second Lien Lenders are entitled to

receive adequate protection (subject to the terms of the Intercreditor Agreement) to the extent of

the Diminution in Value of their interests in the Pre-Petition Collateral (including Cash

Collateral). Pursuant to section 361, 363 and 507(b) and subject to the terms of this Interim

Order, as adequate protection, the Second Lien Agent, for the benefit of itself and the Second

Lien Lenders, will receive the adequate protection liens and claims, and the professional

reimbursements, as more fully set forth in paragraph 15 herein.

        H.      New Loan. The DIP Facility (including the Interim Financing) constitutes new

loans and financial accommodations from the DIP Lenders to the Debtors, separate and distinct

from the loans and financial accommodations provided prior to the Petition Date under the Pre-

Petition Loan Documents, and the proceeds of the DIP Facility may only be borrowed and such

proceeds and the use of Cash Collateral may only be used in compliance with the Budget and the

DIP Loan Documents.




                                                  13
DMSLIBRARY01-19506382.21
Case 12-36495-KRH            Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52          Desc Main
                                   Document    Page 14 of 304



        I.      Sections 506(c) and 552(b). Upon entry and subject to the terms of the Final

Order, in exchange for (i) the Pre-Petition Agents’, the Pre-Petition Lenders’, the DIP Agent’s

and the DIP Lenders’ agreement to subordinate their liens and superpriority claims to the Carve-

Out, and (ii) the Pre-Petition Agents’ and the Pre-Petition Lenders’ agreement to subordinate

their Pre-Petition Liens to the DIP Liens and the Carve-Out, each of the Pre-Petition Agents, the

Pre-Petition Lenders, the DIP Agent and the DIP Lenders shall each receive (a) a waiver of any

“equities of the case” claims under section 552(b) of the Bankruptcy Code and (b) a waiver of

the provisions of section 506(c) of the Bankruptcy Code.

        J.      Good Faith of the DIP Agent and the DIP Lenders; Debtors’ Business Judgment.

                (i)        Willingness to Provide Financing. The DIP Lenders have indicated a

willingness to provide financing to the Debtors subject to: (a) the entry by the Court of this

Interim Order and the Final Order; (b) approval by the Court of the terms and conditions of the

DIP Facility and the DIP Loan Documents; and (c) entry of findings by the Court that such

financing is essential to the Debtors’ estates, that the DIP Agent and the DIP Lenders are

extending post-petition credit to the Debtors pursuant to the DIP Loan Documents and this

Interim Order in good faith, and that the DIP Agent’s and DIP Lenders’ claims, superpriority

claims, security interests and liens and other protections granted pursuant to this Interim Order

and the DIP Loan Documents will have the protections provided in section 364(e) of the

Bankruptcy Code and will not be affected by any subsequent reversal, modification, vacatur,

amendment, reargument or reconsideration of this Interim Order or any other order.

                (ii)       Business Judgment and Good Faith Pursuant to Section 364(e). The

extension of credit under the DIP Facility, governed by the terms and conditions of the DIP Loan

Documents, the fees paid and to be paid thereunder, and this Interim Order as it relates to the



                                                 14
DMSLIBRARY01-19506382.21
Case 12-36495-KRH          Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52              Desc Main
                                 Document    Page 15 of 304



Interim Financing: (a) are fair and reasonable; (b) are the best available to the Debtors under the

circumstances; (c) reflect the Debtors’ exercise of prudent business judgment consistent with

their fiduciary duties; and (d) are supported by reasonably equivalent value and fair

consideration. The DIP Facility and the use of Cash Collateral were negotiated in good faith and

at arms’ length among the Debtors, the DIP Agent and the DIP Lenders. The use of Cash

Collateral and credit to be extended under the DIP Facility shall be deemed to have been so

allowed, advanced, made, used and/or extended in good faith, and for valid business purposes

and uses, within the meaning of section 364(e) of the Bankruptcy Code, and the DIP Agent and

the DIP Lenders are therefore entitled to the protection and benefits of section 364(e) of the

Bankruptcy Code and this Interim Order.

        K.      Notice. Notice of the Interim Hearing and the emergency relief requested in the

Motion has been provided by the Debtors, whether by facsimile, email, overnight courier or hand

delivery, to certain parties-in-interest, including: (i) the U.S. Trustee; (ii) the Internal Revenue

Service; (iii) the parties included on the Debtors’ consolidated list of their thirty (30) largest

unsecured creditors; (iv) King & Spalding LLP (“K&S”), as counsel to the DIP Agent for itself

and for the DIP Lenders; (v) K&S, as counsel to the First Lien Agent for itself and for the First

Lien Lenders; (vi) Stroock & Stroock & Lavan LLP (“Stroock”), as counsel to the First Lien Ad

Hoc Group (as defined below); (vii) O’Melveny & Myers LLP, as counsel to the Second Lien

Ad Hoc Group (as defined below) and as counsel to the Second Lien Agent; (viii) all other

known parties with liens of record on assets of the Debtors as of the Petition Date; (ix) all

financial institutions at which the Debtors maintain deposit accounts; (x) the landlords for all

non-residential real properties occupied by the Debtors as of the Petition Date; and (xi) all other

parties required to receive notice pursuant to Bankruptcy Rules 2002, 4001 or 9014 or requesting



                                                15
DMSLIBRARY01-19506382.21
Case 12-36495-KRH          Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52              Desc Main
                                 Document    Page 16 of 304



to receive notice prior to the date hereof. The Debtors have made reasonable efforts to afford the

best notice possible under the circumstances and such notice is good and sufficient to permit the

interim relief set forth in this Interim Order.

        L.       Immediate Entry. The Debtors have requested immediate entry of this Interim

Order pursuant to Bankruptcy Rules 4001(b)(2) and 4001(c)(2). Absent entry of this Interim

Order, the Debtors’ businesses, properties and estates will be immediately and irreparably

harmed. The Court concludes that entry of this Interim Order is in the best interest of the

Debtors’ respective estates and creditors as its implementation will, among other things, allow

for the continued operation of the Debtors’ existing businesses and enhance the Debtors’

prospects for successful reorganization.

        Based upon the foregoing findings and conclusions, the Motion and the record made

before the Court with respect to the Motion at the Interim Hearing, and good and sufficient cause

appearing therefor,

           IT IS HEREBY ORDERED that:

      1.         Interim Financing Approved.      The Motion is granted to the extent provided

herein, the Interim Financing is authorized and approved, and the use of Cash Collateral, in each

case, on an interim basis, is authorized, subject to the terms and conditions set forth in this

Interim Order.

      2.         Objections Overruled. All objections to the interim relief sought in the Motion to

the extent not withdrawn or resolved are hereby overruled.

                                    DIP Facility Authorization

      3.         Authorization of the DIP Facility. The DIP Facility and the Interim Financing are

hereby approved by this Interim Order. The Debtors are expressly and immediately authorized,

empowered and directed to execute and deliver the DIP Loan Documents, and to incur and to

                                                  16
DMSLIBRARY01-19506382.21
Case 12-36495-KRH          Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52            Desc Main
                                 Document    Page 17 of 304



perform the DIP Obligations in accordance with, and subject to, the terms of this Interim Order

and the DIP Loan Documents, and to deliver any and all instruments and documents which may

be required or necessary for the performance by the Debtors under the DIP Facility and the

creation and perfection of the DIP Liens. The Debtors are hereby authorized, empowered and

directed to pay, in accordance with this Interim Order, the principal, interest, fees, expenses,

legal fees and other amounts described in the DIP Loan Documents, and the Commitment Letter

and the Fee Letter, as such become due and without the need to obtain further approval of the

Court, including, without limitation, closing fees, letter of credit fees (including issuance,

fronting and other related charges), unused facility fees, commitment fees, servicing fees,

administrative agent fees, backstopping fees, issuance fees, audit fees, arrangement fees,

syndication fees, facility fees and the reasonable fees and disbursements of the respective

attorneys, advisors, accountants and other consultants engaged by the DIP Agent and/or the

Backstop Parties. Pursuant to sections 105(a) and 107(b) of the Bankruptcy Code and Rule 9018

of the Federal Rules of Bankruptcy Procedure, the Debtors are authorized to file the Fee Letter

under seal. All collections and proceeds, whether from ordinary course collections, asset sales,

debt or equity issuances, insurance recoveries, condemnations or otherwise, will be deposited

and applied as required by, and will be subject to, this Interim Order and the DIP Loan

Documents. Upon execution and delivery, the DIP Loan Documents shall represent valid and

binding obligations of the Debtors, enforceable against each of the Debtors and their estates in

accordance with their terms.

      4.        Syndication Procedures. The syndication procedures attached to the Commitment

Letter (the “Syndication Procedures”) are hereby approved and shall be binding upon all parties

in interest, including, without limitation, the Debtors, the DIP Agent, each Backstop Party, each



                                               17
DMSLIBRARY01-19506382.21
Case 12-36495-KRH          Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52              Desc Main
                                 Document    Page 18 of 304



DIP Lender and each Eligible Lender (as defined in the Syndication Procedures). The filing of

the Motion, the execution of the DIP Loan Documents, the Commitment Letter (including,

without limitation, the Syndication Procedures) and the Fee Letter, and the funding of the Interim

Financing (as defined below) pursuant to the DIP Loan Agreement and this Interim Order

complies with applicable state and federal securities laws. The DIP Agent and the Backstop

Parties, as applicable, shall have no liability whatsoever in respect of the Syndication Procedures.

      5.        Authorization to Borrow. Prior to the entry of the Final Order, and to prevent

immediate and irreparable harm to the Debtors’ estates, the Debtors are hereby authorized to

borrow and incur liabilities related thereto in an aggregate principal amount of $35,000,000

(the “Interim Financing”), subject to the terms and conditions set forth in the DIP Loan

Documents and the DIP Facility, as applicable, and this Interim Order with up to $20,000,000 of

such Interim Financing to be used to cash collateralize the Letters of Credit.

      6.        DIP Obligations. Upon its entry, this Interim Order shall constitute and evidence

the validity and binding effect of the DIP Obligations, which DIP Obligations shall be

enforceable against the Debtors, their estates and any successors thereto, including, without

limitation, any trustee appointed in any of the Cases, or any case under Chapter 7 of the

Bankruptcy Code upon the conversion of any of the Cases, or in any other proceedings

superseding or related to any of the foregoing (collectively, the “Successor Cases”). Upon entry

of this Interim Order, the DIP Obligations will include all post-petition loans and any other post-

petition indebtedness or obligations, contingent or absolute, which may now or from time-to-

time be owing by any of the Debtors to the DIP Lenders under this Interim Order and the DIP

Loan Documents, including, without limitation, all principal, accrued interest, costs, fees,




                                                18
DMSLIBRARY01-19506382.21
Case 12-36495-KRH          Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                  Desc Main
                                 Document    Page 19 of 304



expenses and other amounts due under the DIP Facility as set forth herein. The DIP Obligations

shall be due and payable as provided for herein and in the DIP Loan Documents.

      7.        DIP Liens. To secure the DIP Obligations, effective immediately upon entry of

this Interim Order, pursuant to sections 361, 362, 364(c)(2), 364(c)(3) and 364(d) of the

Bankruptcy Code, the DIP Agent, for the benefit of itself and the DIP Lenders, is hereby granted

continuing, valid, binding, enforceable, non-avoidable, and automatically and properly perfected

post-petition priming, first-priority security interests in and liens (collectively, the “DIP Liens”)

on all real and personal property and other assets of the Debtors (except for the proceeds of

avoidance actions under Chapter 5 of the Bankruptcy Code), whether now owned by or owing to,

or hereafter acquired by or arising in favor of the Debtors (including under any trade names,

styles, or derivations thereof), and whether owned or consigned by or to, or leased from or to, the

Debtors, and regardless of where located, including, without limitation: (a) all Pre-Petition

Collateral; (b) all cash and cash equivalents; (c) all funds in the DIP Priority Account (as defined

below) or any other deposit account, securities account or other account of the Debtors and all

cash and other property deposited therein or credited thereto from time to time; (d) all accounts

and other receivables; (e) all contract rights; (f) all instruments, documents and chattel paper; (g)

all securities (whether or not marketable); (h) all goods, as-extracted collateral, equipment,

inventory and fixtures; (i) all real property interests; (j) all interests in leaseholds, (k) all

franchise rights; (l) all patents, tradenames, trademarks (other than intent-to-use trademarks),

copyrights and all other intellectual property; (m) all general intangibles; (n) all capital stock,

limited liability company interests, partnership interests and financial assets; (o) all investment

property; (p) all supporting obligations; (q) all letters of credit and letter of credit rights; (r) all

commercial tort claims, (s) all tort claims and all other claims and causes of action (other than



                                                  19
DMSLIBRARY01-19506382.21
Case 12-36495-KRH          Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52              Desc Main
                                 Document    Page 20 of 304



avoidance actions under Chapter 5 of the Bankruptcy Code); (t) [reserved]; (u) upon entry of the

Final Order, all avoidance actions and the proceeds of avoidance actions under Chapter 5 of the

Bankruptcy Code; (v) all books and records (including, without limitation, customers lists, credit

files, computer programs, printouts and other computer materials and records); and (w) to the

extent not covered by the foregoing, all other assets or property of the Debtors, whether tangible,

intangible, real, personal or mixed, and all proceeds and products of each of the foregoing and all

accessions to, substitutions and replacements for, and rents, profits and products of, each of the

foregoing, any and all proceeds of any insurance, indemnity, warranty or guaranty payable to

such Debtor from time to time with respect to any of the foregoing (all of which being

hereinafter collectively referred to as the “DIP Collateral”), as collateral security for the prompt

and complete payment and performance when due (whether at the stated maturity, by

acceleration or otherwise) of the DIP Obligations; provided, however, that the DIP Collateral

shall not include Excluded Collateral (as defined in the DIP Loan Agreement). Notwithstanding

anything contained herein to the contrary, subject to entry of the Final Order, the Debtors are

authorized to grant the DIP Lenders the DIP Liens upon any leasehold interest held by the

Debtors, notwithstanding any provision of any lease or other license, contract or other agreement

that would prohibit or restrict the granting of leasehold mortgages; provided, however, the DIP

Lenders may subsequently foreclose and/or assign such leasehold interests only in full

compliance with the applicable lease or contract and provided, further, that the provisions of this

paragraph 7 shall not (a) render any contract or Lease unable to be assumed and/or assigned by

any Debtor or (b) impair or limit the ability or right of (i) any Debtor to assume and/or assign

any contract or Lease or (ii) any lessor to object to such relief on any grounds, including, but not

limited to, violations of the applicable lease and sections 365(b) or 1123 of the Bankruptcy Code.



                                                20
DMSLIBRARY01-19506382.21
Case 12-36495-KRH             Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52             Desc Main
                                    Document    Page 21 of 304



Upon entry of the Final Order, all landlord agreements to which any of the Pre-Petition Agents

are a party shall be deemed amended to include the DIP Agent as a beneficiary thereunder, and

such agreements shall thereafter be additionally enforceable by the DIP Agent against, and

binding upon, each landlord party thereto in accordance with, and subject to, its respective terms

and conditions until the DIP Obligations have been paid in full in cash and the DIP Loan

Agreement shall have been terminated.

      8.        DIP Lien Priority.

                (a)        The DIP Agent, for the benefit of itself and the DIP Lenders, and for the

purpose of securing the DIP Obligations, shall have the following DIP Liens:

                       (i)        Pursuant to section 364(c)(2) of the Bankruptcy Code, valid,

        enforceable, non-avoidable automatically and fully perfected first priority liens on and

        security interests in all DIP Collateral that is not otherwise subject to a valid, perfected

        and unavoidable security interest or lien as of the Petition Date, including all funds in the

        DIP Priority Account (as defined below) or any other account of the Debtors, subject

        only to the Carve-Out;

                      (ii)        Pursuant to section 364(c)(3) of the Bankruptcy Code, valid,

        enforceable, non-avoidable automatically and fully perfected junior liens on and security

        interests in all DIP Collateral that is subject only to (x) Permitted Prior Liens, and (y) the

        Carve-Out; and

                      (iii)       Pursuant to section 364(d)(1) of the Bankruptcy Code, valid,

        enforceable, non-avoidable automatically and fully perfected first priority senior priming

        liens on and security interests in all Pre-Petition Collateral securing the Pre-Petition




                                                   21
DMSLIBRARY01-19506382.21
Case 12-36495-KRH            Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52              Desc Main
                                   Document    Page 22 of 304



           Obligations, wherever located, subject only to (x) Permitted Prior Liens, and (y) the

           Carve-Out.

                  (b)      Except as expressly set forth herein, the DIP Liens shall not be made

subject to or pari passu with any lien or security interest heretofore or hereinafter granted in the

Cases, and shall be valid and enforceable against any trustee appointed in the Cases, upon the

conversion of any of the Cases to a case under Chapter 7 of the Bankruptcy Code, and/or upon

the dismissal of any of the Cases. The DIP Liens shall not be subject to sections 506(c) (upon

entry of the Final Order), 510, 549, 550 or 551 of the Bankruptcy Code. No lien or interest

avoided and preserved for the benefit of the estate pursuant to section 551 of the Bankruptcy

Code shall be pari passu with or senior to the DIP Liens.

      9.          Protection of DIP Lenders’ Rights. So long as there are any DIP Obligations

outstanding under the DIP Loan Agreement, the Pre-Petition Agents and the Pre-Petition

Lenders shall (a) have no right to, and take no action to, foreclose upon or recover in connection

with the liens granted thereto pursuant to the Pre-Petition Agreements, this Interim Order or

otherwise seek or exercise any enforcement rights or remedies against any DIP Collateral or in

connection with the debt and obligations underlying the Pre-Petition Loan Documents or the

Adequate Protection Liens, including, without limitation, in respect of the occurrence or

continuance of any Event of Default (as defined in the Pre-Petition Agreements), (b) be deemed

to have consented to any release of DIP Collateral authorized under the DIP Loan Documents,

(c) not file any further financing statements, patent filings, trademark filings, copyright filings,

mortgages, memoranda of lease, notices of lien or similar instruments, or otherwise take any

action to perfect their security interests in the DIP Collateral unless, solely as to this clause (c),

the DIP Lenders file financing statements or other documents to perfect the liens granted



                                                  22
DMSLIBRARY01-19506382.21
Case 12-36495-KRH          Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52              Desc Main
                                 Document    Page 23 of 304



pursuant to the DIP Loan Documents and/or this Interim Order, or as may be required by

applicable state law to continue the perfection of valid and unavoidable liens or security interests

as of the date of filing and (d) deliver or cause to be delivered, at the Debtors’ costs and expense

(for which the Pre-Petition Lenders shall be reimbursed upon submission to the Debtors of

invoices or billing statements), any termination statements, releases and/or assignments (to the

extent provided for herein) in favor of the DIP Agent and the DIP Lenders or other documents

necessary to effectuate and/or evidence the release, termination and/or assignment of the

Adequate Protection Liens on any portion of the DIP Collateral subject to any sale or disposition

approved or arranged for by the DIP Agent.

    10.         Superpriority DIP Claim. Upon entry of this Interim Order, the DIP Agent and

the DIP Lenders are hereby granted, pursuant to section 364(c)(1) of the Bankruptcy Code, an

allowed superpriority administrative expense claim (the “Superpriority DIP Claim”), in each of

the Cases of the Debtors, for all of the DIP Obligations: (a) with priority over any and all

administrative expense claims and unsecured claims against the Debtors or their estates in any of

the Cases, at any time existing or arising, of any kind or nature whatsoever, including, without

limitation, (i) administrative expenses of the kinds specified in or ordered pursuant to sections

105, 326, 328, 330, 331, 365, 503(a), 503(b), 506(c), 507(a), 507(b), 546(c), 546(d), 726, 1113

and 1114 of the Bankruptcy Code, and any other provision of the Bankruptcy Code, as provided

under section 364(c)(1) of the Bankruptcy Code, (ii) any claims allowed pursuant to the

obligations under the Pre-Petition Loan Documents and (iii) the Pre-Petition Lenders’

Superpriority Claims; and (b) which shall at all times be senior to the rights of the Debtors and

their estates, and any successor trustee or other estate representative, but subject in each of the

foregoing cases to the Carve-Out.



                                                23
DMSLIBRARY01-19506382.21
Case 12-36495-KRH            Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52           Desc Main
                                   Document    Page 24 of 304



    11.         Extension of Credit.       The DIP Agent and the DIP Lenders shall have no

obligation to make any loan or advance, or to issue any Letters of Credit, under the DIP Loan

Documents, unless all of the conditions precedent to the making of such extension of credit or

issuance of such Letter of Credit under this Interim Order and the DIP Loan Documents have

been satisfied in full or waived in accordance with the DIP Loan Documents.

   12.          Establishment of DIP Priority Account; Use of DIP Facility Proceeds; LC
Account.

                (a)        The proceeds of any borrowing under the DIP Facility shall be deposited

into a segregated account of the Borrower (the “DIP Priority Account”), the contents of which

shall be invested at all times in cash and Cash Equivalents (as such term is defined in the DIP

Loan Documents). The DIP Agent and the DIP Lenders are hereby authorized, but not required,

to take possession of or control over (as defined in the Uniform Commercial Code as in effect

from time to time in the State of New York), or take any other action in order to validate and

perfect the security interests granted to them in the DIP Priority Account hereunder. Whether or

not the DIP Agent on behalf of the DIP Lenders shall, in its sole discretion, choose to take

possession of or control over, or otherwise confirm perfection of the security interests granted to

it hereunder, such security interests shall be deemed valid, perfected, allowed, enforceable, non-

avoidable and not subject to challenge dispute or subordination, at the time and on the date of

entry of this Interim Order in favor of the DIP Agent for the benefit of the DIP Lenders. The

DIP Agent, without any further consent of any party, is authorized to take, execute, deliver and

file such instruments (in each case without representation or warranty of any kind) to enable the

DIP Agent to further validate, perfect, preserve and enforce the DIP Liens. From and after the

Closing Date, the Debtors shall be permitted to make withdrawals from the DIP Priority Account

only to pay Professionals (as defined below) and pursuant to the terms herein, including, without


                                                  24
DMSLIBRARY01-19506382.21
Case 12-36495-KRH            Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52           Desc Main
                                   Document    Page 25 of 304



limitation, for the purposes and in the amounts set forth in the Budget and in the DIP Loan

Documents, including, without limitation, for the purposes set forth in clause (b) below. The

Debtors are authorized to use the proceeds of the DIP Facility to make the adequate protection

payments provided for in paragraph 15 of this Interim Order and to make payments on the DIP

Facility. Under no circumstances may any cash, funds, securities, financial assets or other

property held in or credited to the DIP Priority Account be used to pay any pre-petition

obligations or for any purpose except as permitted under this Interim Order or as authorized by

the Court pursuant to any order of the Court, including orders approving the first day motions.

                (b)        The proceeds of the DIP Facility will be used to pay Professionals and

only for the following purposes, in each case in accordance with and subject to the Budget: (i)

for the payment of prepetition amounts acceptable to the DIP Lenders as authorized by the Court

pursuant to orders approving the first day motions filed by the Debtors; (ii) in accordance with

the terms of the DIP Facility and the Interim and/or Final Orders, (A) for the payment of working

capital and other general corporate needs of the Debtors in the ordinary course of business, and

(B) for the payment of expenses incurred in connection with the Cases; provided, however, that

the payment of expenses incurred on behalf of Professionals will not be subject to the Budget;

(iii) to cash collateralize, at 102%, the aggregate outstanding Letters of Credit (in an amount up

to $20 million) to be issued by the issuing DIP Lender designated as such in the DIP Loan

Documents (the “LC Issuer”) as soon as practicable but in no event more than one (1) business

day following the date on which all conditions precedent to the effectiveness of the DIP Facility

have been satisfied or waived as provided therein (such date, the “Closing Date”) in replacement

of all Pre-Petition Letters of Credit (including, with respect to AMF Bowling Centers, Inc.’s

leases with iStar Bowling Centers I LP and iStar Bowling Centers II LP, replacement with



                                                  25
DMSLIBRARY01-19506382.21
Case 12-36495-KRH            Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                  Desc Main
                                   Document    Page 26 of 304



Letters of Credit on identical terms as the Pre-Petition Letters of Credit except that the expiration

date of the Letters of Credit shall be one year from the date of their issuance by the DIP Lenders)

that may exist as of the Petition Date as issued under the First Lien Loan Agreement; (iv) to

make the adequate protection payments required by paragraph 15 of this Interim Order; and (v)

to pay fees and expenses related to the DIP Facility.

                (c)        All cash collateral in connection with Letters of Credit issued under the

DIP Facility shall be deposited into an account of the DIP Agent (the “LC Account”), to be held

by the DIP Agent as security for the obligations owing to the LC Issuer in respect of such Letters

of Credit, in accordance with the terms of the DIP Loan Agreement. On the DIP Termination

Date, all commitments to extend credit or issue Letters of Credit under the DIP Facility will

terminate and all obligations owing to the LC Issuer on account of such Letters of Credit shall be

paid in full, and, on the DIP Termination Date, the LC Issuer shall disburse any and all

remaining funds held in the LC Account to the Borrower. The Borrower shall grant to the LC

Issuer a security interest in all of its right, title and interest in and to the Letter of Credit funds to

be held in the LC Account, and the LC Account itself, as security for the obligations owing to the

LC Issuer in respect of such Letters of Credit.

                (d)        Without in any way limiting the foregoing, no DIP Collateral, proceeds of

the DIP Loans, any portion of the Carve-Out or any other amounts may be used directly or

indirectly by any of the Debtors, the Committee, if any, or any trustee or other estate

representative appointed in the Cases or any other person or entity (or to pay any professional

fees, disbursements, costs or expenses incurred in connection therewith): (i) to seek authorization

to obtain liens or security interests that are senior to, or on a parity with, the DIP Liens or the

Superpriority DIP Claim (except in connection with any refinancing of the DIP Obligations or to



                                                   26
DMSLIBRARY01-19506382.21
Case 12-36495-KRH          Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52             Desc Main
                                 Document    Page 27 of 304



the extent otherwise expressly set forth herein); or (ii) to investigate (including by way of

examinations or discovery proceedings), prepare, assert, join, commence, support or prosecute

any action for any claim, counter-claim, action, proceeding, application, motion, objection,

defense, or other contested matter seeking any order, judgment, determination or similar relief

against, or adverse to the interests of, in any capacity, against any of the DIP Agent, the DIP

Lenders, the First Lien Agent or the First Lien Lenders, and each of their respective officers,

directors, controlling persons, employees, agents, attorneys, affiliates, assigns, or successors of

each of the foregoing (collectively, the “Released Parties”), with respect to any transaction,

occurrence, omission, action or other matter (including formal discovery proceedings in

anticipation thereof), including, without limitation, (A) any claims or causes of action arising

under Chapter 5 of the Bankruptcy Code; (B) any so-called “lender liability” claims and causes

of action; (C) any action with respect to the validity, enforceability, priority and extent of, or

asserting any defense, counterclaim, or offset to, the DIP Obligations, the Superpriority DIP

Claim, the DIP Liens, the DIP Loan Documents, the First Lien Loan Documents or the First

Lien Obligations; (D) any action seeking to invalidate, modify, set aside, avoid or subordinate, in

whole or in part, the DIP Obligations or the First Lien Obligations; (E) any action seeking to

modify any of the rights, remedies, priorities, privileges, protections and benefits granted to

either (1) the DIP Agent or the DIP Lenders hereunder or under any of the DIP Loan Documents,

or (2) the First Lien Agent or the First Lien Lenders under any of the First Lien Loan Documents

(in each case, including, without limitation, claims, proceedings or actions that might prevent,

hinder or delay any of the DIP Agent’s or the DIP Lenders’ assertions, enforcements, realizations

or remedies on or against the DIP Collateral in accordance with the applicable DIP Loan

Documents and the Interim and/or Final Orders); or (F) objecting to, contesting, or interfering



                                                27
DMSLIBRARY01-19506382.21
Case 12-36495-KRH          Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52            Desc Main
                                 Document    Page 28 of 304



with, in any way, the DIP Agent’s and the DIP Lenders’ enforcement or realization upon any of

the DIP Collateral once an Event of Default (as defined in the DIP Loan Agreement) has

occurred; provided, however, that no more than $50,000 in the aggregate of the DIP Collateral,

the Carve-Out, proceeds from the borrowings under the DIP Facility or any other amounts, may

be used by any Committee to investigate claims and/or liens of the First Lien Agent and First

Lien Lenders under the First Lien Loan Documents.

    13.         Chapter 11 Milestones. The Debtors failure to comply in any respect with the

milestone covenants and deadlines set forth in section 8.01(o) of the DIP Loan Agreement shall

constitute an event of default under the DIP Loan Agreement; provided, however, for the

purposes of this Interim Order, section 8.01(o)(iii) and (iv) of the DIP Loan Agreement are

hereby amended to add the following language to the end of such sections: “or on such later date

as is ordered by the Bankruptcy Court;”.

                Authorization to Use Cash Collateral and Adequate Protection

    14.         Authorization to Use Cash Collateral. Subject to the terms and conditions of this

Interim Order and the DIP Loan Documents, the Debtors are authorized to use the Cash

Collateral to pay Professionals and otherwise in accordance with the Budget and in accordance

with this Interim Order. Nothing in this Interim Order shall authorize the disposition of any

assets of the Debtors or their estates outside the ordinary course of business, or any of the

Debtors’ use of any Cash Collateral or other proceeds resulting therefrom, except as permitted in

this Interim Order and the DIP Loan Documents, and in accordance with the Budget. Subject to

paragraph 32 hereof, upon the occurrence of an Event of Default (as defined in the DIP Loan

Agreement), the Debtors shall not seek to use Cash Collateral (a) without the prior written

consent of the DIP Agent (at the direction of DIP Lenders holding in excess of 50% of the DIP

Lenders’ commitments under the DIP Facility, except as to matters under the DIP Loan

                                               28
DMSLIBRARY01-19506382.21
Case 12-36495-KRH                Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52           Desc Main
                                       Document    Page 29 of 304



Agreement requiring unanimity (the “Requisite DIP Lenders”)) or (b) over the objection of the

DIP Agent (at the direction of the Requisite DIP Lenders) or the Requisite DIP Lenders.

    15.         Adequate Protection.

                (a)        First Lien Lender Adequate Protection Liens. Pursuant to sections 361,

363(e) and 364(d) of the Bankruptcy Code, as adequate protection of the interests of the First

Lien Agent and the First Lien Lenders for the use of the Pre-Petition Collateral encumbered by

the First Lien Pre-Petition Liens against the Diminution in Value of such interests in the

Pre-Petition Collateral, the First Lien Obligors hereby grant to the First Lien Agent, on behalf of

itself and the First Lien Lenders, and the First Lien Lenders the following:


                           (i)      continuing, valid, binding, enforceable and perfected postpetition

                “replacement” liens on the DIP Collateral to the extent of any post-petition

                Diminution in Value of the First Lien Lenders’ interest in the First Lien Pre-

                Petition Collateral, including replacement liens on all unencumbered assets of the

                First Lien Obligors (the “First Lien Adequate Protection Liens”), which liens will

                be junior to the DIP Liens and any other liens of the DIP Lenders under the DIP

                Facility, the Permitted Prior Liens and the Carve-Out; and

                           (ii)     to the extent provided by section 507(b) of the Bankruptcy Code,

                an allowed superpriority administrative expense claim in each of the Cases to the

                extent of any post-petition Diminution in Value of the First Lien Lenders’ interest

                in the First Lien Pre-Petition Collateral (the “First Lien Superpriority Claims”),

                which claims will be junior to the DIP Obligations, the Superpriority DIP Claim

                and the Carve-Out and be payable from and have recourse to all assets and

                property of the Debtors.


                                                     29
DMSLIBRARY01-19506382.21
Case 12-36495-KRH                Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52           Desc Main
                                       Document    Page 30 of 304



                (b)        Second Lien Lender Adequate Protection Liens. Pursuant to sections 361,

363(e) and 364(d) of the Bankruptcy Code, as adequate protection of the interests of the Second

Lien Agent and the Second Lien Lenders for the use of the Pre-Petition Collateral encumbered

by the Second Lien Pre-Petition Liens against any Diminution in Value of such interests in the

Pre-Petition Collateral, the Second Lien Obligors hereby grant to the Second Lien Agent, on

behalf of itself and the Second Lien Lenders, and the Second Lien Lenders the following:

                           (i)      continuing, valid, binding, enforceable and perfected postpetition

                “replacement” liens on the DIP Collateral to the extent of any post-petition

                Diminution in Value of the Second Lien Lenders’ interest in the Second Lien Pre-

                Petition Collateral, including replacement liens on all unencumbered assets of the

                Second Lien Obligors, (the “Second Lien Adequate Protection Liens”; together

                with the First Lien Adequate Protection Liens, collectively, the “Adequate

                Protection Liens”) which liens will be junior to the DIP Liens and any other liens

                of the DIP Lenders under the DIP Facility, the First Lien Pre-Petition Liens, the

                Permitted Prior Liens, the Carve-Out and the First Lien Adequate Protection

                Liens; and

                           (ii)     to the extent provided by section 507(b) of the Bankruptcy Code,

                an allowed superpriority administrative expense claim in each of the Cases to the

                extent of any post-petition Diminution in Value of the Second Lien Lenders’

                interest in the Second Lien Pre-Petition Collateral (the “Second Lien

                Superpriority Claims”; together with the First Lien Superpriority Claims, the

                “Pre-Petition Lenders’ Superpriority Claims”), which claims will be junior to the

                DIP Obligations, the Superpriority DIP Claim, the Carve-Out and the First Lien



                                                     30
DMSLIBRARY01-19506382.21
Case 12-36495-KRH            Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52           Desc Main
                                   Document    Page 31 of 304



                Superpriority Claims and be payable from and have recourse to all assets and

                property of the Debtors.

                (c)        Adequate Protection Payments and Additional Protections. As further

adequate protection for the First Lien Agent and the First Lien Lenders, and subject, in each case

to the Carve-Out, the First Lien Obligors are authorized and directed to provide adequate

protection (collectively, the “First Lien Adequate Protection Payments”) in the form of (i) upon

entry of the Interim Order, payment of all accrued and unpaid amortization payments, interest (at

the default rate, to the extent allowable) and fees due to the First Lien Agent and/or First Lien

Lenders, as applicable, owed prior to the Petition Date as set forth in the First Lien Loan

Documents, (ii) upon entry of the Interim Order, payment of all unpaid out-of-pocket fees, costs

and expenses, owed prior to and as of the Petition Date, of (x) the First Lien Agent (including all

reasonable fees, costs, disbursements and expenses of its outside counsel, K&S, its local counsel

and one financial advisor, if any, retained by K&S pursuant to the terms hereof and the DIP Loan

Documents) and (y) certain of the First Lien Lenders (the “First Lien Ad Hoc Group”) (including

all reasonable fees, expenses and disbursements of (A) their outside counsel, Stroock and their

local counsel, (B) Miller Buckfire & Co., LLC (“Miller Buckfire”), as financial advisor to the

First Lien Ad Hoc Group (pursuant to that certain letter of engagement dated as of July 3, 2012

by and among Stroock, Miller Buckfire, and certain of the Debtors), and (C) any other

professional advisors engaged by Stroock); (iii) current amortization payments, interest (at the

non-default rate) and fees due to the First Lien Agent and/or First Lien Lenders, as applicable, as

they become due and owing (without regard to the commencement of the Cases) as set forth in

the First Lien Loan Documents; and (iv) the current payment of all reasonable and documented

(in summary form), out-of-pocket fees, costs and expenses of (x) the First Lien Agent (including



                                                 31
DMSLIBRARY01-19506382.21
Case 12-36495-KRH            Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52            Desc Main
                                   Document    Page 32 of 304



all reasonable fees, costs, disbursements and expenses of its outside counsel, K&S, its local

counsel and one financial advisor, if any, retained by K&S pursuant to the terms hereof and the

DIP Loan Documents) and (y) the First Lien Ad Hoc Group (including all reasonable fees,

expenses and disbursements of (A) their outside counsel, Stroock and their local counsel, (B)

Miller Buckfire, as financial advisor to the First Lien Ad Hoc Group (pursuant to that certain

letter of engagement dated as of July 3, 2012 by and among Stroock, Miller Buckfire, and certain

of the Debtors), and (C) any other professional advisors engaged by Stroock). The payments set

forth in this paragraph are not and shall not be subject to any offset, defense, claim, counterclaim

or diminution of any type, kind or nature whatsoever.

                (d)        As further adequate protection for the Second Lien Agent and the Second

Lien Lenders, and subject, in each case to the Carve-Out and the First Lien Adequate Protection

Payments, the Second Lien Obligors are authorized and directed to provide adequate protection

(collectively, the “Second Lien Adequate Protection Payments”) in the form of (i) upon entry of

the Interim Order, payment (the “True-Up Second Lien Professional Payment”) of all unpaid

out-of-pocket fees, costs and expenses owed prior to and as of the Petition Date, of (x) the

Second Lien Agent (including all reasonable fees, costs, disbursements and expenses of one

outside counsel and one local counsel) and (y) certain of the Second Lien Lenders (the “Second

Lien Ad Hoc Group”) (including all reasonable fees, expenses and disbursements of (A) their

outside counsel, O’Melveny & Meyers LLP (“O’Melveny”) and their local counsel, and (B) FTI

Consulting, Inc. (“FTI”), as financial advisor to the Second Lien Ad Hoc Group (pursuant to that

certain letter of engagement dated as of July 12, 2012 by and among O’Melveny, FTI, and

certain of the Debtors); and (ii) the current payment of all reasonable and documented (in

summary form), out-of-pocket fees, costs and expenses of (x) the Second Lien Agent (including



                                                  32
DMSLIBRARY01-19506382.21
Case 12-36495-KRH            Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52            Desc Main
                                   Document    Page 33 of 304



all reasonable fees, costs, disbursements and expenses of one outside counsel and one local

counsel) and (y) certain of the Second Lien Lenders (the “Second Lien Ad Hoc Group”)

(including all reasonable fees, expenses and disbursements of (A) O’Melveny and their local

counsel, and (B) FTI. Other than the True-Up Second Lien Professional Payment, the Second

Lien Obligors shall not make Second Lien Adequate Protection Payments in excess of $200,000

in any calendar month in which they remain obligated to pay the Second Lien Adequate

Protection Payments (the “Second Lien AP Cap Amount”) and no unused amount of the Second

Lien AP Cap Amount shall be credited or rolled over to any month subsequent to the month in

which the Second Lien Adequate Protection Payments are made.               The provisions of this

paragraph are without prejudice to the rights of the Second Lien Agent and the Second Lien Ad

Hoc Group to seek payment of adequate protection in excess of what is provided for herein.

                (e)        Access to Books and Records. As further adequate protection for each of

the Pre-Petition Agents and the Pre-Petition Lenders, the Debtors shall provide such Pre-Petition

Agents and Pre-Petition Lenders with reasonable access to the Debtors’ books and records and

such financial reports as are provided to the DIP Agent pursuant to sections 6.01 and 6.15 of the

DIP Loan Agreement.

    16.         Adequate Protection Reservation. The receipt by the Pre-Petition Agents and Pre-

Petition Lenders of the adequate protection provided pursuant to paragraph 15 of this Interim

Order shall not be deemed an admission that the interests of the Pre-Petition Agents and Pre-

Petition Lenders are indeed adequately protected. Further, this Interim Order shall not prejudice

or limit the rights of the Pre-Petition Agents or the Pre-Petition Lenders to seek additional relief

with respect to the use of Cash Collateral or for adequate protection, subject to the terms of the

Intercreditor Agreement.



                                                  33
DMSLIBRARY01-19506382.21
Case 12-36495-KRH          Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52             Desc Main
                                 Document    Page 34 of 304



      17.       Reporting. The Debtors shall provide to the DIP Agent for the benefit of the DIP

Lenders, and to the Pre-Petition Agents for the benefit of the Pre-Petition Lenders: (i) monthly

consolidated financial statements of the Debtors and their subsidiaries (consistent in form and

substance with prior monthly reporting required to be provided to the First Lien Agent for

delivery to the First Lien Lenders pursuant to the First Lien Loan Agreement) within thirty (30)

days of month-end, certified by the Borrowers’ chief financial officer; (ii) quarterly consolidated

financial statements of the Debtors and their subsidiaries within forty-five (45) days of fiscal

quarter-end, certified by the Borrower’s chief financial officer; (iii) annual audited consolidated

financial statements of the Debtors and their subsidiaries within one hundred and ten (110) days

of fiscal year-end, certified with respect to such consolidated statements by independent certified

public accountants reasonably acceptable to the DIP Lenders, which shall not be qualified in any

material respect as to scope but may contain a qualification with respect to the Cases; (iv)

following delivery of the Budget, on every Friday during the Cases, an updated 13-week cash

flow forecast, in each case, in form and substance satisfactory to the DIP Agent at the direction

of the Requisite DIP Lenders (the “Weekly Cash Flow Forecast”) for the subsequent 13 week

period consistent with the form of the Budget; (v) beginning on the third Friday following the

Closing Date, and on each Friday following, a variance report (the “Variance Report”) setting

forth actual cash receipts and disbursements of the Debtors for the prior week and setting forth

all the variances, on a line-item and aggregate basis, from the amount set forth for such week as

compared to (1) the Budget on a weekly and cumulative basis (which shall be subject to the

variances set forth in the DIP Loan Documents), and (2) the most recent Weekly Cash Flow

Forecast (as applicable) delivered by the Debtors, in each case, on a weekly and cumulative basis

(and each such Variance Report shall include explanations for all material variances and shall be



                                                34
DMSLIBRARY01-19506382.21
Case 12-36495-KRH          Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52              Desc Main
                                 Document    Page 35 of 304



certified by the Chief Financial Officer or Chief Restructuring Officer of the Debtors); and (vi)

annual business and financial plans provided at least thirty (30) days prior to the fiscal year-end.

The Borrower will promptly provide notice to the DIP Agent, for prompt distribution to the DIP

Lenders, of any Material Adverse Change (as defined in the DIP Loan Agreement).

      18.       Additional Reports and Information. Further, the Debtors will provide to the DIP

Agent, for the benefit of the DIP Lenders, such other reports and information as may be

reasonably requested by the DIP Agent or the DIP Lenders. In addition, the Debtors authorize

their accountants, financial advisors and consultants to cooperate, consult with, and provide to

the DIP Agent, for the benefit of the DIP Lenders, all such information as may be reasonably

requested with respect to the businesses, results of operations, and financial condition of the

Debtors.

      19.       Section 507(b) Reservation.       Nothing herein shall impair or modify the

application of section 507(b) of the Bankruptcy Code in the event that the adequate protection

provided hereunder is insufficient to compensate for any Diminution in Value during any of the

Cases subject to the Carve-Out.

       Provisions Common to DIP Facility and Use of Cash Collateral Authorizations

    20.         Amendment of the DIP Loan Documents or this Interim Order.              Except for

actions expressly permitted to be taken by the DIP Agent or the Requisite DIP Lenders, no

amendment, modification, termination or waiver of any provision of the DIP Loan Documents or

this Interim Order or any other related documents, or any consent to any departure by any of the

Debtors therefrom, shall in any event be effective unless the same shall be in writing (it being

understood that any necessary signatures may be on a document consenting to such amendment,

modification, termination, or waiver) and (a) in the case of an amendment to cure any ambiguity,

non-material omission, defect or inconsistency, signed by the DIP Agent and the Debtors and

                                                35
DMSLIBRARY01-19506382.21
Case 12-36495-KRH          Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52            Desc Main
                                 Document    Page 36 of 304



(b) in the case of any other amendment, modification, termination or waiver, signed by the

Debtors, the DIP Agent and the DIP Lenders.

    21.         Budget. The Debtors have prepared and delivered to the DIP Agent and the DIP

Lenders a budget, more particularly described in the DIP Loan Agreement (the “Budget”), which

reflects the Debtors’ anticipated cumulative cash receipts and expenditures on a weekly basis and

all necessary and required cumulative expenses which the Debtors expect to incur during each

week from the Petition Date through the Scheduled Maturity Date (as defined in the DIP Loan

Agreement) (the “Budget Period”). During the Budget Period, the Debtors are authorized to use

the proceeds of the DIP Facility and Cash Collateral for expenditures that consist solely of cash

disbursements consistent with and pursuant to the Budget; provided, however, that the Debtors

may not exceed expenditures that, on a weekly basis, relate to the Debtors’ use of the DIP

Facility and/or Cash Collateral with respect to any expenditures in excess of Permitted

Variances. The term “Permitted Variances” shall mean (i) all favorable variances, and (ii) an

unfavorable variance, on an aggregate basis, of (A) no more than 20% with respect to the first

two weeks after the Closing Date (the “First Testing Period”), (B) no more than 15% with

respect to the first three weeks after the Closing Date (the “Second Testing Period”), and (C) no

more than 12.5% with respect to the first four weeks after the Closing Date and on a weekly

rolling basis with respect to each subsequent four week period (each such period, with the First

Testing Period and the Second Testing Period, the “Testing Periods”); provided, however, that

those expenditures related to Professionals shall not be subject to the Budget and shall be

excluded from the calculation of Permitted Variance. The Permitted Variance with respect to

each Testing Period shall be determined and reported to the DIP Agent and the DIP Lenders not

later than the Friday immediately following each such Testing Period. Additional variances, if



                                               36
DMSLIBRARY01-19506382.21
Case 12-36495-KRH          Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                Desc Main
                                 Document    Page 37 of 304



any, from the Budget, and any proposed changes to the Budget, shall be subject to agreement by

the Debtors and the approval of the DIP Agent at the direction of the Requisite DIP Lenders, in

each case without further notice, motion or application to, order of, or hearing before, the Court.

    22.          Budget Compliance. Subject to paragraph 40 hereof and except as otherwise

provided herein or approved by the DIP Agent (at the direction of the Requisite DIP Lenders),

the Debtors will not, and will not permit any subsidiary directly or indirectly to, use any Cash

Collateral or the proceeds of the DIP Facility in a manner or for a purpose other than those

consistent with the Budget and this Interim Order or the Final Order (as applicable) and to pay

Professionals.

    23.          Modification of Automatic Stay. The automatic stay imposed by section 362(a)

of the Bankruptcy Code is hereby modified as necessary to permit: (a) the Debtors to grant the

DIP Liens and the Superpriority DIP Claim, and to perform such acts as the DIP Agent may

request, either in its sole discretion or at the direction of the Requisite DIP Lenders, to assure the

perfection and priority of the DIP Liens; (b) the Debtors to take all appropriate action to grant the

Adequate Protection Liens and the Pre-Petition Lenders’ Superpriority Claims set forth in

paragraph 15 hereof, and to take all appropriate action to ensure that the Adequate Protection

Liens granted thereunder are perfected and maintain the priority set forth herein; (c) the Debtors

to incur all liabilities and obligations to the Pre-Petition Agents, the Pre-Petition Lenders, the

DIP Agent and the DIP Lenders as contemplated under this Interim Order; (d) the Debtors to pay

all amounts referred to, required under, in accordance with, and subject to the DIP Loan

Documents, the Commitment Letter, the Fee Letter and the Interim Order; (e) the DIP Agent and

the DIP Lenders to exercise, upon the occurrence and during the continuance of any Event of

Default under the DIP Loan Documents and subject to the five (5) day notice requirement set

forth in clause (b) of paragraph 32, all rights and remedies provided for in the DIP Loan

                                                 37
DMSLIBRARY01-19506382.21
Case 12-36495-KRH          Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52              Desc Main
                                 Document    Page 38 of 304



Documents and take any or all actions provided therein; and (f) the implementation of the terms

of this Interim Order.

    24.         Perfection of DIP Liens and Post-Petition Liens. This Interim Order shall be

sufficient and conclusive evidence of the validity, perfection and priority of all liens granted

herein, including, without limitation, the DIP Liens and the Adequate Protection Liens, without

the necessity of execution, filing or recording any financing statement, mortgage, notice or other

instrument or document that may otherwise be required under the law or regulation of any

jurisdiction or the taking of any other action (including, for the avoidance of doubt, entering into

any deposit account control agreement) to validate or perfect (in accordance with applicable law)

such liens, or to entitle the Pre-Petition Agents, the Pre-Petition Lenders, the DIP Agent or the

DIP Lenders to the priorities granted herein. Notwithstanding the foregoing, each of the DIP

Agent and the Pre-Petition Agents is authorized to execute, file or record and the DIP Agent may

require the execution, filing or recording, as each, in its sole discretion deems necessary, such

financing statements, mortgages, notices of lien, and other similar documents to perfect in

accordance with applicable law or to otherwise evidence the DIP Liens and/or Adequate

Protection Liens, as applicable, and all such financing statements, mortgages, notices, and other

documents shall be deemed to have been filed or recorded as of the Petition Date; provided,

however, that no such filing or recordation shall be necessary or required in order to create or

perfect the DIP Liens and/or the Adequate Protection Liens. The Debtors are authorized and

directed to execute and deliver promptly upon demand to the DIP Agent all such financing

statements, mortgages, notices, and other documents as the DIP Agent may reasonably request.

The DIP Agent, in its discretion, may file a photocopy of this Interim Order as a financing




                                                38
DMSLIBRARY01-19506382.21
Case 12-36495-KRH          Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                Desc Main
                                 Document    Page 39 of 304



statement with any filing or recording office or with any registry of deeds or similar office, in

addition to or in lieu of such financing statements, notices of lien, or similar instruments.

    25.         After-Acquired Property. Except as otherwise provided in this Interim Order,

pursuant to section 552(a) of the Bankruptcy Code, all property acquired by the Debtors after the

Petition Date, including, without limitation, all DIP Collateral pledged or otherwise granted to

the DIP Agent and/or the DIP Lenders pursuant to this Interim Order, is not and shall not be

subject to any lien of any person or entity resulting from any security agreement entered into by

the Debtors prior to the Petition Date, except to the extent that such property constitutes proceeds

of property of the Debtors that is subject to a valid, enforceable, perfected, and unavoidable

Permitted Prior Lien in existence as of the Petition Date which is not subject to subordination

under section 510(c) of the Bankruptcy Code or other provision or principles of applicable law,

recharacterization or other challenge.

    26.         Proceeds of Subsequent Financing. If the Debtors, any trustee, any examiner with

enlarged powers, or any responsible officer subsequently appointed in any of the Cases, shall

obtain credit or incur debt pursuant to sections 364(b), (c), or (d) of the Bankruptcy Code in

violation of this Interim Order or the DIP Loan Documents at any time prior to the indefeasible

payment in full in cash of all of the Pre-Petition Obligations and the indefeasible payment in full

in cash of all of the DIP Obligations, the cancellation, backing or cash collateralization of Letters

of Credit issued pursuant to the DIP Facility, the satisfaction of the Superpriority DIP Claims,

and the termination of the DIP Agent’s and the DIP Lenders’ obligations to extend credit under

the DIP Facility and this Interim Order, including subsequent to the confirmation of any plan

with respect to any or all of the Debtors and the Debtors’ estates, then all of the cash proceeds




                                                 39
DMSLIBRARY01-19506382.21
Case 12-36495-KRH          Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52              Desc Main
                                 Document    Page 40 of 304



derived from such credit or debt shall immediately be turned over to the DIP Agent to be applied

to the DIP Obligations.

    27.         Maintenance of DIP Collateral. Until the indefeasible payment in full in cash of

all DIP Obligations, the cancellation, backing or cash collateralization of Letters of Credit issued

pursuant to the DIP Loan Documents, and the termination of the DIP Agent’s and the DIP

Lenders’ obligation to extend credit under the DIP Facility, the Debtors shall (a) insure the DIP

Collateral as required under this Interim Order and the DIP Loan Documents, as applicable, and

(b) maintain the cash management system in effect as of the Petition Date, as modified by this

Interim Order and any order that may be entered by the Court in accordance with this Interim

Order.

    28.         Restrictions on Lease Rejections.    Except as otherwise provided in that certain

Debtors’ Motion for Entry of an Order Authorizing the Debtors to (I) Assume, or Assume and

Assign, Certain Amended Master Agreements with iStar Financial Effective Only upon

Consummation of the Debtors’ Restructuring, and (II) Cure Outstanding Defaults Immediately

upon Entry of Such Order and that certain Debtors’ Motion for Entry of an Order Authorizing

and Approving (I) Rejection of Certain Unexpired Leases and (II) Abandonment of Certain

Personal Property, Each Effective Nunc Pro Tunc to the Petition Date, unless and until all DIP

Obligations have been indefeasibly paid in full in cash, and all First Lien Obligations have been

indefeasibly paid in full, the Debtors shall not seek, and it shall constitute an Event of Default

under the DIP Loan Documents if any of the Debtors shall seek or if there is entered, an order

under section 365 of the Bankruptcy Code rejecting a lease (i) to which any of the Debtors is a

party, and (ii) that is part of (or whose premises contain any) DIP Collateral.




                                                40
DMSLIBRARY01-19506382.21
Case 12-36495-KRH          Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52              Desc Main
                                 Document    Page 41 of 304



    29.         Insurance Policies.    The Debtors shall continue to maintain all property,

operational and other insurance as required and as specified in the DIP Loan Documents. The

Debtors shall provide the DIP Agent and its counsel (for distribution to the DIP Lenders) with

evidence of such insurance within five (5) calendar days after entry of this Interim Order. Upon

entry of this Interim Order and to the fullest extent provided by applicable law, each of the DIP

Agent and the DIP Lenders shall be, and shall be deemed to be, without any further action or

notice, named as additional insureds and loss payees on each insurance policy maintained by the

Debtors that in any way relates to the DIP Collateral.

    30.         Disposition of or New Liens on DIP Collateral. The Debtors shall not sell,

transfer, lease, encumber or otherwise dispose of any portion of the DIP Collateral other than in

the ordinary course of business without the prior written consent of the DIP Agent (at the

direction of the Requisite DIP Lenders) (and no such consent shall be implied from any other

action, inaction or acquiescence by the DIP Agent, except as otherwise provided for herein).

Absent further order of the Court, the Debtors shall not create or permit to exist any post-petition

liens or encumbrances on any of their assets or property except any post-petition liens agreed to

by the DIP Agent (at the direction of the Requisite DIP Lenders) in writing.

    31.         DIP Termination Date. On the DIP Termination Date, (a) all DIP Obligations

shall be immediately due and payable, and all commitments to extend credit or issue Letters of

Credit under the DIP Facility will terminate, and (b) all authority to use Cash Collateral shall

cease. For purposes of this Interim Order, the term “DIP Termination Date” shall have the

meaning set forth in the DIP Loan Agreement.

    32.         Rights and Remedies Upon Event of Default. Notwithstanding the provisions of

section 362 of the Bankruptcy Code, and without order of or application or motion to the Court,



                                                41
DMSLIBRARY01-19506382.21
Case 12-36495-KRH          Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52               Desc Main
                                 Document    Page 42 of 304



immediately upon the occurrence and during the continuance of an Event of Default under the

DIP Loan Documents: (a) the Requisite DIP Lenders may direct the DIP Agent, by written notice

to the Borrower, its counsel and any counsel for the Committee, to terminate the DIP Facility,

declare the DIP Obligations to be immediately due and payable and, subject to the immediately

following clause (b), exercise all rights and remedies under the DIP Loan Documents and this

Interim Order; and (b) the automatic stay provisions of section 362 of the Bankruptcy Code shall

be vacated and modified to the extent necessary to permit the DIP Agent and the DIP Lenders to

exercise all rights and remedies provided for in the DIP Loan Documents, and to take any or all

of the following actions without further order of or application to the Court (as applicable):

(i) immediately terminate the Debtors’ use of any Cash Collateral; (ii) cease making any

extensions of credit under the DIP Facility to the Debtors; (iii) declare all DIP Obligations to be

immediately due and payable; (iv) freeze monies or balances in the Debtors’ accounts (and, with

respect to the DIP Facility, sweep all funds contained in the DIP Priority Account);

(v) immediately set-off any and all amounts in accounts maintained by the Debtors with the DIP

Agent or the DIP Lenders against the DIP Obligations, or otherwise enforce any and all rights

against the DIP Collateral in the possession of any of the applicable DIP Lenders, including,

without limitation, disposition of the DIP Collateral solely for application towards the DIP

Obligations; and (vi) take any other actions or exercise any other rights or remedies permitted

under this Interim Order, the DIP Loan Documents or applicable law to effect the repayment of

the DIP Obligations; provided, however, that prior to the exercise of any right in clauses (i), (iv),

(v) or (vi) of this paragraph, the DIP Agent shall be required to provide, in each case, five (5) business

days prior written notice to the Debtors, lead counsel for the Debtors, lead counsel for the Committee,

lead counsel for the First Lien Ad Hoc Group, lead counsel for each of the Pre-Petition Agents,



                                                 42
DMSLIBRARY01-19506382.21
Case 12-36495-KRH          Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52             Desc Main
                                 Document    Page 43 of 304



lead counsel for the Second Lien Ad Hoc Group, of the DIP Agent’s intent to exercise its rights

and remedies. The Debtors shall cooperate with the DIP Agent and the DIP Lenders in their

exercise of rights and remedies, whether against the DIP Collateral or otherwise; and the Debtors

shall waive any right to seek relief under the Bankruptcy Code, including under section 105

thereof, to the extent such relief would restrict or impair the rights and remedies of the DIP

Agent and the DIP Lenders set forth in the Interim and/or Final Orders and in the DIP Loan

Documents.

    33.         Good Faith under Section 364(e) of the Bankruptcy Code; No Modification or

Stay of this Interim Order. The DIP Agent and the DIP Lenders have acted in good faith in

connection with the DIP Facility, the Interim Financing, and with this Interim Order, and their

reliance on this Interim Order is in good faith. Based on the findings set forth in this Interim

Order and the record made during the Interim Hearing, and in accordance with section 364(e) of

the Bankruptcy Code, in the event any or all of the provisions of this Interim Order are hereafter

modified, reversed, amended or vacated by a subsequent order of the Court or any other court,

the DIP Agent and the DIP Lenders are entitled to the protections provided in section 364(e) of

the Bankruptcy Code. Any such modification, reversal, amendment or vacatur shall not affect

the validity and enforceability of any advances previously made or made hereunder, or lien,

claim or priority authorized or created hereby. Any liens or claims granted to the DIP Agent and

the DIP Lenders arising prior to the effective date of any such modification, reversal,

amendment, or vacatur of this Interim Order shall be governed in all respects by the original

provisions of this Interim Order, including entitlement to all rights, remedies, privileges, and

benefits granted herein.




                                               43
DMSLIBRARY01-19506382.21
Case 12-36495-KRH          Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52             Desc Main
                                 Document    Page 44 of 304



    34.         DIP and Other Expenses. The Debtors are authorized and directed to pay, in cash

on a current basis, all reasonable and documented out-of-pocket fees, costs, disbursements and

expenses of the First Lien Agent, the First Lien Lenders, the DIP Agent and the Backstop Parties

incurred at any time, as provided by the DIP Loan Documents, the Interim Order, and the

Budget, including, without limitation, legal, accounting, collateral examination and monitoring

fees, fees and expenses of Miller Buckfire as financial advisor for the First Lien Ad Hoc Group,

fees and expenses of other consultants, and indemnification and reimbursement of fees and

expenses as set forth in the DIP Loan Documents, the Commitment Letter or the Fee Letter.

Payment of all such fees and expenses shall not be subject to allowance by the Court, and such

parties’ right to receive such payment of fees and expenses shall not be required to comply with

the U.S. Trustee’s fee guidelines. Such fees and expenses shall not be subject to any offset,

defense, claim, counterclaim or diminution of any type, kind or nature whatsoever.

    35.         Indemnification. The Debtors shall jointly and severally indemnify and hold

harmless the DIP Agent (solely in its capacity as a DIP Agent), each DIP Lender (solely in its

capacity as a DIP Lender) and each of their affiliates and each of their respective officers,

directors, employees, controlling persons, agents, advisors, attorneys and representatives of each,

in their respective capacities as such (each, an “Indemnified Party”), from and against any and all

any and all claims, damages, losses, liabilities and expenses (including, without limitation, fees

and disbursements of counsel), joint or several, that may be incurred by or asserted or awarded

against any Indemnified Party, in each case arising out of or in connection with or relating to any

investigation, litigation or proceeding or the preparation of any defense with respect thereto,

arising out of or in connection with or relating to the DIP Facility, the DIP Loan Documents or

the transactions contemplated thereby, or any use made or proposed to be made with the



                                                44
DMSLIBRARY01-19506382.21
Case 12-36495-KRH          Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52              Desc Main
                                 Document    Page 45 of 304



proceeds of the DIP Facility, whether or not such investigation, litigation or proceeding is

brought by any Debtor or any of its subsidiaries, any shareholders or creditors of the foregoing,

an Indemnified Party or any other person, or an Indemnified Party is otherwise a party thereto

and whether or not the transactions contemplated hereby or under the DIP Loan Documents are

consummated, except to the extent such claim, damage, loss, liability or expense is found in a

final non appealable judgment by a court of competent jurisdiction to have resulted solely from

such Indemnified Party’s gross negligence or willful misconduct. No Indemnified Party shall

have any liability (whether direct or indirect, in contract, tort or otherwise) to any Debtor or any

of its subsidiaries or any shareholders or creditors of the foregoing for or in connection with the

transactions contemplated hereby, except to the extent such liability is found in a final non

appealable judgment by a court of competent jurisdiction to have resulted solely from such

Indemnified Party’s gross negligence or willful misconduct. In no event, however, shall any

Indemnified Party be liable on any theory of liability for any special, indirect, consequential or

punitive damages. The foregoing indemnity includes indemnification for the DIP Agent’s and

the DIP Lenders’ exercise of discretionary rights granted under, and in accordance with, this

Interim Order. In all such litigation, or the preparation therefor, the DIP Agent and the DIP

Lenders shall be entitled to select their own counsel and, in addition to the foregoing indemnity,

the Debtors agree to promptly pay the reasonable fees and expenses of such counsel.

    36.         Proofs of Claim. The DIP Agent, the DIP Lenders, the Pre-Petition Agents and

the Pre-Petition Lenders shall not be required to file proofs of claim in any of the Cases for any

claim allowed herein. Any proof of claim filed by the DIP Agent, the DIP Lenders, the Pre-

Petition Agents or the Pre-Petition Lenders shall be deemed to be in addition to (and not in lieu

of) any other proof of claim that may be filed by any such persons. Any order entered by the



                                                45
DMSLIBRARY01-19506382.21
Case 12-36495-KRH          Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52             Desc Main
                                 Document    Page 46 of 304



Court in relation to the establishment of a bar date in any of the Cases shall not apply to the DIP

Agent, the DIP Lenders, the Pre-Petition Agents or the Pre-Petition Lenders.

    37.         Rights of Access and Information. Without limiting the rights of access and

information afforded the Pre-Petition Agents, the Pre-Petition Lenders, the DIP Agent and the

DIP Lenders under this Interim Order and/or the DIP Loan Documents, the Debtors shall be, and

hereby are, required to afford representatives, agents and/or employees of the DIP Agent

reasonable access to the Debtors’ premises and their books and records in accordance with this

Interim Order and/or the DIP Loan Documents and shall reasonably cooperate, consult with, and

provide to such persons all such information as may be reasonably requested. In addition, the

Debtors authorize their independent certified public accountants, financial advisors, investment

bankers, and consultants to cooperate, consult with, and provide to the DIP Agent (and so long as

an Event of Default under the DIP Loan Documents has occurred and is continuing, each of the

DIP Lenders) all such information as may be reasonably requested with respect to the business,

results of operations, and financial condition of any of the Debtors.

    38.         Access to DIP Collateral/No Landlord’s Liens. Upon entry of a Final Order

providing for such relief and subject to applicable state law, notwithstanding anything contained

herein to the contrary and without limiting any other rights or remedies of the DIP Agent, for the

benefit of the DIP Lenders, contained in this Interim Order, or otherwise available at law or in

equity, and subject to the terms of this Interim Order, upon written notice to the landlord of any

leased premises that an Event of Default has occurred and is continuing under the DIP Facility,

the DIP Agent may, subject to any separate agreement by and between such landlord and the DIP

Agent (a “Separate Agreement”), enter upon any leased premises of the Debtors for the purpose

of exercising any remedy with respect to DIP Collateral located thereon and, subject to any



                                                46
DMSLIBRARY01-19506382.21
Case 12-36495-KRH           Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52              Desc Main
                                  Document    Page 47 of 304



Separate Agreement, shall be entitled to all of the Debtors’ rights and privileges as lessee under

such lease without interference from such landlord; provided, however, that, subject to any such

Separate Agreement, the DIP Agent shall only pay rent of the Debtors that first accrues after the

written notice referenced above and that is payable during the period of such occupancy by the

DIP Agent, calculated on a per diem basis. Nothing herein shall require the DIP Agent to

assume any lease as a condition to the rights afforded to the DIP Agent in this paragraph.

             39.       Continuing Effect of Intercreditor Agreement.        The Pre-Petition Debt

Obligors, the Pre-Petition Agents and the Pre-Petition Lenders each shall continue to be bound

by, and be subject to all the terms, provisions and restrictions of, the Intercreditor Agreement.

             40.       Carve-Out.

                      (i)      For the purposes of this Interim Order, the term “Carve-Out” shall

        mean the following: (a) all fees required to be paid to the Clerk of the Court and to the

        Office of the United States Trustee under 28 U.S.C. § 1930(a) plus interest pursuant to 31

        U.S.C. § 3717; (b) all reasonable fees and expenses incurred by a trustee under section

        726(b) of the Bankruptcy Code in an aggregate amount not to exceed $25,000; (c) to the

        extent allowed by the Court at any time, all accrued and unpaid fees, disbursements, costs

        and expenses incurred by professionals or professional firms retained by the Debtors

        (collectively, the “Professionals”) and (subject to the Budget and any Permitted

        Variances allowed thereunder) any official committee of creditors at any time before or

        on the date and time of the delivery by the DIP Agent, at the direction of the Requisite

        DIP Lenders, of a Carve-Out Trigger Notice (as defined below), whether allowed by the

        Court prior to or after delivery of a Carve-Out Trigger Notice; and (d) after the date that

        is one (1) business day after the date of the delivery by the DIP Agent, at the direction of



                                                 47
DMSLIBRARY01-19506382.21
Case 12-36495-KRH           Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52           Desc Main
                                  Document    Page 48 of 304



        the Requisite DIP Lenders, of the Carve-Out Trigger Notice, to the extent allowed by the

        Court at any time, all unpaid fees, disbursements, costs and expenses incurred by

        Professionals and the professionals or professional firms retained by any Committee in an

        aggregate amount not to exceed $450,000 (the amount set forth in this clause (iv) being

        the “Post-Carve-Out Trigger Notice Cap”); provided, however, that nothing herein shall

        be construed to impair the ability of any party to object to any fees, expenses,

        reimbursements or compensation sought by any such professionals. For the avoidance of

        doubt, the payment of all accrued and unpaid fees, disbursements, costs and expenses

        incurred by Professionals pursuant to subsection (c) above shall not be subject to any

        budget, including the Budget.     For purposes of the foregoing, “Carve-Out Trigger

        Notice” shall mean a written notice delivered by the DIP Agent at the direction of the

        Requisite DIP Lenders to the Debtors and their counsel, the U.S. Trustee, and lead

        counsel to any official committee appointed in these Cases, which notice may be

        delivered following the occurrence of an Event of Default under the DIP Loan

        Documents and stating that the Post-Carve-Out Trigger Notice Cap has been invoked.

                     (ii)      For the avoidance of doubt, the Carve-Out shall be senior to all

        liens and claims (including, without limitation, administrative and superpriority claims)

        securing the DIP Obligations and the Pre-Petition Obligations, including the Adequate

        Protection Liens and any and all other forms of adequate protection, liens, security

        interests and other claims granted herein to the Pre-Petition Agents, the Pre-Petition

        Lenders, the DIP Agent, or the DIP Lenders.

             41.       Payment of Compensation. Prior to the occurrence of an Event of Default,

the Debtors are authorized to pay compensation and reimbursement of fees and expenses that are



                                               48
DMSLIBRARY01-19506382.21
Case 12-36495-KRH          Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52             Desc Main
                                 Document    Page 49 of 304



authorized to be paid under sections 330 and 331 of the Bankruptcy Code pursuant to an order of

the Court, as the same may be due and payable, and such payments shall not reduce the Carve-

Out.   Upon the receipt of the Carve-Out Trigger Notice, the right of the Debtors to pay

professional fees outside of paragraph 40 hereof shall terminate, and, after receipt of the Carve

Out Trigger Notice, the Debtors shall provide immediate notice to all professionals informing

them that such notice was delivered and further advising them that the Debtors’ ability to pay

such professionals is subject to and limited by the Carve-Out.

             42.       Reservation of Certain Third Party Rights and Bar of Challenges and

Claims. The Committee shall have a maximum of thirty (30) calendar days from the date of the

Committee’s appointment, but in no event later than forty-five (45) calendar days from entry of

the Interim Order (the “Investigation Period”) to investigate and commence an adversary

proceeding or contested matter, as required by the applicable Federal Rules of Bankruptcy

Procedure, and challenge (each, a “Challenge”) the findings, the Debtors’ stipulations, or any

other stipulations contained in this Interim Order, including, without limitation, any challenge to

the validity, priority or enforceability of the liens securing the obligations under the First Lien

Loan Documents, or to assert any claim or cause of action related to the First Lien Obligations

against the First Lien Agent or the First Lien Lenders arising under or in connection with the

First Lien Loan Documents or the First Lien Obligations, as the case may be, whether in the

nature of a setoff, counterclaim or defense of First Lien Obligations, or otherwise.           The

Investigation Period may only be extended: (a) with the prior written consent of counsel to the

DIP Agent, at the direction of the Requisite DIP Lenders, as memorialized in an order of the

Court, or (b) pursuant to an order of the Court upon a showing of good cause for such extension.

Except to the extent asserted in an adversary proceeding or contested matter filed during the



                                                49
DMSLIBRARY01-19506382.21
Case 12-36495-KRH          Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52               Desc Main
                                 Document    Page 50 of 304



Investigation Period, upon the expiration of such applicable Investigation Period (to the extent

not otherwise waived or barred): (i) any and all Challenges or potential Challenges shall be

deemed to be forever waived and barred; (ii) all of the agreements, waivers, releases,

affirmations, acknowledgements and stipulations contained in the Interim and/or Final Orders

shall be irrevocably and forever binding on the Debtors, the Committee and all parties-in-interest

and any and all successors-in-interest as to any of the foregoing, including, without limitation,

any Chapter 7 trustee, without further action by any party or the Court; (iii) the First Lien

Obligations shall be deemed to be finally allowed and the First Lien Pre-Petition Liens shall be

deemed to constitute valid, binding and enforceable encumbrances, and not subject to avoidance

pursuant to the Bankruptcy Code or applicable non-bankruptcy law; and (iv) the First Lien

Obligors shall be deemed to have released, waived and discharged the Released Parties from any

and all claims and causes of action arising out of, based upon or related to, in whole or in part,

the First Lien Obligations. Notwithstanding anything to the contrary herein: (x) if any Challenge

is timely commenced, the stipulations contained in the Final Order shall nonetheless remain

binding on all other parties-in-interest and preclusive except to the extent that such stipulations

are expressly and successfully challenged in such Challenge; and (y) the Released Parties reserve

all of their rights to contest on any grounds any Challenge.

             43.       No Third Party Rights.         Except as explicitly provided for herein, this

Interim Order does not create any rights for the benefit of any third party, creditor, equity holder,

or any direct, indirect, or incidental beneficiary.

             44.       Section 506(c) Claims. Upon entry of the Final Order, no costs or expenses

of administration that have been or may be incurred in any of the Cases at any time shall be

charged against the DIP Agent, any of the DIP Lenders, the Pre-Petition Agents or the Pre-



                                                  50
DMSLIBRARY01-19506382.21
Case 12-36495-KRH          Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                Desc Main
                                 Document    Page 51 of 304



Petition Lenders or any of their respective claims or liens (including any claims or liens granted

pursuant to this Interim Order) or the DIP Collateral pursuant to sections 105 or 506(c) of the

Bankruptcy Code, or otherwise.

             45.       Section 552(b). Upon entry of the Final Order, the Pre-Petition Agents and

the Pre-Petition Lenders shall be entitled to all of the rights and benefits of section 552(b) of the

Bankruptcy Code, and the “equities of the case” exception under section 552(b) shall not apply

to either of the Pre-Petition Agents (on its own behalf and on behalf of the Pre-Petition Lenders)

with respect to proceeds, products, offspring, or profits of any of the Pre-Petition Collateral.

             46.       No Marshaling/Application of Proceeds. In no event shall the DIP Agent,

the DIP Lenders, the Pre-Petition Agents or the Pre-Petition Lenders be subject to the equitable

doctrine of “marshaling” or any similar doctrine with respect to the DIP Collateral or the Pre-

Petition Collateral, as applicable, and all proceeds shall be received and applied in accordance

with this Interim Order.

             47.       Right to Credit Bid.    Each of the DIP Agent (at the direction of the

Requisite DIP Lenders), the First Lien Agent (at the direction of the Required Lenders (as

defined in the First Lien Loan Agreement)) and, to the extent permitted by Section 363(k) of the

Bankruptcy Code, the Second Lien Agent (at the direction of the Required Lenders (as defined in

the Second Lien Loan Agreement)) shall have the right to “credit bid” the full amount of their

respective claims in connection with any sale of all or any portion of the Pre-Petition Debt

Obligors’ assets, including, without limitation, sales occurring pursuant to section 363 of the

Bankruptcy Code or included as part of any restructuring plan subject to confirmation under

section 1129(b)(2)(A)(iii) of the Bankruptcy Code.




                                                 51
DMSLIBRARY01-19506382.21
Case 12-36495-KRH          Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                Desc Main
                                 Document    Page 52 of 304



             48.       Discharge Waiver/Release. The DIP Obligations shall not be discharged by

the entry of an order confirming any plan of reorganization in any of the Cases, notwithstanding

the provisions of section 1141(d) of the Bankruptcy Code, unless the DIP Obligations have been

indefeasibly paid in full in cash, on or before the effective date of such confirmed plan of

reorganization. As set forth herein, none of the Debtors shall propose or support any plan of

reorganization or sale of all or substantially all of the Debtors’ assets, or order confirming such

plan or approving such sale, that is not conditioned upon the indefeasible payment of the

DIP Obligations in full in cash on or prior to the earlier to occur of the effective date of such plan

of reorganization or sale. Subject to the Committee’s rights set forth in paragraph 42, upon entry

of the Final Order, the Debtors agree to forever waive and release any and all claims and causes

of action against the Pre-Petition Agents, the Pre-Petition Lenders, the DIP Agent and the DIP

Lenders whether at law or in equity, arising under or relating to section 105 and Chapter 5 of the

Bankruptcy Code and under any other similar provisions of applicable state or federal law.

             49.       Rights Preserved. Notwithstanding anything herein to the contrary, the

entry of this Interim Order is without prejudice to, and does not constitute a waiver of, expressly

or implicitly: (a) the First Lien Agent’s, the First Lien Lenders’, the DIP Agent’s or the DIP

Lenders’ rights to seek any other or supplemental relief in respect of the Debtors; (b) the rights

of the First Lien Agent, the First Lien Lenders, the DIP Agent and the DIP Lenders under the

DIP Loan Documents, the Bankruptcy Code or under applicable law, including, without

limitation, the right to (i) request modification of the automatic stay of section 362 of the

Bankruptcy Code, (ii) request dismissal of any of the Cases, conversion of any or all of the Cases

to a case under Chapter 7, or appointment of a Chapter 11 trustee or examiner with expanded

powers, or (iii) propose, subject to the provisions of section 1121 of the Bankruptcy Code, a



                                                 52
DMSLIBRARY01-19506382.21
Case 12-36495-KRH          Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52              Desc Main
                                 Document    Page 53 of 304



Chapter 11 plan or plans of reorganization, or (iv) object to the application or motion by any

professionals retained by the Debtors, the Second Lien Agent, any of the Second Lien Lenders or

any Committee for the payment of fees and expenses, including, without limitation, in

connection with the Carve-Out; or (c) any other rights, claims, or privileges (whether legal,

equitable or otherwise) of the Pre-Petition Agents, the Pre-Petition Lenders, the DIP Agent or the

DIP Lenders. Notwithstanding anything herein to the contrary, the entry of this Interim Order is

without prejudice to, and does not constitute a waiver of, expressly or implicitly, the Debtors’ or

any party-in-interest’s right to oppose any of the relief requested in accordance with the

immediately preceding sentence or the payment of Professionals subject to the Carve-Out in

connection with any such opposition.

             50.       Joint and Several Liability.    Nothing in this Interim Order shall be

construed to constitute a substantive consolidation of any of the Debtors’ estates, it being

understood, however, that the Debtors shall be jointly and severally liable for the obligations

hereunder and in accordance with the terms of this Interim Order.

             51.       No Waiver by Failure to Seek Relief.       The DIP Agent’s or any DIP

Lender’s delay or failure to exercise rights and remedies under the DIP Loan Documents,

applicable law, or this Interim Order shall not constitute a waiver of the DIP Agent’s or such DIP

Lenders’ respective rights hereunder, thereunder or otherwise, unless any such waiver is pursuant

to a written instrument executed by the DIP Agent or such DIP Lenders, as applicable.

             52.       Binding Effect of this Interim Order. Immediately upon entry by the Court,

this Interim Order shall inure to the benefit of the Debtors, the Pre-Petition Agents, the Pre-

Petition Lenders, the DIP Agent and the DIP Lenders, and it shall become valid and binding

upon the Debtors, the Pre-Petition Agents, the Pre-Petition Lenders, the DIP Agent and the DIP



                                                53
DMSLIBRARY01-19506382.21
Case 12-36495-KRH          Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52               Desc Main
                                 Document    Page 54 of 304



Lenders, their respective successors and assigns, any and all other creditors of the Debtors, any

committee appointed in any of the Cases, including, without limitation, the Committee, and all

other parties-in-interest and their respective successors and assigns, including any trustee or

other fiduciary hereafter appointed as legal representative of any of the Debtors in any of the

Cases, or upon dismissal of any of the Cases. Further, upon entry of this Interim Order: (a) the

Debtors’ admissions contained herein shall be binding on the Debtors; and (b) the DIP

Obligations of the Debtors under the DIP Loan Documents shall constitute allowed claims for all

purposes in any of the Cases.

             53.       Interim Order Controls. In the event of any inconsistency between the

terms and conditions of the DIP Loan Documents, any other document or any other order of the

Court and of this Interim Order, the provisions of this Interim Order shall govern and control.

             54.       Survival.   The provisions of this Interim Order and any actions taken

pursuant hereto shall survive, and shall not be modified, impaired or discharged by, entry of any

order that may be entered (a) confirming any plan of reorganization in any of the Cases, (b)

converting any or all of the Cases to a case under Chapter 7 of the Bankruptcy Code, (c)

dismissing any or all of the Cases, or (d) pursuant to which the Court abstains from hearing any

of the Cases. The terms and provisions of this Interim Order, including the claims, liens, security

interests, and other protections (as applicable) granted to the Pre-Petition Agents, the Pre-Petition

Lenders, the DIP Agent or the DIP Lenders pursuant to this Interim Order, notwithstanding the

entry of any such order, shall continue in any of the Cases, or following dismissal of any of the

Cases, and shall maintain their priority as provided by this Interim Order. The terms and

provisions concerning the indemnification of the First Lien Agent, the First Lien Lenders, the

DIP Agent and the DIP Lenders shall continue in any of the Cases following dismissal of any of



                                                 54
DMSLIBRARY01-19506382.21
Case 12-36495-KRH          Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52               Desc Main
                                 Document    Page 55 of 304



the Cases, termination of the provisions of this Interim Order, and/or the indefeasible repayment

of the First Lien Obligations and the DIP Obligations.

             55.       Entry of this Interim Order/Waiver of Applicable Stay. The Clerk of the

Court is hereby directed to forthwith enter this Interim Order on the docket of the Court

maintained in regard to the Cases. This Interim Order shall be effective upon its entry and not

subject to any stay (all of which are hereby waived), notwithstanding anything to the contrary

contained in Bankruptcy Rule 4001(a)(3).

             56.       Notice of Entry of this Interim Order. The Debtors’ counsel shall serve a

copy of this Interim Order or a suitable notice respecting same on all of the following parties: (a)

the U.S. Trustee; (b) the Internal Revenue Service; (c) the parties included on the Debtors’

consolidated list of their thirty (30) largest unsecured creditors; (d) counsel to the DIP Agent for

itself and for the DIP Lenders; (e) counsel to the First Lien Agent for itself and for the First Lien

Lenders; (f) Stroock, as counsel to the First Lien Ad Hoc Group; (g) counsel to the Second Lien

Agent for itself and for the Second Lien Lenders; (h) all other known parties with liens of record

on assets of the Debtors as of the Petition Date; (i) all financial institutions at which the Debtors

maintain deposit accounts; (j) the landlords for all non-residential real properties occupied by the

Debtors as of the Petition Date; and (k) all other parties required to receive notice pursuant to

Bankruptcy Rules 2002, 4001 or 9014 or requesting to receive notice prior to the date hereof.

             57.       Final Hearing. The Final Hearing shall take place on December 6, 2012 at

10:00 a.m., and parties shall have until December 3, 2012 to file an objection if necessary and

serve such objection on proposed counsel for the Debtors, Kirkland & Ellis LLP, 300 North

LaSalle, Chicago, Illinois 60654, Attn: Patrick J. Nash, Jr. and Jeffrey D. Pawlitz, and Kirkland

& Ellis LLP, 601 Lexington Avenue, New York, New York 10022, Attn: Joshua A. Sussberg,



                                                 55
DMSLIBRARY01-19506382.21
Case 12-36495-KRH          Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52               Desc Main
                                 Document    Page 56 of 304



and McGuireWoods LLP, One James Center, 901 East Cary Street, Richmond, Virginia 23219,

Attn: Dion W. Hayes; counsel for the DIP Agent, King & Spalding LLP, 1185 Avenue of the

Americas, New York, New York 10036, Attn: Michael C. Rupe and Christopher G. Boies;

counsel for the First Lien Ad Hoc Group, Stroock & Stroock & Lavan LLP, 180 Maiden Lane,

New York, New York 10038, Attn: Kristopher M. Hansen, Sayan Bhattacharyya and Marianne

S. Mortimer; and counsel for the Second Lien Ad Hoc Group, O’Melveny & Myers LLP, 400

South Hope Street, Los Angeles, CA 90071, Attn: Ben H. Logan and Jennifer Taylor. Any

objections by creditors or any other party-in-interest to the Motion or any of the provisions of

this Interim Order shall be deemed waived unless filed and received in accordance with the

foregoing on or before the close of business on such date. In the event the Court modifies any of

the provisions of this Interim Order or other documents following the Final Hearing, such

modifications shall not affect the rights and priorities of the DIP Agent and the DIP Lenders

pursuant to this Interim Order with respect to the DIP Collateral and any portion of the DIP

Facility that arises, or is incurred or is advanced prior to such modifications (or otherwise arising

prior to such modifications), and this Interim Order shall remain in full force and effect except as

specifically modified pursuant to the Final Hearing.

             58.       Effect of this Interim Order. This Interim Order shall take effect and be

enforceable nunc pro tunc to the Petition Date immediately upon execution thereof.

Notwithstanding Bankruptcy Rules 4001(a)(3), 6004(h), 6006(d), 7062 and 9024 or any other

Bankruptcy Rule, or Rule 62(a) of the Federal Rules of Civil Procedure, this Interim Order shall

be immediately effective and enforceable upon its entry and there shall be no stay of execution or

effectiveness of this Interim Order.




                                                 56
DMSLIBRARY01-19506382.21
Case 12-36495-KRH          Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52             Desc Main
                                 Document    Page 57 of 304



             59.       Retention of Jurisdiction.    The Court shall retain jurisdiction to hear,

determine and, if applicable, enforce the terms of, any and all matters arising from or related to

the DIP Facility and/or this Interim Order.

                SO ORDERED by the Court this _____day
                                              14th    of November, 2012.


                                                /s/ Kevin R. Huennekens

                                              _______________________________________
                                              UNITED STATES BANKRUPTCY JUDGE



                                                     Entered on docket: Nov 14, 2012




                                                57
DMSLIBRARY01-19506382.21
Case 12-36495-KRH          Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52          Desc Main
                                 Document    Page 58 of 304



 WE ASK FOR THIS:

  /s/ Dion W. Hayes
 Dion W. Hayes (VSB No. 34304)
 John H. Maddock III (VSB No. 41011)
 Sarah B. Boehm (VSB No. 45201)
 MCGUIREWOODS LLP
 One James Center
 901 East Cary Street
 Richmond, Virginia 23219
 Telephone:    (804) 775-1000
 Facsimile:    (804) 775-1061

          - and -

 Patrick J. Nash, Jr. (pro hac vice pending)
 Jeffrey D. Pawlitz (pro hac vice pending)
 KIRKLAND & ELLIS LLP
 300 North LaSalle
 Chicago, Illinois 60654
 Telephone:     (312) 862-2000
 Facsimile:     (312) 862-2200

          - and -

 Joshua A. Sussberg (pro hac vice pending)
 KIRKLAND & ELLIS LLP
 601 Lexington Avenue
 New York, New York 10022
 Telephone:    (212) 446-4800
 Facsimile:    (212) 446-4900

 Proposed Attorneys for the Debtors and
 Debtors in Possession

                       CERTIFICATION OF ENDORSEMENT
                    UNDER LOCAL BANKRUPTCY RULE 9022-1(C)

        Pursuant to Local Bankruptcy Rule 9022-1(C), I hereby certify that the foregoing
 proposed order has been endorsed by or served upon all necessary parties.

                                               /s/ Dion W. Hayes




DMSLIBRARY01-19506382.21
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Case 12-36495-KRH    Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52   Desc Main
                           Document    Page 59 of 304
                                                                  Execution Version




         SENIOR SECURED DEBTOR-IN-POSSESSION CREDIT AGREEMENT


                            dated as of November 13, 2012


                                       among


                            KINGPIN HOLDINGS, LLC,


                         KINGPIN INTERMEDIATE CORP.,


                        AMF BOWLING WORLDWIDE, INC.,


           THE LOAN PARTIES FROM TIME TO TIME PARTY HERETO,


              THE LENDERS FROM TIME TO TIME PARTY HERETO


                                        and


                    CREDIT SUISSE, CAYMAN ISLANDS BRANCH,
                         as an Issuing Lender and DIP Agent




                           _____________________________




                      CREDIT SUISSE SECURITIES (USA) LLC,
                      as Sole Lead Arranger and Sole Bookrunner
Case 12-36495-KRH         Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                                                        Desc Main
                                Document    Page 60 of 304



                                                   Table of Contents

                                                                                                                                            Page

ARTICLE I       DEFINITIONS                                                                                                                       1

Section 1.01    Defined Terms.............................................................................................................. 1
Section 1.02    Computation of Time Periods and Other Definitional Provisions ............................. 37
Section 1.03    Accounting Terms and Determinations...................................................................... 37
Section 1.04    UCC Definitions......................................................................................................... 38

ARTICLE II      THE CREDIT FACILITIES                                                                                                           38

Section 2.01    Commitments to Lend ................................................................................................ 38
Section 2.02    Notice of Borrowings ................................................................................................. 38
Section 2.03    Notice to Lenders; Funding of Loans......................................................................... 39
Section 2.04    Evidence of Loans ...................................................................................................... 40
Section 2.05    Letters of Credit ......................................................................................................... 41
Section 2.06    Interest........................................................................................................................ 46
Section 2.07    Extension and Conversion.......................................................................................... 46
Section 2.08    Maturity of Loans....................................................................................................... 47
Section 2.09    Prepayments ............................................................................................................... 47
Section 2.10    Adjustment of Commitments ..................................................................................... 48
Section 2.11    Fees............................................................................................................................. 49
Section 2.12    Pro-Rata Treatment .................................................................................................... 49
Section 2.13    Sharing of Payments................................................................................................... 50
Section 2.14    Payments; Computation ............................................................................................. 50

ARTICLE III     TAXES, YIELD PROTECTION AND ILLEGALITY                                                                                          51

Section 3.01    Taxes .......................................................................................................................... 51
Section 3.02    Change in Law, Etc .................................................................................................... 53
Section 3.03    Basis for Determining Interest Rate Inadequate or Unfair ......................................... 54
Section 3.04    Increased Costs and Reduced Return ......................................................................... 55
Section 3.05    Funding Losses........................................................................................................... 56
Section 3.06    Base Rate Loans Substituted for Affected Eurodollar Loans..................................... 57

ARTICLE IV      CONDITIONS                                                                                                                      57

Section 4.01    Conditions to Closing................................................................................................. 57
Section 4.02    Conditions to All Credit Extensions........................................................................... 60

ARTICLE V       REPRESENTATIONS AND WARRANTIES                                                                                                  61

Section 5.01    Organization and Good Standing ............................................................................... 61
Section 5.02    Power; Authorization; Enforceable Obligations ........................................................ 61
Section 5.03    No Conflicts ............................................................................................................... 61
Section 5.04    No Default .................................................................................................................. 61


   The Table of Contents is not part of the SENIOR SECURED DEBTOR-IN-POSSESSION CREDIT
AGREEMENT.

                                                               -i-
Case 12-36495-KRH        Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                                                       Desc Main
                               Document    Page 61 of 304
                                            Table of Contents (cont.)


Section 5.05   Financial Condition .................................................................................................... 62
Section 5.06   No Material Effect...................................................................................................... 63
Section 5.07   Title to Properties; Possession Under Leases............................................................. 63
Section 5.08   Litigation .................................................................................................................... 63
Section 5.09   Taxes .......................................................................................................................... 63
Section 5.10   Compliance with Law. ............................................................................................... 63
Section 5.11   ERISA; Employee Benefit Arrangements.................................................................. 64
Section 5.12   Subsidiaries ................................................................................................................ 65
Section 5.13   Governmental Regulations, Etc.................................................................................. 66
Section 5.14   Purpose of Loans and Letters of Credit...................................................................... 66
Section 5.15   Labor Matters ............................................................................................................. 66
Section 5.16   Environmental Matters. .............................................................................................. 67
Section 5.17   Intellectual Property ................................................................................................... 67
Section 5.18   [Reserved] .................................................................................................................. 68
Section 5.19   Disclosure................................................................................................................... 68
Section 5.20   Security Interests ........................................................................................................ 68
Section 5.21   Ownership .................................................................................................................. 69
Section 5.22   No Broker’s Fees........................................................................................................ 69
Section 5.23   Orders. ........................................................................................................................ 69
Section 5.24   Budget ........................................................................................................................ 69

ARTICLE VI     AFFIRMATIVE COVENANTS                                                                                                          69

Section 6.01   Information................................................................................................................. 70
Section 6.02   Preservation of Existence and Franchises .................................................................. 73
Section 6.03   Books and Records; Lender Meeting ......................................................................... 73
Section 6.04   Compliance with Law; Employee Benefit Arrangements.......................................... 73
Section 6.05   Payment of Taxes ....................................................................................................... 74
Section 6.06   Insurance; Certain Proceeds ....................................................................................... 74
Section 6.07   Maintenance of Property ............................................................................................ 75
Section 6.08   DIP Priority Account; Account Control Agreements................................................. 75
Section 6.09   Audits/Inspections ...................................................................................................... 75
Section 6.10   Additional Loan Parties; Additional Security. .......................................................... 76
Section 6.11   [Reserved] ................................................................................................................. 78
Section 6.12   Contributions.............................................................................................................. 78
Section 6.13   [Reserved] .................................................................................................................. 79
Section 6.14   Certain Post-Closing Matters. .................................................................................... 79
Section 6.15   Additional Information Obligations ........................................................................... 79

ARTICLE VII    NEGATIVE COVENANTS                                                                                                             80

Section 7.01   Limitation on Debt ..................................................................................................... 80
Section 7.02   Restriction on Liens ................................................................................................... 81
Section 7.03   Nature of Business ..................................................................................................... 82
Section 7.04   Consolidation, Merger and Dissolution...................................................................... 82
Section 7.05   Asset Dispositions ...................................................................................................... 83
Section 7.06   Investments................................................................................................................. 84
Section 7.07   Restricted Payments, etc............................................................................................. 86
Section 7.08   Amendments of Certain Agreements ......................................................................... 86
Section 7.09   Transactions with Affiliates ....................................................................................... 87
Section 7.10   Fiscal Year; Organizational and Other Documents.................................................... 88

                                                              -ii-
Case 12-36495-KRH         Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                                                       Desc Main
                                Document    Page 62 of 304
                                             Table of Contents (cont.)


Section 7.11    Restrictions with Respect to Intercorporate Transfers ............................................... 88
Section 7.12    Ownership of Subsidiaries; Limitations on Holdings ................................................ 89
Section 7.13    Sale and Leaseback Transactions ............................................................................... 90
Section 7.14    Additional Negative Pledges ...................................................................................... 90
Section 7.15    Impairment of Security Interests ................................................................................ 90
Section 7.16    Financial Covenants ................................................................................................... 90
Section 7.17    Chapter 11 Claims ...................................................................................................... 91
Section 7.18    Revision of Orders; Applications to Bankruptcy Court ............................................. 92
Section 7.19    Critical Vendors ......................................................................................................... 92
Section 7.20    Foreign Pension Plans ................................................................................................ 92
Section 7.21    Compliance with Budget ............................................................................................ 92
Section 7.22    Use of Collateral......................................................................................................... 92
Section 7.23    iStar Action. ............................................................................................................... 93
Section 7.24    Independence of Covenants........................................................................................ 93

ARTICLE VIII    DEFAULTS                                                                                                                      93

Section 8.01    Events of Default........................................................................................................ 93
Section 8.02    Acceleration; Remedies.............................................................................................. 97
Section 8.03    Allocation of Payments After Event of Default ......................................................... 99
Section 8.04    Certain Bankruptcy Matters ..................................................................................... 100

ARTICLE IX      AGENCY PROVISIONS                                                                                                           102

Section 9.01    Appointment; Authorization..................................................................................... 102
Section 9.02    Delegation of Duties................................................................................................. 103
Section 9.03    Exculpatory Provisions............................................................................................. 103
Section 9.04    Reliance on Communications................................................................................... 103
Section 9.05    Notice of Default ...................................................................................................... 103
Section 9.06    Credit Decision; Disclosure of Information by DIP Agent ...................................... 104
Section 9.07    No Reliance on Arranger’s or Agent’s Customer Identification Program ............... 104
Section 9.08    Indemnification ........................................................................................................ 104
Section 9.09    Agents in Their Individual Capacity ........................................................................ 105
Section 9.10    Successor Agents...................................................................................................... 105
Section 9.11    Certain Other Agents................................................................................................ 106
Section 9.12    Agents’ Fees; Arranger Fee...................................................................................... 106

ARTICLE X MISCELLANEOUS 106

Section 10.01   Notices and Other Communications......................................................................... 106
Section 10.02   No Waiver; Cumulative Remedies........................................................................... 107
Section 10.03   Amendments, Waivers and Consents ....................................................................... 107
Section 10.04   Expenses................................................................................................................... 109
Section 10.05   Indemnification ........................................................................................................ 109
Section 10.06   Successors and Assigns ............................................................................................ 110
Section 10.07   Confidentiality and Disclosure................................................................................. 114
Section 10.08   Set-off....................................................................................................................... 115
Section 10.09   Interest Rate Limitation............................................................................................ 115
Section 10.10   Counterparts ............................................................................................................. 115
Section 10.11   Integration ................................................................................................................ 115
Section 10.12   Survival of Representations and Warranties ............................................................ 116

                                                              -iii-
Case 12-36495-KRH          Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                                                      Desc Main
                                 Document    Page 63 of 304
                                              Table of Contents (cont.)


Section 10.13    Severability............................................................................................................... 116
Section 10.14    Headings................................................................................................................... 116
Section 10.15    Defaulting Lenders ................................................................................................... 116
Section 10.16    Governing Law; Submission to Jurisdiction ............................................................ 116
Section 10.17    Waiver of Jury Trial ................................................................................................. 117
Section 10.18    Binding Effect .......................................................................................................... 117
Section 10.19    Lenders’ U.S. Patriot Act Compliance Certification................................................ 117
Section 10.20    U.S. Patriot Act Notice............................................................................................. 118

ARTICLE XI       SECURITY                                                                                                                   118

Section 11.01    Security..................................................................................................................... 118
Section 11.02    Perfection of Security Interests ................................................................................ 119
Section 11.03    Pledged Collateral .................................................................................................... 120
Section 11.04    Collateral Agent’s and Secured Parties’ Rights; Limitations on Agent’s and
                 Secured Parties’ Obligations. .................................................................................. 121
Section 11.05    Covenants of the Loan Parties with Respect to Collateral ....................................... 122
Section 11.06    Accounts; Collection of Accounts and Payments .................................................... 125
Section 11.07    Agent’s Appointment as Attorney-In-Fact............................................................... 125
Section 11.08    Remedies; Rights Upon Default............................................................................... 127
Section 11.09    Grant of License to Use Property; Intellectual Property .......................................... 129
Section 11.10    Limitation on the Collateral Agent’s and Secured Parties’ Duty in Respect of
                 Collateral .................................................................................................................. 130
Section 11.11    Authorized Terminations.......................................................................................... 131
Section 11.12    Modifications ........................................................................................................... 131

ARTICLE XII      GUARANTY                                                                                                                   132

Section 12.01    Guaranty of Guaranteed DIP Obligations of the Borrower...................................... 132
Section 12.02    Demand by the DIP Agent or the DIP Lenders........................................................ 134
Section 12.03    Enforcement of Guaranty. ........................................................................................ 134
Section 12.04    Waiver ...................................................................................................................... 134
Section 12.05    Modification of Guaranteed DIP Obligations, Etc ................................................... 134
Section 12.06    Reinstatement. .......................................................................................................... 135
Section 12.07    Waiver of Subrogation, Etc. ..................................................................................... 135
Section 12.08    Election of Remedies................................................................................................ 136
Section 12.09    Continuation of Guaranty......................................................................................... 136

Schedules:

       Schedule 1.01A        –    DIP Lenders and Commitments
       Schedule 1.01D        –    Lender Addresses
       Schedule 1.01E        –    Insignificant Subsidiaries
       Schedule 1.01F        –    Liquor License Subsidiaries
       Schedule 2.05              Existing Letters of Credit
       Schedule 5.04         –    Defaults, Etc.
       Schedule 5.05         –    Financial Condition
       Schedule 5.08         –    Litigation
       Schedule 5.09         –    Taxes
       Schedule 5.10         –    Compliance with Law
       Schedule 5.11         –    Pension and Benefit Plans

                                                               -iv-
Case 12-36495-KRH         Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52   Desc Main
                                Document    Page 64 of 304
                                     Table of Contents (cont.)


      Schedule 5.12       –   Subsidiaries
      Schedule 5.16       –   Environmental Matters
      Schedule 5.17       –   Intellectual Property
      Schedule 5.18       –   Insurance
      Schedule 5.21       –   Ownership
      Schedule 5.22       –   Broker’s Fees
      Schedule 6.10(b)    –   Exceptions to Additional Security
      Schedule 7.06       –   Existing Investments
      Schedule 7.09       –   Transactions with Affiliates
      Schedule 11.01(a)   –   Claims




                                                 -v-
Case 12-36495-KRH    Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52        Desc Main
                           Document    Page 65 of 304
                                Table of Contents (cont.)


Exhibits:

       Exhibit A-1   – Form of Notice of Borrowing
       Exhibit A-2   – Form of Notice of Extension/Conversion

       Exhibit B     – Form of Note

       Exhibit C     – Form of Assignment and Acceptance

       Exhibit D     – [Reserved]

       Exhibit E     – Budget

       Exhibit F     – [Reserved]

       Exhibit G     – Form of Intercompany Note

       Exhibit H     – Form of Intercompany Note Subordination Provisions

       Exhibit I     – Form of Accession Agreement

       Exhibit J     – [Reserved]

       Exhibit K     – [Reserved]

       Exhibit L     – Form of Secretary’s Certificate




                                          -vi-
Case 12-36495-KRH          Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                     Desc Main
                                 Document    Page 66 of 304


            SENIOR SECURED DEBTOR-IN-POSSESSION CREDIT AGREEMENT

        This SENIOR SECURED DEBTOR-IN-POSSESSION CREDIT AGREEMENT is dated as of
November 13, 2012 and is among KINGPIN HOLDINGS, LLC, a Delaware limited liability company
and a debtor and debtor-in-possession under chapter 11 of the Bankruptcy Code (as defined below)
(“Holdings”), KINGPIN INTERMEDIATE CORP., a Delaware corporation and a debtor and debtor-in-
possession under chapter 11 of the Bankruptcy Code (“Kingpin”), AMF BOWLING WORLDWIDE,
INC., a Delaware corporation and a debtor and debtor-in-possession under chapter 11 of the Bankruptcy
Code (the “Borrower”), each of the other Loan Parties party hereto, as debtors and debtors-in-possession
under chapter 11 of the Bankruptcy Code, the banks, other financial institutions and other Persons (as
defined below) from time to time party hereto (the “DIP Lenders”) and CREDIT SUISSE AG, CAYMAN
ISLANDS BRANCH, as Issuing Lender and DIP Agent.

         Holdings, Kingpin, the Borrower and each other Loan Party (as defined herein) filed voluntary
petitions for relief under Chapter 11 of the Bankruptcy Code in the United States Bankruptcy Court for
the Eastern District of Virginia (the “Bankruptcy Court”) on November 12, 2012 (the “Petition Date”);

        Each of the Loan Parties is continuing in the possession of its assets and in the management of its
business as a debtor-in-possession pursuant to Sections 1107(a) and 1108 of the Bankruptcy Code;

         The Loan Parties have requested the DIP Lenders to provide credit facilities (the “DIP Facility”)
to the Borrower in an aggregate principal amount of $50,000,000 for the purposes described herein.

         To provide security for the repayment of the loans made available pursuant hereto and payment
of the other obligations of the Borrower hereunder, the Loan Parties have agreed to provide the DIP
Agent and the DIP Lenders, in each case, subject to the Carve-Out (as defined below), with Liens on the
Collateral (as defined below).

        The DIP Lenders are willing to make the requested credit facilities available on the terms and
conditions set forth herein. Accordingly, the parties hereto agree as follows:

                                              ARTICLE I
                                             DEFINITIONS

                Section 1.01    Defined Terms. The following terms, as used herein, have the following
meanings:

                 “Accession Agreement” means an agreement, substantially in the form of Exhibit I
hereto, executed and delivered by an Additional Subsidiary Guarantor (including a Foreign Subsidiary)
after the Closing Date in accordance with Section 6.10(a) or (d).

                  “Account Control Agreement” means (i) with respect to a Deposit Account, a deposit
account control agreement, reasonably acceptable in form and substance to the Collateral Agent, among
one or more Loan Parties, the Collateral Agent and the bank which maintains such Deposit Account
(execution of such agreement shall be conclusive evidence of such approval of the Collateral Agent) and
(ii) with respect to a Securities Account, a securities account control agreement, reasonably acceptable in
form and substance to the Collateral Agent, among one or more Loan Parties, the Collateral Agent and the
Securities Intermediary which maintains such Securities Account (execution of such agreement shall be
conclusive evidence of such approval of the Collateral Agent), in each case as the same may be amended,
modified or supplemented from time to time.
Case 12-36495-KRH           Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                      Desc Main
                                  Document    Page 67 of 304


                “Account Debtor” means an “account debtor” (as defined in the UCC), and also means
and includes Persons obligated to pay negotiable instruments and other Receivables.

                “Accounts” means (i) all “accounts” (as defined in the UCC), (ii) all of the rights of any
Loan Party in, to and under all purchase orders for goods, services or other property, (iii) all of the rights
of any Loan Party to any goods, services or other property represented by any of the foregoing (including
returned or repossessed goods and unpaid seller's rights of rescission, replevin, reclamation and rights to
stoppage in transit) and (iv) all monies due to or to become due to any Loan Party under any and all
contracts for any of the foregoing (in each case, whether or not yet earned by performance on the part of
such Loan Party), including, without limitation, the right to receive the Proceeds of said purchase orders
and contracts and all Supporting Obligations of any kind given by any Person with respect to all or any of
the foregoing.

                “Additional Collateral Documents” has the meaning set forth in Section 6.10(b).

                 “Additional Subsidiary Guarantor” means each Person that becomes a Subsidiary
Guarantor after the Closing Date by execution of an Accession Agreement as provided in Section 6.10.

                “Adequate Protection Provisions” means provisions in an Order that provide:

                  (a)      the First Lien Agent, on behalf of and for the benefit of the First Lien Lenders,
and the First Lien Lenders, as adequate protection for the use of the First Lien Prepetition Collateral (and
subject to the Carve-Out): (i) upon entry of the Interim Order, payment of all accrued and unpaid
amortization payments, interest (including interest on the overdue amortization payments and unpaid and
accrued interest at the default rate, to the extent allowable) and reasonable and documented (in summary
form), out-of-pocket fees due to the First Lien Agent and/or First Lien Lenders, as applicable, owed prior
to the Petition Date as set forth in the First Lien Loan Documents; (ii) upon entry of the Interim Order,
payment of all unpaid out-of-pocket fees, costs and expenses, owed prior to and as of the Petition Date, of
(x) the First Lien Agent (including all reasonable fees, costs, disbursements and expenses of its outside
counsel, K&S, its local counsel and one financial advisor, if any, retained by K&S pursuant to the terms
hereof and the DIP Loan Documents) and (y) certain of the First Lien Lenders (the “First Lien Ad Hoc
Group”) (including all reasonable fees, expenses and disbursements of (A) their outside counsel, Stroock
and their local counsel, (B) Miller Buckfire, as financial advisor to the First Lien Ad Hoc Group (pursuant
to that certain letter of engagement dated as of July 3, 2012 by and among Stroock, Miller Buckfire, and
certain of the Debtors), and (C) any other professional advisors engaged by Stroock); (iii) current
amortization payments, interest (at the non-default rate) and reasonable and documented (in summary
form), out-of-pocket fees due to the First Lien Agent and/or First Lien Lenders, as applicable, as they
become due and owing (without regard to the commencement of the Chapter 11 Cases) as set forth in the
First Lien Loan Documents; (iv) the current payment of all reasonable and documented (in summary
form), out-of-pocket fees, costs and expenses of (x) the First Lien Agent (including all reasonable fees,
costs, disbursements and expenses of its outside counsel, K&S, its local counsel and one financial
advisor, if any, retained by K&S as provided in Section 10.04) and the First Lien Ad-Hoc Group
(including all reasonable, fees, expenses and disbursements of (A) their outside counsel, Stroock, (B)
Miller Buckfire and (C) any other professional advisors engaged by Stroock; (the items set forth in
clauses (i) through (iv), the “First Lien Adequate Protection Payments”), (v) the First Lien Adequate
Protection Liens; (vi) the First Lien Superpriority Claims, which claims will be junior to any claims that
may arise in relation to the DIP Obligations and be payable from and have recourse to all assets and
property of the Loan Party, and (vii) access to the Loan Parties’ books and records and such financial
reports as are provided to the DIP Agent, in each case to the extent set forth in this Agreement; and




                                                      2
Case 12-36495-KRH          Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                     Desc Main
                                 Document    Page 68 of 304


                  (b)      the Second Lien Agent, on behalf of and for the benefit of the Second Lien
Lenders, and the Second Lien Lenders, as adequate protection for the use of the Second Lien Prepetition
Collateral (and subject to the Carve-Out and the First Lien Adequate Protection Payments): upon entry of
and to the extent permitted under the Interim Order, (i) upon entry of the Interim Order, payment of all
unpaid out-of-pocket fees, costs and expenses owed prior to and as of the Petition Date, of (x) the Second
Lien Agent (including all reasonable fees, costs, disbursements and expenses of one outside counsel and
one local counsel) and (y) certain of the Second Lien Lenders (the “Second Lien Ad Hoc Group”)
(including all reasonable fees, expenses and disbursements of (A) their outside counsel, O’Melveny and
their local counsel, and (B) FTI, as financial advisor to the Second Lien Ad Hoc Group (pursuant to that
certain letter of engagement dated as of July 12, 2012 by and among O’Melveny, FTI, and certain of the
Debtors); (ii) payment of all reasonable and documented, out-of-pocket fees, costs and expenses of (x) the
Second Lien Agent (including all reasonable fees, costs, disbursements and expenses of one outside
counsel and one local counsel) and (y) the Second Lien Ad-Hoc Group (including all reasonable fees,
expenses and disbursements of (A) their outside counsel, O’Melveny and their local counsel, and (B) FTI,
as financial advisor to the Second Lien Ad-Hoc Group; provided, that the payments in clauses (i) and (ii)
shall be limited as and to the extent set forth in any Order; (iii) the Second Lien Adequate Protection
Liens, which Liens will be junior to the Liens of the DIP Lenders under the DIP Facility and the First
Lien Adequate Protection Liens; (iv) the Second Lien Superpriority Claims, which claims will be junior
to any claims that may arise in relation to the DIP Obligations and the First Lien Superpriority Claims and
be payable from and have recourse to all assets and property of the Loan Parties; and (v) access to the
Loan Parties’ books and records and such financial reports as are provided to the DIP Agent, in each case
to the extent set forth in this Agreement.

                 “Adjusted Eurodollar Rate” means, for any Interest Period, the quotient obtained
(expressed as a decimal, carried out to five decimal places) by dividing (i) the applicable Eurodollar Rate
for such Interest Period by (ii) 1.00 minus the Eurodollar Reserve Percentage; provided, that in no event
shall the Adjusted Eurodollar Rate at any time be less than 1.75% per annum. The Adjusted Eurodollar
Rate for each outstanding Loan shall be adjusted automatically on and as of the effective date of any
change in the Eurodollar Reserve Percentage.

              “Administrative Office” means the DIP Agent’s office located at Eleven Madison
Avenue, New York, New York 10010, or such other office in New York City as may be designated by the
DIP Agent by written notice to the Borrower and the DIP Lenders.

                “Affected Lender” has the meaning set forth in Section 3.06.

                 “Affiliate” means, with respect to any Person, (i) any Person that directly, or indirectly
through one or more intermediaries, controls such Person (a “Controlling Person”) or (ii) any other Person
which is controlled by or is under common control with a Controlling Person. As used herein, the term
“control” means (i) with respect to any Person having voting shares or their equivalent and elected
directors, managers or Persons performing similar functions, the possession, directly or indirectly, of the
power to vote 10% or more of the Equity Interests having ordinary voting power of such Person or (ii) the
possession, directly or indirectly, of the power to direct or cause the direction of the management and
policies of such Person, whether through the ownership of voting shares or their equivalent, by contract or
otherwise

                “Agent” means the DIP Agent or the Collateral Agent and any successors and assigns in
such capacity, and “Agents” means any two or more of them.

                “Agreement” means this Senior Secured Loan Party-In-Possession Credit Agreement, as
amended, restated, modified or supplemented from time to time.




                                                    3
Case 12-36495-KRH          Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                     Desc Main
                                 Document    Page 69 of 304


                “Anti-Terrorism Laws” means any Laws relating to terrorism or money-laundering,
including, without limitation, (i) Executive Order No. 13224 on Terrorist Financing, effective September
24, 2001 and relating to Blocking Property and Prohibiting Transactions with Persons Who Commit,
Threaten to Commit, or Support Terrorism, (ii) the U.S. Patriot Act, (iii) the International Emergency
Economic Power Act, 50 U.S.C. §1701 et seq., (iv) the Bank Secrecy Act, (v) the Trading with the
Enemy Act, 50 U.S.C. App. 1 et seq. and (vi) any related rules and regulations of the U.S. Treasury
Department’s Office of Foreign Assets Control or any other Governmental Authority, in each case as the
same may be amended, supplemented, modified, replaced or otherwise in effect from time to time.

                 “Applicable Lending Office” means (i) with respect to any DIP Lender (other than the
Issuing Lender), the “Lending Office” of such DIP Lender (or of an Affiliate of such DIP Lender)
designated on Schedule 1.01D hereto or in any applicable Assignment and Acceptance pursuant to which
such DIP Lender became a DIP Lender hereunder or such other office of such DIP Lender (or of an
Affiliate of such DIP Lender) as such DIP Lender may from time to time (so long as no additional cost to
the Borrower results) specify to the DIP Agent and the Borrower as the office by which its Loans are to
be made and maintained, and (ii) with respect to the Issuing Lender and for each Letter of Credit, the
“Lending Office” of the Issuing Lender (or of an Affiliate of the Issuing Lender) designated on the
signature pages hereto or such other office of the Issuing Lender (or of an Affiliate of the Issuing Lender)
as the Issuing Lender may from time to time specify (so long as no additional cost to the Borrower
results) to the DIP Agent and the Borrower as the office by which its Letters of Credit are to be issued and
maintained.

                “Applicable Margin” means a rate per annum equal to (x) 7.75% in the case of Base Rate
Loans and (y) 8.75% in the case of Eurodollar Rate Loans.

                 “Approved Fund” means (i) with respect to any DIP Lender, an entity (whether a
corporation, partnership, limited liability company, trust or otherwise) that is engaged in making,
purchasing, holding or otherwise investing in bank loans and similar extensions of credit in the ordinary
course of its business and is managed by such DIP Lender, its parent holding company or any of their
respective Subsidiaries, (ii) with respect to any DIP Lender that is a fund that invests in bank loans and
similar extensions of credit, any other fund that invests in bank loans and similar extensions of credit and
is managed by the same investment advisor as such DIP Lender or by any parent company of such DIP
Lender or any of their respective Subsidiaries and (iii) any special purpose funding vehicle described in
Section 10.06(h).

                 “Asset Disposition” means any sale (including any Sale/Leaseback Transaction, whether
or not involving a Capital Lease), lease (as lessor), transfer or other disposition (including any such
transaction effected by way of merger or consolidation and including any sale or other disposition of
Equity Interests of a Subsidiary, but excluding any sale or other disposition by way of Casualty or
Condemnation) by any Group Company of any asset. For the avoidance of doubt, an Equity Issuance by
any Person of its own Equity Interests shall not constitute an Asset Disposition by that Person.

                “Assignment and Acceptance” means an Assignment and Acceptance, substantially in the
form of Exhibit C hereto, under which an interest of a DIP Lender hereunder is transferred to an Eligible
Assignee pursuant to Section 10.06(b).

                 “Attributable Debt” means, at any date (i) in respect of any Capital Lease of any Person,
the capitalized amount thereof that would appear on a balance sheet of such Person prepared as of such
date in accordance with GAAP, (ii) in respect of any Synthetic Lease Obligation of any Person, the
capitalized or principal amount of the remaining lease payments under the relevant lease that would
appear on a balance sheet of such Person prepared as of such date in accordance with GAAP if such lease




                                                     4
Case 12-36495-KRH          Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                      Desc Main
                                 Document    Page 70 of 304


or other agreement were accounted for as a Capital Lease and (iii) in respect of any Sale/Leaseback
Transaction, the lesser of (A) the present value, discounted in accordance with GAAP at the interest rate
implicit in the related lease, of the obligations of the lessee for net rental payments over the remaining
term of such lease (including any period for which such lease has been extended or may, at the option of
the lessor be extended) and (B) the fair market value of the assets subject to such transaction.

               “Availability Period” means the period commencing on the Closing Date up to but
excluding the DIP Termination Date.

                “Bank Secrecy Act” means the Financial Recordkeeping and Reporting of Currency and
Foreign Transactions Act of 1970, 31 U.S.C. 1051, et seq., as the same may be amended, supplemented,
modified, replaced or otherwise in effect from time to time.

               “Bankruptcy Code” means Title 11 of the United States Code entitled “Bankruptcy,” as
now and hereafter in effect, or any successor statute.

                 “Bankruptcy Court” has the meaning set forth in the recitals.

                 “Base Rate” means, for any day, a rate per annum equal to the higher of (i) the Prime
Rate for such day and (ii) the sum of 1/2 of 1% plus the Federal Funds Rate for such day. Any change in
the Base Rate due to a change in the Prime Rate or the Federal Funds Rate shall be effective on the
effective date of such change in the Prime Rate or the Federal Funds Rate; provided, that in no event shall
the Base Rate at any time be less than 2.75% per annum.

                 “Base Rate Loan” means any Loan during any period in which it bears interest based on
the Base Rate.

              “Basel III” means the reforms and measures developed by the Basel Committee on
Banking Supervision and known as Basel III.

                 “Borrower” means AMF Bowling Worldwide, Inc., and its successors.

                 “Borrowing” means the making of a Term Loan by the DIP Lenders to the Borrower.

                 “Bowling Equipment” means any of the following, whether now existing or hereafter
arising: all pin setting machines (pinsetters/pinspotters), ball returns, settees, scoring systems (including
front desk systems), lanes, lane cleaning machines, bumpers, approaches, foul lights, gutters and masking
units.

                “Budget” means a cash flow forecast setting forth all cumulative cash receipts and
expenditures on a weekly basis and required cumulative expenses for the period beginning as of the week
of the Petition Date through the Scheduled Maturity Date, broken down by week, including the
anticipated weekly uses of the proceeds of the DIP Facility for such period, which shall include, among
other things, available cash, cash flow, trade payables and ordinary course expenses, total expenses and
capital expenditures, fees and expenses relating to the DIP Facility, fees and expenses related to the
Chapter 11 Cases, and working capital and other general corporate needs, which forecast shall be in form
and substance satisfactory to the DIP Agent at the direction of the Required DIP Lenders.

              “Business Day” means any day except a Saturday, Sunday or other day on which
commercial banks in The City of New York are authorized or required to close, except that:




                                                     5
Case 12-36495-KRH          Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                      Desc Main
                                 Document    Page 71 of 304


                         (i)    when used in Section 2.05 with respect to any action taken by or with
        respect to the Issuing Lender in respect of a Letter of Credit, the term “Business Day” shall not
        include any day on which commercial banks are authorized by law to close in the jurisdiction
        where the Issuing Lender’s Applicable Lending Office is located; and

                        (ii)     if such day relates to a borrowing of, a payment or prepayment of
        principal of or interest on, or the Interest Period for, a Eurodollar Loan, or a notice by the
        Borrower with respect to any such borrowing, payment, prepayment or Interest Period, such day
        shall also be a day on which commercial banks are open for international business (including
        dealings in Dollar deposits) in London.

                “Capital Expenditures” means for any period the aggregate amount of all expenditures
(whether paid in cash or other consideration or accrued as a liability) that would, in accordance with
GAAP, be included as additions to property, plant and equipment and other capital expenditures of
Holdings and its Consolidated Subsidiaries for such period, as the same are or would be set forth in a
consolidated statement of cash flows of Holdings and its Consolidated Subsidiaries for such period
(including the amount of assets leased under any Capital Lease).

                “Capital Lease” of any Person means any lease of (or other arrangement conveying the
right to use) property (whether real, personal or mixed) by such Person as lessee which would, in
accordance with GAAP, be required to be accounted for as a capital lease on the balance sheet of such
Person.

                “Capital Lease Obligations” means, with respect to any Person, all obligations of such
Person as lessee under Capital Leases, in each case taken at the amount thereof accounted for as liabilities
in accordance with GAAP.

                 “Carve-Out” means (i) all fees required to be paid to the Clerk of the Bankruptcy Court
and to the Office of the United States Trustee under 28 U.S.C. § 1930(a) plus interest pursuant to 31
U.S.C. § 3717; (ii) all reasonable fees and expenses incurred by a trustee under Section 726(b) of the
Bankruptcy Code in an aggregate amount not to exceed $25,000; (iii) to the extent allowed by the
Bankruptcy Court at any time, all accrued and unpaid fees, disbursements, costs and expenses incurred by
professionals or professional firms retained by the Loan Parties (collectively, the “Professionals”) and
any official committee of creditors at any time before or on the date and time of the delivery by the DIP
Agent at the direction of the Required DIP Lenders of a Carve-Out Trigger Notice, whether allowed by
the Bankruptcy Court prior to or after delivery of a Carve-Out Trigger Notice; and (iv) after the date that
is one (1) Business Day after the date of the delivery by the DIP Agent at the direction of the Required
DIP Lenders of the Carve-Out Trigger Notice, to the extent allowed by the Bankruptcy Court at any time,
all unpaid fees, disbursements, costs and expenses incurred by the Professionals and the Committee in an
aggregate amount not to exceed $450,000 (such amount set forth in clause (iv), the “Post-Carve-Out
Trigger Notice Cap”); provided, however, nothing herein shall be construed to impair the ability of any
party to object to any fees, expenses, reimbursement or compensation sought by any such professional or
any other person or entity. For the avoidance of doubt and notwithstanding anything to the contrary
herein or elsewhere, (1) the payment of all accrued and unpaid fees, disbursements, costs, and expenses
incurred by the Loan Parties pursuant to clause (iii) above shall not be subject to any budget, including
the Budget, and (2) the Carve-Out shall be senior to all liens securing the DIP Obligations, the adequate
protection liens, all claims and any and all other forms of adequate protection, liens or claims securing the
DIP Obligations.

                 “Carve-Out Trigger Notice” means a written notice delivered by the DIP Agent at the
direction of the Required DIP Lenders to the Loan Parties and their counsel, the United States Trustee,




                                                     6
Case 12-36495-KRH          Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                      Desc Main
                                 Document    Page 72 of 304


and lead counsel to any Committee, which notice may be delivered following the occurrence of an Event
of Default, and stating that the Post-Carve-Out Trigger Notice Cap has been invoked.

               “Cash Collateralize” means to deliver to the Issuing Lender as collateral for one or more
LC Obligations, cash or deposit balances pursuant to Section 2.05(t).

                “Cash Equivalents” means, at any date of determination:

                        (i)       securities issued or directly and fully guaranteed or insured by the United
        States or any agency or instrumentality thereof (provided that the full faith and credit of the
        United States is pledged in support thereof) or, with respect to any Foreign Subsidiary, an
        equivalent obligation of the government of the country in which such Foreign Subsidiary
        transacts business, in each case maturing within one year after such date;

                        (ii)    time deposits and certificates of deposit, including eurodollar time
        deposits, and, with respect to any Foreign Subsidiary, time deposits in the currency of any
        country in which such Foreign Subsidiary transacts business, of any commercial bank organized
        in the United States having capital and surplus in excess of $100,000,000 or, with respect to any
        Foreign Subsidiary, a commercial bank organized under the laws of any other country in which
        such Foreign Subsidiary transacts business having total assets in excess of $100,000,000 (or its
        foreign currency equivalent) with a maturity date not more than one year from the date of
        acquisition;

                       (iii)    repurchase obligations with a term of not more than seven calendar days
       for underlying securities of the types described in clause (i) above entered into with any bank
       meeting the qualifications specified in clause (ii) above and organized in the United States;

                        (iv)     direct obligations issued by any state of the United States or any political
        subdivision of any state or any public instrumentality thereof maturing within ninety
        (90) calendar days after the date of acquisition thereof and, at the time of acquisition, having one
        of the two highest ratings obtainable from either S&P or Moody's (or, if at any time neither S&P
        nor Moody's shall be rating such obligations, then from such other nationally recognized rating
        service reasonably acceptable to the DIP Agent);

                        (v)      commercial paper issued by the parent corporation of any commercial
       bank organized in the United States having capital and surplus in excess of $100,000,000 or, with
       respect to any Foreign Subsidiary, a commercial bank organized under the laws of any other
       country in which such Foreign Subsidiary transacts business having total assets in excess of
       $100,000,000 (or its foreign currency equivalent), and commercial paper issued by others having
       one of the two highest ratings obtainable from either S&P or Moody's (or, if at any time neither
       S&P nor Moody's shall be rating such obligations, then from such other nationally recognized
       rating services reasonably acceptable to the DIP Agent) and in each case maturing within
       one year after the date of acquisition;

                      (vi)      overnight bank deposits and bankers' acceptances at any commercial
       bank organized in the United States having capital and surplus in excess of $100,000,000, or with
       respect to any Foreign Subsidiary, a commercial bank organized under the laws of any other
       country in which such Foreign Subsidiary transacts business having total assets in excess of
       $100,000,000 (or its foreign currency equivalent);




                                                     7
Case 12-36495-KRH           Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                       Desc Main
                                  Document    Page 73 of 304


                        (vii)    deposits available for withdrawal on demand with commercial banks
        organized in the United States having capital and surplus in excess of $50,000,000 or, with
        respect to any Foreign Subsidiary, a commercial bank organized under the laws of any other
        country in which such Foreign Subsidiary transacts business having total assets in excess of
        $50,000,000 (or its foreign currency equivalent); and

                        (viii) investments in money market funds substantially all of whose assets
        comprise securities of the types described in clauses (i) through (vii).

                 “Cash Management Agreement” means any agreement to provide cash management
services, including treasury, depository, overdraft, credit or debit card, electronic funds transfer and other
cash management arrangements.

              “Cash Management Bank” means any Person that, at the time it enters into a Cash
Management Agreement, is a DIP Lender or an Affiliate of a DIP Lender, in its capacity as a party to
such Cash Management Agreement.

                  “Cash Management Obligation” means, as applied to any Person, any direct or indirect
liability, contingent or otherwise, of such Person under or in respect of a Cash Management Agreement.

               “Cash-On-Hand” means cash and Cash Equivalents of Holdings, Kingpin, the Borrower
and their Consolidated Subsidiaries (excluding any cash proceeds received directly or indirectly by the
Borrower from Equity Issuances by Holdings and any capital contributions received directly or indirectly
by the Borrower or Kingpin from the holders of the Equity Interests of Holdings).

                  “Casualty” means any casualty, loss, damage, destruction or other similar loss with
respect to real or personal property or improvements.

                 “Challenge” means an adversary proceeding or contested matter, as required by the
applicable Federal Rules of Bankruptcy Procedure, to the findings, the Loan Parties’ stipulations, or any
other stipulations contained in the Orders, including, without limitation, any challenge to the validity,
priority or enforceability of the liens securing the obligations under the First Lien Loan Documents, or
assertion of any claim or cause of action against the First Lien Agent or the First Lien Lenders arising
under or in connection with the First Lien Loan Documents or the First Lien Obligations, as the case may
be, whether in the nature of a setoff, counterclaim or defense of First Lien Obligations, or otherwise.

                 “Change in Law” means the occurrence, after the date of this Agreement, of any of the
following: (i) the adoption or taking effect of any applicable law, rule, regulation or treaty, (ii) any change
in any applicable law, rule, regulation or treaty or in the administration, interpretation or application
thereof by any Governmental Authority or (iii) the making or issuance of any request, guideline or
directive (whether or not having the force of law) by any Governmental Authority.

                 “Change of Control” means the occurrence of any of the following events:

                        (i)      (A) Holdings shall cease to own directly 100% of the Equity Interests of
        Kingpin, on a fully-diluted basis assuming the conversion and exercise of all outstanding Equity
        Equivalents (whether or not such securities are then currently convertible or exercisable), (B)
        Kingpin shall cease to own directly 100% of the Equity Interests of the Borrower, on a fully-
        diluted basis assuming the conversion and exercise of all outstanding Equity Equivalents
        (whether or not such securities are then currently convertible or exercisable), (C) the Sponsor
        Group shall cease to own beneficially (as defined in the Exchange Act), directly or indirectly, at




                                                      8
Case 12-36495-KRH           Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                       Desc Main
                                  Document    Page 74 of 304


        least 35% of the Equity Interests of Holdings (such percentage to be computed without regard to
        any Qualifying Equity Issuances by Holdings of its Equity Interests), (D) any “person” or
        “group” (as each such term is defined in the Exchange Act), other than the Sponsor Group, is or
        becomes the “beneficial owner” (as defined in the Exchange Act except that a Person will be
        deemed to have beneficial ownership of all shares that such Person has the right to acquire,
        whether such right is exercisable immediately or only after the passage of time), directly or
        indirectly, of a greater percentage of the voting Equity Interests of Holdings than the percentage
        of the voting Equity Interests of Holdings then owned beneficially, directly or indirectly, by the
        Sponsor Group or (E) the failure at any time of the Investor Group to control, whether through the
        ownership of voting securities or by contract, a majority of the seats on the board of directors (or
        persons performing similar functions) of Holdings; or

                         (ii)    during any period of two consecutive calendar years, individuals who at
        the beginning of such period constituted the board of directors (or persons performing similar
        functions) of Holdings together with any new members of such board of directors (A) whose
        elections by such board of directors or whose nominations for election by the equityholders of
        Holdings was approved by a vote of a majority of the members of such board of directors then
        still in office who either were directors at the beginning of such period or whose election or
        nomination for election was previously so approved or by any new directors who were nominated
        to serve on behalf of the Investor Group or (B) elected or appointed by the Investor Group, cease
        for any reason to constitute a majority of the directors of Holdings still in office; or

                       (iii)   a “change of control”, as defined in the First Lien Credit Agreement or
        Second Lien Credit Agreement, occurs.

                   “Chapter 11 Cases” means the case to be filed under Chapter 11 of the Bankruptcy Code
by Borrower in its capacity as a debtor and debtor-in-possession in the Bankruptcy Court, together with
the cases of its affiliated debtors and debtors-in-possession.

                 “Claims” means all Commercial Tort Claims, each of the claims described on Schedule
11.01(a) hereto, as such Schedule may be amended, modified or supplemented from time to time, and all
claims, causes of action and similar rights and interests (however characterized) of a Loan Party, whether
arising in contract, tort or otherwise, and whether or not subject to any action, suit, investigation or legal,
equitable, arbitration or administrative proceedings.

                “Closing Date” means November 13, 2012, or such later date as may be mutually agreed
by the Loan Parties and the Required DIP Lenders.

                  “Code” means the Internal Revenue Code of 1986, as amended, and any successor statute
thereto, as interpreted by the rules and regulations issued thereunder, in each case as in effect from time to
time.

                 “Collateral” has the meaning set forth in Section 11.01(a).

                 “Collateral Agent” means Credit Suisse AG, Cayman Islands Branch, in its capacity as
collateral agent for the Secured Parties under the DIP Loan Documents, and its successor or successors in
such capacity.

              “Collateral Documents” means, collectively, any pledges, security agreements, patent,
trademark or copyright filings or mortgages delivered and any instruments of assignment, Account




                                                      9
Case 12-36495-KRH          Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                      Desc Main
                                 Document    Page 75 of 304


Control Agreements, lockbox letters or other instruments or agreements executed pursuant to the
foregoing, and any Additional Collateral Documents.

                “Commitment” means (i) with respect to each DIP Lender (other than the Issuing
Lender), its Term Loan Commitment, as and to the extent applicable and (ii) with respect to the Issuing
Lender, its LC Commitment, in each case as set forth on Schedule 1.01A or Assignment and Acceptance,
as any such amount may be increased or decreased from time to time pursuant to this Agreement.

               “Committee” means the official committee of unsecured creditors appointed in the
Chapter 11 Cases.

                “Compliance Certificate” means, for any period, the certificate required for such period
under Section 6.01(c).

                 “Computer Hardware” means all computer and other electronic data processing hardware
of a Loan Party, whether now or hereafter owned, licensed or leased by such Loan Party, including,
without limitation, all integrated computer systems, central processing units, memory units, display
terminals, printers, features, computer elements, card readers, tape drives, hard and soft disk drives,
cables, electrical supply hardware, generators, power equalizers, accessories, peripheral devices and other
related computer hardware, all documentation, flowcharts, logic diagrams, manuals, specifications,
training materials, charts and pseudo codes associated with any of the foregoing and all options,
warranties, services contracts, program services, test rights, maintenance rights, support rights, renewal
rights and indemnifications relating to any of the foregoing.

                 “Condemnation” means any taking by a Governmental Authority of property or assets, or
any part thereof or interest therein, for public or quasi-public use under the power of eminent domain, by
reason of any public improvement or condemnation.

                “Condemnation Award” means all proceeds of any Condemnation or transfer in lieu
thereof.

                 “Consolidated EBITDA” means for any period the sum of (i) Consolidated Net Income
for such period (excluding therefrom (x) any extraordinary, unusual or non-recurring items of gain or
loss, (y) any gain or loss from discontinued operations and (z) any gain or loss attributable to Asset
Dispositions made other than in the ordinary course of business), plus (ii) to the extent not otherwise
included in the determination of Consolidated Net Income for such period, all proceeds of business
interruption insurance policies, if any, received during such period plus (iii) (without duplication) an
amount which, in the determination of Consolidated Net Income for such period, has been deducted for
(A) Consolidated Interest Expense, (B) provisions for Federal, state, local and foreign income, franchise,
state single business unitary and similar taxes, (C) depreciation, amortization (including, without
limitation, amortization of goodwill and other intangible assets), impairment of goodwill and other non-
cash charges or expenses (excluding any such non-cash charge to the extent that it represents amortization
of a prepaid cash expense that was paid in a prior period), (D) non-cash compensation expense, or other
non-cash expenses or charges, arising from the sale of stock, the granting of stock options, the granting of
stock appreciation rights and similar arrangements (including any repricing, amendment, modification,
substitution or change of any such stock, stock option, stock appreciation rights or similar arrangements),
(E) non-cash rent expense, (F) expenses incurred by Holdings or any Consolidated Subsidiary to the
extent reimbursed in cash by a third party other than Holdings or one or more of its Consolidated
Subsidiaries, (G) losses from foreign currency adjustments, (H) losses in respect of pension or other post-
retirement benefits or pension assets, (I) write-offs of deferred financing costs, (J) expenses in respect of
earn-out obligations, (K) any financial advisory fees, accounting fees, legal fees and similar advisory and




                                                     10
Case 12-36495-KRH          Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                     Desc Main
                                 Document    Page 76 of 304


consulting fees and related out-of-pocket expenses of the Borrower and its Consolidated Subsidiaries
incurred as a result of Foreign Asset Dispositions, (L) cash charges and expenses in connections with
employee or management relocation or severance costs, including, without limitation, related to
Dispositions, all determined in accordance with GAAP and in each case eliminating any increase or
decrease in income resulting from non-cash accounting adjustments made in connection with Foreign
Asset Dispositions, and (M) any fees, costs and expenses of Holdings, Kingpin, the Borrower and their
direct or indirect Subsidiaries incurred in connection with the DIP Facility; minus (iv) any amount which,
in the determination of Consolidated Net Income for such period, has been added for any non-cash
income or non-cash gains, all as determined in accordance with GAAP, minus (v) the aggregate amount
of cash payments made during such period in respect of any non-cash accrual, reserve or other non-cash
charge or expense accounted for in a prior period and not otherwise reducing Consolidated Net Income
for such period minus (vi) any amount which, in the determination of Consolidated Net Income for such
period, has been added for interest income, gains from foreign currency adjustments and gains in respect
of pension or other post-retirement benefits or pension assets.

                 “Consolidated Interest Expense” means, for any period, the total interest expense,
whether paid or accrued and whether or not capitalized, (including, without limitation, amortization of
debt issuance costs and original issue discount, non-cash interest payments, the interest component of any
deferred payment obligations, the interest component of all payments under Capital Leases and the
implied interest component of Synthetic Leases (regardless of whether accounted for as interest expense
under GAAP), all commissions, discounts and other fees and charges owed with respect to letters of credit
and bankers’ acceptances, in each case determined on a consolidated basis for such period.

                 “Consolidated Net Income” means, for any period, the net income (or net loss) after taxes
of Holdings and its Consolidated Subsidiaries for such period, determined on a consolidated basis in
accordance with GAAP; provided that there shall be excluded from the calculation of Consolidated Net
Income for any period (i) the income (or loss) of any Person in which any other Person (other than
Holdings or any of its Wholly-Owned Consolidated Subsidiaries) has an ownership interest, except to the
extent that any such income is actually received in cash by Holdings or such Wholly-Owned Consolidated
Subsidiary in the form of Restricted Payments during such period, (ii) the income (or loss) of any Person
accrued prior to the date it becomes a Consolidated Subsidiary of Holdings or is merged with or into or
consolidated with Holdings or any of its Consolidated Subsidiaries or that Person’s assets are acquired by
Holdings or any of its Consolidated Subsidiaries and (iii) the income of any Subsidiary of Holdings to the
extent that the declaration or payment of Restricted Payments or similar distributions by that Subsidiary
of that income is not at the time permitted by operation of the terms of its charter or any agreement,
instrument, judgment, decree, order, statute, rule or governmental regulation applicable to that Subsidiary.

                 “Consolidated Subsidiary” means with respect to any Person at any date any Subsidiary
of such Person or other entity the accounts of which would be consolidated with those of such Person in
its consolidated financial statements if such statements were prepared as of such date in accordance with
GAAP.

                “Contractual Obligation” has the meaning set forth in Section 11.04(a).

                “Copyright” means any of the following, whether now existing or hereafter arising,
created or acquired: (i) all common law and/or statutory rights in all copyrightable subject matter under
the laws of the United States or any other country (whether or not the underlying works of authorship
have been published); (ii) all registrations and applications for registration of any such copyright in the
United States or any other country, including registrations, recordings, supplemental, derivative or
collective work registrations and pending applications for registrations in the United States Copyright
Office or any other country; (iii) all computer programs, web pages, computer data bases and computer




                                                    11
Case 12-36495-KRH           Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                        Desc Main
                                  Document    Page 77 of 304


program flow diagrams, including all source codes and object codes related to any or all of the foregoing;
(iv) all tangible property embodying or incorporating any or all of the foregoing, whether in completed
form or in some lesser state of completion, and all masters, duplicates, drafts, versions, variations and
copies thereof, in all formats; (v) all claims for, and rights to sue for, past, present and future infringement
of any of the foregoing; (vi) all income, royalties, damages and payments now or hereafter due or payable
with respect to any of the foregoing, including, without limitation, damages and payments for past,
present or future infringements thereof and payments and damages under all Copyright Licenses in
connection therewith; and (vii) all rights in any of the foregoing, whether arising under the laws of the
United States or any foreign country or otherwise, to copy, record, synchronize, broadcast, transmit,
perform and/or display any of the foregoing or any matter which is the subject of any of the foregoing in
any manner and by any process now known or hereafter devised.

                “Copyright License” means any agreement now or hereafter in existence granting to any
Loan Party any rights, whether exclusive or non-exclusive, to use another Person’s copyrights or
copyright applications, or pursuant to which any Loan Party has granted to any other Person, any right,
whether exclusive or non-exclusive, with respect to any Copyright, whether or not registered.

                 “Credit Exposure” has the meaning set forth in the definition of “Required DIP Lenders”.

                 “Credit Extension” means a Borrowing or the issuance, renewal or extension of a Letter
of Credit.

                 “Debt” of any Person means at any date, without duplication, (i) all obligations of such
Person for borrowed money, (ii) all obligations of such Person evidenced by bonds, debentures, notes or
other similar instruments, (iii) all obligations of such Person under conditional sale or other title retention
agreements relating to property purchased by such Person to the extent of the value of such property
(other than customary reservations or retentions of title under agreements with suppliers entered into in
the ordinary course of business), (iv) all obligations, other than intercompany items, of such Person to pay
the deferred purchase price of property or services (other than trade accounts and accrued expenses
arising in the ordinary course of business), (v) the Attributable Debt of such Person in respect of Capital
Lease Obligations, (vi) all obligations of such Person to purchase securities or other property which arise
out of or in connection with the sale of the same or substantially similar securities or property and which
mature or otherwise become non-contingent on or prior to the Petition Date, (vii) all non-contingent
obligations (and, solely for purposes of Section 7.01 and Section 8.01(e), all contingent obligations) of
such Person to reimburse any bank or other Person in respect of amounts paid under a letter of credit,
bankers’ acceptance or similar instrument, (viii) all obligations of others secured by (or for which the
holder of such obligations has an existing right, contingent or otherwise, to be secured by) a Lien on, or
payable out of the proceeds of production from, any property or asset of such Person, whether or not such
obligation is assumed by such Person; provided that the amount of any Debt of others that constitutes
Debt of such Person solely by reason of this clause (viii) shall not for purposes of this Agreement exceed
the greater of the book value or the fair market value of the properties or assets subject to such Lien, (ix)
all Guaranty Obligations of such Person in respect of Debt of another Person, (x) all Debt Equivalents of
such Person and (xi) the Debt of any other Person (including any partnership in which such Person is a
general partner and any unincorporated joint venture in which such Person is a joint venturer) to the
extent such Person would be liable therefor under applicable law or any agreement or instrument by virtue
of such Person’s ownership interest in or other relationship with such entity, except to the extent the terms
of such Debt provide that such person shall not be liable therefor; provided that (x) Debt shall not include
earn-out obligations until matured or earned or employee consulting agreements and (y) the amount of
any Limited Recourse Debt of any Person shall be equal to the lesser of (A) the aggregate principal
amount of such Limited Recourse Debt for which such Person provides credit support of any kind
(including any undertaking agreement or instrument that would constitute Debt), is directly or indirectly




                                                      12
Case 12-36495-KRH          Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                      Desc Main
                                 Document    Page 78 of 304


liable as a guarantor or otherwise or is the lender and (B) the fair market value of any assets securing such
Debt or to which such Debt is otherwise recourse.

                  “Debt Equivalents” of any Person means any Equity Interest of such Person which by its
terms (or by the terms of any security for which it is convertible or for which it is exchangeable or
exercisable), or upon the happening of any event or otherwise (including an event which would constitute
a Change of Control but only to the extent such an event occurs), (A) matures or is mandatorily
redeemable or subject to any mandatory repurchase requirement, pursuant to a sinking fund or otherwise,
(B) is convertible into or exchangeable for Debt or Debt Equivalents or (C) is redeemable or subject to
any repurchase requirement arising at the option of the holder thereof, in each case, in whole or in part, on
or prior to the first anniversary of the Scheduled Maturity Date.

                “Debt Issuance” means the issuance by any Group Company of any Debt.

                “Default” means any condition or event which constitutes an Event of Default or which
with the giving of notice or lapse of time or both would, unless cured or waived, become an Event of
Default.

                  “Defaulting Lender” means at any time any DIP Lender that, within one Business Day of
when due, (i) has failed to make a Loan required pursuant to the terms of this Agreement, (ii) other than
as set forth in clause (i) above, has failed to pay to any Agent or any DIP Lender an amount owed by such
DIP Lender pursuant to the terms of the Agreement or any other DIP Loan Document unless such amount
is subject to a good faith dispute or (iii) has been deemed insolvent or has become subject to a
receivership or insolvency event.

                “Deposit Accounts” means all “deposit accounts” (as defined in the UCC) and also
means and includes all demand, time, savings, passbook or similar accounts maintained by a Loan Party
with a bank or other financial institution, whether or not evidenced by an Instrument, all cash and other
funds held therein and all passbooks related thereto and all certificates and Instruments, if any, from time
to time representing, evidencing or deposited into such deposit accounts.

                “DIP Agent” means Credit Suisse AG, Cayman Islands Branch, in its capacity as DIP
Agent for the DIP Lenders hereunder and under the other DIP Loan Documents, and its successor or
successors in such capacity.

               “DIP Commitment” means the aggregate Term Loan Commitment of the DIP Lenders
under the DIP Facility.

                “DIP Facility” has the meaning set forth in the recitals.

                “DIP Lender” means each Person listed on Schedule 1.01A and each Eligible Assignee
that becomes a DIP Lender pursuant to Section 10.06(b) and their respective successors and shall include
the Issuing Lender in such capacity.

                “DIP Liens” means the following Liens and security interests:

                 (a)     subject to the Carve-Out and subject only to Permitted Existing Liens, pursuant
to Section 364(d)(1) of the Bankruptcy Code, a first priority perfected senior priming Lien on, and
security interest in the First Lien Prepetition Collateral securing the First Lien Obligations, wherever
located, that may be subject to a validly perfected security interest in existence on the Petition Date
securing the First Lien Obligations under the First Lien Loan Documents (the “First Lien Credit




                                                     13
Case 12-36495-KRH           Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                      Desc Main
                                  Document    Page 79 of 304


Agreement Liens”), which First Lien Credit Agreement Liens shall be primed by and made subject and
subordinate to the perfected first priority senior priming Liens and security interests to be granted to the
DIP Agent for the benefit of the DIP Lenders, which senior priming Liens and security interests in favor
of the DIP Agent for the benefit of the DIP Lenders shall also be senior to the First Lien Adequate
Protection Liens, the Second Lien Adequate Protection Liens and the Liens securing the Second Lien
Obligations under the Second Lien Loan Documents (the “Second Lien Credit Agreement Liens”);

                  (b)     subject to the Carve-Out, pursuant to Section 364(c)(2) of the Bankruptcy Code,
a first priority perfected Lien on, and security interest in, all Collateral not subject to a Lien or security
interest on the Petition Date (including, without limitation, all funds in the DIP Priority Account);

                 (c)     subject to the Carve-Out, pursuant to Section 364(c)(3) of the Bankruptcy Code,
a junior perfected Lien on, and security interest in, all Collateral that is subject to a perfected Lien or
security interest on the Petition Date or subject to a Lien or security interest in existence on the Petition
Date that is perfected subsequent thereto as permitted by Section 546(b) of the Bankruptcy Code; and

                 (d)     all funds in the DIP Priority Account or any other Deposit Account of the Loan
Parties (except for payroll, employee benefits and trust accounts and League Funds).

               “DIP Loan Documents” means this Agreement, the Notes, the Fee Letter, the Collateral
Documents, the Intercompany Notes, each Accession Agreement, each LC Document, each Secured Cash
Management Agreement, each Account Control Agreement and all other related agreements and
documents issued or delivered hereunder or thereunder or pursuant hereto or thereto, in each case as the
same may be amended, modified or supplemented from time to time.

                “DIP Loans” means the Term Loans.

               “DIP Obligations” means all obligations of the Borrower and the other Loan Parties to
the DIP Agent and the DIP Lenders under the DIP Facility, including, without limitation, (i) all principal
and accrued interest, premiums (if any), costs, fees and expenses and (ii) all Cash Management
Obligations owing under any Secured Cash Management Agreement to a Cash Management Bank.

                 “DIP Priority Account” means a segregated account of the Borrower subject to a control
agreement with a securities intermediary acceptable to the DIP Agent, in form and substance satisfactory
to the DIP Agent, which establishes “control” (as defined in the UCC) in favor of the DIP Agent for the
benefit of the DIP Lenders.

                 “DIP Termination Date” means the earliest of: (i) the Scheduled Maturity Date, (ii) the
consummation of any sale of all or substantially all of the assets of the Loan Parties pursuant to Section
363 of the Bankruptcy Code, (iii) if the Final Order has not been entered, the date that is forty-five (45)
calendar days after the Petition Date, and (iv) the date of the acceleration of the DIP Loans and/or the
termination of the DIP Commitment pursuant to Section 8.02, and (v) the Effective Date.

                “Disclosure Statement” means a disclosure statement relating to the Plan, and all related
schedules, supplements, exhibits and orders.

                “Disclosure Statement Order” means an order of the Bankruptcy Court approving the
Disclosure Statement.

                “Dollars” and the sign “$” means lawful money of the United States.




                                                     14
Case 12-36495-KRH           Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                        Desc Main
                                  Document    Page 80 of 304


                “Domestic Subsidiary” means with respect to any Person each Subsidiary of such Person
which is incorporated under the laws of the United States or any state thereof or the District of Columbia,
and “Domestic Subsidiaries” means any two or more of them.

                 “Effective Date” means the effective date of the Plan.

                  “Eligible Assignee” means (i) any DIP Lender, (ii) any Affiliate of a DIP Lender, (iii)
any Approved Fund and (iv) any other commercial bank, finance company, insurance company or other
financial institution or fund (other than a natural Person) approved by (A) the DIP Agent at the direction
of the Required DIP Lenders, and (B) unless a Default or an Event of Default has occurred and is
continuing at the time any assignment is effected pursuant to Section 10.06(b), the Borrower (except the
consent of the Borrower shall be required in the case of an assignment to an Ineligible Assignee pursuant
to clause (iii) below), each such approval not to be unreasonably withheld, conditioned or delayed and
any such approval required of the Borrower to be deemed given by the Borrower if no objection from the
Borrower is received by the assigning DIP Lender and the DIP Agent within five Business Days after
notice of such proposed assignment has been provided by the assigning DIP Lender to the Borrower;
provided, however, that (i) Holdings and its Affiliates shall not qualify as Eligible Assignees, (ii) no
Person shall be an Eligible Assignee if such Person appears on the list of Specially Designated Nationals
and Blocked Persons prepared by the U.S. Treasury Department’s Office of Foreign Assets Control or the
purchase by such Person of an assignment or the performance by any Agent of its duties under the DIP
Loan Documents with respect to such Person violates or would violate any Anti-Terrorism Law, and (iii)
no Person shall be an Eligible Assignee if such Person (an “Ineligible Assignee”) is disclosed on a list of
competitors identified and accepted by the DIP Agent prior to the Effective Date, as updated from time to
time by the Borrower and approved by the DIP Agent and Required DIP Lenders (which approval shall
not be unreasonably withheld, conditioned or delayed).

                “Employee Benefit Arrangements” means in any jurisdiction the benefit schemes or
arrangements in respect of any employees or past employees operated by any Group Company or in
which any Group Company participates and which provide benefits on retirement, ill-health, injury, death
or voluntary withdrawal from or termination of employment, including termination indemnity payments
and life assurance and post-retirement medical benefits, other than ERISA Plans and Foreign Pension
Plans.

                “Environmental Laws” means all Laws relating in any way to the environment, the
preservation or reclamation of natural resources, the management, release or threatened release of any
Hazardous Material or health and safety matters.

                  “Environmental Liability” means any liability, contingent or otherwise (including any
liability for damages, costs of remediation, fines, penalties or indemnities), of any Group Company
directly or indirectly resulting from or based on (i) violation of any Environmental Law, (ii) the
generation, use, handling, transportation, storage, treatment or disposal of any Hazardous Material, (iii)
exposure to any Hazardous Material, (iv) the release or threatened release of any Hazardous Material into
the environment or (v) any contract, agreement or other consensual arrangement pursuant to which
liability is assumed or imposed with respect to any of the foregoing.

                 “Equipment” means all “equipment” (as defined in the UCC), including all items of
machinery, equipment, Computer Hardware, Bowling Equipment, furnishings and fixtures of every kind,
whether or not affixed to real property, as well as all motor vehicles, automobiles, trucks, trailers, railcars,
barges and vehicles of every description, handling and delivery equipment, all additions to, substitutions
for, replacements of or accessions to any of the foregoing, all attachments, components, parts (including
spare parts) and accessories whether installed thereon or affixed thereto and all fuel for any thereof and all




                                                      15
Case 12-36495-KRH          Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                      Desc Main
                                 Document    Page 81 of 304


options, warranties, service contracts, program services, test rights, maintenance rights, support rights,
improvement rights and indemnifications relating to any of the foregoing.

                 “Equity Equivalents” means with respect to any Person any rights, warrants, options,
convertible securities, exchangeable securities, indebtedness or other rights, in each case exercisable for
or convertible or exchangeable into, directly or indirectly, Equity Interests of such Person or securities
exercisable for or convertible or exchangeable into Equity Interests of such Person, whether at the time of
issuance or upon the passage of time or the occurrence of some future event.

                 “Equity Interests” means all shares of capital stock, partnership interests (whether general
or limited), limited liability company membership interests, beneficial interests in a trust and any other
interest or participation that confers on a Person the right to receive a share of profits or losses, or
distributions of assets, of an issuing Person, but excluding any debt securities convertible into such Equity
Interests.

                “Equity Issuance” means (i) any sale or issuance by any Group Company to any Person
other than Holdings or a Subsidiary of Holdings of any Equity Interests or any Equity Equivalents (other
than any such Equity Equivalents that constitute Debt) and (ii) the receipt by any Group Company of any
cash capital contributions, whether or not paid in connection with any issuance of Equity Interests of any
Group Company, from any Person other than Holdings or a Subsidiary of Holdings.

                 “ERISA” means the Employee Retirement Income Security Act of 1974, as amended,
and any rule or regulation issued thereunder.

                “ERISA Affiliate” means each business or entity which is a member of a “controlled
group of corporations”, under “common control” or an “affiliated service group” with a Group Company
within the meaning of Section 414(b), (c) or (m) of the Code, or required to be aggregated with a Group
Company under Section 414(o) of the Code or is under “common control” with a Group Company, within
the meaning of Section 4001(a)(14) of ERISA.

                “ERISA Event” means:

                          (i)    a reportable event as defined in Section 4043 of ERISA and the
        regulations issued under such section, with respect to an ERISA Plan, excluding, however, (A)
        such events as to which the PBGC by regulation has waived the requirement of Section 4043(a)
        of ERISA that it be notified within thirty (30) calendar days of the occurrence of such event and
        (B) the filing of the Chapter 11 Cases;

                         (ii)    the requirements of Section 4043(b) of ERISA apply with respect to a
        contributing sponsor, as defined in Section 4001(a)(13) of ERISA, of any ERISA Plan, and an
        event described in paragraph (9), (10), (11), (12) or (13) of Section 4043(c) of ERISA (other than
        the filing of the Chapter 11 Cases) is reasonably expected to occur with respect to such ERISA
        Plan within the following thirty (30) calendar days;

                         (iii)  (x) the failure to meet the minimum funding standard of Section 412 of
        the Code or Section 302 of ERISA with respect to any ERISA Plan (whether or not waived), the
        application for a minimum funding waiver under Section 412(c) of the Code or Sections 302(c) of
        ERISA with respect to any ERISA Plan, or the failure to make by its due date a required
        installment under Section 430(j) of the Code with respect to any ERISA Plan; or (y) the failure to
        make any required contribution to any Multiemployer Plan;




                                                     16
Case 12-36495-KRH         Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                     Desc Main
                                Document    Page 82 of 304


                        (iv)     (A) the incurrence of any liability by a Group Company or any ERISA
       Affiliate pursuant to Title I or IV of ERISA (other than premiums payable to the PBGC) or the
       penalty or excise tax provisions of the Code relating to employee benefit plans (as defined in
       Section 3 of ERISA), or (B) the occurrence or existence of any event, transaction or condition
       that could reasonably be expected to result (x) in the incurrence of any such liability by a Group
       Company or any ERISA Affiliate, or (y) in the imposition of any Lien on any of the rights,
       properties or assets of a Group Company or any ERISA Affiliate, in either case pursuant to Title I
       or IV of ERISA or to such penalty or excise tax provisions of the Code or to Section 401(a)(29)
       or 412 of the Code;

                        (v)     the provision by the administrator of any ERISA Plan pursuant to
       Section 4041(a)(2) of ERISA of a notice (or the reasonable expectation of such provision of
       notice) of intent to terminate such ERISA Plan in a distress termination described in Section
       4041(c) of ERISA, the institution by the PBGC of proceedings to terminate any ERISA Plan or
       appoint a trustee to administer any ERISA Plan or the occurrence of any event or condition which
       would reasonably be expected to constitute grounds under ERISA for the termination of, or the
       appointment of a trustee by the PBGC to administer, any ERISA Plan;

                       (vi)    the withdrawal of, or the incurrence of any potential liability by, a Group
       Company or ERISA Affiliate in connection with a complete or partial withdrawal (within the
       meaning of Section 4203 and 4205 of ERISA) from any Multiemployer Plan, the receipt by a
       Group Company or ERISA Affiliate of notice from any Multiemployer Plan that it is in
       reorganization or insolvency pursuant to Section 4241 or 4245 of ERISA, or that it intends to
       terminate or has terminated under Section 4041A or 4042 of ERISA;

                        (vii)   the imposition of liability (or the reasonable expectation thereof) on a
       Group Company or ERISA Affiliate pursuant to Section 4062, 4063, 4064 or 4069 of ERISA or
       by reason of the application of Section 4212(c) of ERISA;

                     (viii) the assertion of a claim (other than routine claims for benefits) against
       any ERISA Plan other than a Multiemployer Plan or the assets thereof, or against a Group
       Company in connection with any ERISA Plan;

                        (ix)    the receipt from the United States Internal Revenue Service of notice of
       the failure of any ERISA Plan (or any Employee Benefit Arrangement intended to be qualified
       under Section 401(a) of the Code) to qualify under Section 401(a) of the Code, or the failure of
       any trust forming part of any ERISA Plan (or under any Employee Benefit Arrangement intended
       to qualify under Section 501(a) of the Code) to qualify for exemption from taxation under Section
       501(a) of the Code, and, with respect to Multiemployer Plans, notice thereof to any Group
       Company;

                        (x)    a determination that any ERISA Plan is, or is expected to be, in “at risk”
       status (within the meaning of Section 430 of the Code or Section 303 of ERISA); and

                       (xi)     the establishment or amendment by a Group Company of any Welfare
       Plan that provides post-employment welfare benefits in a manner that would increase the liability
       of a Group Company.

                 “ERISA Plan” means an employee pension benefit plan which is covered by Title IV of
ERISA or subject to the minimum funding standards under Section 412 of the Code (currently or
hereafter), that is sponsored, maintained by, contributed to or for which there is an obligation to




                                                   17
Case 12-36495-KRH           Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                       Desc Main
                                  Document    Page 83 of 304


contribute by any Group Company or with respect to which any Group Company has liability (including
on account of any ERISA Affiliate), but not including a Multiemployer Plan.

                “Eurodollar Rate” means, for any Loan for the Interest Period applicable thereto:

                        (i)      the rate per annum determined by the DIP Agent to be the average
        British Bankers Association Interest Settlement Rate for deposits in Dollars (for delivery on the
        first day of such Interest Period) for a period of time comparable to such Interest Period,
        determined as of approximately 11:00 A.M. (London time) three Business Days prior to the first
        day of such Interest Period; or

                         (ii)     if the rate referenced in the preceding clause (i) is not available, the rate
        per annum determined by the DIP Agent as the rate of interest at which deposits in Dollars for
        delivery on the first day of such Interest Period in same day funds in the approximate amount of
        the Loan being made or continued by the DIP Agent and with a term equivalent to such Interest
        Period as would be offered by the DIP Agent’s London branch to major banks in the London
        interbank market at their request at approximately 11:00 A.M. (London time) three Business
        Days prior to the first day of such Interest Period.

                “Eurodollar Rate Loan” means any Loan during any period in which it bears interest
based on the Eurodollar Rate.

                “Eurodollar Reserve Percentage” means for any day during any Interest Period, the
reserve percentage (expressed as a decimal, carried out to five decimal places) in effect on such day,
whether or not applicable to any DIP Lender, under regulations issued from time to time by the Board of
Governors of the Federal Reserve System (or any other entity succeeding to the functions currently
performed thereby) for determining the maximum reserve requirement (including any emergency,
supplemental or other marginal reserve requirement) with respect to eurocurrency funding (currently
referred to “Eurocurrency liabilities”).

                “Event of Default” has the meaning set forth in Section 8.01.

                “Exchange Act” means the Securities Exchange Act of 1934, as amended, and the rules
and regulations promulgated thereunder.

                “Excluded Asset Disposition” means an Asset Disposition permitted pursuant to Section
7.05 other than (x) Asset Dispositions pursuant to Section 7.05(v), (x), and (xiii), or (y) pursuant to
Section 7.05(ix) to the extent such licenses exceed $100,000 in any Fiscal Year.

                “Excluded Collateral” has the meaning set forth in Section 11.01(a).

                 “Excluded Contract” means at any date any rights or interest of a Loan Party in, to or
under any agreement, contract, license, instrument, document or other general intangible (referred to
solely for purposes of this definition as a “Contract”) only to the extent, if any, that notwithstanding the
Chapter 11 Cases and the Orders, such Contract, under applicable law or by the express terms of a valid
and enforceable restriction in favor of a Person who is not a Group Company, (i) prohibits, or requires
any consent or establishes any other condition for, an assignment thereof or a grant of a security interest
therein by a Loan Party or (ii) would give any party to such Contract other than a Group Company an
enforceable right to terminate its obligations thereunder; provided that (x) rights to payment under any
such Contract otherwise constituting an Excluded Contract by virtue of this definition shall be included in
the Collateral to the extent permitted thereby or by Section 9-406 or Section 9-408 of the UCC, (y) all




                                                      18
Case 12-36495-KRH          Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                     Desc Main
                                 Document    Page 84 of 304


Proceeds paid or payable to any Loan Party from any sale, transfer or assignment of such Contract and all
rights to receive such Proceeds shall be included in the Collateral.

                 “Excluded Equipment” means at any date any equipment of a Loan Party which is subject
to, or secured by, a Capital Lease Obligation or Purchase Money Debt which is permitted under this
Agreement if and to the extent that (i) notwithstanding the Chapter 11 Cases and the Orders, the express
terms of a valid and enforceable restriction in favor of a Person who is not a Group Company which is
contained in the agreements or documents granting or governing such Capital Lease Obligation or
Purchase Money Debt secured thereby prohibits, or requires any consent or establishes any other
conditions for, an assignment thereof, or a grant of a security interest therein, by a Loan Party and (iii)
such restriction relates only to the asset or assets acquired by a Loan Party with the Proceeds of such
Capital Lease Obligation or Purchase Money Debt; provided that all Proceeds paid or payable to any
Loan Party from any sale, transfer or assignment or other voluntary or involuntary disposition of such
Equipment and all rights to receive such Proceeds shall be included in the Collateral to the extent not
otherwise required to be paid to the holder of the Capital Lease Obligation or Purchase Money Debt
secured by such Equipment.

                 “Excluded Taxes” means with respect to any Recipient on account of any payment to be
made by or on account of any obligation of the Loan Parties hereunder, (i) income or franchise taxes
imposed on (or measured by) net income by the United States or by the jurisdiction under the laws of
which such Recipient is organized or in which its principal office is located or, in the case of any DIP
Lender, in which its Applicable Lending Office is located, (ii) any branch profits taxes imposed by the
United States or imposed as a result of such Recipient being organized under the laws of, or having its
principal office in, or, in the case of any DIP lender, having its Applicable Lending Office located in, the
jurisdiction imposing such tax, (iii) in the case of any DIP Lender (other than an Eligible Assignee
pursuant to a request by the Borrower under Section 2.10(b)), any United Stated federal withholding tax
imposed on amounts payable to or for the account of such DIP Lender with respect to an applicable
interest in the DIP Loans or Commitment pursuant to a law in effect on the date on which (A) such DIP
Lender acquires such interest in the DIP Loan or Commitment or (B) such DIP Lender changes its
Applicable Lending Office, except in each case to the extent that, pursuant to Section 3.01, amounts with
respect to such taxes were payable either to such DIP Lender’s assignor immediately before such DIP
Lender became a party hereto or to such DIP Lender immediately before it changed its Applicable
Lending Office, (iv) taxes attributable to such Recipient’s failure to comply (other than as a result of a
Change in Law) with Section 3.01(d) and (v) any taxes imposed under FATCA.

                “Existing Letters of Credit” means, collectively, the letters of credit issued before the
Closing Date and described by date of issuance, letter of credit number, undrawn amount, name of
beneficiary and date of expiry on Schedule 2.05 hereto, and “Existing Letter of Credit” means any one of
them.

                “Failed Loan” has the meaning set forth in Section 2.03(e).

               “FATCA” means Sections 1471 through 1474 of the Code, as of the date of this
Agreement (or any amended or successor version that is substantively comparable and not materially
more onerous to comply with), any current or future regulations or official interpretations thereof and any
agreements entered into pursuant to Section 1471(b)(1) of the Code.

                 “Federal Funds Rate” means for any day the rate per annum equal to the weighted
average of the rates on overnight Federal funds transactions with members of the Federal Reserve System
arranged by Federal funds brokers on such day, as published by the Federal Reserve Bank of New York
on the Business Day next succeeding such day; provided that (i) if such day is not a Business Day, the




                                                    19
Case 12-36495-KRH          Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                    Desc Main
                                 Document    Page 85 of 304


Federal Funds Rate for such day shall be such rate on such transactions on the next preceding Business
Day as so published on the next succeeding Business Day, and (ii) if no such rate is so published on such
next succeeding Business Day, the Federal Funds Rate for such day shall be the average rate quoted to
Credit Suisse AG, Cayman Islands Branch on such day on such transactions as determined by the DIP
Agent.

               “Fee Letter” means that certain letter agreement, dated as of the date hereof, between
Borrower and the DIP Agent.

               “Final Order” means a final order of the Bankruptcy Court approving the DIP Facility, in
form and substance satisfactory to the DIP Agent and the Required DIP Lenders.

                 “First Lien Adequate Protection Liens” means replacement Liens to the extent of any
post-petition diminution in value of the First Lien Lenders’ interest in the First Lien Prepetition
Collateral, including replacement Liens on all unencumbered assets of the Loan Parties, which Liens will
be junior to the Liens of the DIP Lenders under the DIP Facility, Permitted Existing Liens and the Carve-
Out.

               “First Lien Adequate Protection Payments” has the meaning set forth in the definition of
“Adequate Protection Provisions”.

               “First Lien Ad-Hoc Group” has the meaning set forth in clause (a) of the definition of
“Adequate Protection Provisions.”

               “First Lien Agent” means Credit Suisse AG, Cayman Islands Branch, in its capacity as
Administrative Agent for the First Lien Lenders under the First Lien Credit Agreement and other First
Lien Loan Documents, and its successor or successors in such capacity.

                 “First Lien Credit Agreement” means the First Lien Credit Agreement, dated as of June
12, 2007 (as amended by Amendment No. 1 to First Lien Credit Agreement, dated as of May 8, 2009, and
Amendment No. 2 to First Lien Credit Agreement, dated as of May 3, 2012), among Borrower, Kingpin,
the First Lien Lenders and the First Lien Agent.

                “First Lien Credit Agreement Liens” has the meaning set forth in the definition of “DIP
Liens”.

                “First Lien Lenders” means each “Lender” as defined in the First Lien Credit Agreement.

                “First Lien Loan Documents” means the First Lien Credit Agreement and the other
Finance Documents (as defined in the First Lien Credit Agreement), and any other document related to or
evidencing the loans and obligations thereunder.

                “First Lien Obligations” means the “Obligations” as defined in the First Lien Credit
Agreement.

              “First Lien Prepetition Collateral” means the “Collateral” as defined in the First Lien
Credit Agreement securing the First Lien Obligations.

                “First Lien Superpriority Claims” means superpriority administrative expense claims
with respect to the First Lien Prepetition Collateral and to the extent of any post-petition diminution in




                                                   20
Case 12-36495-KRH           Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                        Desc Main
                                  Document    Page 86 of 304


value of the First Lien Lenders’ interest in the First Lien Prepetition Collateral, which claims will be
junior to the DIP Obligations, the Superpriority DIP Claims and the Carve-Out.

                 “First Testing Period” has the meaning set forth in the definition of “Permitted
Variances”.

                “Foreign Asset Disposition” means an Asset Disposition where the relevant asset is (i)
the stock or assets of a Foreign Subsidiary or the Qubica JV Entity or (ii) one or more assets of the
Borrower or a Domestic Subsidiary which are located outside the United States or any territory thereof.

               “Foreign Pension Plan” means any plan, fund (including, without limitation, any
superannuation fund) or other similar program established or maintained outside the United States by any
Group Company (other than a mandatory Governmental Authority plan) primarily for the benefit of
employees of any Group Company residing outside the United States, which plan, fund or other similar
program provides, or results in, retirement income, a deferral of income in contemplation of retirement or
payments to be made upon termination of employment, and which plan is not subject to ERISA or the
Code.

                 “Foreign Subsidiary” means with respect to any Person any Subsidiary of such Person
that is not a Domestic Subsidiary of such Person.

                 “FTI” means FTI Consulting, Inc.

                 “GAAP” means at any time generally accepted accounting principles as then in effect in
the United States, applied on a basis consistent (except for changes with which the Borrower’s
independent public accountants have concurred) with the most recent audited consolidated financial
statements of Holdings and its Consolidated Subsidiaries (or Kingpin and its Consolidated Subsidiaries,
as applicable) previously delivered to the DIP Lenders.

                   “General Intangibles” means all “general intangibles” (as defined in the UCC) and also
means and includes (i) all Payment Intangibles and other obligations and indebtedness owing to any Loan
Party (other than Accounts), from whatever source arising, (ii) all Claims, Judgments and/or Settlements,
(iii) all rights or claims in respect of refunds for taxes paid, (iv) all rights in respect of any pension plans
or similar arrangements maintained for employees of any Loan Party or any ERISA Affiliate, (v) all
interests in limited liability companies and/or partnerships which interests do not constitute Securities and
(vi) all Supporting Obligations of any kind given by any Person with respect to all or any of the
foregoing.

                 “Government Acts” has the meaning set forth in Section 2.05(s)(i).

                 “Governmental Authority” means any federal, state, local, provincial or foreign
government, authority, agency, central bank, quasi-governmental or regulatory authority, court or other
body or entity, and any arbitrator with authority to bind a party at law.

                 “Granting Lender” has the meaning set forth in Section 10.06(h).

                “Group Company” means any of Holdings, Kingpin, the Borrower or their respective
Subsidiaries (regardless of whether or not consolidated with Holdings, Kingpin or the Borrower for
purposes of GAAP), and “Group Companies” means all of them, collectively.

                 “Guaranteed DIP Obligations” has the meaning set forth in Section 12.01.




                                                      21
Case 12-36495-KRH          Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                     Desc Main
                                 Document    Page 87 of 304


              “Guarantor” means each of Holdings, Kingpin and the Subsidiary Guarantors, and
“Guarantors” means all of them, collectively.

                “Guaranty” has the meaning set forth in Section 12.01.

                 “Guaranty Obligation” means, with respect to any Person, without duplication, any
obligation (other than endorsements in the ordinary course of business of negotiable instruments for
deposit or collection) guarantying, intended to guaranty, or having the economic effect of guarantying,
any Debt or other obligation of any other Person in any manner, whether direct or indirect, and including,
without limitation, any obligation, whether or not contingent, (i) to purchase any such Debt or other
obligation or any property constituting security therefor, (ii) to advance or provide funds or other support
for the payment or purchase of such indebtedness or obligation or to maintain working capital, solvency
or other balance sheet condition of such other Person (including, without limitation, maintenance
agreements, comfort letters, take or pay arrangements, put agreements or similar agreements or
arrangements) for the benefit of the holder of Debt or other obligation of such other Person, (iii) to lease
or purchase property, securities or services primarily for the purpose of assuring the owner of such Debt
or other obligation or (iv) to otherwise assure or hold harmless the owner of such Debt or obligation
against loss in respect thereof, it being understood and agreed that indemnification and similar
reimbursement obligations entered into in the ordinary course of business in favor of the obligor on any
such Debt or other obligation which are not enforceable by any holder of such Debt or other obligation
and which do not otherwise constitute Debt hereunder shall not be deemed to constitute Guaranty
Obligations for purposes of this Agreement and the other DIP Loan Documents. The amount of any
Guaranty Obligation hereunder shall (subject to any limitations set forth therein) be deemed to be an
amount equal to the lesser of the outstanding principal amount or maximum principal amount of the Debt
or other obligation in respect of which such Guaranty Obligation is made.

                “Hazardous Materials” means all explosive or radioactive substances or wastes and all
hazardous or toxic substances, wastes or other pollutants or environmental contaminants, including
petroleum or petroleum distillates, asbestos or asbestos-containing materials, polychlorinated biphenyls,
radon gas, infectious or medical wastes and all other substances or wastes of any nature regulated
pursuant to any Environment Law.

                “Hilco” has the meaning set forth in Section 4.01(g).

                “Hilco Engagement Letter” has the meaning set forth in Section 4.01(g).

                “Holdings” means Kingpin Holdings, LLC, a Delaware limited liability company and its
successors.

                “Indemnified Liabilities” has the meaning set forth in Section 10.05.

                “Indemnified Taxes” means taxes, other than Excluded Taxes, imposed on or with
respect to any payment made by or on account of any obligation of any Loan Party under this Agreement
or any other Loan Document (but excluding Other Taxes).

                “Indemnitee” has the meaning set forth in Section 10.05.

                “Ineligible Assignee” has the meaning set forth in the definition of “Eligible Assignee.”

              “Initial Lenders” means Midtown Acquisitions, L.P., Credit Suisse Loan Funding LLC,
Goldman Sachs Palmetto State Credit Fund, L.P. and Liberty Harbor Master Fund I, L.P.




                                                    22
Case 12-36495-KRH          Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                      Desc Main
                                 Document    Page 88 of 304


                “Insignificant Subsidiaries” means the Subsidiaries of the Borrower listed on Schedule
1.01E hereto.

                “Insurance Proceeds” means all insurance proceeds (other than business interruption
insurance proceeds), damages, awards, claims and rights of action with respect to any Casualty.

                “Interim Order” means the interim order entered by the Bankruptcy Court in the Chapter
11 Cases.

                 “Intellectual Property” means all Patents, Trademarks, Copyrights, Software, Licenses,
rights in intellectual property, goodwill, trade names, service marks, trade secrets, confidential or
proprietary technical and business information, know-how, show-how, process, domain names, mask
works, customer lists, vendor lists, subscription lists, data bases and related documentation, registrations,
franchises and all other intellectual or other similar property rights.

                  “Intercompany Note” means a promissory note contemplated by Section 7.06(a)(viii),
substantially in the form of Exhibit G hereto, and “Intercompany Notes” means any two or more of them.

                “Intercreditor Agreement” means that certain Intercreditor Agreement, dated as of June
12, 2007, by and among the First Lien Agent, the Second Lien Agent, Credit Suisse, Cayman Island
Branch, as control agent, the First Lien Lenders and the Second Lien Lenders.

              “Interest Payment Date” means the last day of each applicable Interest Period and the
DIP Termination Date.

                “Interest Period” means a period commencing on the date of borrowing specified in the
applicable Notice of Borrowing or on the date specified in the applicable Notice of Extension/Conversion
and ending one, two or three months thereafter; provided that:

                        (i)     any Interest Period which would otherwise end on a day which is not a
        Business Day shall, subject to clause (v) below, be extended to the next succeeding Business Day
        unless such Business Day falls in another calendar month, in which case such Interest Period shall
        end on the next preceding Business Day;

                         (ii)    any Interest Period which begins on the last Business Day in a calendar
        month (or on a day for which there is no numerically corresponding day in the calendar month at
        the end of such Interest Period) shall end on the last Business Day of a calendar month; and

                       (iii)    no Interest Period shall be elected which would end after the DIP
        Termination Date for the applicable Loans.

                “Investigation Period” means a maximum of thirty (30) calendar days from the date of
the Committee’s appointment, but in no event later than forty-five (45) calendar days from entry of the
Interim Order, provided, that the “Investigation Period” may be extended (a) with the prior written
consent of counsel to the DIP Agent, at the direction of the Required DIP Lenders, as memorialized in an
order of the Bankruptcy Court, or (b) pursuant to an order of the Bankruptcy Court upon a showing of
good cause for such extension.

                “Investment” in any Person means (i) the acquisition (whether for cash, property,
services, assumption of Debt, securities or otherwise) of assets, Equity Interests, bonds, notes, debentures,
time deposits or other securities of such Person, (ii) any deposit with, or advance, loan or other extension




                                                     23
Case 12-36495-KRH           Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                       Desc Main
                                  Document    Page 89 of 304


of credit to or for the benefit of such Person (other than deposits made in connection with the purchase of
equipment or inventory in the ordinary course of business) or (iii) any other capital contribution to or
investment in such Person, including by way of Guaranty Obligations of any Debt or other obligation of
such Person, any support for a letter of credit issued on behalf of such Person incurred for the benefit of
such Person or any release, cancellation, compromise or forgiveness in whole or in part of any Debt
owing by such Person. The outstanding amount of any Investment shall be deemed to equal the
difference of (i) the aggregate initial amount of such Investment less (ii) all returns of principal thereof or
capital with respect thereto and all dividends and other distributions of income received in respect thereof
and all liabilities expressly assumed by another Person (and with respect to which Holdings and its
Subsidiaries, as applicable, shall have received a novation) in connection with the sale of such
Investment.

                 “Investor Group” means the Sponsor Group immediately prior to the Closing Date.

                 “Issuing Lender” means Credit Suisse AG, Cayman Islands Branch, in its capacity as
issuer of Letters of Credit under Section 2.05(a), and its successor or successors in such capacity.

                 “ISP” has the meaning set forth in Section 2.05(p).

             “iStar Action” means a motion or adversary proceeding seeking relief from the
Bankruptcy Court with respect to the Loan Parties’ obligations under the iStar Sale/Leaseback
Documents.

                “iStar Master Agreements” means the (i) Lease I Agreement between iStar Bowling
Centers I LP, as Landlord, and AMF Bowling Centers, Inc., as Tenant, dated as of February 27, 2004, as
amended; and (ii) Lease II Agreement between iStar Bowling Centers II LP, as Landlord, and AMF
Bowling Centers, Inc., as Tenant, dated as of February 27, 2004, as amended.

                “iStar Sale/Leaseback” means the Sale/Leaseback Transaction effected pursuant to the
iStar Sale/Leaseback Documents.

                 “iStar Sale/Leaseback Documents” means (i) the iStar Master Agreements, (ii) the
Guaranty dated as of February 27, 2004 by Kingpin in favor of iStar Bowling Centers I LLC and (iii) the
Seller’s Certificates dated as of February 27, 2004 by each of AMF Bowling Centers, Inc. and AMF
Recreation Centers, Inc., in each case as seller, in each case as the same may be amended, modified or
supplemented from time to time in accordance with the provisions thereof and of this Agreement, and
including all basic lease information and all other agreements, documents and instruments relating to the
iStar Sale/Leaseback and all exhibits and schedules to any of the foregoing.

                 “Judgments” means all judgments, decrees, verdicts, decisions or orders issued in
resolution of or otherwise in connection with a Claim, whether or not final or subject to appeal, and
including all rights of enforcement relating thereto and any and all Proceeds thereof.

                 “Kingpin” means Kingpin Intermediate Corp., a Delaware corporation and its successors.

                 “K&S” means King & Spalding LLP.

                 “Law” means any international, foreign, Federal, state or local statute, treaty, rule,
guideline, regulation, ordinance, code, or administrative or judicial precedent or authority, including the
interpretation or administration thereof by any Governmental Authority charged with the enforcement,
interpretation or administration thereof, and all applicable administrative orders, directed duties, requests,




                                                      24
Case 12-36495-KRH          Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                     Desc Main
                                 Document    Page 90 of 304


licenses, authorizations and permits of, and agreements with, any Governmental Authority, in each case
whether or not having the force of law.

                “LC Account” has the meaning set forth in Section 2.05(t).

                “LC Commitment” means the commitment of the Issuing Lender to issue Letters of
Credit on the Closing Date to replace the Existing Letters of Credit.

                “LC Disbursement” means a payment or disbursement made by the Issuing Lender
pursuant to a Letter of Credit.

                   “LC Documents” means, with respect to any Letter of Credit, such Letter of Credit, any
amendments thereto, any documents delivered in connection therewith, any application therefor and any
agreements, instruments, guaranties or other documents (whether general in application or applicable only
to such Letter of Credit) governing or providing for (i) the rights and obligations of the parties concerned
or at risk or (ii) any collateral security for such obligations.

                  “LC Obligations” means at any time, the sum of (i) the maximum amount which is, or at
any time thereafter may become, available to be drawn under Letters of Credit then outstanding, assuming
compliance with all requirements for drawings referred to in such Letters of Credit plus, without
duplication, (ii) the aggregate amount of all LC Disbursements not yet reimbursed by the Borrower as
provided in Section 2.05(i) to the Issuing Lender in respect of drawings under Letters of Credit.

                “Lead Arranger” means Credit Suisse Securities (USA) LLC, in its capacity as sole lead
arranger and sole bookrunner.

               “League Funds” means cash collected by any Loan Party as league bowling fees,
properly escrowed and used to fund prize winnings.

                “Leaseholds” means with respect to any Person all of the right, title and interest of such
Person as lessee or licensee in, to and under leases or licenses of land, improvements and/or fixtures.

                “Letter of Credit” means a letter of credit issued or deemed issued pursuant to Section
2.05(a).

                 “Letter-of-Credit Right” means all “letter-of-credit rights” (as defined in the UCC) and
also means and includes all rights of a Loan Party to demand payment or performance under a letter of
credit (as defined in Article V of the UCC).

                 “Licenses” mean all Patent Licenses, Trademark Licenses, Copyright Licenses, Software
Licenses and any agreement now or hereinafter in existence granting any Loan Party any right, whether
exclusive or non-exclusive, with respect to any Person’s Intellectual Property, now or hereafter in
existence, whether or not registerable, or pursuant to which any Loan Party has granted to any other
Person, any right, whether exclusive or non-exclusive, with respect to any Intellectual Property now or
hereafter in existence, whether or not registerable.

                 “Lien” means, with respect to any asset, any mortgage, pledge, hypothecation,
assignment, deposit arrangement, lien (statutory or other) or other security interest or preferential
arrangement of any kind or nature whatsoever (including any conditional sale or other title retention
agreement, any financing lease having substantially the same economic effect as any of the foregoing, and
the filing of any financing statement under the UCC or comparable Laws of any jurisdiction). Solely for




                                                    25
Case 12-36495-KRH           Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                      Desc Main
                                  Document    Page 91 of 304


the avoidance of doubt, neither the filing of a UCC financing statement that is a protective lease filing in
respect of an operating lease that does not constitute a security interest in the leased property or otherwise
give rise to a Lien nor the filing of a UCC financing statement in respect of consigned goods that does not
constitute a security interest in the consigned goods or otherwise give rise to a Lien shall constitute a Lien
solely on account of being filed in a public office.

                 “Limited Recourse Debt” means with respect to any Persons, Debt to the extent: (i) such
Person (A) provides no credit support of any kind (including any undertaking, agreement or instrument
that would constitute Debt), (B) is not directly or indirectly liable as a guarantor or otherwise or (C) does
not constitute the lender; and (ii) no default with respect thereto would permit upon notice, lapse of time
or both any holder of any other Debt (other than the Loans or the Notes) of such Person to declare a
default on such other Debt or cause the payment thereof to be accelerated or payable prior to its stated
maturity.

                 “Liquor License Subsidiaries” means (i) as of the Closing Date, each of the Subsidiaries
listed on Schedule 1.01F hereto and, thereafter, (ii) any other Subsidiary of the Borrower established
solely for the purpose of satisfying applicable requirements of local Law with respect to the ownership
and use of liquor licenses and which has entered into (A) a lease pursuant to which such Subsidiary
leases, as lessee, from the Borrower or one or more of its Consolidated Subsidiaries (other than another
Liquor License Subsidiary) snack bar and related space at one or more bowling centers and (B) a
management services agreement with AMF Bowling Centers, Inc. pursuant to which AMF Bowling
Centers, Inc. provides employees, management and related services to such Subsidiary.

                 “Loan” means a Term Loan (or a portion of Term Loans), individually or collectively as
appropriate; provided that, if any such loan or loans (or portions thereof) are combined or subdivided
pursuant to a Notice of Extension/Conversion, the term “Loan” shall refer to the combined principal
amount resulting from such combination or to each of the separate principal amounts resulting from such
subdivision, as the case may be.

                “Loan Party” means each of Holdings, Kingpin, the Borrower and each Subsidiary
Guarantor, and “Loan Parties” means any combination of the foregoing.

               “Management Agreement” means the Management Agreement dated as of February 27,
2004 between the Borrower and CHS Management IV LP, a Delaware limited partnership, as the same
may be amended, supplemented or modified from time to time in accordance with the terms thereof and
of this Agreement.

                “Margin Stock” means “margin stock” as such term is defined in Regulation U.

                  “Material Adverse Effect” means the occurrence of an event, circumstance or other
matter which has resulted in or could reasonably be expected to result in a material adverse change in (i)
the business, assets, operations, performance, properties, condition (financial or otherwise), contingent
liabilities, prospects or material agreements of the Loan Parties and their Subsidiaries, individually, and
the Loan Parties and their Subsidiaries, taken as a whole, since June 30, 2011 (other than the
commencement of the Chapter 11 Cases and the continuation of the Chapter 11 Cases), (ii) the legality,
validity or enforceability of any DIP Loan Document or the Orders, (iii) the ability of the Borrower or the
Loan Parties to perform their respective obligations under the DIP Loan Documents, (iv) the value of the
DIP Collateral, (v) the perfection or priority of the DIP Liens granted pursuant to the DIP Loan
Documents or the Orders, or (vi) the ability of the DIP Agent and the DIP Lenders to enforce the DIP
Loan Documents. Notwithstanding the foregoing, the events set forth on Schedule 1.01 (the “Specified
Events”) shall not be deemed to constitute a “Material Adverse Effect” for the purposes of this definition.




                                                     26
Case 12-36495-KRH          Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                     Desc Main
                                 Document    Page 92 of 304


                “Miller Buckfire” means Miller Buckfire & Co., LLC, as financial advisor to the Initial
Lenders.

               “Miller Buckfire Engagement Letter” means that certain letter of engagement dated as of
July 3, 2012 between Stroock, as outside counsel to the First Lien Ad-Hoc Group, Miller Buckfire,
Kingpin and the Borrower.

                 “Moody’s” means Moody’s Investors Service, Inc., a Delaware corporation, and its
successors or, absent any such successor, such nationally recognized statistical rating organization as the
Borrower and the DIP Agent may select.

               “Multiemployer Plan” means a “multiemployer plan” as defined in Section 3(37) or
4001(a)(3) of ERISA.

                “Net Cash Proceeds” means:

                         (i)     with respect to any Asset Disposition (other than an Asset Disposition
        consisting of a lease where one or more Group Companies is acting as lessor entered into in the
        ordinary course of business), Casualty or Condemnation, (A) the gross amount of all cash
        proceeds (including Insurance Proceeds and Condemnation Awards in the case of any Casualty or
        Condemnation, except to the extent and for so long as such Insurance Proceeds or Condemnation
        Awards are to be used for repair, restoration or replacement pursuant to plans approved by the
        Required DIP Lenders) actually paid to or actually received by any Group Company in respect of
        such Asset Disposition, Casualty or Condemnation (including any cash proceeds received as
        income or other proceeds of any noncash proceeds of any Asset Disposition, Casualty or
        Condemnation as and when received), less (B) the sum of (w) the amount, if any, of all taxes
        (other than income taxes) and all income taxes (as estimated in good faith by the applicable
        financial or accounting officer of the Borrower giving effect to the overall tax position of the
        Borrower and its Subsidiaries), and customary fees, brokerage fees, commissions, costs and other
        expenses (other than those payable to any Group Company or to Affiliates of any Group
        Company) that are incurred in connection with such Asset Disposition, Casualty or
        Condemnation and are payable by any Group Company, but only to the extent not already
        deducted in arriving at the amount referred to in clause (i)(A) above, (x) all appropriate amounts
        that must be set aside as a reserve in accordance with GAAP against any liabilities associated
        with such Asset Disposition, Casualty or Condemnation, (y) if applicable, the amount of any Debt
        secured by a Permitted Lien that has been repaid or refinanced in accordance with its terms with
        the proceeds of such Asset Disposition, Casualty or Condemnation; and (z) any payments to be
        made by any Group Company as agreed between such Group Company and the purchaser of any
        assets subject to an Asset Disposition, Casualty or Condemnation in connection therewith; and

                          (ii)    with respect to any Equity Issuance or Debt Issuance, the gross amount
        of cash proceeds paid to or received by any Group Company in respect of such Equity Issuance or
        Debt Issuance as the case may be (including cash proceeds subsequently as and when received at
        any time in respect of such Equity Issuance or Debt Issuance from non-cash consideration
        initially received or otherwise), net of underwriting discounts and commissions or placement fees,
        investment banking fees, legal fees, consulting fees, accounting fees and other customary fees and
        expenses incurred by any Group Company in connection therewith (other than those payable to
        any Group Company or to any Affiliate of any Group Company).

                “Non-Consenting Lender” has the meaning set forth in Section 2.10(b).




                                                    27
Case 12-36495-KRH           Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                        Desc Main
                                  Document    Page 93 of 304


                 “Non-U.S. Lender” has the meaning set forth in Section 3.01(d).

               “Note” means a promissory note, substantially in the form of Exhibit B hereto,
evidencing the obligation of the Borrower to repay outstanding Term Loans, as such note may be
amended, modified or supplemented from time to time.

                “Notice of Borrowing” means a request by the Borrower for a Borrowing, substantially in
the form of Exhibit A-1 hereto.

                 “Notice of Extension/Conversion” has the meaning set forth in Section 2.07(b).

                 “O’Melveny” means O’Melveny & Meyers LLP.

                “Operating Lease” means, as applied to any Person, a lease (including leases which may
be terminated by the lessee at any time) of any property (whether real, personal or mixed) by such Person
as lessee which is not a Capital Lease.

                 “Orders” means, collectively, the Interim Order and the Final Order.

                 “Other Loan Parties” means, with respect to any Guarantor, any and all of the Loan
Parties other than such Guarantor.

                 “Other Taxes” has the meaning set forth in Section 3.01(b).

                 “Participant Register” has the meaning set forth in Section 10.06(e).

                “Patent” means any of the following: (i) all letters patent and design letters patent of the
United States or any other country; (ii) all applications filed or in preparation for filing for letters patent
and design letters patent of the United States or any other country including, without limitation,
applications in the United States Patent and Trademark Office, with the World Intellectual Property
Organization or in any similar office or agency of the United States or any other country or political
subdivision thereof; (iii) all reissues, divisions, continuations, continuations-in-part, revisions, renewals or
extensions thereof; (iv) all claims for, and rights to sue for, past, present or future infringement of any of
the foregoing; (v) all income, royalties, damages and payments now or hereafter due or payable with
respect to any of the foregoing, including, without limitation, damages and payments for past, present or
future infringements thereof and payments and damages under all Patent Licenses in connection
therewith; and (vi) all rights corresponding to any of the foregoing whether arising under the laws of the
United States or any foreign country or otherwise.

                 “Patent License” means any agreement now or hereafter in existence granting to any
Loan Party any right, whether exclusive or non-exclusive, with respect to any Person’s patent or any
invention now or hereafter in existence, whether or not patentable, or pursuant to which any Loan Party
has granted to any other Person, any right, whether exclusive or non-exclusive, with respect to any Patent
or any invention now or hereafter in existence, whether or not patentable and whether or not a Patent or
application for Patent is in or hereafter comes into existence on such invention.

                 “PBGC” means the Pension Benefit Guaranty Corporation established pursuant to
Subtitle A of Title IV of ERISA or any entity succeeding to any or all of its functions under ERISA.

                 “Permit” means any license, permit, franchise, right or privilege, certificate of authority
or order, or any waiver of the foregoing, issued or issuable by any Governmental Authority.




                                                      28
Case 12-36495-KRH           Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                      Desc Main
                                  Document    Page 94 of 304


                  “Permitted Existing Liens” means existing liens incurred pursuant to clauses (i)-(iii), (v)-
(x), (xv)-(xxi), (xxiii), (xxiv) and (xxvi) of Section 7.02 of the First Lien Credit Agreement, solely to the
extent that such existing liens have been incurred and are valid, perfected, enforceable and unavoidable
liens as of the Petition Date.

                  “Permitted Joint Venture” means the Qubica JV Entity and any other joint venture, in the
form of a corporation, limited liability company, business trust, joint venture, association, company or
partnership, entered into by the Borrower or any of its Subsidiaries which (i) is engaged in a line of
business related, ancillary or complementary to those engaged in by the Borrower and its Subsidiaries and
(ii) is formed or organized in a manner that limits the exposure of the Borrower and its Subsidiaries for
the liabilities thereof to the Investments of the Borrower and its Subsidiaries therein permitted under
Section 7.06(a)(i).

                “Permitted Liens” has the meaning set forth in Section 7.02.

                “Permitted Variances” means (i) all favorable variances, (ii) an unfavorable variance of
(a) no more than 20% with respect to the first two weeks after the Closing Date (the “First Testing
Period”), (b) no more than 15% with respect to first three weeks after the Closing Date (the “Second
Testing Period”), and (c) no more than 12.5% with respect to the first four weeks after the Closing Date
and on a rolling basis with respect to each subsequent four-week period (each such period, with the First
Testing Period and the Second Testing Period, the “Testing Periods”); provided, however, that
expenditures related to accrued and unpaid fees, disbursements, costs and expenses incurred by the
Professionals shall not be subject to the Budget and shall be excluded from the calculation of Permitted
Variance.

                “Person” means an individual, a corporation, a partnership, an association, a limited
liability company, a trust or an unincorporated association or any other entity or organization, including a
government or political subdivision or an agency or instrumentality thereof.

                “Petition Date” has the meaning set forth in the recitals.

                 “Plan” means of a plan of reorganization under Chapter 11 of the Bankruptcy Code of the
Loan Parties (including all related schedules, supplements, exhibits and orders, as applicable), which shall
otherwise be in form and substance satisfactory to the Required DIP Lenders.

                “Plan Confirmation Order” means an order of the Bankruptcy Court confirming the Plan.

                “Post-Carve-Out Trigger Notice Cap” has the meaning set forth in clause (iv) of the
definition of “Carve-Out”.

                “Pre-Commitment Information” means, taken as an entirety, any written information in
respect of the Borrower, the Qubica JV Entity, any Subsidiary of the Borrower, Kingpin or Holdings
provided to any Agent or any DIP Lender by or on behalf of the Sponsor or the Borrower prior to the
Closing Date.

                 “Preferred Stock” means, as applied to the Equity Interests of a Person, Equity Interests
of any class or classes (however designated) which is preferred as to the payment of dividends or
distributions, or as to the distribution of assets upon any voluntary or involuntary liquidation or
dissolution of such Person, over the Equity Interests of any other class of such Person.




                                                     29
Case 12-36495-KRH          Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                      Desc Main
                                 Document    Page 95 of 304


                “Prime Rate” means for any day the rate of interest announced by Credit Suisse AG,
Cayman Islands Branch, in New York City (or such other principal office of the DIP Agent as
communicated in writing to the Borrower and the DIP Lenders) from time to time as its Prime Rate for
Dollars loaned in the United States. It is a rate set by Credit Suisse AG, Cayman Islands Branch, based
upon a variety of factors, including Credit Suisse AG, Cayman Islands Branch’s costs and desired return,
general economic conditions and other factors, and is used as a reference point for pricing some loans,
which may be priced at, above or below such announced rate. Any change in the interest rate resulting
from a change in the Prime Rate shall take effect at the opening of business on the day specified in the
announcement of such change.

                “Professionals” has the meaning set forth in clause (iii) of the definition of “Carve-Out”.

                 “Pro-Forma Basis” means, for purposes of calculating compliance of any transaction with
any provision hereof, that the transaction in question shall be deemed to have occurred as of the first day
of the most recent period of four consecutive fiscal quarters of the Borrower which precedes or ends on
the date of such transaction and with respect to which the DIP Agent has received the financial
information for Kingpin and its Consolidated Subsidiaries required under Section 6.01(a) and (b), as
applicable, and the Compliance Certificate required by Section 6.01(c) for such period. As used in this
definition, “transaction” means any incurrence or assumption by a Group Company of Attributable Debt
in respect of a Sale/Leaseback Transaction (other than the iStar Sale/Leaseback) under Section 7.13. In
connection with any calculation of an applicable financial covenant upon giving effect to a transaction on
a “Pro-Forma Basis”, (i) any Debt incurred by the Borrower or any of its Subsidiaries in connection with
such transaction (or any other transaction which occurred during the relevant four fiscal quarter period)
shall be deemed to have been incurred as of the first day of the relevant four fiscal-quarter period, (ii) if
such Debt has a floating or formula rate, then the rate of interest for such Debt for the applicable period
for purposes of the calculations contemplated by this definition shall be determined by utilizing the rate
which is or would be in effect with respect to such Debt as at the relevant date of such calculations, (iii)
income statement items (whether positive or negative) and Capital Expenditures attributable to all
property acquired or disposed of in such transaction or to the Investment comprising such transaction, as
applicable, shall be included or excluded as if such transaction has occurred as of the first day of the
relevant four-fiscal-quarter period, (iv) such other pro-forma adjustments which would be permitted or
required by Regulation S-X or S-K under the Securities Act shall be taken into account and (v) such other
adjustments as may be reasonably agreed between the Borrower and the DIP Agent shall be taken into
account.

                “Purchase Money Debt” means Debt of the Borrower or any of its Subsidiaries incurred
for the purpose of financing all or any part of the purchase price or cost of construction or improvement
of property used in the business of the Borrower or such Subsidiary; provided that such Debt is incurred
within one-hundred twenty (120) calendar days after such property is acquired or, in the case of
improvements, constructed.

                 “Qualifying Equity Issuance” means the issuance by Holdings for cash of its common
Equity Interests to the Sponsor Group or any other Person if: (A) 100% of the proceeds of such issuance
shall be immediately contributed by Holdings to Kingpin (for further contribution to the Borrower); (B)
after giving effect thereto, no Change of Control shall have occurred; (C) such stock shall be issued in a
private placement exempt from registration under the Securities Act; (D) the proceeds thereof shall be
used only to repay the DIP Obligations under the DIP Facility immediately, and in any event the proceeds
thereof shall not be used to repay any Subordinated Debt or make any Restricted Payment; (E) within five
Business Days after such issuance, the Borrower shall have delivered to the DIP Agent a certificate of the
chief financial officer or chief accounting officer of the Borrower attesting to the satisfaction of the
foregoing conditions, describing the uses of the proceeds of such issuance and attesting that such use shall




                                                     30
Case 12-36495-KRH           Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                      Desc Main
                                  Document    Page 96 of 304


not constitute a Default or an Event of Default; and (F) such proceeds shall be used within thirty (30)
calendar days after such issuance as described in such certificate.

                “Qubica JV Entity” means QubicaAMF Worldwide, S.à.r.l., a société à responsabilité
limitée organized under the laws of Luxembourg and which is not a Subsidiary of the Borrower, and its
successors.

                “Real Property” means, with respect to any Person, all of the right, title and interest of
such Person in and to land, improvements and fixtures, including Leaseholds.

                 “Receivables” means all Accounts, all Payment Intangibles, all Instruments, all Chattel
Paper, all Electronic Chattel Paper, all Letter-of-Credit Rights and all Supporting Obligations supporting
or otherwise relating to any of the foregoing.

               “Recipient” means (a) any Agent, (b) any DIP Lender and (c) the Issuing Lender,
including in each case their successors and permitted assigns as provided for in this Agreement, as
applicable.

                “Register” has the meaning set forth in Section 10.06(d).

                “Regulation D, T, U or X” means Regulation D, T, U or X, respectively, of the Board of
Governors of the Federal Reserve System as amended, or any successor regulation.

                “Regulation S-X” means Regulation S-X under the Securities Act, as amended, or any
successor regulation.

                 “Reinvestment Funds” means, with respect to any Insurance Proceeds or any
Condemnation Award, that portion of such funds as shall, according to a certificate of a Responsible
Officer of the Borrower delivered to the DIP Agent within 30 calendar days after an executive officer of
the Borrower becoming aware of the occurrence of the Casualty or Condemnation giving rise thereto, be
reinvested or contractually committed to be reinvested within 180 calendar days after the date of receipt
of such Insurance Proceeds or Condemnation Award in the repair, restoration or replacement of the
properties that were the subject of such Casualty or Condemnation or in other tangible assets of a like
nature used or useful in the ordinary course of business of the Borrower an its Subsidiaries; provided that
(i) the aggregate amount of such proceeds with respect to any such event or series of related events shall
not exceed $5,000,000 without the prior written consent of the Required DIP Lenders, (ii) such certificate
shall be accompanied by evidence reasonably satisfactory to the DIP Agent that any property subject to
such Casualty or Condemnation has been or will be repaired, restored or replaced to, or better than, its
condition immediately prior to such Casualty or Condemnation or that such Insurance Proceeds or
Condemnation Awards have otherwise been or will be reinvested in tangible assets of a like nature used
or useful in the ordinary course of business of the Borrower and its Subsidiaries, (iii) at the request of the
DIP Agent, pending such reinvestment in the case of Insurance Proceeds or Condemnation Awards in
excess of $1,000,000, the entire amount of such proceeds shall be deposited in an account with respect to
which an Account Control Agreement (as defined in the Security Agreement) is in full force and effect
and (iv) from and after the date of delivery of such certificate, the Borrower or one or more of its
Subsidiaries shall diligently proceed, in a commercially reasonable manner, to complete the repair,
restoration or replacement of the properties that were the subject of such Casualty or Condemnation or
otherwise reinvest such Insurance Proceeds or Condemnation Awards as described in such certificate; and
provided, further, if any of the foregoing conditions shall cease to be satisfied at any time, such funds
shall no longer be deemed Reinvestment Funds and such funds shall immediately be applied to
prepayment of the Loans in accordance with Section 2.09(b); and provided, further, that any funds not so




                                                     31
Case 12-36495-KRH           Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                        Desc Main
                                  Document    Page 97 of 304


reinvested within such 180 day calendar period shall immediately be applied to the payment of the Loans
in accordance with Section 2.09(b).

                 “Released Parties” means the Indemnitees, the First Lien Agent, the First Lien Lenders,
the affiliates, assigns, or successors of each of the foregoing, and each of their respective officers,
directors, controlling persons, employees, agents and attorneys.

                 “Replacement Date” has the meaning set forth in Section 2.10(b).

                 “Replacement Lender” has the meaning set forth in Section 2.10(b).

                 “Required DIP Lenders” means DIP Lenders whose aggregate Credit Exposure (as
hereinafter defined) constitutes more than 50% of the Credit Exposure of all DIP Lenders at such time;
provided, however, that if any DIP Lender shall be a Defaulting Lender at such time then there shall be
excluded from the determination of Required DIP Lenders such DIP Lender and the aggregate principal
amount of Credit Exposure of such DIP Lender at such time. For purposes of the preceding sentence, the
term “Credit Exposure” as applied to each DIP Lender shall mean, (i) at any time prior to the termination
of the Term Loan Commitment, (x) the aggregate amount of the outstanding Term Loans of such DIP
Lender plus (y) the undrawn portion of the Term Loan Committed Amount allocable to such DIP Lender
in accordance with its Term Loan Commitment Percentage, and (ii) at any time after the termination of
the Term Loan Commitment, the aggregate amount of the outstanding Term Loans of such DIP Lender.

                 “Responsible Officer” means the chief executive officer, president, senior vice president,
vice president, chief financial officer, treasurer or assistant treasurer, secretary or assistant secretary of a
Loan Party. Any document delivered hereunder that is signed by a Responsible Officer of a Loan Party
shall be conclusively presumed to have been authorized by all necessary corporate, partnership and/or
other action on the part of such Loan Party and such Responsible Officer shall be conclusively presumed
to have acted on behalf of such Loan Party.

                 “Restricted Payment” means (i) any dividend or other distribution, direct or indirect, on
account of any class of Equity Interests or Equity Equivalents of any Group Company or the Qubica JV
Entity, now or hereafter outstanding, (ii) any redemption, retirement, sinking fund or similar payment,
purchase or other acquisition for value, direct or indirect, of any class of Equity Interests or Equity
Equivalents of any Group Company, now or hereafter outstanding and (iii) any payment made to retire, or
to obtain the surrender of, any outstanding warrants, options or other rights to acquire any class of Equity
Interests or Equity Equivalents of any Group Company, now or hereafter outstanding.

                 “S&P” means Standard & Poor’s Ratings Group, a division of McGraw Hill, Inc., a New
York corporation, and its successors or, absent any such successor, such nationally recognized statistical
rating organization as the Borrower and the DIP Agent may select.

                 “Sale/Leaseback Transaction” means any direct or indirect arrangement with any Person
or to which any such Person is a party providing for the leasing to Holdings or any of its Subsidiaries of
any property, whether owned by Holdings or any of its Subsidiaries as of the Closing Date or later
acquired, which has been or is to be sold or transferred by Holdings or any of its Subsidiaries to such
Person or to any other Person from whom funds have been, or are to be, advanced by such Person on the
security of such property.

               “Scheduled Maturity Date” means June 30, 2013, which date may be extended upon the
Borrower’s request with consent of the Required DIP Lenders.




                                                      32
Case 12-36495-KRH          Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                     Desc Main
                                 Document    Page 98 of 304


                 “Second Lien Adequate Protection Liens” means replacement Liens to the extent of
(subject to the terms of the Intercreditor Agreement) any post-petition diminution in value of the Second
Lien Lenders’ interest in the Second Lien Prepetition Collateral, including replacement Liens on all
unencumbered assets of the Loan Parties, which Liens shall be junior to the Liens of the DIP Lenders, the
Permitted Existing Liens, the Carve-Out and the First Lien Adequate Protection Liens.

               “Second Lien Ad-Hoc Group” has the meaning set forth in clause (b) of the definition of
“Adequate Protection Provisions.”

              “Second Lien Agent” means Gleacher Products Corp. (as successor to Credit Suisse,
Cayman Islands Branch), in its capacity as Administrative Agent for the secured creditors under the
Second Lien Loan Documents.

                 “Second Lien Collateral Documents” means the pledge agreements, security agreements,
mortgages and other agreements and instruments securing the obligations of the Loan Parties under and
pursuant to the Second Lien Credit Agreement and any related guaranties.

                 “Second Lien Credit Agreement” means the Second Lien Credit Agreement dated as of
dated as of June 12, 2007 (as amended by Amendment No. 1 to Second Lien Credit Agreement, dated as
of May 8, 2009) among Kingpin, the Borrower, the Second Lien Agent and various lenders from time to
time party thereto.

                “Second Lien Credit Agreement Liens” has the meaning set forth in the definition of
“DIP Liens”.

                “Second Lien Lenders” means the lenders party to the Second Lien Credit Agreement.

                 “Second Lien Loan Documents” mean the Second Lien Credit Agreement, the related
notes and guarantees, the Second Lien Collateral Documents and the other agreements and instruments
entered into in connection with the Second Lien Credit Agreement.

                “Second Lien Obligations” means the “Obligations” as defined in the Second Lien Credit
Agreement.

               “Second Lien Prepetition Collateral” means the “Collateral” as defined in the Second
Lien Credit Agreement securing the Second Lien Obligations.

                 “Second Lien Superpriority Claims” means superpriority administrative expense claims
with respect to the Second Lien Prepetition Collateral and to the extent of any post-petition diminution in
value of the Second Lien Lenders’ interest in the Second Lien Prepetition Collateral, which claims will be
junior to the DIP Obligations, the Superpriority DIP Claims, the Carve-Out and the First Lien
Superpriority Claims.

                “Second Testing Period” has the meaning set forth in the definition of “Permitted
Variances”.

                 “Secured Cash Management Agreement” means any Cash Management Agreement that
is entered into by and between the Borrower and any Cash Management Bank.




                                                    33
Case 12-36495-KRH             Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                      Desc Main
                                    Document    Page 99 of 304


                “Secured Parties” means, collectively, the DIP Lenders, the Cash Management Banks and
the other Persons the DIP Obligations owing to which are or are purported to be secured by the Collateral
under this Agreement and the Collateral Documents.

                “Securities Act” means the Securities Act of 1933, as amended, and the rules and
regulations promulgated thereunder.

                  “Settlements” means all right, title and interest of a Loan Party in, to and under any
settlement agreement or other agreement executed in settlement or compromise of any Claim, including
all rights to enforce such agreements and all payments thereunder or arising in connection therewith.

                 “Software” means all “software” (as defined in the UCC), and also means and includes
all software programs, whether now or hereafter owned, licensed or leased by a Loan Party, designed for
use on Computer Hardware, including, without limitation, all operating system software, utilities and
application programs in whatever form and whether or not embedded in goods, all source code and object
code in magnetic tape, disk or hard copy format or any other listings whatsoever, all firmware associated
with any of the foregoing, all documentation, flowcharts, logic diagrams, manuals, specifications, training
materials, charts and pseudo codes associated with any of the foregoing, and all options, warranties,
services contracts, program services, test rights, maintenance rights, support rights, renewal rights and
indemnifications relating to any of the foregoing.

                 “Software License” means any agreement (including any agreement constituting a
Copyright License, Patent License and/or Trademark License) now or hereafter in existence granting to
any Loan Party any right, whether exclusive or non-exclusive, to use another Person’s Software, or
pursuant to which any Loan Party has granted to any other Person, any right, whether exclusive or non-
exclusive, to use any Software, whether or not subject to any registration.

                    “SPC” has the meaning set forth in Section 10.06(h).

                    “Specified Events” has the meaning set forth in the definition of “Material Adverse
Effect”.

                 “Sponsor” means Code Hennessy & Simmons LLC and Code Hennessy & Simmons IV,
LP, collectively, and their respective successors.

                    “Sponsor Group” means the Sponsor and any of its Subsidiaries or Affiliates.

                    “Stroock” means Stroock & Stroock & Lavan LLP.

                    “Subordinated Debt” means the First Lien Obligations and Debt permitted pursuant to
Section 7.01(ii).

                 “Subsidiary” means with respect to any Person any corporation, partnership, limited
liability company, association or other business entity of which (i) if a corporation, more than 50% of the
total voting power of stock entitled (without regard to the occurrence of any contingency) to vote in the
election of directors, managers or trustees thereof is at the time owned or controlled, directly or indirectly,
by that Person or one or more of the other Subsidiaries of that Person or a combination thereof, or (ii) if a
partnership, limited liability company, association or business entity other than a corporation, more than
50% of the partnership or other similar ownership interests thereof is at the time owned or controlled,
directly or indirectly, by that Person or one or more Subsidiaries of that Person or a combination thereof.
For purposes hereof, a Person or Persons shall be deemed to have more than 50% ownership interest in a




                                                       34
Case 12-36495-KRH           Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                        Desc Main
                                 Document    Page 100 of 304


partnership, limited liability company, association or other business entity if such Person or Persons shall
be allocated more than 50% of partnership, association or other business entity gains or losses or shall be
or control the managing director, manager or a general partner of such partnership, association or other
business entity.

                “Subsidiary Guarantor” means each Subsidiary of Holdings existing on the Closing Date
(other than the Borrower, any Foreign Subsidiary, a non-Wholly-Owned Liquor License Subsidiary and
any Insignificant Subsidiary) and each Subsidiary of Holdings (other than the Borrower, a Foreign
Subsidiary, and except to the extent otherwise provided in Section 6.10(d), any Insignificant Subsidiary or
a non-Wholly-Owned Liquor License Subsidiary) that becomes a party to this Agreement after the
Closing Date (by execution of an Accession Agreement or otherwise), and “Subsidiary Guarantors”
means any two or more of them.

                “Superpriority DIP Claims” means all of the claims of the DIP Agent and the DIP
Lenders on account of the DIP Obligations, which claims shall be entitled to the benefits of Section
364(c)(1) of the Bankruptcy Code, having a superpriority over any and all administrative expenses of the
kind that are specified in Sections 105, 326, 328, 330, 331, 503(b), 506(c), 507(a), 507(b), 546(c), 726,
1114 or any other provisions of the Bankruptcy Code, subject only to the Carve-Out.

               “Supporting Obligation” means a Letter-of-Credit Right, Guaranty Obligation or other
secondary obligation supporting or any Lien securing the payment or performance of one or more
Receivables, General Intangibles, Documents or Investment Property.

                 “Synthetic Lease Obligation” means the monetary obligation of a Person under (i) a so-
called synthetic, off-balance sheet or tax retention lease or (ii) an agreement for the use or possession of
property creating obligations that do not appear on the balance sheet of such Person but which, upon the
insolvency or bankruptcy of such Person, would be characterized as the indebtedness of such person
(without regard to accounting treatment).

              “Term Loan Commitment” means, with respect to any DIP Lender, the commitment of
such DIP Lender to make Term Loans in a principal amount equal to such DIP Lender’s Term Loan
Commitment Percentage of the Term Loan Committed Amount.

                 “Term Loan Commitment Percentage” means, for each DIP Lender, the percentage
identified as its Term Loan Commitment Percentage on Schedule 1.01A, as such percentage may be
(i) adjusted pursuant to Section 2.10(b) and (ii) modified in connection with any assignment made in
accordance with the provisions of Section 10.06(b).

                 “Term Loan Committed Amount” means $50,000,000.

                 “Term Loan” has the meaning set forth under Section 2.01.

                 “Testing Periods” has the meaning set forth in the definition of “Permitted Variances”.

                 “Trademark” means any of the following: (i) all trademarks, trade names, corporate
names, company names, business names, domain names, fictitious business names, trade styles, service
marks, slogans, logos, certification marks, collective marks, brand names, trade dress and any other
advertising device or source identifier which are or have been used in the United States or in any state,
territory or possession thereof, or in any other place, nation or jurisdiction, along with all prints and labels
on which any of the foregoing have appeared or appear, package and other designs, and any other source
or business identifiers, and general intangibles of like nature, and the rights in any of the foregoing which




                                                      35
Case 12-36495-KRH           Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                       Desc Main
                                 Document    Page 101 of 304


arise under applicable law; (ii) the goodwill of the business symbolized thereby or associated with each of
the foregoing; (iii) all registrations and applications in connection therewith, including, without limitation,
registrations and applications in the United States Patent and Trademark Office or in any similar office or
agency of the United States, any state thereof or any other country or any political subdivision thereof,
(iv) all reissues, extensions and renewals thereof; (v) all claims for, and rights to sue for, past, present or
future infringements of any of the foregoing; (vi) all income, royalties, damages and payments now or
hereafter due or payable with respect to any of the foregoing, including, without limitation, damages and
payments for past, present or future infringements thereof and payments and damages under all
Trademark Licenses in connection therewith; and (vii) all rights corresponding to any of the foregoing
whether arising under the laws of the United States or any foreign country or otherwise; provided, that
“Trademark” does not include any “intent to use” Trademark applications for which a statement of use
has not been filed and accepted with the U.S. Patent and Trademark Office.

                 “Trademark License” means any agreement now or hereafter in existence granting to any
Loan Party any right, whether exclusive or non-exclusive, to use another Person’s trademarks or
trademark applications, or pursuant to which any Loan Party has granted to any other Person, any right,
whether exclusive or non-exclusive, to use any Trademark, whether or not registered, and the rights to
prepare for sale, sell and advertise for sale, all of the inventory now or hereafter owned by any Loan Party
and now or hereafter covered by such license agreements.

                “Transaction” means (a) the execution, delivery and performance by the Loan Parties of
this Agreement and each other DIP Loan Document to which they are a party, the Borrowing of the Term
Loans on the Closing Date, the use of the proceeds thereof and the issuance of Letters of Credit
hereunder, and the grant of Liens by the Loan Parties on the Collateral pursuant to this Agreement, the
Orders and the Collateral Documents, (b) the execution, delivery and performance by Holdings of this
Agreement and each of the other DIP Loan Documents to which it is a party, the guaranteeing of the DIP
Obligations by Holdings and the grant of Liens by Holdings on the Collateral pursuant to this Agreement,
the Orders and the Collateral Documents, (c) the commencement and filing of the Chapter 11 Cases and
(d) the payment of all fees, costs and expenses associated with all of the foregoing.

                “UCC” means the Uniform Commercial Code as in effect from time to time in the State
of New York; provided that if by reason of mandatory provisions of law, the perfection, the effect of
perfection or non-perfection or the priority of the security interests of the Collateral Agent in any
Collateral is governed by the Uniform Commercial Code as in effect in a jurisdiction other than New
York, “UCC” means the Uniform Commercial Code as in effect in such other jurisdiction for purposes of
the provisions hereof relating to such perfection, effect of perfection or non-perfection or priority.

                 “UK Pension Plan” means the Foreign Pension Plan referenced on Schedule 5.11.

                “Unfunded Liabilities” means (i) with respect to each ERISA Plan other than a
Multiemployer Plan, the amount (if any) by which the present value of all nonforfeitable benefits under
each ERISA Plan exceeds the current value of such ERISA Plan’s assets allocable to such benefits, all
determined in accordance with the respective most recent valuations for such ERISA Plan using
applicable PBGC plan termination actuarial assumptions (the terms “present value” and “current value”
shall have the same meanings specified in Section 3 of ERISA) and (ii) with respect to each Foreign
Pension Plan required to be funded under local law, the amount (if any) by which the present value of the
accrued benefit liabilities (whether or not vested) under each Foreign Pension Plan exceeds the current
value of the assets of such Foreign Pension Plan’s assets allocable to such benefits, all determined as of
the end of the Borrower’s most recently ended fiscal year on the basis of actuarial assumptions utilized by
the Foreign Pension Plan, each of which is reasonable.




                                                      36
Case 12-36495-KRH           Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                       Desc Main
                                 Document    Page 102 of 304


                “United States” means the United States of America, including each of the States and the
District of Columbia, but excluding its territories and possessions.

                 “Unused Line Fee” has the meaning set forth in Section 2.11(b).

                 “U.S. Lender” has the meaning set forth in Section 3.01(d)(ii).

                 “U.S. Patriot Act” means the Uniting and Strengthening America by Providing
Appropriate Tools Required to Intercept and Obstruct Terrorism Act of 2001 (Title III of Pub. L. 107-56
(signed into law October 26, 2001)), as the same may be amended, supplemented, modified, replaced or
otherwise in effect from time to time.

                 “Variance Report” has the meaning set forth in Section 6.01(m).

                “Weekly Cash Flow Forecast” means an updated 13 week cash flow forecast, in each
case in form and substance satisfactory to the DIP Agent at the direction of the Required DIP Lenders.

                 “Welfare Plan” means a “welfare plan” as such term is defined in Section 3(1) of ERISA.

             “Wholly-Owned Consolidated Subsidiary” means, with respect to any Person at any date,
a Wholly-Owned Subsidiary of such Person which is a Consolidated Subsidiary of such Person at such
date.

                 “Wholly-Owned Subsidiary” means, with respect to any Person at any date, any
Subsidiary of such Person all of the shares of capital stock or other ownership interests of which (except
directors’ qualifying shares and/or other nominal shares required by applicable Law to be owned by
another Person) are at the time directly or indirectly owned by such Person.

                 Section 1.02 Computation of Time Periods and Other Definitional Provisions.
For purposes of computation of periods of time hereunder, the word “from” means “from and including”
and the words “to” and “until” each mean “to but excluding”. All references to time herein shall be
references to Eastern Standard time or Eastern Daylight time, as the case may be, unless specified
otherwise. References in this Agreement to Articles, Sections, Schedules, Appendices or Exhibits shall
be to Articles, Sections, Schedules, Appendices or Exhibits of or to this Agreement unless otherwise
specifically provided. The definitions in Section 1.01 shall apply equally to both the singular and plural
forms of the terms defined.

                 Section 1.03 Accounting Terms and Determinations. Except as otherwise expressly
provided herein, all accounting terms used herein shall be interpreted, and all financial statements and
certificates and reports as to financial matters required to be delivered to the DIP Lenders hereunder shall
be prepared, in accordance with GAAP applied on a consistent basis (but excluding the effect of ASC 840
and any recharacterization of the iStar Master Agreements as capital leases). All financial statements
delivered to the DIP Lenders hereunder shall be accompanied by a statement from the Borrower that
GAAP has not changed since the most recent financial statements delivered by the Borrower to the DIP
Lenders or if GAAP has changed describing such changes in detail and explaining how such changes
affect the financial statements. All calculations made for the purposes of determining compliance with
this Agreement shall (except as otherwise expressly provided herein) be made by application of GAAP
applied on a basis consistent with the most recent annual or quarterly financial statements delivered
pursuant to Section 6.01 (or, prior to the delivery of the first financial statements pursuant to Section 6.01,
consistent with the financial statements described in Section 5.05(a) (but without giving effect to any
deviations from GAAP disclosed therein)); provided, however, if (i) the Borrower shall object to




                                                      37
Case 12-36495-KRH             Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                  Desc Main
                                   Document    Page 103 of 304


determining such compliance on such basis at the time of delivery of such financial statements due to any
change in GAAP or the rules promulgated with respect thereto or (ii) either the DIP Agent or the
Required DIP Lenders shall so object in writing within sixty (60) calendar days after delivery of such
financial statements (or after the DIP Lenders have been informed of the change in GAAP affecting such
financial statements, if later), then such calculations shall be made on a basis consistent with the most
recent financial statements delivered by the Borrower to the DIP Lenders as to which no such objection
shall have been made. Any financial ratios required to be maintained by any Group Company pursuant to
this Agreement shall be calculated by dividing the appropriate component by the other component,
carrying the result to one place more than the number of places by which such ratio is expressed herein
and rounding the result up or down to the nearest number (with a rounding-up if there is no nearest
number). For purposes of making all financial calculations to determine compliance for any period with
Section 7.16, all components of such calculations shall be adjusted to include or exclude, as the case may
be, without duplication, such components of such calculations attributable to any business or assets that
have been acquired by Holdings or any of its Subsidiaries or that have been sold pursuant to any Asset
Disposition (including any Foreign Asset Disposition) after the first day of the applicable period of
determination and prior to the end of such period, in each case as determined in good faith by the
Borrower on a Pro-Forma Basis.

                  Section 1.04 UCC Definitions. Unless otherwise defined herein or the context
otherwise requires, the following terms, together with any uncapitalized terms used herein which are
defined in the UCC, have the respective meanings provided in the UCC: (i) As-Extracted Collateral; (ii)
Certificated Security; (iii) Chattel Paper; (iv) Documents; (v) Electronic Chattel Paper; (vi) Financial
Assets; (vii) Goods, (viii) Instruments; (ix) Inventory; (x) Investment Property; (xi) Payment Intangibles;
(xii) Proceeds; (xiii) Securities Account; (xiv) Securities Intermediary; (xv) Security; (xvi) Security
Certificate; (xvii) Security Entitlements; and (xviii) Uncertificated Security.

                                           ARTICLE II
                                      THE CREDIT FACILITIES

                Section 2.01 Commitments to Lend. Each DIP Lender severally agrees, on the terms
and conditions set forth in this Agreement, to make (i) an initial term loan on the Closing Date and (ii)
following entry of the Final Order, up to three additional term loans on any Business Day during the
Availability Period, in each case to the Borrower in Dollars in an aggregate principal amount not to
exceed its Term Loan Commitment (each a “Term Loan” and collectively the “Term Loans”). Each
Borrowing shall be made from the several DIP Lenders ratably in proportion to their respective Term
Loan Commitments. The initial Term Loan made on the Closing Date shall be in an aggregate principal
amount of $35,000,000, and each additional Term Loan shall be in an aggregate principal amount of not
less than $5,000,000. The Term Loan Commitments are not revolving in nature, and amounts repaid or
prepaid may not be reborrowed.

                Section 2.02 Notice of Borrowings. The Borrower shall give the DIP Agent a Notice
of Borrowing (or telephone notice promptly confirmed by a Notice of Borrowing) not later than 12:00
Noon on the fifth Business Day before each Borrowing (other than with respect to the Borrowing on the
Closing Date). Each such Notice of Borrowing shall be irrevocable and shall specify:

                        (i)      the date of such Borrowing, which shall be a Business Day;

                        (ii)     the aggregate principal amount of such Borrowing; and

                        (iii)   the location and number of the Borrower’s account to which funds are to
        be disbursed, which shall comply with the requirements of Section 2.03.




                                                    38
Case 12-36495-KRH          Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                     Desc Main
                                Document    Page 104 of 304


                Section 2.03    Notice to Lenders; Funding of Loans.

                (a)     Notice to Lenders. Upon receipt of a Notice of Borrowing, the DIP Agent shall
promptly notify each DIP Lender of such DIP Lender’s ratable share of the Borrowing referred to therein,
and such Notice of Borrowing shall not thereafter be revocable by the Borrower (except to the extent the
DIP Agent shall notify the Borrower that Loans at the Eurodollar Rate are unavailable in accordance with
Section 3.02).

                 (b)      Funding of Loans. On the date of each Borrowing, each DIP Lender shall make
available its share of such Borrowing no later than 3:00 P.M., in immediately available funds in Dollars,
to the DIP Agent at the Administrative Office. Unless the DIP Agent determines that any applicable
condition specified in Article IV has not been satisfied, the DIP Agent shall promptly credit the amounts
so received to the general deposit account of the Borrower designated by the Borrower in the applicable
Notice of Borrowing, which account must be in the United States or, if a Borrowing shall not occur on
such date because any condition precedent herein shall not have been met, promptly return the amounts
received from the DIP Lenders in like funds.

                 (c)    Funding by DIP Agent in Anticipation of Amounts Due from the Lenders. Unless
the DIP Agent shall have received notice from a DIP Lender prior to the date of any Borrowing that such
DIP Lender will not make available to the DIP Agent such DIP Lender’s share of such Borrowing, the
DIP Agent may assume that such DIP Lender has made such share available to the DIP Agent on the date
of such Borrowing in accordance with subsection (b) of this Section, and the DIP Agent may, in reliance
upon such assumption, make available to the Borrower on such date a corresponding amount. If and to
the extent that such DIP Lender shall not have so made such share available to the DIP Agent, such DIP
Lender and the Borrower severally agree to repay to the DIP Agent forthwith on demand (in the case of
such DIP Lender) or within two Business Days of notice from the DIP Agent, (in the case of the
Borrower) such corresponding amount, together with interest thereon for each day from the date such
amount is made available to the Borrower until the date such amount is repaid to the DIP Agent at (i) a
rate per annum equal to the higher of the Federal Funds Rate and the interest rate applicable thereto
pursuant to Section 2.06, in the case of the Borrower, and (ii) the Federal Funds Rate, in the case of such
DIP Lender. If such DIP Lender shall repay to the DIP Agent such corresponding amount, such amount
so repaid shall constitute such DIP Lender’s Loan included in such Borrowing for purposes of this
Agreement.

                 (d)     Obligations of Lenders Several. The failure of any DIP Lender to make a Loan
required to be made by it as part of any Borrowing hereunder shall not relieve any other DIP Lender of its
obligation, if any, hereunder to make any Loan on the date of such Borrowing, but no DIP Lender shall be
responsible for the failure of any other DIP Lender to make the Loan to be made by such other DIP
Lender on such date of Borrowing.

                 (e)     Failed Loans. If any DIP Lender shall fail to make any Loan (a “Failed Loan”)
which such DIP Lender is otherwise obligated hereunder to make to the Borrower on the date of
Borrowing thereof, and the DIP Agent shall not have received notice from the Borrower or such DIP
Lender that any condition precedent to the making of the Failed Loan has not been satisfied, then, until
such DIP Lender shall have made or be deemed to have made (pursuant to the last sentence of this
Section 2.03(e)) the Failed Loan in full or the DIP Agent shall have received notice from the Borrower or
such DIP Lender that any condition precedent to the making of the Failed Loan was not satisfied at the
time the Failed Loan was to have been made, whenever the DIP Agent shall receive any amount from the
Borrower for the account of such DIP Lender, (i) the amount so received (up to the amount of such Failed
Loan) will, upon receipt by the DIP Agent be deemed to have been paid to the DIP Lender in satisfaction
of the obligation for which paid, without actual disbursement of such amount to the DIP Lender, (ii) the




                                                    39
Case 12-36495-KRH          Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                    Desc Main
                                Document    Page 105 of 304


DIP Lender will be deemed to have made the same amount available to the DIP Agent for disbursement
as a Loan to the Borrower (up to the amount of such Failed Loan) and (iii) the DIP Agent will disburse
such amount (up to the amount of the Failed Loan) to the Borrower or, if the DIP Agent has previously
made such amount available to the Borrower on behalf of such DIP Lender pursuant to the provisions
hereof, reimburse itself (up to the amount of the amount made available to the Borrower); provided,
however, that the DIP Agent shall have no obligation to disburse any such amount to the Borrower or
otherwise apply it or deem it applied as provided herein unless the DIP Agent shall have determined in its
sole discretion that to so disburse such amount will not violate any law, rule, regulation or requirement
applicable to it. Upon any such disbursement by the DIP Agent such DIP Lender shall be deemed to have
made a Term Loan to the Borrower in satisfaction, to the extent thereof, of such DIP Lender’s obligation
to make the Failed Loan.

                Section 2.04    Evidence of Loans.

                (a)      Lender Accounts. Each DIP Lender shall maintain in accordance with its usual
practice an account or accounts evidencing the indebtedness to such DIP Lender resulting from each Loan
made by such DIP Lender from time to time, including the amounts of principal and interest payable and
paid to such DIP Lender from time to time under this Agreement.

                (b)    DIP Agent Records. The DIP Agent shall maintain accounts in which it will
record (i) the amount of each Loan made hereunder and the Interest Period applicable thereto, (ii) the
amount of any principal or interest due and payable or to become due and payable from the Borrower to
each DIP Lender hereunder and (iii) the amount of any sum received by the DIP Agent hereunder from
the Borrower and each DIP Lender’s share thereof.

                 (c)     Evidence of Debt. The entries made in the accounts maintained pursuant to
subsections (a) and (b) of this Section 2.04 shall be prima facie evidence of the existence and amounts of
the obligations therein recorded; provided, however, that the failure of any DIP Lender or the DIP Agent
to maintain such accounts or any error therein shall not in any manner affect the obligations of the
Borrower to repay the Loans made to it in accordance with their terms.

                (d)    Notes. Notwithstanding any other provision of this Agreement, if any DIP
Lender shall request and receive a Note or Notes as provided in Section 10.06 or otherwise, then the
Loans of such DIP Lender shall be evidenced by one or more Notes, in each case, substantially in the
form of Exhibit B, payable to the order of such DIP Lender for the account of its Applicable Lending
Office in an amount equal to the aggregate unpaid principal amount of such DIP Lender’s Term Loans, as
applicable.

                 (e)    Note Endorsements. Each DIP Lender having one or more Notes issued by the
Borrower shall record the date and amount of each Term Loan made by it to the Borrower evidenced by
such Note and the date and amount of each payment of principal made by the Borrower with respect
thereto, and may, if such DIP Lender so elects in connection with any transfer or enforcement of any
Note, endorse on the reverse side or on the schedule, if any, forming a part thereof appropriate notations
to evidence the foregoing information with respect to each outstanding Loan evidenced thereby; provided
that the failure of any DIP Lender to make any such recordation or endorsement shall not affect the
obligations of the Borrower hereunder or under any such Note. Each DIP Lender is hereby irrevocably
authorized by the Borrower so to endorse each of its Notes and to attach to and make a part of each of its
Notes a continuation of any such schedule as and when required.




                                                   40
Case 12-36495-KRH           Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                       Desc Main
                                 Document    Page 106 of 304


                 Section 2.05     Letters of Credit.

                 (a)     Issuance of Letters of Credit. On the Closing Date, each Existing Letter of Credit
shall be automatically and without further action by the parties thereto be deemed to be a Letter of Credit
issued pursuant to this Section 2.05(a) for the account of Borrower and subject to the provisions hereof,
and the fees specified in Section 2.11(c) shall be payable (in substitution for any fees set forth in the
applicable letter of credit reimbursement agreements or applications relating to such Existing Letters of
Credit) as if such Existing Letters of Credit had been issued pursuant to this Agreement on the Closing
Date. All cash held by the First Lien Agent as cash collateral for Existing Letters of Credit as of the
Closing Date shall be transferred to the Issuing Lender to be held by the Issuing Lender in accordance
with Section 2.05(t) to Cash Collateralize the LC Obligations.

                 (b)     Additional Letters of Credit. No Letters of Credit shall be issued other than those
described in clause (a) above.

                 (c)     [Reserved].

                 (d)     [Reserved].

                 (e)     [Reserved].

                 (f)     [Reserved].

                 (g)     Drawings Under Letters of Credit. Upon receipt from the beneficiary of any
Letter of Credit of any notice of a drawing under such Letter of Credit, the Issuing Lender shall determine
in accordance with the terms of such Letter of Credit whether such drawing should be honored. If the
Issuing Lender determines that any such drawing shall be honored, such Issuing Lender shall make
available to such beneficiary in accordance with the terms of such Letter of Credit the amount of the
drawing and shall notify the Borrower and the DIP Agent as to the amount to be paid as a result of such
drawing and the payment date.

                 (h)     Duties of Issuing Lender to DIP Lenders; Reliance. Any action taken or omitted
to be taken by the Issuing Lender under or in connection with any Letter of Credit shall not create for the
Issuing Lender any resulting liability if taken or omitted in the absence of bad faith, gross negligence or
willful misconduct. The Issuing Lender shall be entitled (but not obligated) to rely, and shall be fully
protected in relying, on the representation and warranty by the Borrower set forth in the last sentence of
Section 4.02 to establish whether the conditions specified in paragraphs (b) and (c) of Section 4.02 are
met in connection with any issuance of a Letter of Credit. The Issuing Lender shall be entitled to rely,
and shall be fully protected in relying, upon advice and statements of legal counsel, independent
accountants and other experts selected by the Issuing Lender and upon any Letter of Credit, draft, writing,
resolution, notice, consent, certificate, affidavit, letter, cablegram, telegram, telecopier, telex or teletype
message, statement, order or other document believed by it in good faith to be genuine and correct and to
have been signed, sent or made by the proper Person or Persons, and may accept documents that appear
on their face to be in order, without responsibility for further investigation, regardless of any notice or
information to the contrary unless the beneficiary and the Borrower shall have notified such Issuing
Lender that such documents do not comply with the terms and conditions of the Letters of Credit.

                (i)    Reimbursement Obligations. To the extent the amounts delivered to the Issuing
Lender to Cash Collateralize the LC Obligations pursuant to Sections 2.05(a) and 2.05(t), together with
any investment earnings thereon, are insufficient to repay any drawing under any Letter of Credit,
together with any and all reasonable charges and expenses which the Issuing Lender may pay or incur




                                                       41
Case 12-36495-KRH          Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                     Desc Main
                                Document    Page 107 of 304


relative to such drawing which are due and payable hereunder, the Borrower shall be irrevocably and
unconditionally obligated forthwith to reimburse the Issuing Lender in Dollars for the amount of such
deficiency. Such reimbursement payment shall be due and payable (i) at or before 2:00 P.M. (New York
time or the relevant local time, as applicable) on the third Business Day after the date the Issuing Lender
notifies the Borrower of such drawing; provided that no payment otherwise required by this sentence to
be made by the Borrower at or before 2:00 P.M. (New York time or the relevant local time, as applicable)
on any day shall be overdue hereunder if arrangements for such payment satisfactory to the applicable
Issuing Lender, in its reasonable discretion, shall have been made by the Borrower at or before 2:00 P.M.
(New York time or the relevant local time, as applicable) on such day and such payment is actually made
at or before 3:00 P.M. (New York time or the relevant local time, as applicable) on such day. If the
Borrower fails to make any reimbursement when due hereunder, then the DIP Agent shall promptly notify
the Issuing Lender and each other DIP Lender of the LC Disbursement, the amount thereof and the
payment then due from the Borrower in respect thereof. In addition to the foregoing, the Borrower agrees
to pay to the Issuing Lender interest, payable on demand, on any and all amounts not paid by the
Borrower to the Issuing Lender when due under this Section 2.05(i), for each day from and including the
date when such amount becomes due to but excluding the date such amount is paid in full, whether before
or after judgment, at a rate per annum equal to 2.00% plus the rate applicable to Term Loans for such day.
Each reimbursement payment to be made by the Borrower pursuant to this Section 2.05(i) shall be made
to the Issuing Lender in Federal or other funds immediately available to it at its address referred to in
Section 10.01.

                (j)     [Reserved].

                (k)     [Reserved].

                (l)     [Reserved].

                (m)      Obligations in Respect of Letters of Credit Unconditional. The obligations of the
Borrower under Section 2.05(i) above shall be absolute, unconditional and irrevocable, and shall be
performed strictly in accordance with the terms of this Agreement, under all circumstances whatsoever,
including, without limitation, the following circumstances:

                        (i)    any lack of validity or enforceability of this Agreement or any Letter of
        Credit or any document related hereto or thereto;

                         (ii)    any amendment or waiver of or any consent to departure from all or any
        of the provisions of this Agreement or any Letter of Credit or any document related hereto or
        thereto, in each case consented to by the Borrower;

                        (iii)   the use which may be made of the Letters of Credit by, or any acts or
        omission of, a beneficiary of a Letter of Credit (or any Person for whom the beneficiary may be
        acting);

                        (iv)     the existence of any claim, set-off, defense or other rights that the
        Borrower may have at any time against a beneficiary of a Letter of Credit (or any Person for
        whom the beneficiary may be acting), the Issuing Lender or any other Person, whether in
        connection with this Agreement or any Letter of Credit or any document related hereto or thereto
        or any unrelated transaction;




                                                    42
Case 12-36495-KRH          Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                     Desc Main
                                Document    Page 108 of 304


                        (v)      any statement or any other document presented under a Letter of Credit
        proving to be forged, fraudulent or invalid in any respect or any statement therein being untrue or
        inaccurate in any respect whatsoever;

                        (vi)    payment under a Letter of Credit against presentation to the Issuing
        Lender of a draft or certificate that does not comply with the terms of such Letter of Credit;
        provided that the Issuing Lender’s determination that documents presented under such Letter of
        Credit comply with the terms thereof shall not have constituted gross negligence or willful
        misconduct of the Issuing Lender; or

                        (vii)   any other act or omission to act or delay of any kind by the Issuing
        Lender or any other Person or any other event or circumstance whatsoever that might, but for the
        provisions of this subsection (vii), constitute a legal or equitable discharge of the Borrower’s
        obligations hereunder.

                 (n)      Designation of Subsidiaries as Account Parties. Notwithstanding anything to the
contrary set forth in this Agreement, a Letter of Credit issued hereunder may contain a statement to the
effect that such Letter of Credit is issued for the account of a Subsidiary of the Borrower; provided that
notwithstanding such statement, the Borrower shall be the actual account party for all purposes of this
Agreement for such Letter of Credit and such statement shall not affect the Borrower’s reimbursement
obligations hereunder with respect to such Letter of Credit.

                  (o)      Modification and Extension. The issuance of any supplement, restatement,
modification, amendment, renewal, or extensions to any Letter of Credit shall, for purposes hereof, be
treated in all respects the same as a Credit Extension hereunder.

                (p)      International Standby Practices. Unless otherwise expressly agreed by the
Issuing Lender and the Borrower when a Letter of Credit is issued, the rules of the “International Standby
Practices 1998” published by the Institute of International Banking Law & Practice (or such later version
thereof as may be in effect at the time of issuance) (the “ISP”) shall apply to each Letter of Credit.

                (q)     [Reserved]

              (r)    Conflict with LC Documents. In the event of any conflict between this
Agreement and any LC Document, this Agreement shall govern.

                (s)     Indemnification of Issuing Lender.

                         (i)     In addition to its other obligations under this Agreement, the Borrower
        hereby agrees to protect, indemnify, pay and save the Issuing Lender harmless from and against
        any and all claims, demands, liabilities, damages, losses, costs, charges and expenses (including
        reasonable attorneys’ fees) that the Issuing Lender may incur or be subject to as a consequence,
        direct or indirect, of (A) the issuance of any Letter of Credit or (B) the failure of the Issuing
        Lender to honor a drawing under a Letter of Credit as a result of any act or omission, whether
        rightful or wrongful, of any present or future de jure or de facto government or Governmental
        Authority (all such acts or omissions, herein called “Government Acts”).

                        (ii)    As between the Borrower and the Issuing Lender, the Borrower shall
        assume all risks of the acts or omissions of or the misuse of any Letter of Credit by the
        beneficiary thereof. The Issuing Lender shall not be responsible for: (A) the form, validity,
        sufficiency, accuracy, genuineness or legal effect of any document submitted by any party in




                                                    43
Case 12-36495-KRH        Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                       Desc Main
                              Document    Page 109 of 304


      connection with the application for and issuance of any Letter of Credit, even if it should in fact
      prove to be in any or all respects invalid, insufficient, inaccurate, fraudulent or forged; (B) the
      validity or sufficiency of any instrument transferring or assigning or purporting to transfer or
      assign any Letter of Credit or the rights or benefits thereunder or proceeds thereof, in whole or in
      part, that may prove to be invalid or ineffective for any reason; (C) failure of the beneficiary of a
      Letter of Credit to comply fully with conditions required in order to draw upon a Letter of Credit;
      (D) errors, omissions, interruptions or delays in transmission or delivery of any messages, by
      mail, cable, telegraph, telex or otherwise, whether or not they be in cipher; (E) errors in
      interpretation of technical terms; (F) any loss or delay in the transmission or otherwise of any
      documents required in order to make a drawing under a Letter of Credit or of the proceeds
      thereof; and (G) any consequences arising from causes beyond the control of the Issuing Lender,
      including, without limitation, any Government Acts. None of the above shall affect, impair, or
      prevent the vesting of the Issuing Lender’s rights or powers hereunder.

                        (iii)  In furtherance and extension and not in limitation of the specific
      provisions hereinabove set forth, any action taken or omitted by the Issuing Lender, under or in
      connection with any Letter of Credit or the related certificates, if taken or omitted in good faith,
      shall not put the Issuing Lender under any resulting liability to the Borrower or any other Loan
      Party other than for gross negligence, bad faith or willful misconduct. It is the intention of the
      parties that this Agreement shall be construed and applied to protect and indemnify the Issuing
      Lender against any and all risks involved in the issuance of any Letter of Credit, all of which risks
      are hereby assumed by the Loan Parties, including, without limitation, any and all risks, whether
      rightful or wrongful, of any present or future Government Acts. The Issuing Lender shall not, in
      any way, be liable for any failure by the Issuing Lender or anyone else to pay any drawing under
      any Letter of Credit as a result of any Government Acts or any other cause beyond the control of
      the Issuing Lender.

                       (iv)    Nothing in this subsection (s) is intended to limit the reimbursement
      obligations of the Borrower contained in this Section 2.05. The obligations of the Borrower
      under this Section 2.05(s) shall survive the termination of this Agreement. No act or omission of
      any current or prior beneficiary of a Letter of Credit shall in any way affect or impair the rights of
      the Issuing Lender to enforce any right, power or benefit under this Agreement.

                        (v)     Notwithstanding anything to the contrary contained in this Section
      2.05(s), the Borrower shall not have any obligation to indemnify any Issuing Lender in respect of
      any liability to the extent incurred by the Issuing Lender arising out of the gross negligence, bad
      faith or willful misconduct of the Issuing Lender, as determined by a court of competent
      jurisdiction. Nothing in this Agreement shall relieve the Issuing Lender of any liability to the
      Borrower in respect of any action taken by the Issuing Lender which action constitutes gross
      negligence, bad faith or willful misconduct of the Issuing Lender or a violation of the ISP or
      UCC, as applicable, as determined by a court of competent jurisdiction.

              (t)     Cash Collateral.

                      (i)     On the Closing Date, the Borrower shall Cash Collateralize all LC
      Obligations by delivering a portion of the proceeds from the Term Loans drawn on the Closing
      Date to the Issuing Lender in an amount in Dollars in cash equal to the sum of 102% of all LC
      Obligations incurred with respect to the Letters of Credit. Such amounts shall be held by the
      Issuing Lender as collateral for the payment and performance of the LC Obligations in a
      segregated account of the DIP Agent (the “LC Account”). The Issuing Lender will, at the request
      of the Borrower, invest amounts deposited in such accounts in Cash Equivalents; provided,




                                                   44
Case 12-36495-KRH          Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                       Desc Main
                                Document    Page 110 of 304


        however, that (i) the Issuing Lender shall not be required to make any investment that, in its sole
        judgment, would require or cause the Issuing Lender to be in, or would result in any, violation of
        any Law, (ii) such Cash Equivalents shall be subjected to a first priority perfected security interest
        in favor of the Collateral Agent and (iii) the selection of such Cash Equivalents shall be in the
        sole discretion of the Issuing Lender with the consent of the Borrower (such consent not to be
        unreasonably withheld). The Borrower shall indemnify the Issuing Lender for any losses relating
        to such investments in Cash Equivalents. Other than any interest or profits earned on such
        investments, such deposits shall not bear interest. Interest or profits, if any, on such investments
        shall accumulate in such accounts. Amounts held by the Issuing Lender under this clause (t) shall
        be applied by the Issuing Lender immediately for drawings under the applicable Letters of Credit
        and, if the maturity of the Loans has been accelerated, to satisfy the LC Obligations of the
        Borrower.

                          (ii)   On the DIP Termination Date, all commitments to extend Letters of
        Credit shall terminate and all LC Obligations and all other obligations owing to the Issuing
        Lender on account of such Letters of Credit shall be paid in full, and the Issuing Lender shall
        promptly deposit any remaining funds held in the LC Account directly into a Deposit Account of
        the Borrower. Upon the expiration of any Letter of Credit or portion thereof, the Issuing Lender
        shall promptly deposit the amounts used to Cash Collateralize such Letter of Credit or portion
        thereof directly into a Deposit Account of the Borrower.

                  (u)    Resignation or Removal of the Issuing Lender. The Issuing Lender may resign at
any time by giving sixty (60) calendar days’ notice to the DIP Agent and the Borrower; provided,
however, that such resignation shall not affect the status of any outstanding Letters of Credit issued by the
resigning Issuing Lender as set forth in Section 2.05(v) below. Upon any such resignation, the Borrower
shall (within sixty (60) calendar days after such notice of resignation) appoint a successor as the Issuing
Lender. Subject to Section 2.05(v) below, upon the acceptance of any appointment as the Issuing Lender
hereunder by a successor Issuing Lender, such successor shall succeed to and become vested with all the
interests, rights and obligations of the retiring Issuing Lender and the retiring Issuing Lender shall be
discharged from its obligations to issue Letters of Credit hereunder. The acceptance of any appointment
as Issuing Lender hereunder by a successor Issuing Lender shall be evidenced by an agreement entered
into by such successor, in a form reasonably satisfactory to the Borrower and the DIP Agent, and, from
and after the effective date of such agreement, (i) such successor shall be a party hereto and have all the
rights and obligations of the Issuing Lender under this Agreement and the other DIP Loan Documents and
(ii) references herein and in the other DIP Loan Documents to the “Issuing Lender” shall be deemed to
refer to such successor or to any previous Issuing Lender, as the context shall require.

                 (v)     Rights with Respect to Outstanding Letters of Credit. After the resignation of the
Issuing Lender hereunder the retiring Issuing Lender shall remain a party hereto and shall continue to
have all the rights and obligations of the Issuing Lender under this Agreement and the other DIP Loan
Documents with respect to Letters of Credit issued by it prior to such resignation, but shall not be
required to issue additional Letters of Credit.

                 (w)     Reporting. The Issuing Lender will report in writing to the DIP Agent (i) on or
prior to each Business Day on which the Issuing Lender expects to amend, renew or extend any Letter of
Credit, the date of such amendment, and the aggregate face amount of Letters of Credit to be amended,
renewed or extended by it and outstanding after giving effect to such issuance, amendment, renewal or
extension (and the Issuing Lender shall advise the DIP Agent on such Business Day whether such
amendment, renewal or extension occurred and whether the amount thereof changed), (ii) on each
Business Day on which such Issuing Lender makes a LC Disbursement, the date and amount of such LC
Disbursement and (iii) on any Business Day on which the Borrower fails to reimburse a LC Disbursement




                                                     45
Case 12-36495-KRH           Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                      Desc Main
                                 Document    Page 111 of 304


required to be reimbursed to the Issuing Lender on such day, the date of such failure and the amount of
such LC Disbursement.

                Section 2.06     Interest.

                 (a)      Rate Options Applicable to Loans. Each Loan shall bear interest on the
outstanding principal amount thereof, for each day during the Interest Period applicable thereto, at the
Borrower’s election, at a rate per annum equal to the sum of the applicable Adjusted Eurodollar Rate or
Base Rate (to the extent permitted by Section 3.02 or Section 3.03), for such Interest Period plus the
Applicable Margin. Such interest shall be payable for each Interest Period on each Interest Payment Date.
The Borrower may not request any Borrowing that, if made, would result in an aggregate of more than
three separate Interest Periods being outstanding hereunder at any one time.

                 (b)      Determination and Notice of Interest Rates. The DIP Agent shall determine each
interest rate applicable to the Loans hereunder. The DIP Agent shall give prompt notice to the Borrower
and the DIP Lenders of each rate of interest so determined, and its determination thereof shall be
conclusive in the absence of manifest error.

                 (c)     Default Interest. Upon the occurrence and during the continuance of a Default,
the Loans and any other overdue amounts owing herein or under the other DIP Loan Documents shall
bear interest, payable on demand, at a per annum rate equal to (i) in the case of principal or interest of any
Loan, the rate otherwise applicable to such Loan during such period pursuant to this Section 2.06 plus
2.00% and (ii) in the case of any other amount, at the Eurodollar Rate or the Base Rate, as applicable, plus
the Applicable Margin plus 2.00%.

                Section 2.07     Extension and Conversion.

                 (a)      Continuation and Conversion Options. The Loans included in each Borrowing
shall bear interest initially over the Interest Periods allowed by Section 2.06 and as specified by the
Borrower in the applicable Notice of Borrowing. Thereafter, the Borrower may elect to change or
continue such Loans for an additional Interest Period, subject to Section 3.05 in the case of any such
change or continuation effective on any day other than the last day of the then current Interest Period
applicable to such Loans (subject in each case to the provisions of Article III and Section 2.07(d)).

                 (b)      Each such election shall be made by delivering a notice, substantially in the form
of Exhibit A-2 hereto (a “Notice of Extension/Conversion”) (or telephone notice promptly confirmed by a
Notice of Extension/Conversion), which notice shall not thereafter be revocable by the Borrower, to the
DIP Agent not later than 12:00 Noon on the third Business Day before the continuation selected in such
notice is to be effective. A Notice of Extension/Conversion shall apply to the entire aggregate principal
amount of the relevant Loans.

                 (c)     Contents of Notice of Extension/Conversion.                    Each Notice of
Extension/Conversion shall specify (i) the Term Loans to which such notice applies; and (ii) the date on
which the conversion or continuation selected in such notice is to be effective, which shall comply with
the applicable clause of Section 2.07(a) above. Each Interest Period specified in a Notice of Interest Rate
Election shall comply with the provisions of the definitions of the terms “Interest Period”. If no Notice of
Extension/Conversion is timely received prior to the end of an Interest Period for any Loans, the
Borrower shall be deemed to have elected that such Loans be converted to Base Rate Loans or extended
for an Interest Period equal to the previous Interest Period applicable to such Loans effective as of the last
day of such expiring Interest Period.




                                                     46
Case 12-36495-KRH          Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                     Desc Main
                                Document    Page 112 of 304


                 (d)     Notification to Lenders. Upon receipt of a Notice of Extension/Conversion
(written or telephonic as set forth above) from the Borrower pursuant to Section 2.07(a) above, the DIP
Agent shall promptly notify each DIP Lender of the contents thereof.

                (e)     [Reserved].

                (f)      Accrued Interest. Accrued interest on a Loan (or portion thereof) being extended
or converted shall be paid by the Borrower on the date of extension or conversion.

                Section 2.08 Maturity of Loans. The Borrower shall repay to the DIP Agent for the
ratable account of the DIP Lenders the aggregate principal amount of all Term Loans outstanding on the
DIP Termination Date.

                Section 2.09     Prepayments.

                 (a)     Voluntary Prepayments. The Borrower shall have the right voluntarily to prepay
Loans in whole or in part from time to time, subject to Section 3.05, but otherwise without premium or
penalty; provided, however, that (i) each partial prepayment of Loans shall be in a minimum principal
amount of $1,000,000 and integral multiples of $100,000 in excess thereof, and (ii) the Borrower shall
have given prior written or telecopy notice (or telephone notice promptly confirmed by written or
telecopy notice) to the DIP Agent by 12:00 Noon at least three Business Days prior to the date of
prepayment. Each notice of prepayment shall specify the prepayment date, the principal amount
remaining and amount to be prepaid and the Interest Period of such Loan. Each notice of prepayment
shall be irrevocable and shall commit the Borrower to prepay such Loan by the amount, and on the date,
stated therein. Subject to the foregoing, amounts prepaid under this Section 2.09(a) shall be applied as the
Borrower may elect; provided that if the Borrower fails to specify the application of a voluntary
prepayment, then such prepayment shall be applied to Term Loans in direct order of Interest Period
maturity. All prepayments under this Section 2.09(a) shall be accompanied by accrued interest on the
principal amount being prepaid to the date of payment.

                (b)     Mandatory Prepayments.

                       (i)     Asset Dispositions, Casualties and Condemnations, etc. Within five
        Business Days after receipt by any Group Company of proceeds from any Asset Disposition
        (other than any Excluded Asset Disposition) or any Foreign Asset Disposition, Casualty or
        Condemnation, the Borrower shall prepay the Loans in an aggregate amount equal to 100% of the
        Net Cash Proceeds of any such Foreign Asset Disposition, other Asset Disposition or any
        Casualty or Condemnation (except to the extent constituting Reinvestment Funds).

                        (ii)    Debt and Equity Issuances. Within five Business Days after receipt by
        any Group Company of proceeds from any Debt Issuance (other than such Debt Issuance
        permitted pursuant to Section 7.01 of this Agreement) or any Qualifying Equity Issuance, the
        Borrower shall prepay the Loans in an aggregate amount equal to 100% of the Net Cash Proceeds
        of such Debt Issuance or Qualifying Equity Issuance.

                        (iii)    Payments in Respect of Subordinated Debt. Immediately upon receipt by
        the DIP Agent or any DIP Lender of any amount pursuant to the subordination provision of any
        Debt of Holdings or any of its Subsidiaries that is subordinate to the DIP Obligations, all
        proceeds thereof shall be applied pro-rata to the outstanding Term Loans.




                                                    47
Case 12-36495-KRH          Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                     Desc Main
                                Document    Page 113 of 304


                       (iv)   Breakage; Accrued Interest. All prepayments under this Section 2.09(b)
        shall be subject to Section 3.05. All prepayments under this Section 2.09(b) shall be
        accompanied by accrued interest on the principal amount being prepaid to the date of payment.

                        (v)    Payments Cumulative. Except as otherwise expressly provided in this
        Section 2.09, payments required under any subsection or clause of this Section 2.09 are in
        addition to payments made or required under any other subsection or clause of this Section 2.09.

                         (vi)    Notice. The Borrower shall give to the DIP Agent and the DIP Lenders
        at least five Business Days’ prior written or telecopy notice of each and every event or occurrence
        requiring a prepayment under Section 2.09(b), including the amount of Net Cash Proceeds
        expected to be received therefrom and the expected schedule for receiving such proceeds;
        provided, however, that in the case of any prepayment event consisting of a Casualty or
        Condemnation, the Borrower shall give such notice within five Business Days after the
        occurrence of such event.

                Section 2.10    Adjustment of Commitments.

              (a)    Termination. The Term Loan Commitments of the DIP Lenders and the LC
Commitment of the Issuing Lender shall terminate automatically at the end of the Availability Period.
The Term Loan Committed Amount shall be permanently reduced by the aggregate principal amount of
each Borrowing.

                   (b)     Optional Termination of Commitments (Non-Pro-Rata). If (i) any DIP Lender
has demanded compensation or indemnification pursuant to Section 3.01 or Section 3.04, (ii) the
obligation of any DIP Lender to make Loans has been suspended pursuant to Section 3.02, (iii) any DIP
Lender is a Defaulting Lender or (iv) any DIP Lender (each a “Non-Consenting Lender”) has failed to
consent to a proposed amendment, waiver, discharge or termination which pursuant to the terms of
Section 10.03 or any other provision of any DIP Loan Document requires the consent of more than the
Required DIP Lenders and with respect to which the Required DIP Lenders shall have granted their
consent, the Required DIP Lenders shall have the right (and, if no Default or Event of Default then exists,
the Borrower shall also have the right) to replace, upon notice to such DIP Lender and the DIP Agent,
such DIP Lender by causing such DIP Lender to assign and delegate, without recourse, its Commitment
to one or more existing DIP Lenders or Eligible Assignees (each, a “Replacement Lender”) in accordance
with and subject to the restrictions set forth in Section 10.06, , provided, however, that if either the
Borrower or the Required DIP Lenders elect to exercise such right with respect to DIP Lender pursuant to
clause (i) or (ii) above, they shall be obligated to remove or replace, as the case may be, all DIP Lenders
that have similar requests then outstanding for compensation pursuant to Section 3.01 or 3.04 or whose
obligation to make Eurodollar Loans has been similarly suspended.

The replacement of a DIP Lender pursuant to this Section 2.10(b) shall be effective on the date of notice
of such replacement to the Borrower, the DIP Lenders through the DIP Agent (the “Replacement Date”),
subject to the satisfaction of the following conditions:

                         (i)    each replacement DIP Lender and/or Eligible Assignee, and the DIP
        Agent acting on behalf of each DIP Lender subject to replacement, shall have satisfied the
        conditions to an Assignment and Acceptance set forth in Section 10.06(b) and

                         (ii)    each DIP Lender subject to removal shall have received payment of an
        amount equal to the aggregate principal amount of all Loans held by such DIP Lender, all accrued
        interest thereon, all accrued but unpaid fees owing to it pursuant to Section 2.11 and other




                                                    48
Case 12-36495-KRH          Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                     Desc Main
                                Document    Page 114 of 304


        amounts payable to it hereunder (including, without limitation, under Article III or Sections 10.04
        and 10.05) from the replacement DIP Lender and/or Eligible Assignee (in the case of such
        outstanding principal and accrued interest) and from the Borrower (in the case of all other
        amounts).

                 Upon the satisfaction of the above conditions, such DIP Lender shall, without any further
consent or other action by it, cease to constitute a DIP Lender hereunder; provided that the provisions of
this Agreement (including, without limitation, the provisions of Article III and Sections 10.04 and 10.05)
shall continue to govern the rights and obligations of a removed DIP Lender with respect to any Loans
made or any other actions taken by such removed DIP Lender while it was a DIP Lender; provided that,
in the case of a Non-Consenting Lender, each Replacement Lender shall consent, at the time of such
assignment, to each matter in respect of which such terminated DIP Lender was a Non-Consenting
Lender.

                Section 2.11    Fees.

                (a)      Fee Letter. Kingpin and Borrower shall pay to the DIP Agent and the Initial
Lenders the fees specified in the Fee Letter.

                (b)      Unused Line Fee. The Borrower shall pay to the DIP Agent for the ratable
benefit of each DIP Lender an unused line fee, payable monthly in arrears on the last Business Day of
each month and on the DIP Termination Date and calculated on the basis of the actual number of days
elapsed in a year of 360 days, accruing at a rate per annum equal to 0.75% on the average daily amount of
unused Term Loan Commitment under the DIP Facility during such month (the “Unused Line Fee”).

                (c)     Fees In Respect of Letters of Credit.

                        (i)     Issuance Fee. The Borrower shall pay directly to the Issuing Lender for
        its own account an issuance fee upon the issuance of each Letter of Credit in an amount equal to
        0.25% times the amount available to be drawn under such Letter of Credit.

                         (ii)    Issuing Lender Fees. In addition to the issuance fee payable pursuant to
        clause (ii) above, the Borrower promises to pay to the Issuing Lender for its own account without
        sharing by the DIP Lenders the customary and reasonable fees and charges from time to time of
        the Issuing Lender with respect to the issuance, amendment, transfer, administration, cancellation
        and conversion of, and drawings under, each Letter of Credit (collectively, the “Issuing Lender
        Fees”).

                  Section 2.12 Pro-Rata Treatment. Except to the extent otherwise provided herein,
each Borrowing, each payment or prepayment of principal of or interest on any Loan, each payment of
fees (other than the Issuing Lender Fees retained by the Issuing Lender for its own account and the
administrative fees retained by the Agents for their own account) and each continuation of any Loan, shall
be allocated pro-rata among the relevant DIP Lenders in accordance with the respective Term Loan
Commitment Percentages of such DIP Lenders (or, if the Commitments of such DIP Lenders have
expired or been terminated, in accordance with the respective principal amounts of the outstanding Term
Loans of such DIP Lenders); provided that, in the event any amount paid to any DIP Lender pursuant to
this Section 2.12 is rescinded or must otherwise be returned by the DIP Agent, each DIP Lender shall,
upon the request of the DIP Agent, repay to the DIP Agent the amount so paid to such DIP Lender, with
interest for the period commencing on the date such payment is returned by the DIP Agent until the date
the DIP Agent receives such repayment at a rate per annum equal to, during the period to but excluding
the date two Business Days after such request, the Federal Funds Rate, plus 2.00% per annum, and




                                                    49
Case 12-36495-KRH          Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                     Desc Main
                                Document    Page 115 of 304


thereafter, at the Eurodollar Rate plus 2.00% per annum.

                 Section 2.13 Sharing of Payments. The DIP Lenders agree among themselves that,
except to the extent otherwise provided herein, if any DIP Lender shall obtain payment in respect of any
Loan, unreimbursed LC Disbursements or any other obligation owing to such DIP Lender under this
Agreement through the exercise of a right of setoff, banker’s lien or counterclaim, or pursuant to a
secured claim under Section 506 of the Bankruptcy Code or other security or interest arising from, or in
lieu of, such secured claim, received by such DIP Lender under any applicable bankruptcy, insolvency or
other similar law or otherwise, or by any other means, in excess of its pro-rata share of such payment as
provided for in this Agreement, such DIP Lender shall promptly pay in cash or purchase from the other
DIP Lenders a participation in such Loans, unreimbursed LC Disbursements and other obligations in such
amounts, and make such other adjustments from time to time, as shall be equitable to the end that all DIP
Lenders share such payment in accordance with their respective ratable shares as provided for in this
Agreement; provided that nothing in this Section 2.13 shall impair the right of any DIP Lender to exercise
any right of set-off or counterclaim it may have for payment of indebtedness of the Borrower other than
its indebtedness hereunder. The DIP Lenders further agree among themselves that if payment to a DIP
Lender obtained by such DIP Lender through the exercise of a right of setoff, banker’s lien, counterclaim
or other event as aforesaid shall be rescinded or must otherwise be restored, each DIP Lender which shall
have shared the benefit of such payment shall, by payment in cash or a repurchase of a participation
theretofore sold, return its share of that benefit (together with its share of any accrued interest payable
with respect thereto) to each DIP Lender whose payment shall have been rescinded or otherwise restored.
Each Loan Party agrees that any DIP Lender so purchasing such a participation may, to the fullest extent
permitted by law, exercise all rights of payment, including setoff, banker’s lien or counterclaim, with
respect to such participation as fully as if such DIP Lender were a holder of such Loan, LC Obligation or
other obligation in the amount of such participation. If under any applicable bankruptcy, insolvency or
other similar law, any DIP Lender receives a secured claim in lieu of a setoff to which this Section 2.13
applies, such DIP Lender shall, to the extent practicable, exercise its rights in respect of such secured
claim in a manner consistent with the rights of the DIP Lenders under this Section 2.13 to share in the
benefits of any recovery on such secured claim.

                Section 2.14    Payments; Computation.

                  (a)     Payments by the Borrower. Each payment of principal of and interest on Loans,
LC Obligations and fees hereunder (other than fees payable directly to the Issuing Lender) shall be paid
not later than 2:00 P.M. on the date when due, in Dollars and in funds immediately available to the DIP
Agent at the account designated by it by notice to the Borrower. Each such payment shall be made
irrespective of any set-off, counterclaim or defense to payment which might in the absence of this
provision be asserted by the Borrower or any Affiliate against any Agent or any DIP Lender. Payments
received after 2:00 P.M. shall be deemed to have been received on the next Business Day. The Borrower
shall, at the time it makes any payments under this Agreement, specify to the DIP Agent the Loan, Letters
of Credit, fees or other amounts payable by the Borrower hereunder to which such payment is to be
applied (and if any such specified application would be inconsistent with the terms hereof, the DIP Agent
shall, subject to Section 2.12, distribute such payment to the DIP Lenders in such manner as the DIP
Agent may deem reasonably appropriate). The DIP Agent will distribute such payments to the applicable
DIP Lenders on the date of receipt thereof, if such payment is received prior to 2:00 P.M.; otherwise, the
DIP Agent may, in its sole discretion, distribute such payment to the applicable DIP Lenders on the date
of receipt thereof or on the immediately succeeding Business Day. Whenever any payment hereunder
shall be due on a day which is not a Business Day, the date for payment thereof shall be extended to the
next succeeding Business Day unless such Business Day falls in another calendar month, in which case
the date for payment thereof shall be the next preceding Business Day. If the date for any payment of
principal is extended by operation of law or otherwise, interest thereon shall be payable for such extended




                                                    50
Case 12-36495-KRH          Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                     Desc Main
                                Document    Page 116 of 304


time. The Borrower hereby authorizes and directs each Agent to debit any account maintained by the
Borrower for such purpose with such Agent to pay when due any amounts required to be paid from time
to time under this Agreement as directed at such time(s) by the Borrower.

                 (b)    Distributions by the DIP Agent. Unless the DIP Agent shall have received notice
(written or telephonic) from the Borrower prior to the date on which any payment is due to the DIP
Lenders hereunder that the Borrower will not make such payment in full, the DIP Agent may assume that
the Borrower has made such payment in full to the DIP Agent on such date, and the DIP Agent may, in
reliance upon such assumption, cause to be distributed to each DIP Lender on such due date an amount
equal to the amount then due such DIP Lender. If and to the extent that the Borrower shall not have so
made such payment, each DIP Lender shall repay to the DIP Agent forthwith on demand such amount
distributed to such DIP Lender together with interest thereon for each day from the date such amount is
distributed to such DIP Lender until the date such DIP Lender repays such amount to the DIP Agent, at
the Federal Funds Rate.

                 (c)     Computations. All computations of interest and fees hereunder shall be made on
the basis of the actual number of days elapsed over a year of 360 days. Interest shall accrue from and
including the date of borrowing (or continuation) but excluding the date of payment.

                                       ARTICLE III
                        TAXES, YIELD PROTECTION AND ILLEGALITY

                Section 3.01    Taxes.

                 (a)      Payments Net of Certain Taxes. Any and all payments by any Loan Party to or
for the account of any Recipient or under any other DIP Loan Document shall be made free and clear of
and without deduction for any and all present or future taxes, duties, levies, imposts, deductions, charges
or withholdings, and all liabilities with respect thereto, excluding any and all Excluded Taxes. If any
Loan Party shall be required by law to deduct or withhold any Indemnified Taxes or Other Taxes from or
in respect of any sum payable under this Agreement or any other DIP Loan Document to any Recipient
the sum payable shall be increased as necessary so that after making all required deductions and
withholdings (including deductions and withholdings applicable to additional sums payable under this
Section 3.01) such Recipient receives an amount equal to the sum it would have received had no such
deductions or withholdings been made. In addition, if any Loan Party shall be required by law to deduct
or withhold any taxes from or in respect of any sum payable under this Agreement or any other DIP Loan
Document to any Recipient (a) such Loan Party shall make such deductions and withholdings, (b) such
Loan Party shall pay the full amount deducted or withheld to the relevant taxation authority or other
authority in accordance with applicable law and (c) within thirty (30) calendar days, such Loan Party shall
furnish to the Agent, at the Administrative Office, and to the applicable DIP Lender or Issuing Lender the
original or a certified copy of a receipt evidencing payment thereof, a copy of the return reporting such
payment or other documentation evidencing such payment reasonably satisfactory to the Agent and the
applicable DIP Lender or Issuing Lender.

                 (b)    Other Taxes. In addition, the Borrower agrees to pay any and all present or
future stamp, court or documentary, intangible, recording, filing, excise or property taxes or similar
charges or levies (including mortgage recording taxes) which arise from any payment made by it under
this Agreement or any other DIP Loan Document or from the execution, delivery, performance,
registration or enforcement of, or otherwise with respect to, this Agreement or any other DIP Loan
Document (such taxes or similar charges or levies, “Other Taxes”).




                                                    51
Case 12-36495-KRH          Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                      Desc Main
                                Document    Page 117 of 304


                 (c)     Additional Taxes. The Borrower agrees to indemnify each Recipient, within 10
Business Days after demand therefor, for the full amount of Indemnified Taxes and Other Taxes
(including, without limitation, any Indemnified Taxes or Other Taxes imposed or asserted by any
jurisdiction on amounts payable under this Section 3.01), as applicable, whether or not correctly or legally
asserted, paid or payable by such Recipient (as the case may be) and any liability (including penalties,
interest and expenses) arising therefrom or with respect thereto; provided, however, that if the Borrower
reasonably believes that such Indemnified Taxes or Other Taxes were not correctly or legally asserted,
then subject to any limitations set forth in Section 3.01(f) (including clauses (ii) and (iii) of the proviso
contained therein), the Recipient will use reasonable efforts to cooperate with the Borrower to obtain a
refund of such Indemnified Taxes or Other Taxes so long as such efforts would not, in the sole discretion
of the Recipient, result in any additional costs, expenses or risks or be otherwise disadvantageous to it.
For purposes of this Section 3.01(c), a certificate delivered by a Recipient to the Borrower (with a copy to
the DIP Agent), or by the DIP Agent on its own behalf or on behalf of another Recipient, setting forth in
reasonable detail the nature and amount of Indemnified Taxes or Other Taxes (and any liability arising
therefrom) for which it is claiming indemnification hereunder, shall be conclusive absent manifest error.

                (d)      U.S. Tax Forms and Certificates.

                         (i)      Each Recipient organized under the laws of a jurisdiction outside the
        United States (a “Non-U.S. Lender”), on or prior to the date of its execution and delivery of this
        Agreement in the case of each Non-U.S. Lender listed on the signature pages hereof and on or
        prior to the date on which it becomes a Non-U.S. Lender in the case of each other Non-U.S.
        Lender, and from time to time thereafter as required by law, shall provide the Borrower and the
        DIP Agent with (i) two properly completed and duly signed original copies of Internal Revenue
        Service Form W-8 BEN, W-8 IMY or W-8 ECI, as appropriate, or any successor form prescribed
        by the Internal Revenue Service, certifying that such Non-U.S. Lender is entitled to benefits
        under an income tax treaty to which the United States is a party which reduces the rate of
        withholding tax on payments of interest or certifying that the income receivable pursuant to this
        Agreement is effectively connected with the conduct of a trade or business in the United States,
        and/or (ii) any other form or certificate required by any taxing authority (including any certificate
        required by Sections 871(h) and 881(c) of the Code), certifying that such Non-U.S. Lender is
        entitled to an exemption from or a reduced rate of tax on payments pursuant to this Agreement or
        any of the other DIP Loan Documents. Should a Non-U.S. Lender, which is otherwise exempt
        from or subject to a reduced rate of withholding tax, become subject to any taxes because of its
        failure to deliver a form required to be delivered hereunder, the Borrower shall take such steps as
        such Non-U.S. Lender shall reasonably request to assist such Non-U.S. Lender to recover such
        taxes.

                        (ii)    Each Recipient that is a U.S. person as defined in Section 7701(a)(30) of
        the Code (a “U.S. Lender”) shall deliver to the Borrower and the DIP Agent on or before the date
        on which it becomes a party to this Agreement two properly completed and duly signed original
        copies of Internal Revenue Service Form W-9 or any successor form prescribed by the Internal
        Revenue Service, certifying that such U.S. Lender is exempt from federal backup withholding.

                        (iii)    If a payment made to a Recipient under any DIP Loan Document would
        be subject to United States federal withholding tax imposed by FATCA if such Recipient were to
        fail to comply with the applicable reporting requirements of FATCA (including those contained
        in Section 1471(b) or 1472(b) of the Code, as applicable), such Recipient shall deliver to the
        Borrower and the Agent at the time or times prescribed by law and at such time or times
        reasonably requested by the Borrower or the Agent such documentation prescribed by applicable
        law (including as prescribed by Section 1471(b)(3)(C)(i) of the Code) and such additional




                                                     52
Case 12-36495-KRH          Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                      Desc Main
                                Document    Page 118 of 304


        documentation reasonably requested by the Borrower or the Agent as may be necessary for the
        Borrower and the Agent to comply with their obligations under FATCA and to determine that
        such Recipient has complied with such Recipient’s obligations under FATCA or to determine the
        amount to deduct and withhold from such payment. Solely for purposes of this clause (ii),
        “FATCA” shall include any amendments made to FATCA after the date of this Agreement.

                 (e)      Mitigation. If any Loan Party is required to pay additional amounts to or for the
account of any Recipient pursuant to this Section 3.01, then such Recipient will agree to use reasonable
efforts to change the jurisdiction of its Applicable Lending Office or to file or deliver to the Borrower any
certificate or document so as to eliminate or reduce any such additional payment which may thereafter
accrue if such change, filing or delivery, in the judgment of such Recipient, would not subject such
recipient to any unreimbursed cost or expense and would not otherwise be disadvantageous to such
Recipient.

                  (f)     Refunds. If any DIP Lender or Agent receives a refund from a taxation authority
in respect of any tax for which it has been indemnified by a Loan Party or with respect to which a Loan
Party has paid additional amounts pursuant to this Section 3.01, which refund in the sole judgment of
such DIP Lender or Agent is directly attributable to any such indemnified tax or additional amounts paid
pursuant to this Section 3.01, such DIP Lender or Agent shall (within thirty (30) calendar days from the
date of such receipt) pay to the indemnifying party the amount of such refund (but only to the extent of
indemnity payments made with respect to the tax giving rise to such refund or credit), net of all out-of-
pocket expenses (including any taxes on a refund or on interest received or credited) which such DIP
Lender or Agent certifies that it has reasonably determined to have been incurred in connection with
obtaining such refund; provided, however, that (i) each Loan Party shall repay, upon the request of such
DIP Lender or Agent, the amount paid to such Loan Party pursuant to the previous clause (plus penalties,
interest or other charges) to such DIP Lender or Agent in the event such DIP Lender or Agent is required
to repay such refund or credit to such tax authority, (ii) such DIP Lender or Agent, as the case may be,
shall have no obligation to cooperate with respect to any contest (or continue to cooperate with respect to
any contest), or to seek or claim any refund if such DIP Lender or Agent determines, in its sole discretion,
that its interest would be adversely affected by so cooperating (or continuing to cooperate) or by seeking
or claiming any such refund and (iii) no Loan Party shall have any right to examine the tax returns or
other records of any DIP Lender or Agent or to obtain any information with respect thereto by reason of
the provisions of this Section 3.01 or any judgment or determination made by any DIP Lender or Agent
pursuant to this Section 3.01. Notwithstanding anything to the contrary in this paragraph (f), in no event
will an indemnified party be required to pay any amount to an indemnifying party pursuant to this
paragraph (e) the payment of which would place the indemnified party in a less favorable net after-tax
position than the indemnified party would have been in if the tax subject to indemnification and giving
rise to such refund had not been deducted, withheld or otherwise imposed and the indemnification
payments or additional amounts with respect to such tax had never been paid.

                (g)     Each party’s obligations under this Section 3.01 shall survive the resignation or
replacement of the Agent or any assignment of rights by, or the replacement of, a DIP Lender, the
termination of the DIP Loans or Commitments and the repayment, satisfaction or discharge of all
obligations under any DIP Loan Document.

                 Section 3.02 Change in Law, Etc. If, on or after the date of this Agreement, (i) the
adoption of any applicable Law, or any change in any applicable Law, or any change in the interpretation
or administration thereof by any Governmental Authority, central bank or comparable agency charged
with the interpretation or administration thereof, or compliance by any DIP Lender (or its Applicable
Lending Office) with any request or directive (whether or not having the force of Law) of any such
authority, central bank or comparable agency shall make it unlawful or impossible for any DIP Lender (or




                                                     53
Case 12-36495-KRH          Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                     Desc Main
                                Document    Page 119 of 304


its Applicable Lending Office) to make, maintain or fund any of its Loans at the Eurodollar Rate;
provided that notwithstanding anything herein to the contrary, each of Basel III and the Dodd-Frank Wall
Street Reform and Consumer Protection Act and all requests, rules, guidelines, requirements and
directives thereunder issued in connection therewith or in implementation thereof shall be deemed to be a
Change in Law for the purposes hereof, regardless of the date enacted, adopted, issued or implemented; or
(ii) there shall have occurred any change in national or international financial, political or economic
conditions (including the imposition of or any change in exchange controls) or currency exchange rates
that would make it impracticable for any DIP Lender (or its Applicable Lending Office) to make,
maintain or fund any of its Loans at the Eurodollar Rate, and, in each such case, the affected DIP Lender
shall so notify the DIP Agent, the DIP Agent shall forthwith give notice thereof to the other DIP Lenders
and the Borrower, whereupon, until each affected DIP Lender notifies the Borrower and the DIP Agent
that the circumstances giving rise to such suspension no longer exist, the obligation of each affected DIP
Lender to make Loans at the Eurodollar Rate shall be suspended. Before giving any notice to the DIP
Agent pursuant to this Section 3.02, such DIP Lender shall designate a different Applicable Lending
Office if such designation will avoid the need for giving such notice and will not, in the judgment of such
DIP Lender, be otherwise disadvantageous to such DIP Lender. If such notice is given, each Loan of
such DIP Lender then outstanding shall be converted to a Loan bearing interest at a rate determined by
reference to the Base Rate either (i) on the last day of the then current Interest Period applicable to such
Loan, if such DIP Lender may lawfully continue to maintain and fund such Loan to such day or (ii)
immediately, if such DIP Lender shall determine that it may not lawfully continue to maintain and fund
such Loan to such day.

                   Section 3.03 Basis for Determining Interest Rate Inadequate or Unfair. If on or
prior to the first day of any Interest Period for any Eurodollar Borrowing:

                          (i)     the DIP Agent determines (which determination shall be conclusive) that
        by reason of circumstances affecting the relevant market, adequate and reasonable means do not
        exist for ascertaining the applicable Eurodollar Rate for such Interest Period; or

                         (ii) the Required DIP Lenders advise the DIP Agent that the Eurodollar Rate
        as determined by the DIP Agent will not adequately and fairly reflect the cost to such DIP
        Lenders of funding their Loans at the Eurodollar Rate included in such Borrowing for such
        Interest Period; or

                       (iii)   the DIP Agent reasonably determines (which determination shall be
        conclusive) that Dollar deposits in the principal amounts of the Loans comprising such
        Borrowing are not generally available in the London interbank market;

the DIP Agent shall forthwith give notice thereof to the Borrower and the relevant DIP Lenders,
whereupon, until the DIP Agent notifies the Borrower that the circumstances giving rise to such
suspension no longer exist, (i) the obligations of the DIP Lenders to make or continue or convert Loans at
the Eurodollar Rate shall be suspended and (ii) each outstanding Loan shall instead reference the Base
Rate on the last day of the then current Interest Period applicable thereto. Unless the Borrower notifies
the DIP Agent at least two Business Days before the date of any Borrowing for which a Notice of
Borrowing has previously been given that it elects not to borrow on such date, such Borrowing shall
instead bear interest for each day from and including the first day to but excluding the last day of the
Interest Period applicable thereto with reference to the Base Rate on such day.




                                                    54
Case 12-36495-KRH          Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                      Desc Main
                                Document    Page 120 of 304


                Section 3.04     Increased Costs and Reduced Return.

                 (a)    If on or after the date hereof, the adoption of or any change in any applicable
Law or in the interpretation or application thereof applicable to any DIP Lender (or its Applicable
Lending Office), or compliance by any DIP Lender (or its Applicable Lending Office) with any request or
directive (whether or not having the force of Law) from any central bank or other Governmental
Authority, in each case made subsequent to the Closing Date (or, if later, the date on which such DIP
Lender becomes a DIP Lender) (provided that notwithstanding anything herein to the contrary, each of
Basel III and the Dodd-Frank Wall Street Reform and Consumer Protection Act and all requests, rules,
guidelines, requirements and directives thereunder issued in connection therewith or in implementation
thereof shall be deemed to be a Change in Law for the purposes hereof, regardless of the date enacted,
adopted, issued or implemented):

                          (i)     shall subject such DIP Lender (or its Applicable Lending Office) to any
        tax of any kind whatsoever with respect to any Letter of Credit, any Loans made by it or any of
        its Notes or its obligation to make Loans or to participate in Letters of Credit, or change the basis
        of taxation of payments to such DIP Lender (or its Applicable Lending Office) in respect thereof
        (except for (A) Indemnified Taxes and Other Taxes covered by Section 3.01 and (B) Excluded
        Taxes);

                        (ii)    shall impose, modify or hold applicable any reserve, special deposit,
        compulsory loan or similar requirement against assets held by, deposits or other liabilities in or
        for the account of, advances, loans or other extensions of credit by, or any other acquisition of
        funds by, any office of such DIP Lender (or its Applicable Lending Office) which is not
        otherwise included in the determination of the Eurodollar Rate hereunder; or

                         (iii)  shall impose on such DIP Lender (or its Applicable Lending Office) any
        other condition (excluding any tax of any kind whatsoever);

and the result of any of the foregoing is to increase the cost to such DIP Lender (or its Applicable Lending
Office) of making, continuing or maintaining any Loans or issuing or participating in Letters of Credit or
to reduce any amount receivable hereunder in respect thereof, then, in any such case, upon notice to the
Borrower from such DIP Lender, through the DIP Agent, in accordance herewith, the Borrower shall be
obligated to pay such DIP Lender, within 10 Business Days of its demand, any additional amounts
necessary to compensate such DIP Lender on an after-tax basis (after taking into account applicable
deductions and credits in respect of the amount indemnified) for such increased cost or reduced amount
receivable.

                  (b)    If any DIP Lender shall have determined that the adoption or the becoming
effective of, or any change in, or any change by any Governmental Authority, central bank or comparable
agency charged with the interpretation or administration thereof in the interpretation or administration of,
any applicable Law regarding capital adequacy, or compliance by such DIP Lender, or its parent
corporation, with any request or directive regarding capital adequacy (whether or not having the force of
Law) of any such Governmental Authority, central bank or comparable agency, has or would have the
effect of reducing the rate of return on such DIP Lender’s (or parent corporation’s) capital or assets as a
consequence of its commitments or obligations hereunder to a level below that which such DIP Lender, or
its parent corporation, could have achieved but for such adoption, effectiveness, change or compliance
(taking into consideration such DIP Lender’s (or parent corporation’s) policies with respect to capital
adequacy), then, upon notice from such DIP Lender to the Borrower, the Borrower shall be obligated to
pay to such DIP Lender such additional amount or amounts as will compensate such DIP Lender on an
after-tax basis (after taking into account applicable deductions and credits in respect of the amount




                                                     55
Case 12-36495-KRH           Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                      Desc Main
                                 Document    Page 121 of 304


indemnified) for such reduction; provided that the Borrower shall not be required to compensate any DIP
Lender pursuant to Section 3.04(a) above or this Section 3.04(b) for any additional costs or reductions
suffered more than one-hundred eighty (180) calendar days prior to the date such DIP Lender notifies the
Borrower of the circumstances giving rise to such additional costs or reductions and of such DIP Lender’s
intentions to claim compensation therefor, and provided further that, if the Change in Law or in the
interpretation or administration thereof giving rise to such additional costs or reductions is retroactive,
then the 180-day period referred to above shall be extended to include the period of retroactive effect
thereof. Each determination by any such DIP Lender of amounts owing under this Section 3.04 shall,
absent manifest error, be conclusive and binding on the parties hereto.

                 (c)      A certificate in reasonable detail of each DIP Lender setting forth such amount or
amounts as shall be necessary to compensate such DIP Lender or its holding company as specified in
Section 3.04(a) or (b) above, as the case may be, shall be delivered to the Borrower and shall be
conclusive absent manifest error. The Borrower shall pay each DIP Lender the amount shown as due on
any such certificate delivered by it within 10 Business Days after receipt of the same.

                 (d)     Promptly after any DIP Lender becomes aware of any circumstance that will, in
its reasonable judgment, result in a request for increased compensation pursuant to this Section 3.04, such
DIP Lender shall notify the Borrower thereof. Failure on the part of any DIP Lender so to notify the
Borrower or to demand compensation for any increased costs or reduction in amounts received or
receivable or reduction in return on capital with respect to any period shall not constitute a waiver of such
DIP Lender’s right to demand compensation with respect to such period or any other period, except as
expressly otherwise provided above. The protection of this Section 3.04 shall be available to each DIP
Lender regardless of any possible contention of the invalidity or inapplicability of the law, rule,
regulation, guideline or other change or condition which shall have occurred or been imposed.

                 Section 3.05 Funding Losses. The Borrower shall indemnify each DIP Lender
against any loss or expense (but excluding in any event loss of anticipated profit) which such DIP Lender
may sustain or incur as a consequence of (i) any failure by the Borrower to fulfill on the date of any
Borrowing hereunder the applicable conditions set forth in Article IV, (ii) any failure by the Borrower to
borrow, convert or continue any Loan hereunder after irrevocable notice of such Borrowing, conversion
or continuation has been given pursuant to Section 2.02 or 2.07, (iii) any payment, prepayment or
conversion of a Loan, whether voluntary or involuntary, pursuant to any other provision of this
Agreement or otherwise made on a date other than the last day of the Interest Period applicable thereto, or
(iv) the assignment of any Loan other than on the last day of the Interest Period applicable thereto as a
result of a request by the Borrower pursuant to Section 2.10(b), including, in each such case, any loss or
reasonable expense sustained or incurred or to be sustained or incurred in liquidating or employing
deposits from third parties acquired to effect or maintain such Loan or any part thereof. Such loss or
reasonable expense (other than loss of anticipated profits) shall include an amount equal to the excess, if
any, as reasonably determined by such DIP Lender, of (i) its cost of obtaining the funds for the Loan
being paid, prepaid, converted, not borrowed, redenominated or assigned (based on the applicable
Eurodollar Rate), for the period from the date of such payment, prepayment, conversion, failure to
borrow, convert or continue to the last day of the Interest Period for such Loan (or, in the case of a failure
to borrow, the Interest Period for such Loan which would have commenced on the date of such failure to
borrow, convert or continue), redenomination or assignment over (ii) the amount of interest at the then
current Eurodollar Rate (as reasonably determined by such DIP Lender) that would be realized by such
DIP Lender in reemploying the funds so paid, prepaid, converted, not borrowed or continued for such
period or Interest Period, redenomination or assignment, as the case may be. A certificate of any DIP
Lender setting forth any amount or amounts which such DIP Lender is entitled to receive pursuant to this
Section 3.05 shall be delivered to the Borrower and shall be conclusive absent manifest error




                                                     56
Case 12-36495-KRH           Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                       Desc Main
                                 Document    Page 122 of 304


                 Section 3.06 Base Rate Loans Substituted for Affected Eurodollar Loans. If (i) the
obligation of any DIP Lender to make, or to continue or convert outstanding Loans as or to, Eurodollar
Loans has been suspended pursuant to Section 3.02 or (ii) any DIP Lender has demanded compensation
under Section 3.01 and 3.04 with respect to its Eurodollar Loans (such lender, an “Affected Lender”), and
in any such case the Borrower shall, by at least five (5) Business Days’ prior notice to the DIP Agent,
have elected that the provisions of this Section 3.06 shall apply, then, unless and until such Affected
Lender notifies the Borrower that the circumstances giving rise to such suspension or demand for
compensation no longer exist, all Loans which would otherwise be made by any DIP Lender as (or
continued as or converted to) Eurodollar Loans with the same Interest Period as the Eurodollar Loans of
the Affected Lender shall instead bear interest at the Base Rate (on which interest and principal shall be
payable, contemporaneously with the related Eurodollar Loans of the other DIP Lenders). If the Affected
Lender notifies the Borrower that the circumstances giving rise to such suspension or demand for
compensation no longer exist, the principal amount of each such Loan shall be converted into a
Eurodollar Loan on the first day of the next succeeding Interest Period applicable to the related Eurodollar
Loans. The Borrower shall compensate each DIP Lender (other than the Affected Lender) whose
Eurodollar Loans are converted by any such election of Borrower pursuant to this Section 3.06 as set forth
in Section 3.05.

                                               ARTICLE IV
                                               CONDITIONS

                Section 4.01 Conditions to Closing. The obligation of each DIP Lender to make a
Loan or issue a Letter of Credit on the Closing Date is subject to the satisfaction (or waiver) of the
following conditions:

                  (a)    Executed DIP Loan Documents. Receipt by the DIP Agent of duly executed
copies of: (i) this Agreement; (ii) the Notes (if any); (iii) the Collateral Documents and (iv) all other DIP
Loan Documents, each in form and substance satisfactory to the DIP Agent, the DIP Lenders and their
counsel.

                (b)     Legal Matters. All legal matters incident to this Agreement and the borrowings
hereunder shall be reasonably satisfactory to the Required DIP Lenders.

                  (c)      Organizational Documents. The DIP Agent shall have received: (i) a copy of
the certificate or articles of incorporation or other organizational documents, as applicable, including all
amendments thereto, of each Loan Party, certified as of a recent date by the Secretary of State or other
applicable authority of its respective jurisdiction of organization; (ii) a certificate as to the good standing
of each Loan Party, as of a recent date, from the Secretary of State or other applicable authority of its
respective jurisdiction of organization together, to the extent generally available, with a certificate or
other evidence of good standing as to payment of any applicable franchise or similar taxes from the
appropriate taxing authority of each such jurisdiction; (iii) a certificate of the Secretary or Assistant
Secretary of each Loan Party dated the Closing Date substantially in the form of Exhibit L hereto; (iv) a
certificate of another officer as to the incumbency and specimen signature of the Secretary or Assistant
Secretary executing the certificate pursuant to clause (iii) above; and (v) such other corporate or other
constitutive or organizational documents as the DIP Agent or the Required DIP Lenders may reasonably
request.

                (d)     Officer’s Certificates. The DIP Agent shall have received (i) a certificate, dated
the Closing Date and signed by a Responsible Officer of each Loan Party, confirming compliance with
the conditions precedent set forth in Section 4.02(b) and (c).




                                                      57
Case 12-36495-KRH          Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                      Desc Main
                                Document    Page 123 of 304


                 (e)    Opinions of Counsel. The DIP Agent and the DIP Lenders shall have received
satisfactory and customary opinions of independent counsel to the Loan Parties, addressing such matters
as the DIP Agent or the DIP Lenders shall reasonably request.

                (f)     Hilco Engagement Letter. The Borrower shall have retained Hilco Real Estate
Appraisal, LLC (“Hilco”), to conduct appraisals of those properties that are owned by the Loan Parties
and/or are the subject of the iStar Sales/Leaseback Documents or any other leases to which the Loan
Parties are a party (except as may otherwise be agreed in writing by the Required DIP Lenders) in
accordance with an engagement letter reasonably satisfactory in form and substance to the DIP Agent and
the Required DIP Lenders (the “Hilco Engagement Letter”).

                 (g)    Delivery of Projections. The Borrower shall have delivered or caused to be
delivered to the DIP Agent, on behalf of the DIP Lenders, financial projections satisfactory to the
Required DIP Lenders in their sole discretion, including income statement, balance sheet and cash flow
statement, each in form and substance consistent with the Loan Parties’ internal financial statements, for
fiscal years ending 2013 and 2014 presented on a monthly basis.

                 (h)    Evidence of Insurance. The DIP Agent and the Required DIP Lenders shall be
satisfied with the amount, types and terms and conditions of all insurance and bonding maintained by the
Loan Parties and their Subsidiaries. Upon the request of the DIP Agent, the Borrower shall, within thirty
(30) calendar days following such request, obtain endorsements naming the DIP Agent, on behalf of the
DIP Lenders, as an additional insured or loss payee, as applicable, under all insurance policies to be
maintained with respect to the properties of the Loan Parties and their Subsidiaries forming part of the
Collateral, which endorsement shall provide for 30 days’ prior notice of cancellation of such policies to
be delivered to the DIP Agent.

                 (i)      Litigation; Judgments. Other than the Chapter 11 Cases, or as stayed upon the
commencement of the Chapter 11 Cases, there shall exist no action, suit, investigation, litigation or
proceeding pending or threatened in any court or before any arbitrator or governmental instrumentality
that (i) could reasonably be expected to result in a Material Adverse Effect or, except as disclosed, if
adversely determined, could reasonably be expected to result in a Material Adverse Effect or (ii) restrains,
prevents or imposes or can reasonably be expected to impose materially adverse conditions upon the DIP
Facility, the Collateral or the transactions contemplated hereby.

                (j)     Consents; Absence of Conflicts. (i) All governmental and third party consents
and approvals necessary in connection with the DIP Facility and the Transaction shall have been obtained
(without the imposition of any conditions that are not reasonably acceptable to the DIP Agent and the
Required DIP Lenders) and shall remain in effect, and (ii) there shall not exist any law, regulation, ruling,
judgment, order, injunction or other restraint that, in the judgment of the DIP Agent at the direction of the
Required DIP Lenders, restrains, prevents, prohibits, restricts or imposes materially adverse conditions
upon Borrower, the Subsidiary Guarantors, the DIP Facility or the transactions contemplated hereby.

                 (k)     Financial Information. The DIP Agent and the Required DIP Lenders shall each
be reasonably satisfied that the projections and the financial statements referred to in Section 5.05 are not
materially inconsistent with the information, projections, sources and uses of funds or financial model
delivered to the DIP Agent prior to the Closing Date.

                 (l)    Material Adverse Effect. There shall have occurred no event which has resulted
in or could reasonably be expected to result in a Material Adverse Effect since July 3, 2012.




                                                     58
Case 12-36495-KRH          Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                      Desc Main
                                Document    Page 124 of 304


                   (m)    Payment of Fees. All costs, fees, disbursements and expenses of (i) the Agents
(including fees, costs, disbursements and expenses of their outside counsel, K&S, and their local counsel)
and (ii) the Initial Lenders (including fees, costs, disbursements and expenses of (A) their outside counsel,
Stroock and their local counsel, (B) Miller Buckfire as financial advisor to the Initial Lenders and (C) any
other professional advisors retained by the Initial Lenders or their counsel, on or before the Closing Date,
shall have been paid in full in cash, to the extent invoiced to the Borrower no later than one Business Day
prior to the Closing Date; provided that any such expenses invoiced thereafter shall be payable pursuant
to Section 10.04.

                  (n)    First Day Motions. All first day motions filed by the Loan Parties and related
orders entered by the Bankruptcy Court in the Chapter 11 Cases shall be in form and substance
satisfactory to the DIP Agent at the direction of the Required DIP Lenders.

                (o)    Motions and Documents. All motions and other documents to be filed with and
submitted to the Bankruptcy Court related to the DIP Facility and the approval thereof shall be in form
and substance reasonably satisfactory to the Required DIP Lenders

                 (p)    Interim Order. The Bankruptcy Court shall have entered the Interim Order
within three (3) calendar days following the Petition Date, in form and substance satisfactory to the DIP
Agent and the Required DIP Lenders.

                 (q)      Validity and Priority of DIP Liens. The DIP Agent, for the benefit of the DIP
Lenders, shall have a valid and perfected Lien on and security interest in the Collateral on the basis and
with the priority set forth herein, and such Lien of the DIP Agent for the benefit of the DIP Lenders shall
be senior to the First Lien Credit Agreement Liens, the First Lien Adequate Protection Liens, the Second
Lien Credit Agreement Liens and the Second Lien Adequate Protection Liens, subject only to the Carve-
Out.

                (r)      Budget. The DIP Agent and the DIP Lenders shall have received the Budget
(attached as Exhibit E), which shall be in form and satisfactory to the DIP Agent at the direction of the
Required DIP Lenders.

                 (s)  Cash Dominion. The Loan Parties shall have entered into Account Control
Agreements reasonably acceptable to the DIP Agent and the Required DIP Lenders as required pursuant
to Section 6.08.

                 All corporate and legal proceedings and instruments and agreements relating to the
Transaction or in any other document delivered in connection herewith or therewith shall be reasonably
satisfactory in form and substance to the DIP Agent and the Required DIP Lenders, and the DIP Agent
shall have received all information and copies of all documents and papers, including records of corporate
proceedings, governmental approvals, good standing certificates and bring-down facsimiles, if any, which
the DIP Agent reasonably may have requested in connection therewith, such documents and papers where
appropriate to be certified by proper corporate or Governmental Authorities. The documents referred to
in this Section 4.01 shall be delivered to the DIP Agent no later than the Closing Date. The certificates
and opinions referred to in this Section 4.01 shall be dated the Closing Date.

                  The requirement that any document, agreement, certificate or other writing be reasonably
satisfactory to the Required DIP Lenders shall be deemed to be satisfied if (i) such document, agreement,
certificate or other writing was delivered to the DIP Lenders not less than two Business Days prior to the
Closing Date, (ii) such document, agreement, certificate or other writing is satisfactory to the DIP Agent




                                                     59
Case 12-36495-KRH          Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                     Desc Main
                                Document    Page 125 of 304


and (iii) DIP Lenders holding at least 50% of the Term Loan Commitments have not objected in writing
to such document, agreement, certificate or other writing to the DIP Agent prior to the Closing Date.

               Promptly after the Closing Date occurs, the DIP Agent shall notify the Borrower and the
DIP Lenders of the Closing Date, and such notice shall be conclusive and binding on all parties hereto.

                 Section 4.02 Conditions to All Credit Extensions. The obligation of any DIP
Lender to make a Loan on the occasion of any Borrowing and the obligation of the Issuing Lender to
issue (or renew or extend the term of) any Letter of Credit is subject to the satisfaction of each of the
conditions set forth in Section 4.01 on the date of such Loan (other than those conditions expressly
required to be satisfied on the Closing Date) and the following additional conditions:

                (a)    Notice. The Borrower shall have delivered to the DIP Agent an appropriate
Notice of Borrowing, duly executed and completed, by the time specified in, and otherwise as permitted
by, Section 2.02.

                 (b)      Representations and Warranties. The representations and warranties made by
the Loan Parties in any DIP Loan Document are true and correct in all material respects at and as if made
as of such date (in each case immediately prior to, and after giving effect to, the funding of any DIP
Loans) except to the extent they expressly relate to an earlier date, in which case such representations and
warranties shall be true and correct in all material respects on and as of such earlier date.

                  (c)      No Default. No Default or Event of Default shall exist or be continuing either
prior to or after giving effect thereto.

                 (d)    No Restrictions. The making of such Loan shall not violate any Law and shall
not be enjoined, temporarily, preliminarily or permanently.

                (e)     Material Adverse Effect. No Material Adverse Effect shall have occurred.

                (f)     [Reserved]

                  (g)    Compliance with Budget. The making of such DIP Loan complies with the
Budget, subject to Permitted Variances, or has otherwise been approved in writing by the DIP Agent at
the direction of the Required DIP Lenders.

                (h)     Final Order. With respect to any Loans made after the Closing Date, the Final
Order shall have been entered approving the DIP Facility, in form and substance satisfactory to the DIP
Agent and the Required DIP Lenders, which Final Order shall be in full force and effect and shall not
have been reversed, vacated or stayed, and shall not have been amended, supplemented or otherwise
modified without the prior written consent of the DIP Agent at the discretion of the Required DIP Lenders

                 (i)      Restraint on Collateral. There shall not exist any Law, ruling, judgment, order,
injunction or other restraint that, in the judgment of the DIP Agent at the direction of the Required DIP
Lenders, prohibits, restricts or imposes a materially adverse condition on the Borrower or the other Loan
Parties, the DIP Facility or the exercise by the DIP Agent or the DIP Lenders of their rights as secured
parties with respect to the Collateral.

The delivery of each Notice of Borrowing and each request for a Letter of Credit shall constitute a
representation and warranty by the Loan Parties of the correctness of the matters specified in subsections
(b) through (i) above.




                                                    60
Case 12-36495-KRH           Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                        Desc Main
                                 Document    Page 126 of 304


                                        ARTICLE V
                              REPRESENTATIONS AND WARRANTIES

                To induce the DIP Lenders and the Agents to enter into this Agreement, each Loan Party
represents and warrants to the DIP Lenders and the Agents that, on and as of the date hereof, on and as of
the Closing Date, after giving effect to the making of the Loans and other Credit Extensions on the
Closing Date and on and as of each date as required by Section 4.02:

                Section 5.01 Organization and Good Standing. Each of the Group Companies is a
corporation, partnership or limited liability company duly organized or formed, validly existing and in
good standing under the laws of the jurisdiction of its formation, has all corporate, partnership or limited
liability company powers and all material governmental licenses, franchises, permits, certificates,
authorizations, qualifications, accreditations, easements, rights of way and other rights, consents and
approvals required to own its property and carry on its business as now conducted and is duly qualified as
a foreign corporation, licensed and in good standing in each jurisdiction where qualification or licensing
is required by the nature of its business or the character and location of its property, business or
customers, except to the extent the failure to so qualify or be licensed, as the case may be, in the
aggregate, could not reasonably be expected to have a Material Adverse Effect.

                 Section 5.02 Power; Authorization; Enforceable Obligations. Each of the Loan
Parties has the corporate, partnership, limited liability company or other necessary power and authority,
and the legal right, to execute, deliver and perform the DIP Loan Documents to which it is a party and, in
the case of the Borrower, to obtain extensions of credit hereunder, and has taken all necessary corporate,
partnership or limited liability action to authorize the borrowings and other extensions of credit on the
terms and conditions of this Agreement and to authorize the execution, delivery and performance of the
DIP Loan Documents to which it is a party. No consent or authorization of, filing with, notice to or other
similar act by or in respect of, any Governmental Authority or any other Person is required to be obtained
or made by or on behalf of any Loan Party in connection with the borrowings or other extensions of credit
hereunder or with the execution, delivery, performance, validity or enforceability of the DIP Loan
Documents, except for the Interim Order and the Final Order, as applicable. Subject to the Orders, this
Agreement has been, and each other DIP Loan Document to which Holdings or any of its Subsidiaries is a
party will be, duly executed and delivered on behalf of such Person. This Agreement constitutes, and
each other DIP Loan Document to which any Loan Party is a party when executed and delivered will
constitute, a legal, valid and binding obligation of each Loan Party thereto, enforceable against each such
Person in accordance with its terms.

                  Section 5.03 No Conflicts. Neither the execution and delivery by any Loan Party of
the DIP Loan Documents to which it is a party, nor the consummation of the transactions contemplated
therein, nor performance of and compliance with the terms and provisions thereof by such Person, nor the
exercise of remedies by the Agents and the DIP Lenders under the DIP Loan Documents, will (i) violate
or conflict with any provision of the articles or certificate of incorporation, bylaws, partnership
agreement, operating agreement or other organizational or governing documents of such Person, (ii)
subject to the entry of the Interim Order or Final Order, as applicable, violate, contravene or conflict with
any Law applicable to it or its properties or (iii) subject to the entry of the Interim Order or Final Order, as
applicable, violate, contravene or conflict with contractual provisions of, cause an event of default under,
or give rise to material increased, additional, accelerated or guaranteed, rights of any Person under, any
indenture, loan agreement, mortgage, deed of trust or other instrument, material contract or material lease
to which it is a party or by which it may be bound.

              Section 5.04 No Default. Except as disclosed on Schedules 5.04 and 5.11, none of
the Group Companies is in default in any respect under any loan agreement, indenture, mortgage, security




                                                      61
Case 12-36495-KRH          Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                     Desc Main
                                Document    Page 127 of 304


agreement or other agreement relating to Debt or any other contract, lease, agreement or obligation to
which it is a party or by which any of its properties is bound which default could reasonably be expected
to have a Material Adverse Effect. No Default or Event of Default has occurred or exists.

                Section 5.05    Financial Condition.

                 (a)      Audited Financial Statements. The consolidated balance sheets of the Borrower
and its Consolidated Subsidiaries as of July 3, 2011 and the related consolidated and consolidating
statements of income and cash flows for the fiscal year then ended, reported on by KPMG LLP, copies of
each of which have been delivered to each of the DIP Lenders, fairly present in all material respects, in
accordance with GAAP (except as disclosed therein), the consolidated financial position of the Borrower
and its Consolidated Subsidiaries as of each such date and their consolidated results of operations and
cash flows for the fiscal year ended July 3, 2011.

                (b)      Unaudited Financial Statements. The unaudited consolidated balance sheet of
the Borrower and its Consolidated Subsidiaries as of July 3, 2012 and the related unaudited consolidated
and consolidating statements of income and cash flows for the fiscal year then ended, copies of which
have been delivered to each of the DIP Lenders, fairly present in all material respects, in accordance with
GAAP (except as disclosed therein) applied on a basis consistent with the financial statements referred to
in Section 5.05(a) of this Section (except for the absence of footnotes and normal year-end audit
adjustments), the consolidated financial position of the Borrower and its Consolidated Subsidiaries as of
each such date and their consolidated results of operations and cash flows for such fiscal year.

                (c)     [Reserved]

                  (d)     Projections; Budget. The projections prepared pursuant to Section 4.01(g), the
Budget prepared pursuant to Section 4.01(s) and each Weekly Cash Flow Forecast are based on good
faith estimates and assumptions believed by management of the Borrower to be reasonable and fair in
light of current conditions and facts known to the Borrower at the time delivered. The management of the
Borrower believes that such projections, Budget and each such Weekly Cash Flow Forecast are
reasonable and attainable, it being recognized by the Lenders, however, that projections as to future
events are not to be viewed as facts or guaranties of future performance, that actual results during the
period or periods covered by such projections may differ from the projected results and that such
differences may be material and that the Loan Parties make no representations that such projections will
be in fact realized. There is no fact known to Holdings, Kingpin or the Borrower or any of its Subsidiaries
which could reasonably be expected to have a Material Adverse Effect which has not been disclosed
herein or in the Pre-Commitment Information.

                (e)     Post-Closing Financial Statements. The financial statements delivered to the
DIP Lenders pursuant to Section 6.01(a), (b) and (l): (i) have been prepared in accordance with GAAP
(except as may otherwise be permitted under Section 6.01(a), (b) and (l); and (ii) present fairly in all
material respects (on the basis disclosed in the footnotes to such financial statements, if any) the
consolidated and consolidating financial condition, results of operations and cash flows of Kingpin and its
Consolidated Subsidiaries as of the respective dates thereof and for the respective periods covered
thereby.

                 (f)      No Undisclosed Liabilities. Except as disclosed on Schedules 5.05 and 5.11
hereto or as fully reflected in the financial statements described in Section 5.05(a) and (b) above and the
Debt incurred under this Agreement, the First Lien Loan Documents and the Second Lien Loan
Documents, (i) there were as of the Closing Date (and after giving effect to any Loans made and Letters
of Credit issued on such date and to the Second Lien Loans), no liabilities or obligations (excluding




                                                    62
Case 12-36495-KRH           Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                      Desc Main
                                 Document    Page 128 of 304


current obligations incurred in the ordinary course of business) with respect to any Group Company of
any nature whatsoever (whether absolute, accrued, contingent or otherwise and whether or not due and
including obligations or liabilities for taxes, long-term leases and unusual forward or other long-term
commitments), and (ii) no Loan Party knows of any basis for the assertion against any Group Company of
any such liability or obligation, in each case which, either individually or in the aggregate, are or could
reasonably be expected to have, a Material Adverse Effect.

                 Section 5.06 No Material Effect. Since July 3, 2012, as of the Closing Date (both
before and after giving effect to the Transaction), and on the date of each subsequent Borrowing, except
as set forth on Schedules 5.04, 5.05 and 5.11, there has been no Material Adverse Effect, and no event or
development has occurred which could reasonably be expected to result in a Material Adverse Effect.

                 Section 5.07 Title to Properties; Possession Under Leases. Each Group Company
has good insurable and legal fee title to (in the case of owned Real Property), or valid leasehold interests
in (in the case of Leaseholds), all its material properties and assets, except for minor defects in title that
do not interfere with its ability to conduct its business as currently conducted. All such material
properties and assets are free and clear of Liens other than Permitted Liens. Except as set forth on
Schedule 5.07, each Group Company has complied with all obligations under all leases to which it is a
party, other than leases that, individually or in the aggregate, are not material to the Group Companies,
taken as a whole, and the violation of which will not result in a Material Adverse Effect, and other than
noncompliance with the iStar Sale/Leaseback Documents to the extent previously disclosed to the DIP
Agent, and all such leases are in full force and effect, other than leases that, individually or in the
aggregate, are not material to the Group Companies, taken as a whole, and in respect of which the failure
to be in full force and effect will not result in a Material Adverse Effect. Each Group Company enjoys
peaceful and undisturbed possession under all such leases with respect to which it is the lessee, other than
leases that, individually or in the aggregate, are not material to the Group Companies, taken as a whole,
and in respect of which the failure to enjoy peaceful and undisturbed possession will not result in a
Material Adverse Effect.

                  Section 5.08 Litigation. Other than the Chapter 11 Cases, as stayed upon the
commencement of the Chapter 11 Cases (other than with respect to the liquidation of AMF Bowling
Products UK Ltd) and disclosed in Schedules 5.08 and 5.11, there are no actions, suits, investigations or
legal, equitable, arbitration or administrative proceedings pending or, to the knowledge of any Loan Party,
threatened against or affecting any Group Company in which there is a reasonable possibility of an
adverse decision that (i) involves any DIP Loan Document, any aspect of the Transaction or Borrowing
after the Closing Date, or (ii) if adversely determined, could reasonably be expected, individually or in the
aggregate, to result in a Material Adverse Effect.

                Section 5.09 Taxes. Except as disclosed in Schedule 5.09 or otherwise permitted by
Section 6.05, each Group Company has filed, or caused to be filed, all federal and all material state, local
and foreign tax returns required to be filed and paid (i) all amounts of taxes shown thereon to be due
(including interest and penalties) and (ii) all other taxes, fees, assessments and other governmental
charges (including mortgage recording taxes, documentary stamp taxes and intangible taxes) owing by it.
No Loan Party knows of any pending investigation of such party by any taxing authority or proposed tax
assessments against any Group Company.

                  Section 5.10 Compliance with Law. Each Group Company is in compliance with all
requirements of Law (including Environmental Laws) applicable to it or to its properties, except (i) for
any such failure to comply which could not reasonably be expected to cause a Material Adverse Effect or
(ii) as set forth on Schedules 5.10 or 5.11. To the knowledge of the Loan Parties, none of the Group
Companies or any of their respective material properties or assets is subject to or in default with respect to




                                                     63
Case 12-36495-KRH          Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                    Desc Main
                                Document    Page 129 of 304


any judgment, writ, injunction, decree or order of any court or other Governmental Authority which,
individually or in the aggregate, could reasonably be expected to result in a Material Adverse Effect.
Except as disclosed in Schedule 5.10, none of the Group Companies has received any written
communication from any Governmental Authority that alleges that any of the Group Companies is not in
compliance in any material respect with any Law, except for allegations that have been satisfactorily
resolved and are no longer outstanding or which, individually or in the aggregate, could not reasonably be
expected to result in a Material Adverse Effect.

                Section 5.11    ERISA; Employee Benefit Arrangements.

                (a)     ERISA. Except as disclosed in Schedule 5.11:

                        (i)      There are no Unfunded Liabilities (A) with respect to any member of the
        Group Companies and (B) with respect to any ERISA Affiliate; provided that for purposes of this
        Section 5.11(a)(i)(B) only, Unfunded Liabilities shall mean the amount (if any) by which the
        projected benefit obligation exceeds the value of the plan’s assets as of its last valuation date.

                        (ii)    Each ERISA Plan, other than a Multiemployer Plan, has been maintained
        in compliance with its terms and complies in all respects with the applicable requirements of
        ERISA and the Code, and each Group Company and ERISA Affiliate complies in all respects
        with the applicable requirements of ERISA and the Code with respect to all Multiemployer Plans
        to which it contributes, except to the extent that the failure to comply therewith would not
        reasonably be expected to have a Material Adverse Effect.

                        (iii)    No ERISA Event has occurred or, subject to the passage of time, is
        reasonably expected to occur with respect to any ERISA Plan maintained by any member of the
        Group Companies and, except to the extent that such ERISA Event would not reasonably be
        expected to have a Material Adverse Effect, no ERISA Event has occurred or, subject to the
        passage of time, is reasonably expected to occur with respect to any ERISA Plan maintained by
        an ERISA Affiliate.

                         (iv)    No Group Company or ERISA Affiliate: (A) is or has been within the
        last six years a party to any Multiemployer Plan; or (B) has completely or partially withdrawn
        from any Multiemployer Plan.

                         (v)     If any Group Company or any ERISA Affiliate were to incur a complete
        withdrawal (as described in Section 4203 of ERISA) from all Multiemployer Plans as of the
        Closing Date, the aggregate withdrawal liability, as determined under Section 4201 of ERISA,
        with respect to all such Multiemployer Plans would not exceed $10,000,000.

                        (vi)   The execution and delivery of this Agreement and the consummation of
        the transactions contemplated hereunder will not involve any transaction that is subject to the
        prohibitions of Section 406 of ERISA or in connection with which taxes could be imposed
        pursuant to Section 4975(c)(1)(A)-(D) of the Code, for which an exemption under ERISA does
        not apply.

                       (vii)   No Group Company or, to the knowledge of any Group Company, any
        ERISA Affiliate has any contingent liability with respect to any post-retirement benefit under a
        Welfare Plan, other than liability for continuation coverage described in Part 6 of Title I of
        ERISA.




                                                   64
Case 12-36495-KRH          Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                      Desc Main
                                Document    Page 130 of 304


                (b)      Foreign Pension Plans. Each Foreign Pension Plan has been maintained in
compliance with its terms and with the requirements of any and all applicable Laws, statutes, rules,
regulations and orders and has been maintained, where required, in good standing with applicable
regulatory authorities except to the extent that the failure to comply therewith would not reasonably be
expected to have a Material Adverse Effect. Except as set forth on Schedule 5.11, no Group Company or
any of their subsidiaries has incurred any material obligation in connection with the termination of,
withdrawal from or winding up of any Foreign Pension Plan. Except as set forth on Schedule 5.11, there
are no material Unfunded Liabilities with respect to any Foreign Pension Plan.

                (c)      Employee Benefit Arrangements.

                         (i)    All liabilities under the Employee Benefit Arrangements are (A) funded
        to at least the minimum level required by law or, if higher, to the level required by the terms
        governing the Employee Benefit Arrangements, (B) insured with a reputable insurance company,
        (C) provided for or recognized in the financial statements most recently delivered to the DIP
        Agent pursuant to Section 6.01(a) or (b) hereof or (D) estimated in the formal notes to the
        financial statements most recently delivered to the DIP Agent pursuant to Section 6.01(a) hereof,
        where such failure to fund, insure, provide for, recognize or estimate the liabilities arising under
        such arrangements could reasonably be expected to have a Material Adverse Effect.

                        (ii)   There are no circumstances which may give rise to a liability in relation
        to the Employee Benefit Arrangements which are not funded, insured, provided for, recognized or
        estimated in the manner described in clause (i) above and which could reasonably be expected to
        have a Material Adverse Effect.

                         (iii)    Each Group Company is in compliance with all applicable Laws, trust
        documentation and contracts relating to the Employee Benefit Arrangements and each Employee
        Benefit Arrangement complies in all respects with applicable Law except to the extent that the
        failure to comply therewith would not reasonably be expected to have a Material Adverse Effect.
        Each Employee Benefit Arrangement and each ERISA Plan intended to be qualified under
        Section 401(a) of the Code has received a favorable determination from the Internal Revenue
        Service or is in the form of a prototype document that is the subject of a favorable opinion letter
        from the Internal Revenue Service, and to the knowledge of any Group Company, nothing has
        occurred or, subject to the passage of time is reasonably expected to occur, that would result in
        the loss of the qualified status of such Employee Benefit Arrangement or ERISA Plan.

                 Section 5.12 Subsidiaries. Schedule 5.12 sets forth a complete and accurate list as of
the Closing Date of all Subsidiaries of Holdings. Schedule 5.12 sets forth as of the Closing Date the
jurisdiction of formation of each such Subsidiary; whether each such Subsidiary is a Subsidiary
Guarantor, the number of authorized shares of each class of Equity Interests of each such Subsidiary, the
number of outstanding shares of each class of Equity Interests, the number and percentage of outstanding
shares of each class of Equity Interests of each such Subsidiary owned (directly or indirectly) by any
Person and the number and effect, if exercised, of all Equity Equivalents with respect to Equity Interests
of each such Subsidiary. All the outstanding Equity Interests of each Subsidiary of Holdings are validly
issued, fully paid and non-assessable and were not issued in violation of the preemptive rights of any
shareholder and, as of the Closing Date, are owned by Holdings, directly or indirectly, free and clear of all
Liens (other than those arising under the DIP Loan Documents, the First Lien Collateral Documents and
the Second Lien Collateral Documents). Other than as set forth on Schedule 5.12, as of the Closing Date,
no such Subsidiary has outstanding any Equity Equivalents nor does any such Person have outstanding
any rights to subscribe for or to purchase or any options for the purchase of, or any agreements providing
for the issuance (contingent or otherwise) of, or any calls, commitments or claims of any character




                                                     65
Case 12-36495-KRH          Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                     Desc Main
                                Document    Page 131 of 304


relating to, its Equity Interests.   Holdings has no Subsidiaries, other than the Borrower and its
Subsidiaries.

                Section 5.13     Governmental Regulations, Etc.

                  (a)     None of Holdings and its Subsidiaries is engaged principally, or as one of its
important activities, in the business of extending credit for the purpose of purchasing or carrying “margin
stock” within the meaning of Regulation U. No part of the Letters of Credit or proceeds of the Loans will
be used, directly or indirectly, for the purpose of purchasing or carrying any “margin stock” within the
meaning of Regulation U. If requested by any DIP Lender or the DIP Agent, the Borrower will furnish to
the DIP Agent and each DIP Lender a statement to the foregoing effect in conformity with the
requirements of FR Form U-1 referred to in Regulation U. No indebtedness being reduced or retired out
of the proceeds of the Loans was or will be incurred for the purpose of purchasing or carrying any margin
stock within the meaning of Regulation U or any “margin security” within the meaning of Regulation T.
“Margin stock” within the meaning of Regulation U does not constitute more than 25% of the value of the
consolidated assets of Holdings and its Consolidated Subsidiaries. None of the transactions contemplated
by this Agreement (including the direct or indirect use of the proceeds of the Loans) will violate or result
in a violation of the Securities Act, the Exchange Act, or Regulation T, U or X.

                  (b)     None of the Group Companies is subject to regulation under the Investment
Company Act of 1940, as amended. In addition, none of the Group Companies is (i) an “investment
company” registered or required to be registered under the Investment Company Act of 1940, as amended
or (ii) controlled by such a company.

                 Section 5.14 Purpose of Loans and Letters of Credit. Subject to Section 7.22, the
proceeds of the Term Loans will be used only for the following purposes, in each case in accordance with
and subject to the Budget:

                (a)    for the payment of prepetition amounts acceptable to the DIP Lenders as
authorized by the Bankruptcy Court pursuant to orders approving the first day motions filed by the Loan
Parties;

                (b)     in accordance with the terms of the Orders, (i) for the payment of working capital
and other general corporate needs of the Loan Parties in the ordinary course of business; (ii) for the
payment of Chapter 11 expenses, including allowed professional fees, costs and expenses for advisors,
consultants, counsel and other professionals retained by the Borrower, (iii) to make adequate protection
payments, and (iv) to Cash Collateralize, at 102%, the Existing Letters of Credit; and

                (c)     to pay fees and expenses related to the DIP Facility.

                 Section 5.15 Labor Matters. There are no strikes against Holdings or any of its
Subsidiaries, other than any strikes that, individually or in the aggregate, could not reasonably be
expected to result in a Material Adverse Effect. The hours worked and payments made to employees of
Holdings and its Subsidiaries have not been in violation in any material respect of the Fair Labor
Standards Act or any other applicable Law dealing with such matters, except to the extent any such
violation or violations, could not, individually or in the aggregate, reasonably be expected to result in a
Material Adverse Effect. All payments due from Holdings or any of its Subsidiaries, or for which any
claim may be made against Holdings or any of its Subsidiaries, on account of wages and employee health
and welfare insurance and other benefits have been paid or accrued as a liability on the books of the
Borrower and its Subsidiaries, as applicable. The consummation of the Transaction will not give rise to a
right of termination or right of renegotiation on the part of any union under any collective bargaining




                                                    66
Case 12-36495-KRH           Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                      Desc Main
                                 Document    Page 132 of 304


agreement to which Holdings or any of its Subsidiaries is a party or by which Holdings or any of its
Subsidiaries (or any predecessor) is bound, other than collective bargaining agreements which,
individually or in the aggregate, are not material to Holdings and its Subsidiaries taken as a whole.

                Section 5.16 Environmental Matters. Except as disclosed on Schedule 5.16, no
Group Company has failed to comply with any Environmental Law or to obtain, maintain, or comply with
any permit, license or other approval required under any Environmental Law or is subject to any
Environmental Liability which, in any of the foregoing cases, individually or collectively, could
reasonably be expected to result in a Material Adverse Effect, or has received notice of any claim with
respect to any Environmental Liability, or knows of any basis for any Environmental Liability against any
Group Company, in either case which, individually or in the aggregate, could reasonably be expected to
have a Material Adverse Effect.

                 Section 5.17 Intellectual Property. (a) Schedule 5.17 (as such schedule may be
amended or supplemented from time to time) sets forth a true and complete list of (i) all United States and
foreign registrations of and applications for Patents, Trademarks, and Copyrights owned by the Borrower
and its Domestic Subsidiaries, (ii) all Licenses material to the business of the Borrower and its
Subsidiaries and (iii) any “intent to use” trademarks of the Borrower and its Domestic Subsidiaries as of
the Closing Date. Other than Permitted Existing Liens, neither Borrower nor its Domestic Subsidiaries
has granted any Lien in any Intellectual Property or License set forth on Schedule 5.17.

                 (b)     The Borrower and its Subsidiaries own, or possess the right to use, all of the
Trademarks, Copyrights, Patents, and other Intellectual Property, franchises, Licenses and other rights
that are reasonably necessary for the operation of their respective businesses, without conflict with the
rights of any other Person, except to the extent the failure to own or possess the right to use any such right
could not reasonably be expected to have a Material Adverse Effect.

                 (c)     To the knowledge of the Borrower and its Subsidiaries, no Copyright, Patent,
Trademark, and the businesses of Borrower and its Subsidiaries, including any product, process, method,
substance, part or other material now offered or employed, or now contemplated to be offered or
employed, by the Borrower or any Subsidiary, infringes upon or misappropriates any Intellectual Property
or other rights held by any other Person, except to the extent any such infringement and misappropriation,
individually or in the aggregate, could not reasonably be expected to have a Material Adverse Effect.

                  (d)      The Borrower and its Subsidiaries have taken all action to maintain and preserve
their rights in the Intellectual Property owned by the Borrower and its Domestic Subsidiaries, including
without limitation paying all renewal, maintenance, and other fees and taxes, and making all filings
required to maintain each and every registration and application of Intellectual Property in full force and
effect, except to the extent the failure to take any such action or proceeding would have, in the aggregate,
a Material Adverse Effect. No Intellectual Property owned by the Borrower or any of its Subsidiaries that
was subject to the First Lien Credit Agreement has been allowed to lapse or expire except for Intellectual
Property that the Borrower and its Subsidiaries have, in the exercise of their reasonable business
judgment, permitted to expire or have cancelled or abandoned, or to the extent such action or proceeding
would not have a Material Adverse Effect.

                 (e)      The Intellectual Property material to each of the businesses of the Borrower and
its Subsidiaries is valid and subsisting in all material respects, and no holding, decision, or judgment has
been rendered in any action or proceeding before any court or administrative authority challenging the
validity of or the Borrower’s or its Subsidiaries’ right to register, or the Borrower’s or its Subsidiaries’
rights to own or use any Intellectual Property, and no such action or proceeding is pending or, to the




                                                     67
Case 12-36495-KRH          Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                     Desc Main
                                Document    Page 133 of 304


Borrower’s and its Subsidiaries’ knowledge, threatened, except as disclosed in Schedule 5.17 or except to
the extent the failure to do so would not have a Material Adverse Effect.

                 (f)    All registrations and applications for Copyrights, Patents and Trademarks are
standing in the name of the Borrower or one of its Subsidiaries, and no material Intellectual Property has
been licensed by the Borrower or its Subsidiaries to any third party, other than in the ordinary course of
business on a non-exclusive basis (except as disclosed in Schedule 5.17).

                Section 5.18     [Reserved].

                 Section 5.19 Disclosure. No information or data (excluding financial and business
projections, budgets, estimates, other forward-looking information and general market data and
information of a general economic or general industry nature) made by any Loan Party in any DIP Loan
Document or furnished to the DIP Agent or any DIP Lender by or on behalf of any Loan Party in
connection with any DIP Loan Document, when taken as a whole as of the date furnished contains any
untrue statement of a material fact or omits any material fact necessary to make the statements therein, in
light of the circumstances under which they were made, not materially misleading in light of the
circumstances under which such statements were made; provided that (i) to the extent any such statement,
information or report therein was based upon or constitutes a forecast or projection, the Borrower
represents only that it acted in good faith and utilized assumptions believed by it to be reasonable at the
time made (it being understood and agreed that projections as to future events are not to be viewed as
facts or guaranties of future performance, that actual results during the period or periods covered by such
projections may differ from the projects results and that such differences may be material and that the
Loan Parties make no representations that such representations will in fact be realized) and (ii) as to
statements, information and reports specified as having been supplied by third parties, other than
Affiliates of the Borrower or any of its Subsidiaries, the Borrower represents only that it is not aware of
any material misstatement or omission therein.

                 Section 5.20 Security Interests. This Agreement, taken together with the Interim
Order and/or the Final Order is effective to create in favor of the DIP Agent for the benefit of the DIP
Lenders, legal, valid, enforceable and continuing first priority Liens on, and security interests in, the
Collateral pledged hereunder or thereunder, in each case subject to no Liens other than with respect to
Permitted Liens. Pursuant to the terms of the Interim Order and/or Final Order, no filing or other action
will be necessary to perfect or protect such Liens and security interests. Pursuant to and to the extent
provided in the Interim Order and the Final Order, the Debt of the Loan Parties under this Agreement will
constitute allowed administrative expense claims in the Chapter 11 Cases under Section 364(c) of the
Bankruptcy Code, having priority over all administrative expense claims and unsecured claims against
such Loan Parties now existing or hereafter arising, of any kind whatsoever, including, without limitation,
all administrative expense claims of the kind specified in Sections 503(b) and 507(b) of the Bankruptcy
Code and all super-priority administrative expense claims granted to any other Person (including
avoidance actions and the proceeds thereof), subject only to the Carve-Out. For the avoidance of doubt
and notwithstanding anything to the contrary herein, the Carve-Out shall be senior to all Liens and claims
(including administrative and DIP Superpriority Claims) securing the Obligations, the Loan Parties’ pre-
petition obligations, adequate protection Liens, and all other Liens or claims (including administrative and
DIP Superpriority Claims), including all other forms of adequate protection, Liens, or claims (including
administrative and DIP Superpriority Claims) securing the Obligations and pre-petition obligations
granted or recognized as valid, including the Liens, security interests, and claims (including
administrative and DIP Superpriority Claims) granted to the DIP Lenders.




                                                    68
Case 12-36495-KRH          Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                      Desc Main
                                Document    Page 134 of 304


                Section 5.21     Ownership.

                 (a)     Securities of the Borrower. Kingpin owns good, valid and insurable legal title to
all the outstanding common stock of the Borrower, free and clear of all Liens of every kind, whether
absolute, matured, contingent or otherwise, other than those arising under the DIP Loan Documents, the
First Lien Collateral Documents and the Second Lien Collateral Documents. Except as set forth on
Schedule 5.21, there are no shareholder agreements or other agreements pertaining to Kingpin’s
beneficial ownership of the common stock of the Borrower, including any agreement that would restrict
Kingpin’s right to dispose of such common stock and/or its right to vote such common stock.

                 (b)      Kingpin Equity Interests. As of the Closing Date, Holdings owns good, valid and
insurable legal title to all the outstanding common stock of Kingpin. Except as set forth on Schedule
5.21, as of the Closing Date, there are no shareholder agreements or other agreements pertaining to
Holdings’ beneficial ownership of the common stock of Kingpin, including any agreement that would
restrict Holdings’ right to dispose of such common stock and/or its right to vote such common stock.

                (c)    Holdings Equity Interests. Schedule 5.21 sets forth a true and accurate list as of
the Closing Date of each holder of any Equity Interest or Equity Equivalent of Holdings indicating the
name of each such holder and the Equity Interest or Equity Equivalent held by each such Person. Except
as set forth on Schedule 5.21, as of the Closing Date, there are no shareholders agreements or other
agreements pertaining to the Investor Group’s beneficial ownership of the common Equity Interests of
Holdings including any agreement that would restrict the Investor Group’s right to dispose of such
common Equity Interests and/or its right to vote such common Equity Interests.

                Section 5.22 No Broker’s Fees. Except as disclosed on Schedule 5.22, no broker’s or
finder’s fee or commission will be payable with respect to this Agreement or any of the transactions
contemplated hereby as a result of any action by or on behalf of the Borrower or their Affiliates, and each
Loan Party hereby indemnifies each Agent and each DIP Lender against, and agrees that it will hold each
Agent and each DIP Lender harmless from, any claim, demand or liability for any such broker’s or
finder’s fees alleged to have been incurred in connection herewith or therewith and any expenses
(including reasonable fees, expenses and disbursements of counsel) arising in connection with any such
claim, demand or liability.

                 Section 5.23 Orders. The Loan Parties are in compliance with the terms and
conditions of the Orders. Each of the Interim Order (to the extent necessary, with respect to the period
prior to the entry of the Final Order) or the Final Order (from after the date the Final Order is entered) is
in full force and effect and has not been vacated, reversed or rescinded or, without the prior written
consent of the DIP Agent and Required DIP Lenders, in their sole discretion, amended or modified and no
appeal of such order has been timely filed or, if timely filed, no stay pending such appeal is currently
effective.

               Section 5.24 Budget. A true and complete copy of the Budget, as agreed to with the
DIP Agent as of the Closing Date, is attached as Exhibit E hereto.

                                          ARTICLE VI
                                    AFFIRMATIVE COVENANTS

                Each Loan Party agrees that so long as any DIP Lender has any Commitment hereunder,
any DIP Obligation or other amount payable hereunder or under any Note or other DIP Loan Document
or any LC Obligation (in each case other than contingent indemnification obligations) remains unpaid or
any Letter of Credit remains outstanding:




                                                     69
Case 12-36495-KRH           Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                         Desc Main
                                 Document    Page 135 of 304


               Section 6.01 Information. The Borrower will furnish, or cause to be furnished, to the
DIP Agent for prompt delivery to each of the DIP Lenders:

                 (a)      Annual Financial Statements. As soon as available, and in any event within one-
hundred ten (110) calendar days after the end of each fiscal year of the Borrower, a consolidated balance
sheet and income statement of Kingpin and its Consolidated Subsidiaries, as of the end of such fiscal
year, and the related consolidated statement of operations and retained earnings and consolidated
statement of cash flows for such fiscal year, setting forth in comparative form consolidated figures for the
preceding fiscal year, all such financial statements to be in reasonable form and detail and (in the case of
such consolidated financial statements) audited by independent certified public accountants of recognized
national standing reasonably acceptable to the Required DIP Lenders and accompanied by an opinion of
such accountants (which shall not be qualified in any material respect as to scope but may contain a
qualification with respect to the Chapter 11 Cases) to the effect that such consolidated financial
statements have been prepared in accordance with GAAP and present fairly in all material respects the
consolidated financial position and consolidated results of operations and cash flows of Kingpin and its
Consolidated Subsidiaries in accordance with GAAP consistently applied (except for changes with which
such accountants concur), certified by the Loan Parties’ chief financial officer and accompanied by a
written statement by the accountants reporting on compliance with this Agreement to the effect that in the
course of the audit upon which their opinion on such financial statements was based (but without any
special or additional audit procedures for the purpose), they obtained knowledge of no condition or event
relating to financial matters which constitutes a Default or an Event of Default or, if such accountants
shall have obtained in the course of such audit knowledge of any such Default or Event of Default,
disclosing in such written statement the nature and period of existence thereof, it being understood that
such accountants shall be under no liability, directly or indirectly, to the DIP Lenders for failure to obtain
knowledge of any such condition or event.

                  (b)      Quarterly Financial Statements. As soon as available, and in any event within
forty-five (45) calendar days after the end of each of the first three fiscal quarters in each fiscal year of the
Borrower, a consolidated balance sheet of Kingpin and its Consolidated Subsidiaries as of the end of such
fiscal quarter, together with related consolidated statement of operations and retained earnings and
consolidated statement of cash flows for such fiscal quarter and the then elapsed portion of such fiscal
year, setting forth in comparative form consolidated figures for the corresponding periods of the
preceding fiscal year, all such financial statements to be in form and detail and reasonably acceptable to
the DIP Agent, and accompanied by a certificate of the chief financial officer of the Borrower to the
effect that such quarterly financial statements have been prepared in accordance with GAAP and present
fairly in all material respects the consolidated financial position and consolidated results of operations and
cash flows of Kingpin and its Consolidated Subsidiaries in accordance with GAAP consistently applied,
subject to changes resulting from normal year-end audit adjustments and the absence of footnotes
required by GAAP.

                 (c)      Officer’s Certificate. At the time of delivery of the financial statements provided
for in Sections 6.01(a), 6.01(b) and 6.01(l) above, a certificate of the chief financial officer, chief
restructuring officer or other appropriate Responsible Officer of the Borrower (i) demonstrating
compliance with the financial covenant contained in Section 7.16, if applicable, by calculation thereof as
of the end of the fiscal period covered by such financial statements, (ii) stating that no Default or Event of
Default exists, or if any Default or Event of Default does exist, specifying the nature and extent thereof
and what action the Borrower and the other Loan Parties propose to take with respect thereto and (iii)
stating whether, since the date of the most recent financial statements delivered hereunder, there has been
any material change in the GAAP applied in the preparation of the financial statements of Kingpin and its
Consolidated Subsidiaries, and, if so, describing such change.




                                                       70
Case 12-36495-KRH           Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                       Desc Main
                                 Document    Page 136 of 304


                 (d)     [Reserved].

                 (e)     [Reserved].

                  (f)    Auditor’s Reports. Within five Business Days of receipt thereof, a copy of any
other final report or “management letter” submitted by independent accountants to Kingpin, the Borrower
or any of their respective Subsidiaries in connection with any annual, interim or special audit of the books
of Kingpin, the Borrower or any of their respective Subsidiaries.

                  (g)    Reports. Promptly upon transmission or receipt thereof, copies of all filings and
registrations with, and reports to or from, the Securities and Exchange Commission, or any successor
agency, and copies of all financial statements, proxy statements, notices and reports any Group Company
shall send to its shareholders or to a holder of any Debt owed by any Group Company in its capacity as
such a holder.

                  (h)     Notices. Prompt notice of: (i) the occurrence of any Default or Event of Default;
(ii) any matter that has resulted or may result in a Material Adverse Effect, including (A) breach or non-
performance of, or any default under, any material agreement of Holdings or any of its Subsidiaries; (B)
any dispute, litigation, investigation, proceeding or suspension between Holdings or any of its
Subsidiaries and any Governmental Authority; (C) the commencement of, or any material adverse
development in, any litigation or proceeding affecting Holdings or any of its Subsidiaries, including
pursuant to any applicable Environmental Law; (D) any litigation, investigation or proceeding affecting
any Loan Party in which the amount involved exceeds $4,000,000, or in which injunctive relief or similar
relief is sought, which relief, if granted, could be reasonably expected to have a Material Adverse Effect;
and (E) any material change in accounting policies or financial reporting practice by Holdings or any of
its Subsidiaries. Each notice pursuant to this Section 6.01(h) shall (i) be accompanied by a statement of a
Responsible Officer of the Borrower setting forth details of the occurrence referred to therein and stating
what action the Borrower or any other Loan Party has taken and proposes to take with respect thereto and
(ii) describe with particularity any and all provisions of this Agreement or the other DIP Loan Documents
that have been breached.

                  (i)    Employee Benefits Arrangements. (i) The Borrower will give written notice to
the DIP Agent promptly (and in any event within five Business Days after any officer of any Group
Company obtains knowledge thereof) of: (A) any event or condition that constitutes, or is reasonably
likely to lead to, an ERISA Event. which, in the case of an event described in clause (iv)(A) of the
definition of “ERISA Event”, results in the occurrence of a material liability and in the case of an event
described in clauses (iv)(B)(x) or (viii) of the definition of “ERISA Event”, is reasonably expected to
result in the incurrence of a material liability; (B) any change in the funding status of any ERISA Plan or
Foreign Pension Plan that could have a Material Adverse Effect, together with a description of any such
event or condition or a copy of any such notice and a statement by the chief financial officer of the
Borrower briefly setting forth the details regarding such event, condition or notice and the action, if any,
which has been or is being taken or is proposed to be taken by the Borrower and the other Loan Parties
with respect thereto; (C) any event or condition that constitutes, or is reasonably likely to lead to, an event
described in Section 8.01(h)(iii)-(ix), (D) any event or condition that, to the knowledge of any Group
Company, could reasonably be expected to result in a nonexempt prohibited transaction in connection
with the consummation of the transactions contemplated hereunder, (E) any change in the disclosures in
Schedule 5.11 regarding the UK Pension Plan that could result in liability to any Group Company in
excess of £8,600,000 or (F) the receipt of a notice from a UK regulator, a trustee of the UK Pension Plan,
the UK Pension Plan or similar person or entity imposing or trying to impose liability on or requesting
payment from any Loan Party or Domestic Subsidiary with respect to the UK Pension Plan. Promptly
upon request, the Borrower shall furnish the DIP Agent and the DIP Lenders with such additional




                                                      71
Case 12-36495-KRH          Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                     Desc Main
                                Document    Page 137 of 304


information concerning any ERISA Plan or Foreign Pension Plan or Employee Benefit Arrangement as
may be reasonably requested, including, but not limited to, with respect to any ERISA Plans, copies of
each annual report/return (Form 5500 series), as well as all schedules and attachments thereto required to
be filed with the Department of Labor and/or the Internal Revenue Service pursuant to ERISA and the
Code, respectively, for each “plan year” (within the meaning of Section 3(39) of ERISA) of each ERISA
Plan; and (ii) the Borrower will promptly deliver to the DIP Agent the most recently prepared actuarial
reports in relation to the Employee Benefit Arrangements for the time being operated by Group
Companies which are prepared in order to comply with the then current statutory or auditing requirements
within the relevant jurisdiction.

                  (j)     Domestication in Other Jurisdiction. Not less than twenty (20) calendar days
prior to any change in the jurisdiction of organization of any Loan Party, a copy of all documents and
certificates intended to be filed or otherwise executed to effect such change.

                 (k)     Other Information. With reasonable promptness upon request therefor, such
other information regarding the business, properties or financial condition of any Group Company as the
DIP Agent or any DIP Lender may reasonably request, which may include such information necessary or
advisable to enable the DIP Agent or such DIP Lender either (i) to comply with the policies and
procedures adopted by it and its Affiliates to comply with the Bank Secrecy Act, the U.S. Patriot Act and
all applicable regulations thereunder or (ii) to respond to requests for information concerning Holdings
and its Subsidiaries from any government, self-regulatory organization or financial institution in
connection with its anti-money laundering and anti-terrorism regulatory requirements or its compliance
procedures under the U.S. Patriot Act, including in each case information concerning the Borrower’s
direct and indirect shareholders and its use of the proceeds of any Credit Extension hereunder.

                 (l)     Monthly Financial Statements. As soon as available, and in any event within
thirty (30) calendar days after the end of each fiscal month of the Borrower (other than each fiscal month
which is the last fiscal month of a fiscal quarter of the Borrower), a copy of the consolidated financial
statements for Kingpin and its Consolidated Subsidiaries for such fiscal month (in form and substance
consistent with prior monthly reporting required to be provided to the First Lien Agent for delivery to the
First Lien Lenders pursuant to the First Lien Credit Agreement), certified by the Loan Parties’ chief
financial officer and attaching evidence of compliance with the financial covenants set forth in Section
7.16.

                 (m)     Weekly Cash Flow Forecasts; Variance Reports. Every Friday during the
Chapter 11 Cases, (i) commencing after the delivery of the Budget, a Weekly Cash Flow Forecast for the
subsequent 13 week period, and (ii) beginning on the third Friday following the Closing Date, a variance
report (the “Variance Report”) setting forth actual cash receipts and disbursements of the Loan Parties for
the prior week and setting forth all the variances, on a line-item and aggregate basis, from the amount set
forth for such week as compared to (1) the Budget on a weekly and cumulative basis (which shall be
subject to the variances set forth in the DIP Loan Documents), and (2) the most recent Weekly Cash Flow
Forecast delivered by the Loan Parties, in each case, on a weekly and cumulative basis (and each such
Variance Report shall include explanations for all material variances and shall be certified by the Chief
Financial Officer or Chief Restructuring Officer of the Loan Parties).

                 (n)     Business and Financial Plans. At least thirty (30) calendar days prior to the
fiscal year-end, an annual business and financial plan for the following fiscal year.

The Borrower will furnish, or cause to be furnished to the First Lien Agent, on behalf of and for the
benefit of the First Lien Lenders, and the First Lien Lenders, and to the Second Lien Agent, on behalf of
and for the benefit of the Second Lien Lenders, and the Second Lien Lenders, access to the Loan Parties’




                                                    72
Case 12-36495-KRH           Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                      Desc Main
                                 Document    Page 138 of 304


books and records and such financial reports as are provided to the DIP Agent pursuant to subclauses (a),
(b) and (l) of this Section 6.01.

                 Section 6.02 Preservation of Existence and Franchises. Except as a result of or in
connection with a dissolution, merger or disposition of a Subsidiary of the Borrower permitted under
Section 7.04 or Section 7.05, each Group Company will do all things necessary to preserve and keep in
full force and effect its legal existence and do or cause to be done all things necessary to obtain, preserve,
renew, extend and keep in full force and effect the rights, licenses, permits, franchises, authorizations,
Patents, Copyrights, Trademarks and other Intellectual Property material to the conduct of its business
and to maintain and operate such business in substantially the manner in which it is presently conducted
and operated; provided, however, that neither Holdings nor any of its Subsidiaries shall be required to
preserve any such rights, licenses, permits, franchises, authorizations or Intellectual Property if the
preservation thereof is no longer desirable in the conduct of the business of the Borrower and its
Subsidiaries or the loss thereof could not reasonably be expected to result in a Material Adverse Effect.

                 Section 6.03 Books and Records; Lender Meeting. Each of the Group Companies
will keep complete and accurate books and records of its transactions in accordance with good accounting
practices on the basis of GAAP (including the establishment and maintenance of appropriate reserves).
At the request of the DIP Agent or the Required DIP Lenders, within one-hundred ten (110) calendar days
after the end of each fiscal year of the Borrower, the Borrower will conduct a meeting (which may be by
telephone) of the DIP Lenders to discuss such fiscal year’s results and the financial condition of Kingpin
and its Consolidated Subsidiaries. Such meetings shall be held at times and places convenient to the DIP
Lenders and to the Borrower.

                Section 6.04     Compliance with Law; Employee Benefit Arrangements.

                 (a)     Subject to Section 6.04(b), each of the Group Companies will comply with all
requirements of Law applicable to it and its properties (or, with respect to the matters set forth on
Schedule 5.10, the applicable settlement negotiations), including the Bankruptcy Court or other court with
jurisdiction over the Chapter 11 Cases.

                  (b)     Except as otherwise provided in this Agreement, each of the Group Companies
will do each of the following as it relates to any ERISA Plan sponsored or maintained by, or
Multiemployer Plan contributed to by, each of the Group Companies, Foreign Pension Plan or Employee
Benefit Arrangement: (i) maintain each ERISA Plan (other than a Multiemployer Plan), Foreign Pension
Plan and Employee Benefit Arrangement in compliance in all material respects with the applicable
provisions of ERISA, the Code or other Federal, state or foreign law; (ii) cause each ERISA Plan (other
than a Multiemployer Plan) or Employee Benefit Arrangement which is qualified under Section 401(a) of
the Code to maintain such qualifications; (iii) make all required contributions to any ERISA Plan subject
to Section 412 of the Code or 303 of ERISA and make all required contributions to Multiemployer Plans;
(iv) ensure that there are no Unfunded Liabilities in excess of $10,000,000; (v) except for the obligations
set forth on Schedule 5.11, not become a party to any Multiemployer Plan; (vi) make all contributions
(including any special payments to amortize any Unfunded Liabilities) required to be made in accordance
with all applicable laws and the terms of each Foreign Pension Plan in a timely manner; (vii) ensure that
all liabilities under the Employee Benefit Arrangements are either (A) funded to at least the minimum
level required by Law or, if higher, to the level required by the terms governing the Employee Benefit
Arrangements; (B) insured with a reputable insurance company; (C) provided for or recognized in the
accounts most recently delivered to the DIP Agent under Section 6.01(c); or (D) estimated in the formal
notes to the accounts most recently delivered to the DIP Agent under Section 6.01(a); (viii) ensure that the
contributions or premium payments to or in respect of all Employee Benefit Arrangements are and
continue to be promptly paid at no less than the rates required under the rules of such arrangements and in




                                                     73
Case 12-36495-KRH          Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                      Desc Main
                                Document    Page 139 of 304


accordance with the most recent actuarial advice received in relation to the Employee Benefit
Arrangement and in accordance with applicable law; and (ix) shall use its reasonable efforts to cause each
of its ERISA Affiliates to do each of the items listed in clauses (i) through (viii) above as it relates to
ERISA Plans and Multiemployer Plans maintained or sponsored by or contributed to by its ERISA
Affiliates such that there shall be no liability to a Group Company by virtue of such ERISA Affiliate’s
acts or failure to act.

                  Section 6.05 Payment of Taxes. Each of the Group Companies will pay and
discharge (i) all taxes, assessments and other governmental charges or levies imposed upon it, or upon its
income or profits, or upon any of its properties, before they shall become delinquent and (ii) all lawful
claims (including claims for labor, materials and supplies) which, if unpaid, might give rise to a Lien
(other than a Permitted Lien) upon any of its properties; provided, however, that no Group Company shall
be required to pay any such tax, assessment, charge, levy or claim (i) which is being contested in good
faith by appropriate proceedings diligently pursued and as to which adequate reserves have been
established in accordance with GAAP, (ii) which represent taxes not discharged in the Borrower’s prior
Chapter 11 bankruptcy proceeding and which are being paid in accordance with a payment plan
applicable thereto established pursuant to such bankruptcy proceeding, or (iii) unless the failure to make
any such payment (A) could give rise to an immediate right to foreclose on a Lien securing such amounts
(unless proceedings thereto conclusively operate to stay such foreclosure) or (B) could reasonably be
expected to have a Material Adverse Effect.

                Section 6.06     Insurance; Certain Proceeds.

                 (a)      Insurance Policies. Each of the Group Companies will at all times maintain in
full force and effect insurance (including worker’s compensation insurance, liability insurance or casualty
insurance) in such amounts, covering such risk and liabilities and with such deductibles or self-insurance
retentions as are in accordance with normal industry practice or otherwise consistent with past practice of
the Group Companies or prudent in the reasonable business judgment of the senior management of the
Borrower. The Collateral Agent shall be named as loss payee or mortgagee, as its interest may appear,
with respect to all such property and casualty policies and additional insured with respect to all such other
policies (other than workers’ compensation, employee health and directors and officers policies), and
each provider of any such insurance shall agree, by endorsement upon the policy or policies issued by it
or by independent instruments furnished to the Collateral Agent, that if the insurance carrier shall have
received written notice from the Collateral Agent of the occurrence and continuance of an Event of
Default, the insurance carrier shall pay all proceeds otherwise payable to Holdings or one or more of its
Subsidiaries under such policies directly to the Collateral Agent (which agreement shall be evidenced by
a “standard” or “New York” lender’s loss payable endorsement in the name of the Collateral Agent on
Accord Form 27) and that it will give the Collateral Agent thirty (30) calendar days’ prior written notice
before any such policy or policies shall be altered or canceled, and that no act or default of any Group
Company or any other Person shall affect the rights of the Collateral Agent or the DIP Lenders under such
policy or policies.

                (b)      Loss Events. In case of any Casualty or Condemnation with respect to any
property of any Group Company or any part thereof in excess of $500,000, the Borrower shall promptly
give written notice thereof to the DIP Agent generally describing the nature and extent of such damage,
destruction or taking. The Borrower shall, or shall cause such Group Company to, repair, restore or
replace the property of such Person (or part thereof) which was subject to such Casualty or
Condemnation, at such Person’s cost and expense, whether or not the Insurance Proceeds or
Condemnation Award, if any, received on account of such event shall be sufficient for that purpose;
provided, however, that such property need not be repaired, restored or replaced to the extent the failure
to make such repair, restoration or replacement (i) is desirable to the proper conduct of the business of




                                                     74
Case 12-36495-KRH          Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                     Desc Main
                                Document    Page 140 of 304


such Person in the ordinary course and otherwise in the best interest of such Person or (ii) the failure to
repair, restore or replace the property is attributable to the application of the Insurance Proceeds from
such Casualty or the Condemnation Award from such Condemnation to the acquisition of other tangible
assets used or useful in the business of the Borrower and its Subsidiaries as contemplated in the definition
of “Reinvestment Funds” or are applied to the payment of the DIP Obligations in accordance with the
provisions of Section 2.09(b)(i).

                 (c)    Certain Rights of the Lenders. In connection with the covenants set forth in this
Section 6.06, it is understood and agreed that none of the Agents, the DIP Lenders or their respective
agents or employees shall be liable for any loss or damage insured by the insurance policies required to be
maintained under this Section 6.06, it being understood that the Group Companies shall look solely to
their insurance companies or any other parties other than the aforesaid parties for the recovery of such
loss or damage.

                 Section 6.07 Maintenance of Property. Each of the Group Companies will maintain
and preserve its properties and equipment material to the conduct of its business, in good working order
and condition, except to the extent (x) caused by normal wear and tear or Casualty and Condemnation, or
(y) related to the accrued deferred maintenance expenses previously disclosed to the DIP Agent on or
prior to the Closing Date, provided that each of the Group Companies, will make, or cause to be made, as
to such properties and equipment from time to time all repairs, renewals, replacements, extensions,
additions, betterments and improvements thereto as may be needed or proper in the reasonable good faith
business judgment of the Responsible Officers of such Group Companies, except as limited by
compliance with the Budget .

                Section 6.08     DIP Priority Account; Account Control Agreements.

                 (a)     All proceeds of the Term Loans shall be deposited into the DIP Priority Account,
and all amounts therein shall be invested at all times in cash and Cash Equivalents. Withdrawals from the
DIP Priority Account shall only be used for the permitted purposes described under Section 5.14 or to
make payments on the DIP Obligations. Under no circumstances may any cash, funds, securities,
financial assets or other property held in or credited to the DIP Priority Account or the proceeds thereof
held therein or credited thereto be used to pay any pre-petition obligations or for any purpose not
permitted under the Orders.

                (b)      During the term of the DIP Facility, all cash of the Loan Parties shall be
deposited directly into accounts covered by Account Control Agreements (except for payroll, employee
benefits and trust accounts (including League Funds)), and other deposit accounts with an aggregate
balance not exceeding $150,000 at any time).

                 Section 6.09 Audits/Inspections. Upon reasonable notice and during normal business
hours, each of the Group Companies will permit representatives appointed by the Agents or the Required
DIP Lenders to visit and inspect its executive offices and/or manufacturing facilities and, following the
occurrence and during the continuance of any Event of Default, any of its properties, and to review and
inspect its books and records, accounts receivable and inventory, and to make photocopies or photographs
thereof and to write down and record any information such representatives obtain and shall permit the
Agents or such representatives to investigate and verify the accuracy of information provided to the DIP
Lenders and to discuss all such matters with the officers, employees, independent accountants and
representatives of the Group Companies, in each case so long as a Responsible Officer has been given the
opportunity to be present; provided, however, that prior to the occurrence and continuance of an Event of
Default, such visits shall be limited to one per year per location, and the Group Companies shall not be
obligated to reimburse the expenses of more than two representatives of the DIP Agent and the DIP




                                                    75
Case 12-36495-KRH           Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                        Desc Main
                                 Document    Page 141 of 304


Lenders in the aggregate.

                 Section 6.10     Additional Loan Parties; Additional Security.

                 (a)     Additional Subsidiary Guarantors. Each Loan Party will take, and will cause
each of its Subsidiaries (other than Foreign Subsidiaries, except to the extent provided in subsection (d)
below, and other than the Qubica JV Entity and non-Wholly-Owned Liquor License Subsidiaries) to take,
such actions from time to time as shall be necessary to ensure that all Subsidiaries of Holdings (other than
Foreign Subsidiaries, except to the extent provided in Section 6.10(d) below, and other than the Qubica
JV Entity and non-Wholly-Owned Liquor License Subsidiaries) are Subsidiary Guarantors. Without
limiting the generality of the foregoing, if any Group Company shall form or acquire any new Subsidiary,
the Borrower, as soon as practicable and in any event within thirty (30) calendar days after such formation
or acquisition, will provide the Collateral Agent with notice of such formation or acquisition setting forth
in reasonable detail a description of all of the assets of such new Subsidiary and will cause such new
Subsidiary (other than a Foreign Subsidiary, except to the extent provided in Section 6.10(d) below, and
other than the Qubica JV Entity and non-Wholly-Owned Liquor License Subsidiaries) to:

                       (i)     within thirty (30) calendar days after such formation or acquisition,
        execute an Accession Agreement pursuant to which such new Subsidiary shall agree to become a
        Subsidiary Guarantor and a Loan Party under this Agreement; and

                        (ii)    deliver such proof of organizational authority, incumbency of officers,
        opinions of counsel and other documents as is consistent with those delivered by each Loan Party
        pursuant to Section 4.01 on the Closing Date or as the DIP Agent, the Collateral Agent or the
        Required DIP Lenders reasonably shall have requested.

                  (b)     Additional Security. Each Loan Party will cause, and will cause each of its
Subsidiaries (other than a Foreign Subsidiary, except to the extent provided in subsection (d) below, and
other than the Qubica JV Entity and non-Wholly-Owned Liquor License Subsidiaries) to cause, (i) all of
its owned Real Properties and personal property located in the United States, other than those owned Real
Properties set forth on Schedule 6.10(b) and other than owned Real Properties which are subject to a
Permitted Lien the terms of which prohibit the granting of a Lien thereon in favor of the Secured Parties
and (ii) to the extent deemed to be material by the DIP Agent or the Required DIP Lenders in its or their
sole reasonable discretion, (A) all of its personal property located in the United States (except to the
extent expressly excluded from in any DIP Loan Document), (B) all of its leased Real Properties located
in the United States (other than leased Real Properties subject to a Sale/Leaseback Transaction permitted
hereunder or other leaseholds the terms of which prohibit the granting of a Lien thereon in favor of the
Secured Parties) and (C) all other assets and properties of Holdings and its Domestic Subsidiaries located
in the United States as are not covered by any DIP Loan Document (or specifically excluded therefrom)
and as may be requested by the Collateral Agent or the Required DIP Lenders in their sole reasonable
discretion to be subject at all times to first priority (subject only to Permitted Liens), perfected and, in the
case of Real Property (whether leased or owned), title insured Liens in favor of the Collateral Agent
pursuant to the DIP Loan Documents or such other security agreements, pledge agreements, mortgages or
similar collateral documents as the Collateral Agent shall request in its sole and reasonable discretion
(collectively, the “Additional Collateral Documents”). With respect to any Real Property (whether leased
or owned) located in the United States acquired or leased by any Loan Party subsequent to the Closing
Date for which the Collateral Agent is entitled to a Lien pursuant to the preceding sentence, such Person
will cause to be delivered to the Collateral Agent with respect to such Real Property (other than
immaterial leased properties or except for properties with respect to which landlord consent for such
mortgage cannot be obtained after commercially reasonable efforts by the Borrower to do so or as
otherwise approved by the DIP Agent) documents, instruments and other items of the types and in form,




                                                      76
Case 12-36495-KRH           Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                      Desc Main
                                 Document    Page 142 of 304


content and scope reasonably satisfactory to the Collateral Agent. In furtherance of the foregoing terms
of this Section 6.10, the Borrower agrees to promptly provide the DIP Agent with written notice of the
acquisition by Holdings or any of its Subsidiaries of any Real Property located in the United States having
a market value greater than $500,000 or the entering into a lease by Holdings or any of its Subsidiaries of
any Real Property located in the United States for annual rent of $50,000 or more, setting forth in each
case in reasonable detail the location and a description of the asset(s) so acquired or leased. Without
limiting the generality of the foregoing, each Loan Party will cause, and will cause each of their
respective Subsidiaries to cause, 100% of the Equity Interests of each of their respective direct
Subsidiaries (such Equity Interests, subject, in the case of Equity Interests in any such Subsidiary that is a
Foreign Subsidiary, to the limits imposed on Collateral as provided in clause (i) of the definition of
“Excluded Collateral”), other than the Qubica JV Entity and non-Wholly-Owned Liquor License
Subsidiaries to be subject at all times to a first priority, perfected Lien in favor of the Collateral Agent
pursuant to the terms and conditions of the DIP Loan Documents, subject only to Permitted Liens.

                If, subsequent to the Closing Date, a Loan Party shall acquire any registered Intellectual
Property, securities, instruments, chattel paper or other personal property required to be delivered to the
Collateral Agent as Collateral under any of the DIP Loan Documents, the Borrower shall promptly (and
in any event within 10 Business Days after any Responsible Officer of any Loan Party acquires
knowledge of the same) notify the Collateral Agent of the same. Each of the Loan Parties shall adhere to
the covenants regarding the location of personal property as set forth in the DIP Loan Documents.

                All such security interests and mortgages shall be granted pursuant to documentation
consistent with the DIP Loan Documents executed at Closing and otherwise reasonably satisfactory in
form and substance to the Collateral Agent and shall constitute valid and enforceable perfected security
interests and mortgages prior to the rights of all third Persons and subject to no other Liens except for
Permitted Liens. The Additional Collateral Documents or instruments related thereto shall have been
duly recorded or filed in such manner and in such places as are required by law to establish, perfect,
preserve and protect the Liens in favor of the Collateral Agent required to be granted pursuant to the
Additional Collateral Documents, and all taxes, fees and other charges payable in connection therewith
shall have been paid in full. The Borrower shall cause to be delivered to the Collateral Agent such
opinions of counsel, title insurance and other related documents as may be reasonably requested by the
Collateral Agent to assure itself that this Section 6.10(b) has been complied with.

                (c)      Real Property Appraisals. If the Collateral Agent or the Required DIP Lenders
determine that they are required by law or regulation to have appraisals prepared in respect of the Real
Property of any Group Company constituting Collateral, the Borrower shall provide to the Collateral
Agent appraisals which satisfy the applicable requirements set forth in 12 C.F.R., Part 34 - Subpart C or
any successor or similar statute, rule, regulation, guideline or order, and which shall be in scope, form and
substance, and from appraisers, reasonably satisfactory to the Required DIP Lenders (it being
acknowledged by the Required DIP Lenders that Hilco is satisfactory to the Required DIP Lenders) and
shall be accompanied by a certification of the appraisal firm providing such appraisals that the appraisals
comply with such requirements.

                (d)      Foreign Subsidiaries Security. If, following a change that is reasonably
determined to be relevant by the DIP Agent in the relevant sections of the Code or the regulations, rules,
rulings, notices or other official pronouncements issued or promulgated thereunder, counsel for the
Borrower reasonably acceptable to the Collateral Agent and the Required DIP Lenders fails within ninety
(90) calendar days after a reasonable request from the Collateral Agent and the Required DIP Lenders to
deliver evidence, in form and substance mutually satisfactory to the Collateral Agent and the Borrower,
with respect to any Foreign Subsidiary of Holdings which has not already had all of the Equity Interests
issued by it pledged pursuant to the Orders that (i) a pledge (A) of two-thirds or more of the total




                                                     77
Case 12-36495-KRH          Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                      Desc Main
                                Document    Page 143 of 304


combined voting power of all classes of capital stock of such Foreign Subsidiary entitled to vote, and (B)
of any promissory note issued by such Foreign Subsidiary to the Borrower or any of its Domestic
Subsidiaries, (ii) the entering into by such Foreign Subsidiary of a guaranty in form and substance
acceptable to the DIP Agent, (iii) the entering into by such Foreign Subsidiary of a security agreement in
form and substance acceptable to the DIP Agent, and (iv) the entering into by such Foreign Subsidiary of
a pledge agreement in form and substance acceptable to the DIP Agent, in any such case would
reasonably be expected to be restricted by applicable Law of the jurisdiction of organization of such
Foreign Subsidiary or would reasonably be expected to cause the undistributed earnings or future
earnings, if any, of such Foreign Subsidiary as determined for United States federal income tax purposes
to be included as gross income of such Foreign Subsidiary’s United States parent (or other domestic
Affiliate) for United States federal income tax purposes, then, (A) in the case of a failure to deliver the
evidence described in clause (i) above, that portion of such Foreign Subsidiary’s outstanding capital stock
or any promissory notes so issued by such Foreign Subsidiary, in each case not theretofore pledged, shall
be pledged to the Collateral Agent for the benefit of the Secured Parties and securing the DIP Obligations,
in each case only to the extent that such pledge would not reasonably be expected to cause the
undistributed earnings or future earnings, if any, of such Foreign Subsidiary as determined for United
States federal income tax purposes to be included in gross income of such Foreign Subsidiary’s United
States parent (or other domestic Affiliate) for United States federal income tax purposes or would not
reasonably be expected to be restricted by Applicable Law of the jurisdiction of organization of such
Foreign Subsidiary; (B) in the case of a failure to deliver the evidence described in clause (ii) above, such
Foreign Subsidiary shall execute and deliver a guaranty in form and substance acceptable to the DIP
Agent, guaranteeing the DIP Obligations; (C) in the case of a failure to deliver the evidence described in
clause (iii) above, such Foreign Subsidiary shall execute and deliver a security agreement in form and
substance acceptable to the DIP Agent, granting to the Collateral Agent, for the benefit of the Secured
Parties, a security interest in all of such Foreign Subsidiary’s assets and securing the DIP Obligations; and
(D) in the case of a failure to deliver the evidence described in clause (iv) above, such Foreign Subsidiary
shall execute and deliver the a pledge agreement in form and substance acceptable to the DIP Agent,
pledging to the Collateral Agent, for the benefit of the Secured Parties, all of the capital stock and
promissory notes owned by such Foreign Subsidiary, in each case to the extent that entering into such
guaranty, security agreement or pledge agreement is permitted by the Laws of the respective foreign
jurisdiction. In addition to the foregoing, if the conditions in the preceding sentence are met, each such
Foreign Subsidiary shall execute an Accession Agreement pursuant to which such Foreign Subsidiary
shall agree to become a Subsidiary Guarantor and Loan Party and deliver such proof of organizational
authority, incumbency of officers, opinions of counsel and other documents as is consistent with those
delivered by each Loan Party pursuant to Section 4.01 on the Closing Date or as the DIP Agent, the
Collateral Agent or the Required DIP Lenders reasonably shall have requested and with all documents
delivered pursuant to this Section 6.10(d) to be in form, scope and substance reasonably satisfactory to the
Collateral Agent.

                 (e)     Required Actions. Each Loan Party agrees that, except as otherwise provided in
this Section 6.10, each action required by this Section 6.10 shall be completed as soon as possible, but in
no event later than ninety (90) calendar days after such action is either requested to be taken by the
Collateral Agent or the Required DIP Lenders or required to be taken by Holdings or any of its
Subsidiaries pursuant to the terms of this Section 6.10.

                Section 6.11     [Reserved]

                 Section 6.12 Contributions. Within three Business Days following its receipt
thereof, (a) Holdings will contribute as a common equity contribution to the capital of Kingpin (for
further contribution to the Borrower) any cash proceeds received by Holdings after the Closing Date from
any Asset Disposition, Casualty, Condemnation, Debt Issuance or Equity Issuance or any cash capital




                                                     78
Case 12-36495-KRH          Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                     Desc Main
                                Document    Page 144 of 304


contributions received by Holdings after the Closing Date. Within three Business Days following its
receipt thereof, (a) Kingpin will contribute as a common equity contribution to the capital of the Borrower
any cash proceeds received by Kingpin after the Closing Date from any Asset Disposition, Casualty,
Condemnation, Debt Issuance or Equity Issuance or any cash capital contributions received by Kingpin
after the Closing Date.

                Section 6.13    [Reserved].

                Section 6.14    Certain Post-Closing Matters.

                 (a)      Each Loan Party authorizes the Collateral Agent, in its discretion, to effect the
execution, filing or recording of any of mortgages, security agreements, pledge agreements, control
agreements, financing statements or other agreements to perfect the DIP Liens (notwithstanding that the
DIP Liens shall be effective and perfected as of the entry of the Interim Order and without necessity of
the execution, filing or recording).

              (b)       The Loan Parties shall timely pay all fees and expenses due under the Hilco
Engagement Letter.

                (c)     The Loan Parties shall use their respective reasonable best efforts to cooperate
with and support the DIP Agent and the DIP Lenders in connection with the consummation of the
Transaction, including, without limitation, the financing contemplated by the DIP Facility.

                 (d)     The Credit Parties shall make commercially reasonable efforts to deliver to the
DIP Agent, certificates or other evidence of good standing as to payment of any applicable franchise or
similar taxes from the appropriate taxing authority of California, Florida, New York, Texas and Virginia
for each Loan Party that is qualified to do business in such state, no later than thirty (30) calendar days
after the Closing Date (or such longer time period as agreed to by the DIP Agent in writing).

                Section 6.15    Additional Information Obligations.

                 (a)      Chapter 11 Case Documents. Each Loan Party shall deliver or cause to be
delivered for review and comment, as soon as commercially reasonable and in any event not less than
two (2) Business Days prior to filing, all material documents (provided that any of the foregoing relating
to the DIP Facility shall be deemed material) to be filed on behalf of the Loan Parties with the Bankruptcy
Court to the DIP Agent and the DIP Lenders and their counsel.

                (b)      Progress Calls. Borrower shall hold monthly progress conference calls for the
DIP Lenders, starting on the third (3rd) Business Day after the first day of the second week following the
Closing Date, until the DIP Termination Date. Such conference calls shall be held every month as soon as
a responsible officer of the Borrower is reasonably available to have such conference call and in any
event no later than the third (3rd) Business Day after the first day of each second week. During such
conference calls a responsible officer of the Borrower shall provide the participating DIP Lenders with a
reasonably comprehensive update on the Chapter 11 Cases, variances with respect to the Budget and any
other material information relating to the business, condition (financial or otherwise), operation,
performance, properties or prospects of any of the Loan Parties and any other information that may be
reasonably requested by the DIP Agent or any DIP Lender.

                (c)    Restructuring Proposals. Each Loan Party shall promptly deliver or cause to be
delivered to the DIP Agent and the DIP Lenders copies of any term sheets, proposals, presentations or




                                                    79
Case 12-36495-KRH           Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                      Desc Main
                                 Document    Page 145 of 304


other documents, from any party, related to (i) the restructuring of the Loan Parties, (ii) the sale of assets
of one or all of the Loan Parties, or (iii) the restructuring of any iStar Sale/Leaseback Documents.

                 (d)     Hilco Documents. Each Loan Party shall promptly deliver or cause to be
delivered, upon receipt of same, to the DIP Agent and the DIP Lenders copies of any and all appraisal
analysis(es), reports, presentations, proposals or other documents prepared by Hilco in relation to the
properties that are owned by the Loan Parties and/or are the subject of the iStar Sale/Leasebacks or any
other leases to which the Loan Parties are a party.

               (e)     Access to Advisors. The Loan Parties shall allow the DIP Agent and the DIP
Lenders access to, upon reasonable notice during normal business hours in a time and manner to
minimize disruption to the Loan Parties, the financial consultant engaged by the Loan Parties (which
engagement shall be on terms and conditions reasonably satisfactory to the DIP Agent at the direction of
the Required DIP Lenders).

All deliveries by the Loan Parties to the DIP Agent and/or the DIP Lenders required pursuant to this
Article VI shall be subject to the confidentiality provisions of Section 10.07 hereof.

                                           ARTICLE VII
                                       NEGATIVE COVENANTS

                Each Loan Party agrees that so long as any DIP Lender has any Commitment hereunder,
any DIP Obligations or other amount payable hereunder or under any Note or other DIP Loan Document
or any LC Obligation (in each case other than contingent indemnification obligations) remains unpaid or
any Letter of Credit remains outstanding:

               Section 7.01 Limitation on Debt. None of the Group Companies will incur, create,
assume or permit to exist any Debt or Synthetic Lease Obligations except:

                     (i)    Debt of the Loan Parties incurred under this Agreement and the other
        DIP Loan Documents;

                      (ii)       Debt existing prior to the date hereof and permitted by the First Lien
        Credit Agreement;

                         (iii)  Debt owed to any Person providing property, casualty, liability or other
        insurance to the Borrower or any Subsidiary of the Borrower, so long as such Debt shall not be in
        excess of the amount of the unpaid cost of, and shall be incurred only to defer the cost of, such
        insurance for the year in which such Debt is incurred and such Debt shall be outstanding only
        during such year;

                       (iv)     Debt owing to the Borrower or a Subsidiary of the Borrower to the extent
        permitted by Section 7.06(a)(viii) or (xi);

                        (v)      Debt arising from the honoring by a bank or other financial institution of
        a check, draft or similar instrument drawn against insufficient funds in the ordinary course of
        business; provided that (A) such Debt (other than credit or purchase cards) is extinguished within
        three Business Days of its incurrence and (B) such Debt in respect of credit or purchase cards in
        extinguished within sixty (60) calendar days from its incurrence; and

                         (vi)    accrual of interest on Debt otherwise permitted under this Section 7.01.




                                                     80
Case 12-36495-KRH             Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                    Desc Main
                                   Document    Page 146 of 304


                 Section 7.02 Restriction on Liens. None of the Group Companies will create, incur,
assume or permit to exist any Lien on any property or assets (including Equity Interests or other securities
of any Person, including any Subsidiary of Holdings) now owned or hereafter acquired by it or on any
income or rights in respect of any thereof, except for Liens described in the following clauses
(collectively, “Permitted Liens”):

                        (i)      Liens created by the Orders, this Agreement and the DIP Loan
        Documents;

                        (ii)     Liens (other than any Liens imposed by ERISA or pursuant to any
        Environmental Law) for taxes (including outstanding Chapter 11 taxes), assessments or
        governmental charges or levies not more than thirty (30) calendar days overdue or not required to
        be paid pursuant to Section 6.05;

                         (iii)   Liens securing the charges, claims, demands or levies of landlords (but in
        all cases excluding any Lien on any Collateral arising under the iStar Sale/Leaseback
        Documents), carriers, warehousemen, mechanics, sellers of goods, carriers and other like persons
        which were incurred in the ordinary course of business and which (A) secure charges, claims,
        demands or levies which are not more than thirty (30) calendar days overdue or not required to be
        paid pursuant to Section 6.05 or (B) do not, individually or in the aggregate, materially detract
        from the value of the property or assets which are the subject of such Lien or materially impair
        the use thereof in the operation of the business of the Borrower or any of its Subsidiaries;

                        (iv)    (x) Liens (other than any Liens imposed by ERISA or pursuant to any
        Environmental Law) not securing Debt incurred or (y) deposits made in the ordinary course of
        business, in each case in connection with workers’ compensation, unemployment insurance and
        other types of social security and other similar obligations incurred in the ordinary course of
        business;

                        (v)      Liens (including pledges or deposits) securing obligations in respect of
        surety bonds (other than appeal bonds), bids, trade contracts, public or statutory obligations,
        leases, government contracts, performance and return of money bonds and other similar
        obligations incurred in the ordinary course of business;

                        (vi)    pledges or deposits of cash and Cash Equivalents securing deductibles,
        self-insurance, co-payment, co-insurance, retentions and similar obligations to providers of
        insurance on the ordinary cause of business;

                         (vii)    zoning restrictions, building codes, easements, rights of way, licenses,
        reservations, covenants, conditions, waivers, restrictions on the use of property or other minor
        encumbrances or irregularities of title not securing Debt which do not, individually or in the
        aggregate, materially impair the use of any property in the operation or business of Holdings or
        any of its Subsidiaries or the value of such property for the purpose of such business;

                         (viii) Liens securing Capital Lease Obligations and Purchase Money Debt
        incurred prior to the Closing Date and permitted under Section 7.01(ii);

                        (ix)     Liens arising solely by virtue of any statutory or common law provision
        relating to banker’s liens, rights of set-off or similar rights, in each case incurred in the ordinary
        course of business;




                                                     81
Case 12-36495-KRH           Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                      Desc Main
                                 Document    Page 147 of 304


                        (x)     Liens on (A) incurred premiums, dividends and rebates which may
        become payable under insurance policies and loss payments which reduce the incurred premiums
        on such insurance policies and (B) rights which may arise under State insurance guarantee funds
        relating to any such insurance policy, in each case securing Debt permitted to be incurred
        pursuant to Section 7.01(iii);

                          (xi)     any (A) Lien not securing any Debt or Synthetic Lease Obligations
        constituting an interest or title of a licensor, lessor or sublicensor or sublessor under any
        Operating Lease or License entered into by the Borrower or any of its Subsidiaries in compliance
        with this Agreement or (B) Lien resulting from the subordination by any such lessor or sublessor
        of its interest or title under such Operating Lease to any Lien described in subparagraph (viii)
        above; provided that the holder of such Lien or restriction agrees in writing to recognize the rights
        of such lessee or sublessee under such Operating Lease;

                       (xii)   Liens in favor of customs and revenue authorities arising as a matter of
        Law to secure payment of customs duties in connection with the importation of goods;

                         (xiii)   Permitted Existing Liens;

                        (xiv) Liens arising under the iStar Sale/Leaseback Documents consisting of
        options, whether or not then exercisable, to purchase Bowling Equipment of the Borrower and/or
        one or more of its Subsidiaries;

                         (xv)    any other Lien created, incurred, assumed or suffered by a Loan Party on
        or after the Petition Date, if such Lien is (A) junior to the Liens of the DIP Agent and the DIP
        Lenders hereunder and junior to any adequate protection Liens granted to the First Lien Agent,
        the First Lien Lenders, the Second Lien Agent and the Second Lien Lenders, each in accordance
        with the Orders and (B) approved by the Bankruptcy Court with the prior written consent of the
        DIP Agent at the direction of the Required DIP Lenders;

                         (xvi) additional Liens granted by the Bankruptcy Court to the First Lien
        Agent, the First Lien Lenders, the Second Lien Agent, the Second Lien Lenders and/or any junior
        creditors pursuant to the Orders; and

                         (xvii)   Liens securing the Carve-Out.

                Section 7.03 Nature of Business. None of the Group Companies will alter in any
material respect the character of the business conducted by such Person as of the Closing Date, except
that the Borrower and its Subsidiaries may engage in reasonable extensions thereof and in business
reasonably related, ancillary or complementary thereto.

                 Section 7.04 Consolidation, Merger and Dissolution. Except in connection with an
Asset Disposition permitted by the terms of Section 7.05, none of the Group Companies will enter into
any transaction of merger or consolidation or liquidate, wind up or dissolve itself or its affairs (or suffer
any liquidations or dissolutions); provided that (a) any Foreign Subsidiary of the Borrower may be
merged with and into, or be voluntarily dissolved or liquidated into, the Borrower or any Subsidiary of the
Borrower, so long as (A) in the case of any such merger, dissolution or liquidation involving one or more
Subsidiary Guarantors, (y) the Borrower or such Subsidiary Guarantor, as the case may be, is the
surviving corporation of any such merger, dissolution or liquidation and (z) no Person other than the
Borrower or a Subsidiary Guarantor receives any consideration in respect of or as a result of such
transaction, (B) the security interests granted to the Collateral Agent for the benefit of the Secured Parties




                                                     82
Case 12-36495-KRH          Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                     Desc Main
                                Document    Page 148 of 304


pursuant to the DIP Loan Documents in the assets of such Foreign Subsidiary, if any, and the Borrower or
such other Wholly-Owned Subsidiary, as the case may be, and in the Equity Interests of the surviving
entity of such merger, dissolution or liquidation shall remain in full force and effect and perfected (to at
least the same extent as in effect immediately prior to such merger, dissolution or liquidation) and (C) no
Default or Event of Default shall have occurred and be continuing immediately before or immediately
after giving effect to such transaction; and (b) AMF Bowling Products UK Ltd may be liquidated upon
the sale of its assets pursuant to a transaction permitted by the terms of Section 7.05(xiii).

In the case of any merger or consolidation permitted by this Section 7.04 of any Subsidiary of Holdings
which is not a Loan Party into a Loan Party, the Loan Parties shall cause to be executed and delivered
such documents, instruments and certificates as the DIP Agent may reasonably request so as to cause the
Loan Parties to be in compliance with the terms of Section 6.10 after giving effect to such transaction.
Notwithstanding anything to the contrary contained above in this Section 7.04, no action shall be
permitted which results in a Change of Control.

                Section 7.05     Asset Dispositions. None of the Group Companies will make any Asset
Disposition; provided that:

                        (i)     any Group Company may sell inventory in the ordinary course of
        business on an arms’-length basis;

                          (ii)   the Borrower may make any Asset Disposition to any of the Loan Parties
        if (A) the Loan Parties shall cause to be executed and delivered such documents, instruments and
        certificates as the DIP Agent or the Collateral Agent may request so as to cause the Loan Parties
        to be in compliance with the terms of Section 6.10 after giving effect to such Asset Disposition
        and (B) after giving effect to such Asset Disposition, no Default or Event of Default exists;

                         (iii)   the Borrower and its Subsidiaries may liquidate or sell Cash Equivalents;
        provided, that the proceeds of such sale are deposited in a Deposit Account subject to an Account
        Control Agreement;

                        (iv)    the Borrower or any of its Subsidiaries may dispose of real estate,
        machinery or equipment which will be replaced or upgraded with real estate, machinery or
        equipment put to a similar use and owned, or otherwise used or useful in the ordinary course of
        business of and owned, by such Person, provided that (A) such replacement or upgraded
        machinery and equipment is acquired within 60 days after such disposition, (B) upon their
        acquisition, such replacement assets become subject to the Lien of the DIP Agent under the
        Collateral Documents (to the extent in effect immediately prior to such disposition), and (C) the
        proceeds from all such disposals do not exceed $1,000,000 in the aggregate at any time prior to
        the DIP Termination Date;

                         (v)     the Borrower or any of its Subsidiaries may, in the ordinary course of
        business and in a commercially reasonable manner, dispose of obsolete, worn-out or surplus
        tangible assets and other excess property no longer used or useful in the ordinary course of
        business and may, in the ordinary course of business and in a commercially reasonable manner,
        cancel, abandon, or permit to expire issuances, registrations and applications for immaterial
        Intellectual Property no longer used or useful in the ordinary course of business;

                         (vi)     any Group Company may enter into any Sale/Leaseback Transaction
        (other than the iStar Sale/Leaseback Transaction) permitted by Section 7.13;




                                                    83
Case 12-36495-KRH           Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                      Desc Main
                                 Document    Page 149 of 304


                         (vii)     any Subsidiary of the Borrower may sell, lease or otherwise transfer any
        or all or substantially all of its assets (including any such transaction effected by way of merger or
        consolidation) to the Borrower or any other Loan Party, so long as (A) the security interests
        granted to the Collateral Agent for the benefit of the Secured Parties pursuant to the DIP Loan
        Documents in such assets shall remain in full force and effect and perfected (to at least the same
        extent as in effect immediately prior to such sale, lease or other transfer) and (B) after giving
        effect to such Asset Disposition, no Default or Event of Default exists;

                         (viii) any Group Company may sell or dispose of Equity Interests in its
        Subsidiaries to qualify directors where required by applicable Law or to satisfy other
        requirements of applicable Law with respect to the ownership of Equity Interests of Foreign
        Subsidiaries or Liquor License Subsidiaries;

                         (ix)    any Group Company may (A) lease, as lessor or sublessor, or license, as
        licensor or sublicensor, real or personal property (including a license of the Intellectual Property
        of any Group Company on a non-exclusive basis) in the ordinary course of business and
        consistent with past practices and (B) grant options to purchase, lease or acquire real or personal
        property in the ordinary course of business, so long as the Asset Disposition resulting from the
        exercise of such option would otherwise be permitted under this Section 7.05;

                         (x)     any Group Company may dispose of defaulted receivables and similar
        obligations in the ordinary course of business and not as part of an accounts receivable financing
        transaction; and

                         (xi)    any Group Company may make one or more Foreign Asset Dispositions;

                        (xii)   the Borrower or any of its Domestic Subsidiaries may make one or more
        Asset Dispositions described in Section 7.09(vii);

                        (xiii) any Group Company may close and sell any bowling centers, to the
        extent such sales are authorized by the Bankruptcy Court, provided, that at the time of any such
        closure or disposition (i) no Default or Event of Default has occurred and is continuing and (ii)
        the Loan Parties are in compliance on a pro forma basis with the financial covenants set forth in
        Section 7.16, recomputed for the most recent monthly for which financial statements have been
        delivered; and

                        (xiv) an administrator appointed by the applicable Governmental Authority
        may sell all or substantially all assets of AMF Bowling Products UK Ltd in connection with
        liquidation proceedings for AMF Bowling Products UK Ltd instituted by such Governmental
        Authority.

                   Upon consummation of an Asset Disposition permitted under this Section 7.05, the Lien
therein created (but not the Lien on any proceeds thereof) under the DIP Loan Documents shall be
automatically released and the DIP Agent shall (or shall cause the Collateral Agent to) (to the extent
applicable) deliver to the Borrower, upon the Borrower’s request and at the Borrower’s expense, such
documentation as is reasonably necessary to evidence the release of the Collateral Agent’s security
interests, if any, in the assets being disposed of, including amendments or terminations of UCC Financing
Statements, if any, the return of stock certificates, if any, and the release of any Subsidiary being disposed
of in its entirety from all of its obligations, if any, under the DIP Loan Documents.

                Section 7.06     Investments.




                                                     84
Case 12-36495-KRH         Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                    Desc Main
                               Document    Page 150 of 304


                (a)    Investments. None of the Group Companies will hold, make or acquire, any
Investment in any Person, except the following:

                       (i)     Investments existing on the date hereof in Persons which are Subsidiaries
       or Permitted Joint Ventures on the date hereof;

                        (ii)   Holdings, Kingpin, the Borrower or any Subsidiary of the Borrower may
       invest in cash and Cash Equivalents;

                        (iii)   Kingpin may hold obligations of one or more officers or other employees
       of Kingpin or any of its Subsidiaries in connection with such officers’ or employees’ acquisition
       of Equity Interests of Holdings prior to the Petition Date, so long as no cash was paid by Kingpin
       or any of its Subsidiaries to such officers or employees in connection with the acquisition of any
       such obligations;

                       (iv)     the Borrower and any Subsidiary of the Borrower may acquire and hold
       receivables not constituting Debt owing to them, if created or acquired in the ordinary course of
       business;

                       (v)      the Borrower and each Subsidiary of the Borrower may acquire and own
       Investments (including Debt obligations) received in connection with the bankruptcy or
       reorganization of suppliers and customers and in settlement of delinquent obligations of, and
       other disputes with, customers and suppliers arising in the ordinary course of business;

                        (vi)  deposits by the Borrower or any Subsidiary of the Borrower made in the
       ordinary course of business consistent with past practices to secure the performance of leases
       shall be permitted;

                        (vii)   Holdings and Kingpin may (directly or indirectly, as applicable) make
       equity contributions to the capital of the Borrower;

                       (viii) the Borrower may make Investments in any of its Wholly-Owned
       Domestic Subsidiaries and any Subsidiary of the Borrower may make Investments in the
       Borrower or any Wholly-Owned Domestic Subsidiary of the Borrower; provided that (A) each
       item of intercompany Debt evidencing intercompany loans and advances made by a Foreign
       Subsidiary or a non-Wholly-Owned Domestic Subsidiary to the Borrower or a Wholly-Owned
       Domestic Subsidiary of the Borrower shall be evidenced by a promissory note in the form of
       Exhibit G hereto containing the subordination provisions set forth in Exhibit H hereto and (B)
       each promissory note evidencing intercompany loans and advances payable to a Loan Party shall
       be pledged to the Collateral Agent;

                       (ix)   the Borrower and its Subsidiaries may make transfers of assets to the
       Borrower and its Subsidiaries in accordance with Section 7.05(vi) and in connection with mergers
       and consolidations permitted under Section 7.04;

                      (x)     the Borrower and its Subsidiaries may purchase inventory, machinery,
       equipment and other assets in the ordinary course of business; and

                      (xi)    the Borrower or any of its Subsidiaries may make loans and advances to
       Kingpin (and Kingpin may make loans and advances to Holdings) for the purposes and in the
       amounts necessary to pay the fees, expenses and taxes described in Section 7.07(iii);




                                                  85
Case 12-36495-KRH             Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                   Desc Main
                                   Document    Page 151 of 304


                           (xii)   Investments existing on the date hereof and identified on Schedule 7.06;

                         (xiii) Investments arising out of the receipt by the Borrower or any of its
        Subsidiaries of non-cash consideration for the sale of assets permitted under Section 7.05; and

                           (xiv)   Investments resulting from pledges and deposits specifically referred to
        in Section 7.02.

provided that no Group Company may make or own any Investment in Margin Stock.

                 (b)      Limitation on the Creation of Subsidiaries. No Group Company will establish,
create or acquire after the Closing Date any Subsidiary.

                Section 7.07 Restricted Payments, etc. None of the Group Companies will declare
or pay any Restricted Payments (other than Restricted Payments payable solely in Equity Interests
(exclusive of Debt Equivalents) of such Person), except that:

                        (i)   any Wholly-Owned Subsidiary of the Borrower may make Restricted
        Payments to the Borrower or to any Wholly-Owned Subsidiary of the Borrower;

                          (ii)     any non-Wholly-Owned Subsidiary of the Borrower may make
        Restricted Payments to the Borrower or to any Wholly-Owned Subsidiary of the Borrower or
        ratably to all holders of its outstanding Equity Interests;

                         (iii)   the Borrower may make cash Restricted Payments to Kingpin (and
        Kingpin may make cash Restricted Payments to Holdings) for the purpose of paying, and in
        amounts not to exceed the amount necessary to pay, (A) the then currently due fees and expenses
        of Holdings’ counsel, accountants and other advisors and consultants, and other operating and
        administrative expenses of Holdings (including employee and compensation expenditures and
        other similar costs and expenses) permitted under the Budget, (B) the then currently due fees and
        expenses of Holdings’ independent directors permitted under the Budget and (C) the then
        currently due taxes payable by Holdings solely on account of the income of Holdings related to
        its Investment in the Borrower and its Subsidiaries and the reasonable expenses of preparing
        returns reflecting such taxes; provided that Holdings agrees to contribute to the Borrower any
        refund Holdings receives relating to any such taxes; and

                        (iv)    non-cash repurchases of Equity Interests by Holdings deemed to occur
        upon exercise of stock options if such Equity Interests represent a portion of the exercise price of
        such options.

                Section 7.08       Amendments of Certain Agreements.

                 (a)      None of the Group Companies will, or will permit any of their respective
Subsidiaries to, after the issuance thereof, amend, waive or modify (or permit the amendment, waiver or
modification of) any of the terms, agreements, covenants or conditions of or applicable to the First Lien
Loan Documents, Second Lien Loan Documents or any Subordinated Indebtedness issued by such Group
Company.

                (b)     Restriction on Payments of Principal of First Lien Loans and Second Lien Loans.
None of the Group Companies will (i) directly or indirectly redeem, purchase, prepay, retire, defease or
otherwise acquire for value, prior to scheduled maturity, scheduled repayment or scheduled sinking fund




                                                      86
Case 12-36495-KRH             Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                 Desc Main
                                   Document    Page 152 of 304


payment, any Debt incurred pursuant to the First Lien Loan Documents or the Second Lien Loan
Documents, or set aside any funds for such purpose, whether such redemption, purchase, prepayment,
retirement or acquisition is made at the option of the maker or at the option of the holder thereof, and
whether or not any such redemption, purchase, prepayment, retirement or acquisition is required under the
terms and conditions applicable to the First Lien Loan Documents or the Second Lien Loan Documents,
except as expressly provided for in the Orders in the form and substance acceptable to the DIP Agent at
the direction of the Required DIP Lenders.

                (c)      Restriction on Payments in Respect of Subordinated Debt. None of the Group
Companies will (i) directly or indirectly, redeem, purchase, prepay, retire, defease or otherwise acquire
for value, prior to scheduled maturity, scheduled repayment or scheduled sinking fund payment, any
Subordinated Debt, or set aside any funds for such purpose, whether such redemption, purchase,
prepayment, retirement or acquisition is made at the option of the maker or at the option of the holder
thereof, and whether or not any such redemption, purchase, prepayment, retirement or acquisition is
required under the terms and conditions applicable to such Debt or (ii) make any interest payment in
respect of any Subordinated Debt, except as expressly provided for in the Orders in the form and
substance acceptable to the DIP Agent at the direction of the Required DIP Lenders.

                Section 7.09 Transactions with Affiliates. None of the Group Companies will
engage in any transaction or series of transactions with any Affiliate of Holdings other than:

                        (i)      transfers of assets to any Loan Party other than Holdings permitted by
        Section 7.05;

                         (ii)    transactions expressly permitted by Section 7.01, Section 7.04, Section
        7.05, Section 7.06 or Section 7.07;

                        (iii)    compensation, indemnities and reimbursement of reasonable expenses of
        officers and directors as permitted by the Budget; provided that none of the Group Companies
        will make, commit to make, or permit to be made any bonus payments to executive officers of
        any Group Company and its respective subsidiaries in excess of the amounts set forth in the
        Budget;

                        (iv)    other transactions with the Sponsor and its Affiliates in existence on the
        Closing Date to the extent disclosed in Schedule 7.09;

                         (v)     any transaction entered into among the Borrower and the other Loan
        Parties (other than Holdings) or among such Loan Parties;

                        (vi)     [Reserved];

                         (vii)   (A) sales by the Borrower or any of its Domestic Subsidiaries of Bowling
        Equipment, bowling products and other equipment used in the operation or maintenance of
        bowling centers and related accessories to Foreign Subsidiaries of the Borrower for use in
        bowling centers operated by such Foreign Subsidiaries and (B) sales by the Borrower or any of its
        Domestic Subsidiaries of bowling products to Foreign Subsidiaries of the Borrower for resale by
        such Foreign Subsidiaries, in each case (x) for a price at least equal to the cost to the Borrower
        and its Domestic Subsidiaries of such Bowling Equipment, bowling products, equipment used in
        the operation or maintenance of bowling centers or related accessories and (y) in the aggregate at
        any time prior to the DIP Termination Date not to exceed $500,000;




                                                   87
Case 12-36495-KRH             Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                   Desc Main
                                   Document    Page 153 of 304


                         (viii) so long as no Default or Event of Default has occurred and is continuing,
        other transactions which are engaged in by the Borrower or any of its Subsidiaries in the ordinary
        course of its business on terms and conditions as favorable to such Person as would be obtainable
        by it in a comparable arms’-length transaction with an independent, unrelated third party; and

                        (ix)     Holdings may make one or more Qualifying Equity Issuances.

Notwithstanding the foregoing, none of Holdings and its Subsidiaries will enter into any management,
consulting or similar agreement or arrangement (other than the Management Agreement) with, or pay any
professional, consulting, management or similar fees to or for the benefit of, the Sponsor Group or its
successors or transferees.

                  Section 7.10 Fiscal Year; Organizational and Other Documents. None of the
Group Companies will (i) change its fiscal year or (ii) consent to any amendment, modification or
supplement (A) that is adverse in any respect to the DIP Lenders to its articles or certificate of
incorporation, bylaws (or analogous organizational documents), the Management Agreement or any
agreement entered into by it with respect to its Equity Interests or (B) relating the purchase of, or any
option to purchase, Bowling Equipment under the iStar Sale/Leaseback Documents or that is otherwise
materially adverse to the DIP Lenders with respect to the iStar Sale/Leaseback Documents, in each case
as in effect on the Closing Date. The Borrower will cause the Group Companies to promptly provide the
DIP Lenders with copies of all amendments to the foregoing documents and instruments as in effect as of
the Closing Date.

                Section 7.11 Restrictions with Respect to Intercorporate Transfers. Subject to the
Orders, none of the Group Companies will create or otherwise cause or permit to exist any consensual
encumbrance or restriction which prohibits or otherwise restricts (i) the ability of any such Subsidiary to
(A) make Restricted Payments or pay any Debt owed to the Borrower or any Subsidiary of the Borrower,
(B) pay Debt or other obligations owed to any Loan Party, (C) make loans or advances to the Borrower or
any Subsidiary of the Borrower, (D) transfer any of its properties or assets to the Borrower or any
Subsidiary of the Borrower or (E) act as a Subsidiary Guarantor and pledge its assets pursuant to the DIP
Loan Documents or any renewals, refinancings, exchanges, refundings or extensions thereof or (ii) the
ability of Holdings or any Subsidiary of Holdings to create, incur, assume or permit to exist any Lien
upon its property or assets whether now owned or hereafter acquired to secure the DIP Obligations,
except in each case for prohibitions or restrictions existing under or by reason of:

                        (i)      this Agreement and the other DIP Loan Documents;

                     (ii)      restrictions contained in the First Lien Loan Documents and Second Lien
        Loan Documents, all as in effect on the date of this Agreement;

                         (iii)   customary non-assignment provisions with respect to contracts, leases or
        licensing agreements entered into by the Borrower or any of its Subsidiaries, in each case entered
        into in the ordinary course of business and consistent with past practices;

                         (iv)   any restriction or encumbrance with respect to any asset of the Borrower
        or any of its Subsidiaries or a Subsidiary of the Borrower imposed pursuant to an agreement
        which has been entered into for the sale or disposition of such assets or all or substantially all of
        the capital stock or assets of such Subsidiary, so long as such sale or disposition is permitted
        under this Agreement;




                                                     88
Case 12-36495-KRH           Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                      Desc Main
                                 Document    Page 154 of 304


                       (v)   restrictions in effect on the date of this Agreement contained in the iStar
        Sale/Leaseback Documents as in effect on the date of this Agreement;

                        (vi)    customary provisions in joint venture agreements and other similar
        agreements entered into in the ordinary course of business prior to the Closing Date in connection
        with Permitted Joint Ventures;

                        (vii)    restrictions on cash and other deposits or net worth imposed by
        customers or suppliers in the ordinary course of business and consistent with past practice; and

                        (viii) Liens permitted under Section 7.02 and any documents or instruments
        governing the terms of any Debt or other obligations secured by any such Liens; provided that
        such prohibitions or restrictions apply only to the assets subject to such Liens.

                Section 7.12     Ownership of Subsidiaries; Limitations on Holdings.

                 (a)     No Loan Party will (i) permit any Subsidiary of the Borrower to issue Equity
Interests to any Person, except (A) to the Borrower or any Wholly-Owned Subsidiary of the Borrower or
(B) to qualify directors where required by applicable Law or to satisfy other requirements of applicable
Law with respect to the ownership of Equity Interests of Foreign Subsidiaries or Liquor License
Subsidiaries or (ii) permit any non-Wholly-Owned Subsidiary of the Borrower to issue any shares of
Preferred Stock (other than to Persons in connection with obtaining liquor licenses or otherwise to the
extent required by Law).

                  (b)    Holdings will not (i) hold any material assets other than the Equity Interests of
Kingpin and cash or Cash Equivalents expressly permitted to be received and held by it from time to time
in accordance with this Agreement, (ii) have any material liabilities other than (A) liabilities under the
DIP Loan Documents and other obligations expressly permitted to be incurred by it pursuant to Section
7.01 and (B) tax and accrued liabilities and expenses in the ordinary course of business or (iii) engage in
any business activity other than (A) owning the common stock of Kingpin (including purchasing
additional shares of common stock after the Closing Date) and activities incidental or related thereto or to
the maintenance of the corporate existence of Holdings or compliance with applicable law, (B) acting as a
guarantor hereunder and pledging its assets to the Collateral Agent, for the benefit of the DIP Lenders,
pursuant to the Orders and the DIP Loan Documents to which it is a party and (C) issuing its own Equity
Interests (other than Debt Equivalents).

                 (c)      Kingpin will not (i) hold any material assets other than the Equity Interests of the
Borrower and cash or Cash Equivalents expressly permitted to be received and held by it from time to
time in accordance with this Agreement, (ii) have any material liabilities other than (A) liabilities under
the DIP Loan Documents, the First Lien Loan Documents, the Second Lien Loan Documents, its
Guaranty Obligations in respect of the iStar Sale/Leaseback Transactions and other obligations expressly
permitted to be incurred by it pursuant to Section 7.01 and (B) tax and accrued liabilities and expenses in
the ordinary course of business or (iii) engage in any business activity other than (A) owning the common
stock of the Borrower (including purchasing additional shares of common stock after the Closing Date)
and activities incidental or related thereto or to the maintenance of the corporate existence of Kingpin or
compliance with applicable law, (B) acting as a guarantor hereunder , the First Lien Loan Documents and
the Second Lien Loan Documents and pledging its assets to the Collateral Agent, for the benefit of the
DIP Lenders, pursuant to the Orders and the DIP Loan Documents, the First Lien Loan Documents and
the Second Lien Loan Documents to which it is a party, the iStar Sale/Leaseback Documents and other
Guaranty Obligations expressly permitted to be incurred by it pursuant to Section 7.01 and (C) issuing its
own Equity Interests (other than Debt Equivalents).




                                                     89
Case 12-36495-KRH           Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                       Desc Main
                                 Document    Page 155 of 304


                (d)     No Loan Party will permit any Person other than (A) Holdings to hold any Equity
Interests or Equity Equivalents of Kingpin or (B) Kingpin to hold any Equity Interests or Equity
Equivalents of the Borrower

                  Section 7.13 Sale and Leaseback Transactions. None of the Group Companies will
directly or indirectly become or remain liable as lessee or as guarantor or other surety with respect to any
lease (whether an Operating Lease or a Capital Lease) of any property (whether real, personal or mixed),
whether now owned or hereafter acquired, (i) which such Group Company has sold or transferred or is to
sell or transfer to any other Person which is not a Group Company or (ii) which such Group Company
intends to use for substantially the same purpose as any other property which has been sold or is to be
sold or transferred by such Group Company to another Person which is not a Group Company in
connection with such lease; provided, however, that the Group Companies may (x) remain liable under
the iStar Sale/Leaseback and (y) enter into any other Sale/Leaseback Transaction permitted by the
Bankruptcy Court pursuant to the Final Order, provided that (A) the Borrower shall be in compliance with
all other provisions of this Agreement, including Section 7.01 and Section 7.02, (B) the gross cash
proceeds of any such Sale/Leaseback Transaction are at least equal to the fair market value of such
property (as determined by the Board of Directors of the Borrower in good faith) and (C) the Net Cash
Proceeds are applied as set forth in Section 2.09(b)(i) to the extent required therein.

                 Section 7.14 Additional Negative Pledges. None of the Group Companies will enter
into, assume or become subject to any agreement prohibiting or otherwise restricting the creation or
assumption of any Lien upon its properties or assets, whether now owned or hereafter acquired, or
requiring the grant of any security for an obligation if security is given for some other obligation, except
(in each case subject to the Orders) (i) pursuant to this Agreement and the other DIP Loan Documents, the
First Lien Loan Documents and Second Lien Loan Documents, (ii) pursuant to any document or
instrument governing Capital Lease Obligations or Purchase Money Debt incurred pursuant to Section
7.01 if any such restriction contained therein relates only to the asset or assets acquired in connection
therewith, (iii) pursuant to the iStar Sale/Leaseback Documents, (iv) pursuant to any documents or
agreements creating any Lien referred to in Section 7.02(x) if such restriction contained therein relates
only to the incurred premiums, dividends, rebates and other rights permitted to be subject to such Lien in
accordance with Section 7.02(x), and (v) pursuant to a Permitted Joint Venture so long as any such
restriction contained therein relates only to the assets of, or the interest of the Borrower and its
Subsidiaries in, such Permitted Joint Venture as of the Closing Date.

                 Section 7.15 Impairment of Security Interests. None of the Group Companies will
(i) take or omit to take any action which action or omission could reasonably be expected to materially
impair the Liens and security interests in favor of the Collateral Agent with respect to the Collateral or (ii)
grant to any Person (other than the Collateral Agent pursuant to the DIP Loan Documents) any interest
whatsoever in the Collateral, except for Permitted Liens.

                 Section 7.16     Financial Covenants.

                (a)     Maximum Budget Variance. On and after the first Friday following the Closing
Date, the Loan Parties shall at all times adhere to the Budget (subject to Permitted Variances), except to
the extent approved in writing by the DIP Agent at the direction of the Required DIP Lenders.

                 (b)     Capital Expenditures.

                         (i)     Except as provided in clauses (ii) and (iii) below, the Loan Parties shall
        not, in the aggregate, make or commit to make Capital Expenditures in any month in excess of
        the amounts set forth below:




                                                      90
Case 12-36495-KRH          Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                     Desc Main
                                Document    Page 156 of 304



                                Period          Maximum Capital Expenditures
                         November 2012                      $2,581,000
                         December 2012                      $1,728,000
                         January 2013                       $2,666,000
                         February 2013                      $2,495,000
                         March 2013                         $2,907,000
                         April 2013                         $2,821,000
                         May 2013                           $1,883,000
                         June 2013                          $2,541,000
                         July 2013                          $3,168,000
                         August 2013                        $3,168,000
                         September 2013                     $3,168,000
                         October 2013                       $3,168,000

                        (ii)     To the extent that Capital Expenditures permitted in clause (i) (before
        giving effect to any carry forward) for any month set forth above are less than the applicable
        amount specified for such month, an amount equal to 50% of the difference may be carried
        forward and utilized to make Capital Expenditures during the next subsequent month.

                         (iii)    The Loan Parties may make Capital Expenditures not subject to the
        limitations of clauses (i) and (ii) of no more than $1,000,000 in aggregate at any time prior to the
        DIP Termination Date for purposes of mitigating property damage sustained in connection with
        Hurricane Sandy.

                 (c)     Minimum EBITDA. The Consolidated EBITDA of the Loan Parties shall not, as
of the last Business Day of any month, be less than the following:


                                Period               Consolidated EBITDA
                         November 2012                      $3,528,000
                         December 2012                      $5,007,000
                         January 2013                       $9,720,000
                         February 2013                      $9,013,000
                         March 2013                         $6,508,000
                         April 2013                         $4,148,000
                         May 2013                          -$2,919,000
                         June 2013                           -$689,000
                         July 2013                          $3,890,000
                         August 2013                          $917,000
                         September 2013                     $1,008,000
                         October 2013                       $4,060,000

                 Section 7.17 Chapter 11 Claims. Until payment in full of the DIP Obligations under
this Agreement (other than contingent indemnification obligations not yet due and payable), except for
and to the extent permitted under the Carve-Out, the Loan Parties will not, directly or indirectly, incur,
create, assume, suffer to exist or permit any administrative expense claim (including, without limitation,
First Lien Superpriority Claims or Second Lien Superpriority Claims) or Lien which is pari passu with or
senior to the claims or Liens, as the case may be, of the Collateral Agent and the DIP Lenders against the
Loan Parties hereunder or under the Orders, or apply to the Bankruptcy Court for authority to do so.




                                                    91
Case 12-36495-KRH           Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                         Desc Main
                                 Document    Page 157 of 304


                  Section 7.18 Revision of Orders; Applications to Bankruptcy Court. The Loan
Parties will not, directly or indirectly (a) seek, support, consent to or suffer to exist any modification, stay,
vacation or amendment of the Interim Order or the Final Order except for any modifications and
amendments agreed to in writing by the DIP Agent and the Required DIP Lenders, (b) apply to the
Bankruptcy Court for authority to take any action prohibited by this Article VII (except to the extent such
application and the taking of such action is conditioned upon receiving the written consent of the DIP
Agent at the direction of the Required DIP Lenders) or (c) seek authorization for or permit the existence
of, any claims other than that of the DIP Lenders entitled to a superpriority under Section 364(c)(1) of the
Bankruptcy Code that is senior or pari passu with the DIP Lenders’ Section 364(c)(1) claim.

               Section 7.19 Critical Vendors. No Loan Party shall make or commit to make
payments to critical vendors (other than those critical vendors that are approved in writing by the
Required DIP Lenders) in respect of prepetition amounts in excess of the amount included in the Budget.

                 Section 7.20 Foreign Pension Plans. None of the Loan Parties shall, and no Loan
Party shall permit any of their subsidiaries (other than AMF Bowling Products UK Ltd.) or the Qubica JV
Entity to, take any actions which could result in the termination, withdrawal or winding up of any Foreign
Pension Plan (other than the UK Pension Plan) or result in liabilities on the Loan Parties, any of their
subsidiaries (other than AMF Bowling Products UK Ltd.) or the Qubica JV Entity with respect to such
Foreign Pension Plans.

                 Section 7.21     Compliance with Budget.

                 (a)     Except as otherwise provided herein or approved by the DIP Agent and the
Required DIP Lenders, the Loan Parties will not, and will not permit any Subsidiary to directly or
indirectly (a) use any cash or the proceeds of any DIP Loans in a manner or for a purpose other than those
materially consistent with this Agreement, the Orders and the most recent Budget (and Permitted
Variances related thereto), (b) permit a disbursement causing any variance other than Permitted Variances
without the prior written consent of the DIP Agent and the Required DIP Lenders or (c) make any
payment (as adequate protection or otherwise), or application for authority to pay, on account of any
claim or Debt arising prior to the Petition Date other than payments authorized by the Bankruptcy Court.

                 (b)    Prior to the occurrence of an Event of Default, the Loan Parties shall be
permitted to pay compensation and reimbursement of fees and expenses solely to the extent that such fees
and expenses are in accordance with the Budget and authorized to be paid under Sections 330 and 331 of
the Bankruptcy Code pursuant to an order of the Bankruptcy Court, as the same may be due and payable,
and such payments shall not reduce the Carve-Out. Upon receipt of the Carve-Out Trigger Notice, the
right of the Loan Parties to pay professional fees outside the Carve-Out shall terminate, and the Loan
Parties shall provide immediate notice to all professionals informing them that such notice was delivered
and further advising them that the Loan Parties’ ability to pay such professionals is subject to and limited
by the Carve-Out.

                Section 7.22 Use of Collateral. Without limiting Section 6.08, no Collateral,
proceeds of Loans, portion of the Carve-Out or any other amounts may be used directly or indirectly by
any of the Loan Parties, the Committee, if any, or any trustee or other estate representative appointed in
the Chapter 11 Cases (or any successor case) or any other person or entity (or to pay any professional
fees, disbursements, costs or expenses incurred in connection therewith):

                 (a)    to seek authorization to obtain Liens or security interests that are senior to, or on
a parity with, the DIP Liens or the Superpriority DIP Claims (except to the extent expressly set forth in
this Agreement); or




                                                       92
Case 12-36495-KRH           Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                       Desc Main
                                 Document    Page 158 of 304


                  (b)     to investigate (including by way of examinations or discovery proceedings),
prepare, assert, join, commence, support or prosecute any action for any claim, counter-claim, action,
proceeding, application, motion, objection, defense, or other contested matter seeking any order,
judgment, determination or similar relief against, or adverse to the interests of, in any capacity, against
any of the DIP Agent, the DIP Lenders, the First Lien Agent or the First Lien Lenders, and each of their
respective officers, directors, controlling persons, employees, agents, attorneys, affiliates, assigns, or
successors of each of the foregoing, with respect to any transaction, occurrence, omission, action or other
matter (including formal discovery proceedings in anticipation thereof), including, without limitation, (i)
any claims or causes of action arising under Chapter 5 of the Bankruptcy Code; (ii) any so-called “lender
liability” claims and causes of action; (iii) any action with respect to the validity, enforceability, priority
and extent of, or asserting any defense, counterclaim, or offset to, the DIP Obligations, the Superpriority
DIP Claims, the DIP Liens, the DIP Loan Documents, the First Lien Loan Documents or the First Lien
Obligations; (iv) any action seeking to invalidate, modify, set aside, avoid or subordinate, in whole or in
part, the DIP Obligations or the First Lien Obligations; (v) any action seeking to modify any of the rights,
remedies, priorities, privileges, protections and benefits granted to either (A) the DIP Agent or the DIP
Lenders hereunder or under any of the DIP Loan Documents, or (B) the First Lien Agent or the First Lien
Lenders under any of the First Lien Loan Documents (in each case, including, without limitation, claims,
proceedings or actions that might prevent, hinder or delay any of the DIP Agent’s or the DIP Lenders’
assertions, enforcements, realizations or remedies on or against the Collateral in accordance with the
applicable DIP Loan Documents and the Orders); or (vi) objecting to, contesting, or interfering with, in
any way, the DIP Agent’s and the DIP Lenders’ enforcement or realization upon any of the Collateral
once an Event of Default has occurred; provided, however, that no more than $50,000 in the aggregate of
the Collateral, the Carve-Out, proceeds of Loans or any other amounts, may be used by any Committee to
investigate claims and/or Liens of the First Lien Agent and First Lien Lenders under the First Lien Credit
Agreement.

               Section 7.23 iStar Action. The Loan Parties shall not agree to, execute or otherwise
consummate any resolution of any iStar Action or settlement with respect to the iStar Sale/Leaseback
Documents without the prior written consent of the Required DIP Lenders, which consent shall not be
unreasonably withheld.

                 Section 7.24 Independence of Covenants. All covenants contained herein shall be
given independent effect so that if a particular action or condition is not permitted by any of such
covenants, the fact that such action or condition would be permitted by an exception to, or otherwise be
within the limitations of, another covenant shall not avoid the occurrence of a Default if such action is
taken or condition exists.

                                              ARTICLE VIII
                                               DEFAULTS

                 Section 8.01 Events of Default. An event of default shall exist upon the occurrence
of any of the following specified events or conditions (each an “Event of Default”):

                 (a)     Payment. Any Loan Party shall:

                         (i)    default in the payment when due (whether by scheduled maturity,
        acceleration or otherwise) of any principal of any of the Loans or any LC Disbursement; or

                       (ii)     default, and such default shall continue for three or more Business Days,
        in the payment when due of any interest on the Loans, or of any fees or other amounts owing
        hereunder, under any of the other DIP Loan Documents or in connection herewith.




                                                      93
Case 12-36495-KRH          Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                       Desc Main
                                Document    Page 159 of 304


                 (b)     Representations. Any representation, warranty or statement made or deemed to
be made by any Loan Party herein, in any of the other DIP Loan Documents, or in any statement or
certificate delivered or required to be delivered pursuant hereto or thereto shall prove untrue in any
material respect on the date as of which it was made or deemed to have been made.

                (c)     Covenants. Any Loan Party shall:

                       (i)     default in the due performance or observance of any term, covenant or
        agreement contained in Sections 6.01(a), (j) or (m), 6.08, 6.11, or Article VII; or

                        (ii)   default in the due performance or observance of any term, covenant or
        agreement contained in Sections 6.01(b), (c), (d), (f), (g), (h), (i), (l) or 6.04(a) and such default
        shall continue unremedied for a period of five Business Days; or

                        (iii)    default in the due performance or observance by it of any term, covenant
        or agreement (other than those referred to in subsections (a), (b), (c)(i), and (c)(ii)) contained in
        this Agreement and such default shall continue unremedied for a period of thirty (30) calendar
        days after the earlier of an executive officer of a Loan Party becomes aware (or should have
        become aware) of such default or notice thereof given by the DIP Agent ( (without duplication of
        any other time period contained therein).

                 (d)     Other DIP Loan Documents. (i) Any Loan Party shall default in the due
performance or observance of any term, covenant or agreement in any of the other DIP Loan Documents
and such default shall continue unremedied for a period of thirty (30) calendar days after the earlier of an
executive officer of a Loan Party becoming aware of such default or notice thereof given by the DIP
Agent or (ii) except pursuant to the terms thereof, any DIP Loan Document shall fail to be in full force
and effect or any Loan Party shall so assert.

                 (e)     Cross-Default. Any Group Company (i) fails to make payment when due
(whether by scheduled maturity, required prepayment, acceleration, demand or otherwise but after giving
effect to all applicable grace periods), regardless of amount, of any Debt, Guaranty Obligation or
Synthetic Lease Obligations incurred after the Petition Date (other than in respect of Debt outstanding
under the DIP Loan Documents), (ii) fails to perform or observe any other condition or covenant, or any
other event shall occur or condition shall exist, under any agreement or instrument relating to any such
Debt, Guaranty Obligation or Synthetic Lease Obligations incurred after the Petition Date, if the effect of
such failure, event or condition is to cause, or to permit the holder or holders or beneficiary or
beneficiaries of such Debt, Guaranty Obligation or Synthetic Lease Obligations (or a trustee or agent on
behalf of such holder or holders or beneficiary or beneficiaries) to cause, such Debt or Synthetic Lease
Obligations to be declared to be due and payable prior to its stated maturity or such Guaranty Obligation
to become payable, or cash collateral in respect thereof to be demanded or (iii) shall be required by the
terms of such Debt, Guaranty Obligation or Synthetic Lease Obligation to offer to prepay or repurchase
such Debt or Synthetic Lease Obligation or the primary Debt underlying such Guaranty Obligation (or
any portion thereof) prior to the stated maturity thereof.

                (f)     [Reserved]

                (g)      Judgments. One or more judgments, orders, decrees or arbitration awards are
entered with respect to any post-petition liabilities against any Group Company or any of their respective
properties involving in the aggregate a liability (to the extent not covered by independent third party
insurance or on indemnity from a creditworthy third party as to which the insurer of indemnitor, as
applicable, does not dispute coverage), as to any single or related series of transactions, incidents or




                                                     94
Case 12-36495-KRH           Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                      Desc Main
                                 Document    Page 160 of 304


conditions, of $200,000 or more, and the same shall not have been discharged, vacated or stayed pending
appeal within thirty (30) calendar days after the entry thereof.

                  (h)     Employee Benefit Plans. An ERISA Event occurs which has resulted or could
reasonably be expected to result in liability of any Group Company (x) in aggregate amount in excess of
$10,000,000 or (y) in an aggregate amount in excess of $5,000,000 by virtue of an ERISA Affiliate
having a liability, and, in each case, such liability shall not have been discharged in the Chapter 11 Cases
within thirty (30) calendar days after the incurrence thereof, (ii) any ERISA Plan or Foreign Pension Plan
(other than the UK Pension Plan) has any amount of Unfunded Liabilities which has resulted, could result
or could reasonably be expected to result in liability of any Group Company (x) in an aggregate amount in
excess of excess of $10,000,000 or (y) in an aggregate amount in excess of $10,000,000 by virtue of an
ERISA Affiliate having a liability, (iii) the UK Pension Plan has any amount of Unfunded Liabilities
which results or could reasonably be expected to result in liability of any Group Company, (iv) any
Foreign Pension Plan is not in compliance with all applicable pension benefits and tax laws, (v) any
contribution required to be made in accordance with any applicable law or the terms of any Foreign
Pension Plan has not been made; (vi) except as disclosed on Schedule 5.11, any event has occurred or
condition exists with respect to any Foreign Pension Plan that has resulted or is reasonably likely to result
in any Foreign Pension Plan being ordered or required to be wound up in whole or in part pursuant to any
applicable laws or having any applicable registration revoked or refused for the purposes of any
applicable pension benefits or tax laws or being placed under the administration of the relevant pension
benefits regulatory authority or being required to pay any taxes or penalties under applicable pension
benefits and tax laws; (vii) an order has been made or notice has been given pursuant to any applicable
pension benefits and tax laws in respect of any Foreign Pension Plan requiring any person to take or
refrain from taking any action in respect thereof or that there has been a contravention of any such
applicable laws; (viii) an event has occurred or a condition exists that has resulted or could result in
Holdings or any Subsidiary of Holdings being required to pay, repay or refund any amount (other than
contributions required to be made or expenses required to be paid in the ordinary course) to or on account
of any Foreign Pension Plan or a current or former member thereof; (viii) an event has occurred or a
condition exists that has resulted or is reasonably likely to result in a payment being made out of a
guarantee fund established under the applicable pension benefits laws in respect of a Foreign Pension
Plan or (x) an event has occurred or a condition exists that has resulted or is reasonably likely to result in
a payment under any guarantee by any Group Company to a Foreign Pension Plan; and which, with
respect to all the events and obligations described in the preceding clauses (iii) through (x) of this Section
8.01(h), in the opinion of the Required DIP Lenders could reasonably be expected to have a Material
Adverse Effect.

                (i)      Guaranties. Any guaranty of the DIP Obligations given by any Loan Party or
any provision thereof shall, except pursuant to the terms thereof, cease to be in full force and effect, or
any guarantor thereunder or any Person acting by or on behalf of such guarantor shall deny or disaffirm
such guarantor’s obligations thereunder.

                 (j)       Impairment of Collateral. Any Lien or security interest purported to be created
by any DIP Loan Document shall cease to be, or shall be asserted by any Group Company not to be, a
valid, perfected, first-priority (except as otherwise expressly provided in such DIP Loan Document or any
Order) security interest in the securities, assets or properties covered thereby, other than in respect of
assets and properties which, individually or in the aggregate are not material to the Group Companies
taken as a whole;

                (k)      Ownership. A Change of Control shall occur.




                                                     95
Case 12-36495-KRH          Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                       Desc Main
                                Document    Page 161 of 304


                (l)      Material Adverse Effect. A Material Adverse Effect shall occur (other than
pursuant to clause (iv) of the definition of “Material Adverse Effect”).

                (m)     Chapter 11 Cases Motions. Any of the following shall occur in any Chapter 11
Case:

                       (i)     filing of a Plan by the Loan Parties that does not propose to indefeasibly
        repay the DIP Obligations in full in cash, unless otherwise consented to by the DIP Agent and the
        Required DIP Lenders;

                        (ii)     any of the Loan Parties shall file a pleading seeking to vacate or modify
        any of the Orders over the objection of the Required DIP Lenders;

                       (iii)  entry of an order without the prior consent of the Required DIP Lenders
        amending, supplementing or otherwise modifying any Order;

                        (iv)     reversal, vacation or stay of the effectiveness of any Order;

                        (v)     any violation of the terms of any Order;

                        (vi)    dismissal of the Chapter 11 Cases or conversion of the Chapter 11 Cases
        to a case under Chapter 7 of the Bankruptcy Code;

                        (vii)   appointment of a Chapter 11 trustee;

                        (viii) any sale of all or substantially all assets of the Loan Parties pursuant to
        Section 363 of the Bankruptcy Code, unless (i) the proceeds of such sale indefeasibly satisfy the
        DIP Obligations in full in cash or (ii) such sale is supported by the DIP Agent at the direction of
        the Required DIP Lenders;

                         (ix)     appointment of a responsible officer or examiner with enlarged powers
        relating to the operation of the business of the Borrower or any Guarantor;

                       (x)     granting of relief from the automatic stay in the Chapter 11 Cases to
        permit foreclosure or enforcement on, or any right or remedy with respect to, assets of the
        Borrower or any other Loan Party;

                       (xi)     the Loan Parties’ filing of (or supporting another party in the filing of) a
        motion seeking entry of, or the entry of an order, granting any superpriority claim or Lien (except
        as contemplated herein) which is senior to or pari passu with the DIP Lenders’ claims under the
        DIP Facility;

                         (xii)   payment of or granting adequate protection with respect to prepetition
        debt, other than as expressly provided herein;

                        (xiii) loss or modification of exclusivity by the Loan Parties or the filing of a
        plan of reorganization other than the Plan;

                        (xiv) unless otherwise provided in the Interim Order or the Final Order, any of
        the Loan Parties seek or if there is entered, an order under Section 365 of the Bankruptcy Code




                                                     96
Case 12-36495-KRH          Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                      Desc Main
                                Document    Page 162 of 304


        rejecting a material lease (i) to which any Loan Party is a party, and (ii) that is part of (or whose
        premises contain any of ) the Collateral; and

                        (xv)    cessation of the DIP Liens or the Superpriority DIP Claims to be valid,
        perfected and enforceable in all respects.

                (n)     Financial Matters. Any of the Loan Parties shall (i) use cash collateral or DIP
Loans for any item other than those set forth in, and in accordance with, the Budget and as approved by
the Bankruptcy Court or prepays any pre-petition debt, (ii) assert any right of subrogation or contribution
against any other Loan Party prior to the payment in full of the DIP Obligations and the termination of the
Commitments, or (iii) exceed the Permitted Variances under the Budget (other than as approved in
writing by the DIP Agent at the direction of the Required DIP Lenders).

                (o)      Chapter 11 Cases Milestones. The failure to meet any of the following
milestones, except to the extent (x) waived the DIP Agent at the direction of the Required DIP Lenders:

                        (i)      the Loan Parties’ filing with the Bankruptcy Court, on or before ninety
        (90) calendar days following the Petition Date, of the Plan, in form and substance satisfactory to
        the DIP Agent at the direction of the Required DIP Lenders;

                         (ii)    the Loan Parties’ filing with the Bankruptcy Court, on or before ninety
        (90) calendar days following the Petition Date, of the Disclosure Statement, in form and
        substance satisfactory to the DIP Agent at the direction of the Required DIP Lenders;

                       (iii)    the Bankruptcy Court’s entry of the Disclosure Statement Order, in form
        and substance satisfactory to the DIP Agent at the direction of the Required DIP Lenders, on or
        before one-hundred twenty (120) calendar days following the Petition Date;

                        (iv)    the Bankruptcy Court’s entry of the Plan Confirmation Order, in form
        and substance satisfactory to the DIP Agent at the direction of the Required DIP Lenders, and
        such order shall have become a final non-appealable order, on or before one-hundred sixty (160)
        calendar days following the Petition Date; and

                        (v)      the Effective Date having occurred not later than one-hundred eighty
        (180) calendar days following the Petition Date.

                Section 8.02 Acceleration; Remedies. Upon the occurrence of an Event of Default,
and at any time thereafter unless and until such Event of Default has been waived in writing by the
Required DIP Lenders (or the DIP Lenders as may be required pursuant to Section 10.03), the DIP Agent
(or the Collateral Agent, as applicable) may, and upon the request and direction of the Required DIP
Lenders shall, deliver written notice to the Bankruptcy Court that the automatic stay provisions of Section
362 of the Bankruptcy Code have been vacated and modified to the extent necessary to permit the DIP
Agent and the DIP Lenders to exercise all rights and remedies provided for in the DIP Loan Documents,
and to take any or all of the following actions without further order of or application to the Bankruptcy
Court (as applicable):

             (a)       Termination of Commitments. Declare the Commitments terminated whereupon
the Commitments shall be immediately terminated.

                  (b)     Acceleration of Loans. Declare the unpaid principal of and any accrued interest
in respect of all Loans, any reimbursement obligations arising from drawings under Letters of Credit and




                                                     97
Case 12-36495-KRH          Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                     Desc Main
                                Document    Page 163 of 304


any and all other indebtedness or obligations of any and every kind owing by a Loan Party to any of the
DIP Lenders hereunder to be due whereupon the same shall be immediately due and payable without
presentment, demand, protest or other notice of any kind, all of which are hereby waived by the Loan
Parties.

                (c)     Cash Collateral. Immediately terminate the use by any Loan Party of any cash
or Cash Equivalents comprising part of the Collateral (including, without limitation, all cash and Cash
Equivalents deposited in the DIP Priority Account or other bank account subject to an Account Control
Agreement), and sweep any cash or Cash Equivalents subject to a Account Control Agreement to an
account of the DIP Agent for the benefit of the DIP Lenders.

                 (d)     Accounts. Freeze monies or balances in the Loan Parties’ Accounts and sweep
all funds in the DIP Priority Account.

                  (e)     Set-Off. Immediately set-off any and all amounts in accounts maintained by the
Loan Parties with the DIP Agent or the DIP Lenders (other than payroll, employee benefit and trust
accounts and League Funds) against the DIP Obligations, or otherwise enforce any and all rights against
the Collateral in the possession of any of the applicable DIP Lenders, including, without limitation,
disposition of the Collateral solely for application towards the DIP Obligations; provided, however, that
prior to the exercise of any right set forth in this clause (e), the DIP Agent shall be required to provide
five (5) Business Days written notice to the Loan Parties and the Committee of the DIP Agent’s intent to
exercise its rights and remedies.

                  (f)    Enforcement of Rights. Take any other actions or exercise any other rights or
remedies permitted under the Orders, the DIP Loan Documents or applicable law to effectuate the
repayment of the DIP Obligations; provided, however, that prior to the exercise of any right set forth in
this clause (f), the DIP Agent shall be required to provide five (5) Business Days written notice to the
Loan Parties, Stroock, as outside counsel to the First Lien Ad-Hoc Group, O’Melveny, as outside counsel
to the Second Lien Ad-Hoc Group and the Committee of the DIP Agent’s intent to exercise its rights and
remedies.

                 Neither the Loan Parties, the Committee, the First Lien Agent, the First Lien Ad-Hoc
Group, the Second Lien Agent, the Second Lien Ad-Hoc Group nor any other party-in-interest shall have
the right to contest the enforcement of remedies set forth in the Orders and the DIP Loan Documents on
any basis other than an assertion that an Event of Default has not occurred or has been cured within the
cure periods expressly set forth in the applicable DIP Loan Documents. The Loan Parties shall cooperate
fully with the DIP Agent and the DIP Lenders in their exercise of rights and remedies, whether against the
Collateral or otherwise. The Loan Parties hereby waive any right to seek relief under the Bankruptcy
Code, including under Section 105 thereof, to the extent such relief would restrict or impair the rights and
remedies of the DIP Agent and the DIP Lenders set forth in the Orders and in the DIP Loan Documents.

                 In case any one or more of the covenants and/or agreements set forth in this Agreement
or any other DIP Loan Document shall have been breached by any Loan Party, then the DIP Agent may
proceed to protect and enforce the DIP Lenders’ rights either by suit in equity and/or by action at law,
including an action for damages as a result of any such breach and/or an action for specific performance
of any such covenant or agreement contained in this Agreement or such other DIP Loan Document.
Without limitation of the foregoing, the Borrower agrees that failure to comply with any of the covenants
contained herein will cause irreparable harm and that specific performance shall be available in the event
of any breach thereof. The DIP Agent acting pursuant to this paragraph shall be indemnified by the
Borrower against all liability, loss or damage, together with all reasonable costs and expenses related
thereto (including reasonable legal and accounting fees and expenses) in accordance with Section 10.05.




                                                    98
Case 12-36495-KRH          Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                     Desc Main
                                Document    Page 164 of 304


                Section 8.03     Allocation of Payments After Event of Default.

                 (a)      Priority of Distributions. The Borrower hereby irrevocably waives the right to
direct the application of any and all payments in respect of the DIP Obligations and any proceeds of
Collateral after the occurrence and during the continuance of an Event of Default and agrees that,
notwithstanding the provisions of Sections 2.09(b) and 2.14, after the occurrence and during the
continuance of an Event of Default, all amounts collected or received by the DIP Agent, the Collateral
Agent or any Secured Party on account of amounts then due and outstanding under any of the DIP Loan
Documents or in respect of the Collateral shall be paid over or delivered in respect of its DIP Obligations
as follows (but subject to the Carve-Out):

                        FIRST, to payment of that portion of the DIP Obligations constituting fees,
        indemnities, expenses and other amounts (including fees, charges and disbursements of counsel to
        the DIP Agent and amounts payable under Article III) payable to the DIP Agent in its capacity as
        such;

                         SECOND, to payment of that portion of the DIP Obligations constituting fees,
        indemnities and other amounts (other than principal and interest) payable to the DIP Lenders
        including fees, charges and disbursements of counsel to the respective DIP Lenders, including
        fees and time charges for attorneys who may be employees of any such DIP Lender and amounts
        payable under Article III, ratably among them in proportion to the respective amounts described
        in this clause Second payable to them;

                         THIRD, to payment of that portion of the DIP Obligations constituting unpaid
        principal of and (if not paid pursuant to clauses First and Second above) interest of the Term
        Loans and amounts owing under Secured Cash Management Agreements, ratably among the DIP
        Lenders and the Cash Management Banks in proportion to the respective amounts described in
        this clause Third held by them;

                         FOURTH, the balance, if any, after all of the DIP Obligations have been paid in
        full, to the Borrower (on behalf of itself and the other Loan Parties) or as otherwise required by
        Law.

                 In carrying out the foregoing, (i) amounts received shall be applied in the numerical order
provided until exhausted prior to application to the next succeeding category; and (ii) each of the Secured
Parties shall receive an amount equal to its Pro-Rata Share of amounts available to be applied pursuant to
clauses “SECOND” and “THIRD” above.

                  (b)     Pro-Rata Treatment. For purposes of this Section, “Pro-Rata Share” means,
when calculating a Secured Party’s portion of any distribution or amount, that amount (expressed as a
percentage) equal to a fraction the numerator of which is the then unpaid amount of such Secured Party’s
DIP Obligations and the denominator of which is the then outstanding amount of all DIP Obligations.
When payments to the Secured Parties are based upon their respective Pro-Rata Shares, the amounts
received by such Secured Parties hereunder shall be applied (for purposes of making determinations under
this Section 8.03 only) (i) first, to their DIP Obligations (other than Cash Management Obligations) and
(ii) second, to their Cash Management Obligations. If any payment to any Secured Party of its Pro-Rata
Share of any distribution would result in overpayment to such Secured Party, such excess amount shall
instead be distributed in respect of the unpaid DIP Obligations (other than Cash Management
Obligations) or Cash Management Obligations, as the case may be, of the other Secured Parties, with
each Secured Party whose DIP Obligations (other than Cash Management Obligations) or Cash
Management Obligations, as the case may be, have not been paid in full in full to receive an amount equal




                                                    99
Case 12-36495-KRH           Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                       Desc Main
                                 Document    Page 165 of 304


to such excess amount multiplied by a fraction the numerator of which is the unpaid DIP Obligations
(other than Cash Management Obligations) or Cash Management Obligations, as the case may be, of such
Secured Party and the denominator of which is the unpaid DIP Obligations (other than Cash Management
Obligations) or Cash Management Obligations, as the case may be, of all Secured Parties entitled to such
distribution.

                (c)       Distributions with Respect to Letters of Credit. Each of the Secured Parties
agrees and acknowledges that if (after all outstanding Loans and LC Reimbursements with respect to
Letters of Credit have been paid in full) the DIP Lenders are to receive a distribution on account of
undrawn amounts with respect to Letters of Credit issued (or deemed issued) under this Agreement, such
amounts shall be deposited in an account designated by the Collateral Agent and held as cash security for
the repayment of DIP Obligations owing to the DIP Lenders as such. Upon termination of all outstanding
Letters of Credit, all of such cash security shall be applied to the remaining DIP Obligations of the DIP
Lenders. If there remains any excess cash security, such excess cash shall be distributed in accordance
with Section 8.03(a) hereof.

               (d)      Reliance by Collateral Agent. For purposes of applying payments received in
accordance with this Section 8.03, the Collateral Agent shall be entitled to rely upon the DIP Agent under
the Credit Agreement for a determination (which the DIP Agent agrees (or shall agree) to provide upon
request of the Collateral Agent) of the outstanding DIP Obligations owed to the Agents or the DIP
Lenders. Unless it has actual knowledge (including by way of written notice from a Cash Management
Bank) to the contrary, the Collateral Agent, in acting hereunder, shall be entitled to assume that no
Secured Cash Management Agreements are in existence.

                Section 8.04     Certain Bankruptcy Matters.

                 (a)     Except to the extent provided otherwise in an Order, the Loan Parties hereby
agree that, subject only to the Carve-Out, the DIP Obligations shall (i) constitute Superpriority DIP
Claims over all administrative expense claims and unsecured claims against the Loan Parties now existing
or hereafter arising, of any kind or nature whatsoever, including, without limitation, all administrative
expense claims of the kind specified in Sections 105, 326, 328, 330, 331, 503(b), 506(c), 507(a), 507(b),
546(c), 726, 1114 or any other provisions of the Bankruptcy Code and all super-priority administrative
expense claims granted to any other Person the establishment of which super-priority shall have been
approved and authorized by the Bankruptcy Court and (ii) be secured pursuant to Sections 364(c)(2),
(c)(3) and (d)(1) of the Bankruptcy Code and, to the extent provided in any of the Orders, shall not be
subject to any claims against the Collateral pursuant to Section 506(c) of the Bankruptcy Code.

                 (b)      In the event of a conflict between, or inconsistency among, the Interim Order or
the Final Order, on the one hand, and any other DIP Loan Document, on the other hand, the Interim Order
or the Final Order, as the case may be, shall control.

                (c)      Notwithstanding anything to the contrary contained herein or elsewhere:

                         (i)     The DIP Agent and the DIP Lenders shall not be required to prepare, file,
        register or publish any financing statements, mortgages, hypothecs, account control agreements,
        notices of Lien or similar instruments in any jurisdiction or filing or registration office, or to take
        possession of any Collateral or to take any other action in order to validate, render enforceable or
        perfect the Liens on the Collateral granted by or pursuant to this Agreement, the Orders or any
        other DIP Loan Document. If the DIP Agent or the Required DIP Lenders shall, in its or their sole
        discretion, from time to time elect to prepare, file, register or publish any such financing
        statements, mortgages, hypothecs, account control agreements, notices of Lien or similar




                                                     100
Case 12-36495-KRH           Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                       Desc Main
                                 Document    Page 166 of 304


        instruments, take possession of any Collateral, or take any other action to validate, render
        enforceable or perfect all or any portion of the Collateral Agent’s Liens on the Collateral, (A) all
        such documents and actions shall be deemed to have been filed, registered, published or recorded
        or taken at the time and on the date that the Interim Order is entered, and (B) shall not negate or
        impair the validity or effectiveness of this Section 8.04(c) or of the perfection of any other Liens
        in favor of the DIP Agent, for the benefit of the DIP Lenders, on the Collateral.

                         (ii)     Except as otherwise agreed to by the DIP Lenders, the Liens, lien
        priorities, Superpriority DIP Claims and other rights and remedies granted to the DIP Agent and
        the DIP Lenders pursuant to this Agreement, the Orders or the other DIP Loan Documents
        (specifically including, but not limited to, the existence, perfection, enforceability and priority of
        the Liens provided for herein and therein, and the Superpriority DIP Claims provided herein and
        therein) shall not be modified, altered or impaired in any manner by any other financing or
        extension of credit or incurrence of debt by the Borrower (pursuant to Section 364 of the
        Bankruptcy Code or otherwise), or by dismissal or conversion of any of the Chapter 11 Cases, or
        by any other act or omission whatsoever.

                (d)      Without limiting the generality of the foregoing, notwithstanding any such
financing, extension, incurrence, dismissal, conversion, act or omission:

                          (i)    except for the Carve-Out and to the extent provided in any of the Orders
        and subject to the Orders, no costs or expenses of administration which have been or may be
        incurred in the Chapter 11 Cases or any conversion of the same or in any other proceedings
        related thereto, and no priority claims, are or will be prior to or on a parity with any claim of any
        Secured Party or the DIP Agent against the Loan Parties in respect of any DIP Obligations;

                         (ii)    other than as provided in the Orders or the DIP Loan Documents, the
        Collateral Agent’s Liens on the Collateral shall constitute valid, enforceable and perfected first
        priority Liens, and shall be prior to all other Liens, now existing or hereafter arising, in favor of
        any other creditor or other Person; and

                          (iii)    the Collateral Agent’s Liens on the Collateral shall continue to be valid,
        enforceable and perfected without the need for the Collateral Agent or any Secured Party to
        prepare, file, register or publish any financing statements, mortgages, hypothecs, account control
        agreements, notices of Lien or similar instruments or to otherwise perfect the Collateral Agent’s
        Liens under applicable non-bankruptcy law.

                (e)       In connection with any sale of all or any portion of the Collateral or the First Lien
Prepetition Collateral, including in each case pursuant to Sections 9-610 or 9-620 of the UCC, at any sale
thereof conducted under the provisions of the Bankruptcy Code, including Section 363 of the Bankruptcy
Code or as part of restructuring plan subject to confirmation under Section 1129(b)(2)(A)(iii) of the
Bankruptcy Code, or at any sale or foreclosure conducted by the Collateral Agent, in accordance with
applicable law, each Loan Party hereby gives the Collateral Agent (at the direction of the Required DIP
Lenders), the First Lien Agent (at the direction of the Required Lenders (as defined in the First Lien
Credit Agreement)), and, to the extent permitted by Section 363(k) of the Bankruptcy Code, the Second
Lien Agent (at the direction of the Required Lenders (as defined in the Second Lien Loan Agreement), the
power and right, without assent by such Loan Party, to “credit bid” the full amount of all DIP Obligations
and First Lien Obligations, as applicable, in order to purchase (either directly or through one or more
acquisition vehicles) all or any portion of the Collateral or First Lien Prepetition Collateral.




                                                     101
Case 12-36495-KRH           Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                       Desc Main
                                 Document    Page 167 of 304


                                            ARTICLE IX
                                         AGENCY PROVISIONS

                 Section 9.01     Appointment; Authorization.

                 (a)     Appointment. Each DIP Lender hereby designates and appoints Credit Suisse
AG, Cayman Islands Branch as DIP Agent and Collateral Agent for such DIP Lender to act as specified
herein and in the other DIP Loan Documents, and each such DIP Lender hereby authorizes the Agents, as
the agents for such DIP Lender, to take such action on its behalf under the provisions of this Agreement
and the other DIP Loan Documents and to exercise such powers and perform such duties as are expressly
delegated by the terms hereof and of the other DIP Loan Documents, together with such other powers as
are reasonably incidental thereto. Notwithstanding any provision to the contrary elsewhere herein and in
the other DIP Loan Documents, the Agents shall not have any duties or responsibilities, except those
expressly set forth herein and therein, or any fiduciary relationship with any DIP Lender, and no implied
covenants, functions, responsibilities, duties, obligations or liabilities shall be read into this Agreement or
any of the other DIP Loan Documents, or shall otherwise exist against the Agents. In performing its
functions and duties under this Agreement and the other DIP Loan Documents, each Agent shall act
solely as an agent of the DIP Lenders and does not assume and shall not be deemed to have assumed any
obligation or relationship of agency or trust with or for any Loan Party. Without limiting the generality of
the foregoing two sentences, the use of the term “agent” herein and in the other DIP Loan Documents
with reference to any Agent is not intended to connote any fiduciary or other implied (or express)
obligations arising under agency doctrine of any applicable law. Instead, such term is used merely as a
matter of market custom, and is intended to create or reflect only an administrative relationship between
independent contracting parties. The provisions of this Article IX (other than Section 9.10) are solely for
the benefit of the Agents and the DIP Lenders, and none of the Loan Parties shall have any rights as a
third party beneficiary of the provisions hereof (other than Section 9.10).

                (b)      Release of Collateral. The DIP Lenders irrevocably authorize the Collateral
Agent, at the Collateral Agent’s option and in its discretion, to release any security interest in or Lien on
any Collateral granted to or held by the Collateral Agent (i) upon termination of this Agreement and the
other DIP Loan Documents, termination of the Commitments and all Letters of Credit and payment in full
of all DIP Obligations, including all fees and indemnified costs and expenses that are payable pursuant to
the terms of the DIP Loan Documents, (ii) if such Collateral constitutes property sold or to be sold or
disposed of as part of or in connection with any disposition permitted pursuant to the terms of this
Agreement or (iii) if approved by the Required DIP Lenders, pursuant to the terms of Section 10.03.

               (c)      Release of Guarantors. The DIP Lenders irrevocably authorize the DIP Agent, at
the DIP Agent’s option and in its discretion, to release any Guarantor from its obligations hereunder if (i)
such Guarantor is no longer required to be a Guarantor pursuant to the terms of this Agreement or (ii) if
approved by the Required DIP Lenders pursuant to the terms of Section 10.03. Upon the request of the
DIP Agent, the DIP Lenders will confirm in writing the DIP Agent’s authority to release a particular
Guarantor pursuant to this Section 9.01(c).

                (d)     HLT Classification. Each DIP Lender recognizes that applicable Laws may
require the DIP Agent to determine whether the transactions contemplated hereby should be classified as
“highly leveraged” or assigned any similar or successor classification, and that such determination may be
binding upon the other DIP Lenders. Each DIP Lender understands that any such determination shall be
made solely by the DIP Agent based upon such factors (which may include the DIP Agent’s internal
policies and prevailing market practices) as the DIP Agent shall deem relevant and agrees that the DIP
Agent shall have no liability for the consequences of any such determination.




                                                     102
Case 12-36495-KRH           Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                         Desc Main
                                 Document    Page 168 of 304


                 Section 9.02 Delegation of Duties. The DIP Agent may execute any of its duties
hereunder or under the other DIP Loan Documents by or through agents, employees or attorneys-in-fact
and shall be entitled to advice of counsel and other consultants or experts concerning all matters
pertaining to such duties. The DIP Agent shall not be responsible for the negligence or misconduct of any
agents or attorneys-in-fact selected by it in the absence of bad faith, gross negligence or willful
misconduct.

                 Section 9.03 Exculpatory Provisions. No Agent or any of its or their directors,
officers, employees or agents shall be (i) liable for any action lawfully taken or omitted to be taken by any
of them under or in connection herewith or in connection with any of the other DIP Loan Documents or
the transactions contemplated hereby or thereby (except for its own bad faith, gross negligence or willful
misconduct in connection with its duties expressly set forth herein) or (ii) responsible in any manner to
any of the DIP Lenders or participants for any recitals, statements, representations or warranties made by
any of the Loan Parties contained herein or in any of the other DIP Loan Documents or in any certificate,
report, document, financial statement or other written or oral statement referred to or provided for in, or
received by the DIP Agent under or in connection herewith or in connection with the other DIP Loan
Documents, or enforceability or sufficiency therefor of any of the other DIP Loan Documents, or for any
failure of any Loan Party to perform its obligations hereunder or thereunder or be required to ascertain or
inquire as to the performance or observance of any of the terms, conditions, provisions, covenants or
agreements contained herein or therein or as to the use of the proceeds of the Loans or the use of the
Letters of Credit or of the existence or possible existence of any Default or Event of Default or to inspect
the properties, books or records of the Loan Parties.

                  Section 9.04 Reliance on Communications. The Agents shall be entitled to rely, and
shall be fully protected in relying, upon any note, writing, resolution, notice, consent, certificate, affidavit,
letter, cablegram, telegram, telecopy, telex, teletype or e-mail message, statement, order or other
document or conversation believed by it to be genuine and correct and to have been signed, sent or made
by the proper Person or Persons and upon advice and statements of legal counsel (including, without
limitation, counsel to any of the Loan Parties, independent accountants and other experts selected by the
Agents). The Agents may deem and treat each DIP Lender as the owner of its interests hereunder for all
purposes unless a written notice of assignment, negotiation or transfer thereof shall have been filed with
the DIP Agent in accordance with Section 10.06(b). The Agents shall be fully justified in failing or
refusing to take any action under this Agreement or under any of the other DIP Loan Documents unless it
shall first receive such advice or concurrence of the Required DIP Lenders as it deems appropriate or it
shall first be indemnified to its satisfaction by the DIP Lenders against any and all liability and expense
which may be incurred by it by reason of taking or continuing to take any such action. The Agents shall
in all cases be fully protected in acting, or in refraining from acting, hereunder or under any of the other
DIP Loan Documents in accordance with a request of the Required DIP Lenders (or to the extent
specifically provided in Section 10.03, all the DIP Lenders) and such request and any action taken or
failure to act pursuant thereto shall be binding upon all the DIP Lenders (including their successors and
assigns). Where this Agreement expressly permits or prohibits an action unless the Required DIP Lenders
otherwise determine, any Agent shall, and in all other instances the DIP Agent may, but shall not be
required to, initiate any solicitation for the consent or vote of the DIP Lenders.

                Section 9.05 Notice of Default. An Agent shall not be deemed to have knowledge or
notice of the occurrence of any Default or Event of Default hereunder, except with respect to defaults in
the payment of principal, interest and fees required to be paid to such Agent for the accounts of the DIP
Lenders, unless such Agent has received notice from a DIP Lender or a Loan Party referring to the
Agreement, describing such Default or Event of Default and stating that such notice is a “notice of
default”. If an Agent receives such a notice, such Agent shall give prompt notice thereof to each other
Agent and the DIP Lenders. The DIP Agent and the Collateral Agent shall take such actions with respect




                                                      103
Case 12-36495-KRH          Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                     Desc Main
                                Document    Page 169 of 304


to such Default or Event of Default as shall be reasonably directed by the Required DIP Lenders;
provided, however, that unless and until the DIP Agent has received any such direction, the DIP Agent
may (but shall not be obligated to) take such action, or refrain from taking such action, with respect to
such Default or Event of Default or it shall deem advisable or in the best interest of the DIP Lenders.

                  Section 9.06 Credit Decision; Disclosure of Information by DIP Agent. Each DIP
Lender expressly acknowledges that no Agent has made any representations or warranties to it and that no
act by any Agent hereinafter taken, including any consent to and acceptance of any assignment or review
of the affairs of any Loan Party or any Affiliate thereof, shall be deemed to constitute any representation
or warranty by any Agent to any DIP Lender as to any matter, including whether any Agent has disclosed
material information in its possession. Each DIP Lender represents to the Agents that it has,
independently and without reliance upon any Agent or any other DIP Lender, and based on such
documents and information as it has deemed appropriate, made its own appraisal of and investigation into
the business, assets, operations, property, financial and other condition, prospects and creditworthiness of
the Loan Parties, and all requirements of Law pertaining to the Transaction, and made its own decision to
make its Loans hereunder and enter into this Agreement. Each DIP Lender also represents that it will,
independently and without reliance upon any Agent or any other DIP Lender, and based on such
documents and information as it shall deem appropriate at the time, continue to make its own credit
analysis, appraisals and decisions in taking or not taking action under this Agreement and the other DIP
Loan Documents, and to make such investigation as it deems necessary to inform itself as to the business,
assets, operations, property, financial and other conditions, prospects and creditworthiness of the
Borrower and the other Loan Parties. Except for notices, reports and other documents expressly required
to be furnished to the DIP Lenders by the DIP Agent hereunder, the Agents shall not have any duty or
responsibility to provide any DIP Lender with any credit or other information concerning the business,
operations, assets, property, financial or other conditions, prospects or creditworthiness of any Loan Party
or their respective Affiliates which may come into the possession of any Agent.

                  Section 9.07 No Reliance on Arranger’s or Agent’s Customer Identification
Program. Each DIP Lender acknowledges and agrees that neither such DIP Lender nor any of its
Affiliates, participants or assignees may rely on the Lead Arranger or any Agent to carry out such DIP
Lender’s, Affiliate’s, participant’s or assignee’s customer identification program, or other obligations
required or imposed under or pursuant to the U.S. Patriot Act or the regulations thereunder, including the
regulations contained in 31 C.F.R. 103.121 (as hereafter amended or replaced, the “CIP Regulations”), or
any other Anti-Terrorism Law, including any programs involving any of the following items relating to or
in connection with any of the Loan Parties, their Affiliates or agents, the DIP Loan Documents or the
transactions hereunder or contemplated hereby: (i) any identification procedures; (ii) and recordkeeping;
(iii) comparisons with government lists, (iv) customer notices; or (v) other procedures required under the
CIP regulations or such other Laws.

                 Section 9.08 Indemnification. Whether or not the transactions contemplated hereby
are consummated, the DIP Lenders agree to indemnify each Agent (to the extent not reimbursed by the
Borrower or any other Loan Party and without limiting the obligation of the Borrower or any other Loan
Party to do so), ratably according to their respective Commitments (or if the Commitments have expired
or been terminated, in accordance with the respective principal amounts of outstanding Loans of the DIP
Lenders), from and against any and all Indemnified Liabilities which may at any time (including, without
limitation, at any time following payment in full of the DIP Obligations) be imposed on, incurred by or
asserted against an Agent in its capacity as such in any way relating to or arising out of this Agreement or
the other DIP Loan Documents or any documents contemplated by or referred to herein or therein or the
transactions contemplated hereby or thereby or any action taken or omitted by an Agent under or in
connection with any of the foregoing; provided that no DIP Lender shall be liable for the payment to any
Agent of any portion of such Indemnified Liabilities resulting from such Person’s gross negligence or




                                                    104
Case 12-36495-KRH          Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                      Desc Main
                                Document    Page 170 of 304


willful misconduct; provided, however, that no action taken in accordance with the directions of the
Required DIP Lenders shall be deemed to constitute gross negligence or willful misconduct for purposes
of this Section 9.08. If any indemnity furnished to an Agent for any purpose shall, in the opinion of such
Agent, be insufficient or become impaired, such Agent may call for additional indemnity and cease, or
not commence, to do the acts indemnified against until such additional indemnity is furnished. Without
limitation of the foregoing, each DIP Lender shall reimburse the DIP Agent upon demand for its ratable
share of any costs or out-of-pocket expenses (including fees and disbursements of counsel) incurred by
the DIP Agent in connection with the preparation, execution, delivery, administration, modification,
amendment or enforcement (whether through negotiations, legal proceedings or otherwise) of, or legal
advice in respect of rights or responsibilities under, this Agreement, any other DIP Loan Document, or
any document contemplated by or referred to herein, to the extent that the DIP Agent is not reimbursed
for such expenses by or on behalf of the Borrower or any other Loan Party. The agreements in this
Section 9.08 shall survive the payment of the DIP Obligations and all other obligations and amounts
payable hereunder and under the other DIP Loan Documents.

                 Section 9.09 Agents in Their Individual Capacity. Each Agent and its Affiliates
may make loans to, issue letters of credit for the account of, accept deposits from, acquire Equity Interests
in, and generally engage in any kind of banking, trust, financial advisory, underwriting and other business
with the Borrower or any other Loan Party as though such Agent were not an Agent hereunder or under
another DIP Loan Document. The DIP Lenders acknowledge that, pursuant to any such activities, an
Agent or its Affiliates may receive information regarding any Loan Party or its Affiliates (including
information that may be subject to confidentiality obligations in favor of such Loan Party or such
Affiliate) and acknowledge that no Agent shall be under any obligation to provide such information to
them. With respect to the Loans made by, Letters of Credit issued by and all obligations owing to it, an
Agent shall have the same rights and powers under this Agreement as any DIP Lender and may exercise
the same as though it was not an Agent, and the terms “DIP Lender” and “DIP Lenders” shall include
each Agent in its individual capacity.

                 Section 9.10 Successor Agents. Any Agent may, at any time, resign upon thirty (30)
calendar days’ written notice to the DIP Lenders. If an Agent resigns under a DIP Loan Document, the
Required DIP Lenders shall appoint from among the DIP Lenders a successor Agent, which successor
Agent shall be consented to by the Borrower at all times other than during the existence of an Event of
Default (which consent of the Borrower shall not be unreasonably withheld or delayed). If no successor
Agent shall have been so appointed by the Required DIP Lenders and shall have accepted such
appointment prior to the effective date of the resignation of the resigning Agent, then the resigning Agent
shall have the right, after consulting with the DIP Lenders and the Borrower, to appoint a successor
Agent; provided such successor is a DIP Lender hereunder or an Eligible Assignee. If no successor Agent
is appointed prior to the effective date of the resignation of the resigning Agent, the DIP Agent may
appoint, after consulting with the DIP Lenders and the Borrower, a successor Agent from among the DIP
Lenders. Upon the acceptance of any appointment as an Agent hereunder by a successor, such successor
Agent shall thereupon succeed to and become vested with all the rights, powers, privileges and duties of
the retiring Agent, and the retiring Agent shall be discharged from its duties and obligations as an Agent,
as appropriate, under this Agreement and the other DIP Loan Documents and the provisions of this
Section 9.10 shall inure to its benefit as to any actions taken or omitted to be taken by it while it was an
Agent under this Agreement. If no successor DIP Agent has accepted appointment as DIP Agent within
sixty (60) calendar days after the retiring DIP Agent’s giving notice of resignation, the retiring DIP
Agent’s resignation shall nevertheless become effective and the DIP Lenders shall perform all duties of
the DIP Agent hereunder until such time, if any, as the Required DIP Lenders appoint a successor DIP
Agent as provided for above. Likewise, if no successor Collateral Agent has accepted appointment as
Collateral Agent within sixty (60) calendar days after the retiring Collateral Agent’s giving notice of
resignation, the retiring Collateral Agent’s resignation shall nevertheless become effective and the DIP




                                                    105
Case 12-36495-KRH          Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                      Desc Main
                                Document    Page 171 of 304


Lenders shall perform all duties of the Collateral Agent under the DIP Loan Documents until such time, if
any, as the Required DIP Lenders appoint a successor Collateral Agent as provided for above.

                 Section 9.11 Certain Other Agents. None of the DIP Lenders identified on the
facing page or signature pages of this Agreement as a “sole bookrunner”, “lead manager” or “sole
arranger” shall have any right, power, obligation, liability, responsibility or duty under the Agreement
other than those applicable to all DIP Lenders as such. Without limiting the foregoing, none of the DIP
Lenders or any such Person so identified shall have or be deemed to have any fiduciary relationship to
any DIP Lender or Loan Party. Each DIP Lender acknowledges that it has not relied, and will not rely, on
any of the DIP Lenders or other Persons so identified in deciding to enter into this Agreement or in taking
or not taking action hereunder.

                Section 9.12 Agents’ Fees; Arranger Fee. The Borrower shall pay to the DIP Agent
for its own account, to the Collateral Agent for its own account fees in the amounts and at the times
previously agreed upon between the Borrower and the DIP Agent and the Lead Arranger, to the extent
applicable, in each case with respect to this Agreement, the other DIP Loan Documents and the
transactions contemplated hereby and thereby.

                                              ARTICLE X
                                           MISCELLANEOUS

                Section 10.01 Notices and Other Communications.

                  (a)     General. Unless otherwise expressly provided herein, all notices and other
communications provided for hereunder shall be in writing (including by facsimile transmission) and
mailed, faxed or delivered, to the address, facsimile number or (subject to subsection (c) below) electronic
mail address specified for notices: (i) in the case of Holdings, Kingpin, the Borrower or the DIP Agent,
as set forth on the signature pages hereof; (ii) in the case of the Issuing Lender, as set forth on the
signature pages hereto; (iii) in the case of any DIP Lender, as set forth in Schedule 1.01D hereto or in any
applicable Assignment and Acceptance pursuant to which such DIP Lender became a DIP Lender
hereunder; and (iv) in the case of any party, at such other address as shall be designated by such party in a
notice to the Borrower and the DIP Agent. All such notices and other communications shall be deemed to
be given or made upon the earlier to occur of (i) actual receipt by the intended recipient and (ii) (A) if
delivered by hand or by courier, when signed for by the intended recipient; (B) if delivered by mail, four
Business Days after deposit in the mails, postage prepaid; (C) if delivered by facsimile, when sent and
receipt has been confirmed by telephone; and (D) if delivered by electronic mail (which form of delivery
is subject to the provisions of subsection (c) below), when delivered; provided, however, that notices and
other communications to the DIP Agent and any DIP Lender pursuant to Article II shall not be effective
until actually received by such Person. Any notice or other communication permitted to be given, made
or confirmed by telephone hereunder shall be given, made or confirmed by means of a telephone call to
the intended recipient at the number specified pursuant to this Section 10.01, it being understood and
agreed that a voicemail message shall in no event be effective as a notice, communication or confirmation
hereunder.

                (b)     Effectiveness of Facsimile Documents and Signatures. DIP Loan Documents
may be transmitted and/or signed by facsimile or signed and delivered by electronic mail in an Adobe
PDF document. The effectiveness of any such documents and signatures shall, subject to requirements of
Law, have the same force and effect as manually-signed originals and shall be binding on all Loan
Parties, the Agents and the DIP Lenders. The DIP Agent may also require that any such documents and
signatures be confirmed by a manually-signed original thereof; provided, however, that the failure to




                                                    106
Case 12-36495-KRH          Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                      Desc Main
                                Document    Page 172 of 304


request or deliver the same shall not limit the effectiveness of any facsimile document, Adobe PDF
document or signature.

                 (c)    Limited Use of Electronic Mail. Except as expressly provided herein or as may
be agreed by the DIP Agent in its sole discretion, electronic mail and internet and intranet websites may
be used only to distribute routine communications, such as financial statements and other information,
and to distribute DIP Loan Documents for execution by the parties thereto, to distribute executed DIP
Loan Documents in Adobe PDF format and may not be used for any other purpose.

                  (d)     Reliance by Agents and Lenders. The Agents and the DIP Lenders shall be
entitled to rely and act upon any notices purportedly given by or on behalf of the Borrower or any other
Loan Party even if (i) such notices were not made in a manner specified herein, were incomplete or were
not preceded or followed by any other form of notice specified herein or (ii) the terms thereof, as
understood by the recipient, varied from any confirmation thereof. The Borrower shall indemnify each
Agent and each DIP Lender from all losses, costs, expenses and liabilities resulting from the reliance by
such Person on each notice purportedly given by or on behalf of the Borrower. All telephonic notices to
and other communications with the DIP Agent may be recorded by the DIP Agent, and each of the parties
hereto hereby consents to such recording.

                 Section 10.02 No Waiver; Cumulative Remedies. No failure or delay on the part of
an Agent or any DIP Lender in exercising any right, power or privilege hereunder or under any other DIP
Loan Document and no course of dealing between the Agents or any DIP Lender and any of the Loan
Parties shall operate as a waiver thereof; nor shall any single or partial exercise of any right, power or
privilege hereunder or under any other DIP Loan Document preclude any other or further exercise thereof
or the exercise of any other right, power or privilege hereunder or thereunder. The rights and remedies
provided herein are cumulative and not exclusive of any rights or remedies which the Agents or any DIP
Lender would otherwise have. No notice to or demand on any Loan Party in any case shall entitle the
Loan Parties to any other or further notice or demand in similar or other circumstances or constitute a
waiver of the rights of the Agents or the DIP Lenders to any other or further action in any circumstances
without notice or demand.

                 Section 10.03 Amendments, Waivers and Consents. Neither this Agreement nor any
other DIP Loan Document nor any of the terms hereof or thereof may be amended, changed, waived,
discharged or terminated except, in the case of this Agreement, pursuant to an agreement or agreements in
writing entered into by Holdings, Kingpin, the Borrower and the Required DIP Lenders or, in the case of
any other DIP Loan Document, pursuant to an agreement or agreements in writing entered into by
Holdings, Kingpin the Borrower and/or any other Loan Parties party thereto and the DIP Agent (at the
direction of the Required DIP Lenders) and/or the Collateral Agent (at the direction of the Required DIP
Lenders), as applicable, party thereto; provided that (i) the foregoing shall not restrict the ability of the
Required DIP Lenders to waive any Event of Default prior to the time the DIP Agent shall have declared,
or the Required DIP Lenders shall have requested the DIP Agent to declare, the Loans immediately due
and payable pursuant to Article VIII and (ii) the DIP Agent and the Borrower may, with the consent of the
other, amend, modify or supplement this Agreement and any other DIP Loan Document to cure any
ambiguity, typographical error, defect or inconsistency if such amendment, modification or supplement
does not adversely affect the rights of any Agent or any DIP Lender; provided, however, that:

                        (i)     no such amendment, change, waiver, discharge or termination shall,
        without the consent of each DIP Lender directly affected thereby:

                              (A)    extend the final maturity of any Loan or the time of payment of
                any reimbursement obligation, or any portion thereof, arising from drawings under




                                                    107
Case 12-36495-KRH          Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                        Desc Main
                                Document    Page 173 of 304


                Letters of Credit; provided that this clause (A) shall not restrict the ability of the Required
                DIP Lenders to waive any Event of Default (other than an Event of Default the waiver of
                which would effectively result in any such extension), prior to the time the DIP Agent
                shall have declared, or the Required DIP Lenders shall have requested the DIP Agent to
                declare, the Loans immediately due and payable pursuant to Article VIII;

                                  (B)     reduce the rate, or extend the time of payment, of interest on any
                Loan (other than as a result of waiving the applicability of any post-default increase in
                interest rates) thereon or fees hereunder;

                                 (C)     reduce or waive the principal amount of any Loan or any LC
                Disbursement;

                                 (D)      increase the Commitment of a DIP Lender over the amount
                thereof in effect (it being understood and agreed that a waiver of any Default or Event of
                Default or a mandatory reduction in the Commitments shall not constitute a change in the
                terms of any Commitment of any DIP Lender);

                               (E)      release all or substantially all of the Collateral securing the DIP
                Obligations except as provided in Section 11.08(a) (provided that the Collateral Agent
                may, without consent from any other DIP Lender, release any Collateral that is released
                in compliance with Section 9.01(b));

                                (F)     release the Borrower or any material Guarantor from its
                obligations under the DIP Loan Documents (provided that the DIP Agent may, without
                the consent of any other DIP Lender, release any Guarantor that is sold or transferred in
                compliance with Section 7.05);

                               (G)     amend, modify or waive any provision of this Section 10.03,
                reduce any percentage specified in, or otherwise modify, the definition of Required DIP
                Lenders;

                                 (H)      consent to the assignment or transfer by the Borrower or all or
                substantially all of the other Loan Parties of any of its or their rights and obligations
                under (or in respect of) the DIP Loan Documents, except as permitted thereby; or

                                 (I)      amend, modify or waive any provision of Section 7.16 or any
                definitional provisions thereof; and

                         (ii)    no provision of Article IX may be amended without the consent of the
        DIP Agent and the Collateral Agent and no provision of Section 2.05 may be amended without
        the consent of the Issuing Lender.

               Notwithstanding the fact that the consent of all the DIP Lenders is required in certain
circumstances as set forth above, (i) subject to Section 2.10(b), each DIP Lender is entitled to vote as such
DIP Lender sees fit on any bankruptcy reorganization plan that affects the Loans or the Letters of Credit,
and each DIP Lender acknowledges that the provisions of Section 1126(c) of the Bankruptcy Code
supersede the unanimous consent provisions set forth herein and (ii) the Required DIP Lenders may
consent to allow a Loan Party to use cash collateral in the context of a bankruptcy or insolvency
proceeding.




                                                     108
Case 12-36495-KRH          Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                      Desc Main
                                Document    Page 174 of 304


                The various requirements of this Section 10.03 are cumulative. Each DIP Lender and
each holder of a Note shall be bound by any waiver, amendment or modification authorized by this
Section 10.03 regardless of whether its Note shall have been marked to make reference therein, and any
consent by any DIP Lender or holder of a Note pursuant to this Section 10.03 shall bind any Person
subsequently acquiring a Note from it, whether or not such Note shall have been so marked.

                 Section 10.04 Expenses. Holdings, Kingpin, the Borrower and each other Loan Party,
jointly and severally pay promptly, and in each case no later than five (5) Business Days after receipt of a
summary invoice from an Agent or the Initial Lenders (whether or not the transactions contemplated
hereby are consummated), all (i) reasonable and documented out-of-pocket fees, costs, disbursements and
expenses of the Agents (including fees, costs, disbursements and expenses of the Agents’ outside counsel,
K&S, and its local counsel) and the Initial Lenders (including fees, costs, disbursements and expenses of
(a) their outside counsel, Stroock, and their local counsel, (b) Miller Buckfire, as financial advisor to the
Initial Lenders (pursuant to the Miller Buckfire Engagement Letter), and (c) any real estate appraiser or
equipment appraiser, and (d) in the event that Miller Buckfire is in material breach of the information
sharing provisions set forth in that certain Common Interest Agreement, dated November 9, 2012, by and
among the First Lien Agent, the First Lien Ad-Hoc Group and Miller Buckfire, one financial advisor
engaged by either the DIP Agent or its counsel), in connection with the negotiations, preparation,
execution and delivery of the DIP Loan Documents and the funding of all DIP Loans under the DIP
Facility, including, without limitation, all due diligence, syndication (including printing, distribution and
bank meeting), transportation, computer, duplication, messenger, audit, insurance, appraisal, valuation
and consultant costs and expenses, and all search, filing and recording fees, incurred or sustained by the
DIP Agent, the Initial Lenders and their respective counsel and professional advisors in connection with
the DIP Facility, the DIP Loan Documents or the transaction contemplated thereby, the administration of
the DIP Facility and any amendment or waiver of any provision of the DIP Loan Documents, and (ii)
documented costs and expenses of each of the DIP Agent, the Initial Lenders and their respective counsel
and professional advisors, in connection with the enforcement of any rights and remedies under the DIP
Loan Documents. To the extent not timely paid by the Loan Parties, each DIP Lender agrees that such
amounts shall be drawn from the DIP Facility by the DIP Agent (without need to meet borrowing
conditions) and shall constitute DIP Obligations and will count against the DIP Commitment. The
agreements in this Section 10.04 shall survive the termination of the DIP Commitment and this
Agreement.

                 Section 10.05 Indemnification. Whether or not the transactions contemplated hereby
are consummated, the Loan Parties, jointly and severally, agree to indemnify, save and hold harmless
each Agent, each DIP Lender and their respective Affiliates, directors, officers, employees, counsel,
agents and attorneys-in-fact and their respective successors and assigns (collectively, the “Indemnitees”)
from and against: (i) any and all claims, demands, actions or causes of action that are asserted against any
Indemnitee by any Person (other than the DIP Agent or any DIP Lender) relating directly or indirectly to
a claim, demand, action or cause of action that such Person asserts or may assert against any Loan Party,
any Affiliate of any Loan Party or any of their respective officers or directors; (ii) any and all claims,
demands, actions or causes of action that may at any time (including at any time following repayment of
the DIP Obligations and the resignation or removal of any Agent or the replacement of any DIP Lender)
be asserted or imposed against any Indemnitee, arising out of or relating to, the DIP Loan Documents, any
predecessor DIP Loan Documents, the Commitments, the use of or contemplated use of the proceeds of
any Credit Extension, the relationship of any Loan Party, any Agent and the DIP Lenders under this
Agreement or any other DIP Loan Document or any actual or alleged presence or release of Hazardous
Materials on or from any property owned or operated by any Group Company, or any Environmental
Liability related in any way to any Group Company; (iii) any administrative or investigative proceeding
by any Governmental Authority arising out of or related to a claim, demand, action or cause of action
described in clause (i) or (ii) above; and (iv) any and all liabilities (including liabilities under




                                                    109
Case 12-36495-KRH              Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                    Desc Main
                                    Document    Page 175 of 304


indemnities), losses, costs or expenses (including fees and disbursements of counsel) that any Indemnitee
suffers or incurs as a result of the assertion of any foregoing claim, demand, action, cause of action or
proceeding, or as a result of the preparation of any defense in connection with any foregoing claim,
demand, action, cause of action or proceeding, in all cases, and whether or not an Indemnitee is a party to
such claim, demand, action, cause of action, or proceeding (all the foregoing, collectively, the
“Indemnified Liabilities”); provided that no Indemnitee shall be entitled to indemnification for any claim
to the extent such claim is determined by a court of competent jurisdiction is a final and nonappealable
judgment to have been caused by its own gross negligence, bad faith or willful misconduct or to have
resulted from material breach by such Indemnitee (or its officers directors, employees, controlling persons
and members) or any dispute between Indemnitees (other than the Lead Arranger, the DIP Agent or any
other Agent in its capacity as such) that does not involve an act or omission by any Loan Party; and
provided further that the Borrower shall not be required to reimburse the legal fees and expenses of more
than one outside counsel (in addition to up to one local counsel in each applicable local jurisdiction) for
all Indemnities unless, in the written opinion of outside counsel reasonably satisfactory to the Borrower
and the DIP Agent, representation of all such Indemnitees would be inappropriate due to the existence of
an actual or potential conflict of interest. In the case of an investigation, litigation or other proceeding to
which the indemnity in this Section 10.05 applies, such indemnity shall be effective whether or not such
investigation, litigation or proceeding is brought by any Loan Party, its directors, shareholders or creditors
or an Indemnitee or any other Person or any Indemnitee is otherwise a party thereto and whether or not
the transactions contemplated hereby are consummated. Each Loan Party agrees not to assert or permit
any of their respective Subsidiaries to assert any claim against any Agent, any DIP Lender, any of their
Affiliates or any of their respective directors, officers, employees, attorneys, agents and advisers, and
each of the Agents, and the DIP Lenders agrees not to assert or permit any of their respective Subsidiaries
to assert any claim against Holdings, Kingpin, the Borrower or any of their respective Subsidiaries or any
of their respective directors, officers, employees, attorneys, agents or advisors, on any theory of liability,
for special, indirect, consequential or punitive damages arising out of or otherwise relating to the DIP
Loan Documents, any of the transactions contemplated herein or therein or the actual or proposed use of
the proceeds of the Loans or the Letters of Credit. Without prejudice to the survival of any other
agreement of the Loan Parties hereunder and under the other DIP Loan Documents, the agreements and
obligations of the Loan Parties contained in this Section 10.05 shall survive the repayment of the Loans,
LC Obligations and other obligations under the DIP Loan Documents and the termination of the
Commitments hereunder.

                 Section 10.06 Successors and Assigns.

                (a)     Generally. This Agreement shall be binding upon and inure to the benefit of and
be enforceable by the respective successors and assigns of the parties hereto; provided that none of the
Loan Parties may assign or transfer any of its interests and obligations without the prior written consent of
either the Required DIP Lenders or the DIP Lenders, as the terms set forth in Section 10.03 may require;

                (b)     Assignments. Any DIP Lender may assign all or a portion of its rights and
obligations under this Agreement (including, without limitation, all or a portion of its Loans, its Notes and
its Commitments); provided, however, that

                         (i)      each such assignment shall be to an Eligible Assignee;

                        (ii)   except in the case of an assignment to another DIP Lender, an Affiliate
        of an existing DIP Lender or any Approved Fund (A) the aggregate amount of Term Loan
        Commitment or Term Loans of an assigning DIP Lender subject to each such assignments
        (determined as of the date the Assignment and Acceptance with respect to such assignment is
        recorded by the DIP Agent) shall not, without the consent of the DIP Agent and, if no Default or




                                                     110
Case 12-36495-KRH           Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                      Desc Main
                                 Document    Page 176 of 304


        Event of Default has occurred and is continuing, the Borrower, be less than $500,000, and an
        integral multiple of $100,000 (or such lesser amount as shall equal the assigning DIP Lender’s
        entire Term Loan Commitment or Term Loans) and (B) after giving effect to such assignment,
        the aggregate amount of the Term Loan Commitment of and Term Loans at the time owing to, the
        assigning DIP Lender shall not be less than $500,000 (unless the assigning DIP Lender shall have
        assigned its entire Term Loan Commitment and Term Loans at the time owing it pursuant to such
        assignment or assignments otherwise complying with this Section 10.06 executed substantially
        simultaneously with such assignment);

                        (iii)   each such assignment by a DIP Lender shall be of a constant, and not
        varying, percentage of all rights and obligations in respect of Commitments under this Agreement
        and the other DIP Loan Documents;

                         (iv)   the parties to such assignment shall either (A) electronically execute and
        deliver to the DIP Agent an Assignment and Acceptance via an electronic settlement system
        acceptable to the DIP Agent (which initially shall be ClearPar, LLC) or (B) execute and deliver to
        the DIP Agent for its acceptance an Assignment and Acceptance, together with any Note subject
        to such assignment and a processing fee of $3,500, payable or agreed between the assigning DIP
        Lender and the assignee (and which shall not be required to be paid by the Borrower).

                 (c)     Assignment and Acceptance. By executing and delivering an Assignment and
Acceptance in accordance with this Section 10.06, the assigning DIP Lender thereunder and the assignee
thereunder shall be deemed to confirm to and agree with each other and the other parties hereto as
follows: (i) such assigning DIP Lender warrants that it is the legal and beneficial owner of the interest
being assigned thereby free and clear of any adverse claim and the assignee warrants that it is an Eligible
Assignee; (ii) except as set forth in clause (i) above, such assigning DIP Lender makes no representation
or warranty and assumes no responsibility with respect to any statements, warranties or representations
made in or in connection with this Agreement, any of the other DIP Loan Documents or any other
instrument or document furnished pursuant hereto or thereto, or the execution, legality, validity,
enforceability, genuineness, sufficiency or value of this Agreement, any of the other DIP Loan
Documents or any other instrument or document furnished pursuant hereto or thereto or the financial
condition of the Loan Parties or the performance or observance by any Loan Party of any of its
obligations under this Agreement, any of the other DIP Loan Documents or any other instrument or
document furnished pursuant hereto or thereto; (iii) such assignee represents and warrants that it is legally
authorized to enter into such assignment agreement; (iv) such assignee confirms that it has received a
copy of this Agreement, the other DIP Loan Documents, together with copies of the most recent financial
statements delivered pursuant to Section 6.01 and such other documents and information as it has deemed
appropriate to make its own credit analysis and decision to enter into such Assignment and Acceptance;
(v) such assignee will independently and without reliance upon the DIP Agent, the Issuing Lender, such
assigning DIP Lender or any other DIP Lender, and based on such documents and information as it shall
deem appropriate at the time, continue to make its own credit decisions in taking or not taking action
under this Agreement and the other DIP Loan Documents; (vi) such assignee appoints and authorizes
each of the DIP Agent and the Collateral Agent to take such action on its behalf and to exercise such
powers under this Agreement or any other DIP Loan Document as are delegated to such Persons by the
terms hereof or thereof, together with such powers as are reasonably incidental thereto; and (vii) such
assignee agrees that it will perform in accordance with their terms all the obligations which by the terms
of this Agreement and the other DIP Loan Documents are required to be performed by it as a DIP Lender.
Upon execution, delivery, and acceptance of such Assignment and Acceptance, the assignee thereunder
shall be a party hereto and, to the extent of such assignment, have the obligations, rights, and benefits of a
DIP Lender hereunder and the assigning DIP Lender shall, to the extent of such assignment, relinquish its
rights and be released from its obligations under this Agreement. Upon the consummation of any




                                                     111
Case 12-36495-KRH           Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                      Desc Main
                                 Document    Page 177 of 304


assignment pursuant to this Section 10.06(c), the assignor, the DIP Agent and the Loan Parties shall make
appropriate arrangements so that, if required, new Notes are issued to the assignor and the assignee.
Before becoming a party to this Agreement, the assignee shall deliver to the Borrower and the DIP Agent
all applicable forms, certification or documentation in accordance with Section 3.01(d). In addition, if
applicable, the assignee shall deliver to the DIP Agent the information referred to in Section 10.20.

                 (d)      Register. The Borrower hereby designates the DIP Agent to serve as its agent,
solely for purposes of this Section 10.06(d), to (i) maintain a register (the “Register”) on which the DIP
Agent will record the Commitments from time to time of each DIP Lender, the Loans made by each DIP
Lender and each repayment in respect of the principal amount of the Loans of each DIP Lender and to (ii)
retain a copy of each Assignment and Acceptance delivered to the DIP Agent pursuant to this Section
10.06. Failure to make any such recordation, or any error in such recordation, shall not affect the
Borrower’s obligation in respect of such Loans. The entries in the Register shall be conclusive, in the
absence of manifest error, and the Borrower, the Agents, the Issuing Lender and the DIP Lenders shall
treat each Person in whose name a Loan and the Note evidencing the same is registered as the owner
thereof for all purposes of this Agreement, notwithstanding notice or any provision herein to the contrary.
With respect to any DIP Lender, the assignment or other transfer of the Commitments of such DIP Lender
and the rights to the principal of, and interest on, any Loan made and any Note issued pursuant to this
Agreement shall not be effective until such assignment or other transfer is recorded on the Register and,
except to the extent provided in this Section 10.06(d), otherwise complies with Section 10.06, and prior to
such recordation all amounts owing to the transferring DIP Lender with respect to such Commitments,
Loans and Notes shall remain owing to the transferring DIP Lender. The registration of assignment or
other transfer of all or part of any Commitments, Loans and Notes for a DIP Lender shall be recorded by
the DIP Agent on the Register only upon the acceptance by the DIP Agent of a properly executed and
delivered Assignment and Acceptance and payment of the administrative fee referred to in Section
10.06(b)(iv). The Register shall be available at the offices where kept by the DIP Agent for inspection by
the Borrower and any DIP Lender at any reasonable time upon reasonable prior notice to the DIP Agent.
The Borrower may not replace any DIP Lender pursuant to Section 2.10(b), unless, with respect to any
Notes held by such DIP Lender, the requirements of subsection 10.06(b) and this Section 10.06(d) have
been satisfied.

                  (e)     Participations. Each DIP Lender may, without the consent of the Borrower, the
Issuing Lender or any Agent, sell participations to one or more Persons in all or a portion of its rights,
obligations or rights and obligations under this Agreement (including all or a portion of its Loans, its
Notes and its Commitments); provided, however, that (i) such DIP Lender’s obligations under this
Agreement shall remain unchanged, (ii) such DIP Lender shall remain solely responsible to the other
parties hereto for the performance of such obligations, (iii) the participant shall be entitled to the benefit
of the right of setoff contained in Section 10.08 and the yield protection provisions contained in Sections
3.01, 3.04 and 3.05 to the same extent that the DIP Lender from which such participant acquired its
participation would be entitled to the benefits of such yield protection provisions so long as the
participant delivers to the applicable DIP Lender the tax forms, certifications and other documentation
applicable to it in accordance with Section 3.01(d) and otherwise complies with the requirements of
Section 3.01 as if it were a Recipient; provided that Borrower shall not be required to reimburse any
participant pursuant to Sections 3.01, 3.04 or 3.05 in an amount which exceeds the amount that would
have been payable thereunder to such DIP Lender had such DIP Lender not sold such participation
(except, in the case of entitlement to payment pursuant to Section 3.01, to the extent such entitlement to
receive a greater payment results from any change in any applicable Law or in the interpretation or
application thereof that occurs after the participant acquired the applicable participation) and (iv) the Loan
Parties, the Agents, the Issuing Lender and the other DIP Lenders shall continue to deal solely and
directly with such DIP Lender in connection with such DIP Lender’s rights and obligations under the DIP
Loan Documents, and such DIP Lender shall retain the sole right to enforce the obligations of the Loan




                                                     112
Case 12-36495-KRH          Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                      Desc Main
                                Document    Page 178 of 304


Parties relating to the DIP Obligations owing to such DIP Lender and to approve any amendment,
modification or waiver of any provision of this Agreement (other than amendments, modifications or
waivers decreasing the amount of principal of or the rate at which interest is payable on such Loans or
Notes, extending any scheduled principal payment date or date fixed for the payment of interest on such
Loans or Notes or extending its Commitment). Each DIP Lender that sells a participation shall, acting
solely for this purpose as a non-fiduciary agent of the Borrower, maintain a register on which it enters the
name and address of each participant and the principal amounts (and stated interest) of each participant’s
interest in the Loans, Notes and Commitments or other obligations under the DIP Loan Documents (each
such register, a “Participant Register”) , provided that no DIP Lender shall have any obligation to disclose
all or any portion of the Participant Register (including the identity of any participant or any information
relating to a participant's interest in any Loans, Notes, Commitments or other obligations under the DIP
Loan Documents) to any Person except to the extent that such disclosure is necessary to establish that
such Loan, Note, Commitment or other obligation is in registered form under Section 5f.103-1(c) of the
United States Treasury Regulations. The entries on a Participant Register shall be conclusive absent
manifest error and such DIP Lender shall treat each person whose name is recorded in the Participant
Register as the owner of such participation for all purposes of this Agreement notwithstanding notice to
the contrary.

                  (f)      Other Assignments. Any DIP Lender may at any time (i) assign all or any
portion of its rights under this Agreement and any Notes to a Federal Reserve Bank, (ii) pledge or assign a
security interest in all or any portion of its interest and rights under this Agreement (including all or any
portion of its Notes, if any) to secure obligations of such DIP Lender and (iii) grant to an SPC referred to
in subsection (h) below identified as such in writing from time to time by such DIP Lender to the DIP
Agent and the Borrower the option to provide to the Borrower all or any part of any Loans that such DIP
Lender would otherwise be obligated to make to the Borrower pursuant to this Agreement; provided that
no such assignment, option, pledge or security interest shall release a DIP Lender from any of its
obligations hereunder or substitute any such Federal Reserve Bank or other Person to which such option,
pledge or assignment has been made for such DIP Lender as a party hereto.

                (g)      Information. Any DIP Lender may furnish any information concerning any Loan
Party or any of their respective Subsidiaries in the possession of such DIP Lender from time to time to
assignees and participants (including prospective assignees and participants), subject, however, to the
provisions of Section 10.07.

                 (h)      Other Funding Vehicles. Notwithstanding anything to the contrary contained
herein, any DIP Lender (a “Granting Lender”) may grant to a special purpose funding vehicle (an “SPC”)
the option to fund all or any part of any Loan that such Granting Lender would otherwise be obligated to
fund pursuant to this Agreement; provided that (i) nothing herein shall constitute a commitment by any
SPC to fund any Loan, (ii) if an SPC elects not to exercise such option or otherwise fails to fund all or any
part of such Loan, the Granting Lender shall be obligated to fund such Loan pursuant to the terms hereof,
(iii) no SPC shall have any voting rights pursuant to Section 10.01 and (iv) with respect to notices,
payments and other matters hereunder, the Borrower, the DIP Agent and the DIP Lenders shall not be
obligated to deal with an SPC, but may limit their communications and other dealings relevant to such
SPC to the applicable Granting Lender. The funding of a Loan by an SPC hereunder shall utilize the
Term Loan Commitment of the Granting Lender to the same extent that, and as if, such Loan were funded
by such Granting Lender. Each party hereto hereby agrees that no SPC shall be liable for any indemnity
or payment under this Agreement for which a DIP Lender would otherwise be liable for so long as, and to
the extent, the Granting Lender provides such indemnity or makes such payment. Notwithstanding
anything to the contrary contained in this Agreement, any SPC may disclose on a confidential basis any
non-public information relating to its funding of Loans to any rating agency, commercial paper dealer or
provider of any surety or guarantee to such SPC. This Section 10.06(h) may not be amended without the




                                                    113
Case 12-36495-KRH          Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                     Desc Main
                                Document    Page 179 of 304


prior written consent of each Granting Lender, all or any part of whose Loan is being funded by an SPC at
the time of such amendment.

                  Section 10.07 Confidentiality and Disclosure. (a) Each of the DIP Agent and the
DIP Lenders agrees to maintain the confidentiality of the Information (as defined below), except that
Information may be disclosed (i) to its and its Affiliates’ directors, officers, employees and agents,
including accountants, legal counsel and other advisors (it being understood that the Persons to whom
such disclosure is made will be informed of the confidential nature of such Information and instructed to
keep such Information confidential); (ii) to the extent requested by any regulatory authority (in which
case the DIP Agent or such DIP Lender, as applicable, shall use reasonable efforts to notify the Borrower
prior to such disclosure); (iii) to the extent required by applicable Laws or regulations or by any subpoena
or similar legal process; (iv) to any other party to this Agreement; (v) in connection with the exercise of
any remedies hereunder or any suit, action or proceeding relating to this Agreement or the enforcement of
rights hereunder; (vi) subject to an agreement containing provisions substantially the same as those of this
Section 10.07, to (A) any Eligible Assignee of or participant in, or any prospective Eligible Assignee of or
participant in, any of its rights or obligations under this Agreement or (B) any direct or indirect
contractual counterparty or prospective counterparty (or such contractual counterparty’s or prospective
counterparty’s professional advisor) to any credit derivative transaction relating to obligations of the
Borrower (it being understood that, in the case of the immediately preceding clauses (A) and (B) above,
the Persons to whom such disclosure is made will be informed of the confidential nature of such
Information and instructed to keep such Information confidential); (vii) with the consent of the Borrower;
(viii) to the extent such information (A) becomes publicly available other than as a result of a breach of
this Section or (B) becomes available to an Agent or any DIP Lender on a nonconfidential basis from a
source other than the Borrower; or (ix) to the National Association of Insurance Commissioners or any
other similar organization or any nationally recognized rating agency that requires access to information
about a DIP Lender’s or its Affiliates’ investment portfolio in connection with ratings issued with respect
to such DIP Lender or its Affiliates. For the purposes of this Section 10.07, “Information” means all
information received from the Borrower relating to the Borrower or its business, other than any such
information that is available to the DIP Agent or any DIP Lender on a nonconfidential basis prior to
disclosure by the Borrower; provided that, in the case of information received from the Borrower after the
date hereof, such information is clearly identified in writing at the time of delivery as confidential. Any
Person required to maintain the confidentiality of Information as provided in this Section 10.07 shall be
considered to have complied with its obligation to do so if such Person has exercised the same degree of
care to maintain the confidentiality of such Information as such Person would accord to its own
confidential information, but in no event shall such Person exercise less than a reasonable degree of care.
Notwithstanding the foregoing, any Agent and any DIP Lender may place advertisements in financial and
other newspapers and periodicals or on a home page or similar place for dissemination of information on
the Internet or worldwide web as it may choose, and circulate similar promotional materials, after the
closing of the transactions contemplated by this Agreement in the form of a “tombstone” or otherwise
describing the names of the Loan Parties, or any of them, and the amount, type and closing date of such
transactions, all at their sole expense.

                 (b)     Notwithstanding the foregoing or any other contrary provision in this Agreement
or any other DIP Loan Documents, the parties hereto hereby agree that, from the commencement of
discussions with respect to the Transaction and the DIP Loan Documents, each of the parties hereto and
each of their respective employees, representatives and other agents may disclose to any and all Persons,
without limitation of any kind, the tax treatment and tax structure (as such terms are used in Sections
6011, 6111 and 6112 of the Code and the Treasury Regulations promulgated thereunder) of the DIP Loan
Documents and the Transaction and all materials of any kind (including opinions or other tax analyses)
that are provided to any of the parties hereto relating to such tax treatment and tax structure, other than
any information for which nondisclosure is reasonably necessary in order to comply with applicable




                                                    114
Case 12-36495-KRH           Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                        Desc Main
                                 Document    Page 180 of 304


securities laws; provided, however, that for this purpose the U.S. federal income tax treatment and U.S.
federal income tax structure shall not include (i) the identity of any existing or future party (or affiliate of
such party) to this Agreement or (ii) any specific market pricing information, including the amount of any
fees, expenses, rates or payments, arising in connection with this Agreement or the transactions
contemplated hereby.

                 Section 10.08 Set-off. In addition to any rights now or hereafter granted under
applicable law or otherwise, and not by way of limitation of any such rights, upon the occurrence and
during the continuance of a payment Event of Default, each DIP Lender (and each of its Affiliates) is
authorized at any time and from time to time, without presentment, demand, protest or other notice of any
kind (all of such rights being hereby expressly waived), to set-off and to appropriate and apply any and all
deposits (general or specific (other than payroll, employee benefits and trust accounts (including League
Funds))) and any other indebtedness at any time held or owing by such DIP Lender (including, without
limitation, branches, agencies or Affiliates of such DIP Lender wherever located) to or for the credit or
the account of any Loan Party against obligations and liabilities of such Loan Party then due to the DIP
Lenders hereunder, under the Notes, under the other DIP Loan Documents or otherwise, and any such set-
off shall be deemed to have been made immediately upon the occurrence of an Event of Default even
though such charge is made or entered on the books of such DIP Lender subsequent thereto. The Loan
Parties hereby agree that to the extent permitted by law any Person purchasing a participation in the
Loans and Commitments hereunder pursuant to Section 2.14 or 10.06(e) may exercise all rights of set-off
with respect to its participation interest as fully as if such Person were a DIP Lender hereunder and any
such set-off shall reduce the amount owed by such Loan Party to the DIP Lender.

                 Section 10.09 Interest Rate Limitation. Notwithstanding anything herein to the
contrary, if at any time the interest rate applicable to any Loan, together with all fees, charges and other
amounts that are treated as interest on such Loan under applicable law (collectively, the “Charges”), shall
exceed the maximum lawful rate (the “Maximum Rate”) that may be charged or contracted for, charged
or otherwise received by the DIP Lender holding such Loan in accordance with applicable law, the rate of
interest payable in respect of such Loan hereunder, together with all Charges payable in respect thereof,
shall be limited to the Maximum Rate and, to the extent lawful, the interest and Charges that would have
been payable in respect of such Loan but were not payable as a result of the operation of this Section
10.09, shall be cumulated and the interest and Charges payable to such DIP Lender in respect of other
Loans or periods shall be increased (but not above the Maximum Rate therefor) until such DIP Lender
shall have received such cumulated amount, together with interest thereon at the Federal Funds Rate to
the date of payment.

                Section 10.10 Counterparts. This Agreement may be executed in any number of
counterparts, each of which when so executed and delivered shall be an original, but all of which shall
constitute one and the same instrument. It shall not be necessary in making proof of this Agreement to
produce or account for more than one such counterpart.

                 Section 10.11 Integration. This Agreement, together with the other DIP Loan
Documents, comprises the complete and integrated agreement of the parties on the subject matter hereof
and thereof and supersedes all prior agreements, written or oral, on such subject matter. In the event of
any conflict between the provisions of this Agreement and those of any other DIP Loan Document, the
provisions of this Agreement shall control; provided that the inclusion of supplemental rights or remedies
in favor of the DIP Agent or the DIP Lenders in any other DIP Loan Document shall not be deemed a
conflict with this Agreement. Each DIP Loan Document was drafted with the joint participation of the
respective parties thereto and shall be construed neither against nor in favor of any party, but rather in
accordance with the fair meaning thereof.




                                                      115
Case 12-36495-KRH          Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                     Desc Main
                                Document    Page 181 of 304


                 Section 10.12 Survival of Representations and Warranties. All representations and
warranties made hereunder and in any other DIP Loan Document or other document delivered pursuant
hereto or thereto or in connection herewith or therewith shall survive the execution and delivery hereof
and thereof. Such representations and warranties have been or will be relied upon by the Agents and each
DIP Lender, regardless of any investigation made by any Agent or any DIP Lender or on their behalf and
notwithstanding that any Agent or any DIP Lender may have had notice or knowledge of any Default or
Event of Default at the time of any Credit Extension, and shall continue in full force and effect as long as
any Loan or any other DIP Obligation shall remain unpaid or unsatisfied or any Letter of Credit shall
remain outstanding.

                 Section 10.13 Severability. Any provision of this Agreement and the other DIP Loan
Documents to which any Loan Party is a party that is prohibited or unenforceable in any jurisdiction shall,
as to such jurisdiction, be ineffective to the extent of such prohibition or unenforceability without
invalidating the remaining provisions thereof, and any such prohibition or unenforceability in any
jurisdiction shall not invalidate or render unenforceable such provision in any other jurisdiction.

                 Section 10.14 Headings. The headings of the sections and subsections hereof are
provided for convenience only and shall not in any way affect the meaning or construction of any
provision of this Agreement.

                 Section 10.15 Defaulting Lenders. Each DIP Lender understands and agrees that if
such DIP Lender is a Defaulting Lender then, notwithstanding the provisions of Section 10.03, it shall not
be entitled to vote on any matter requiring the consent of the Required DIP Lenders or to object to any
matter requiring the consent of all the DIP Lenders adversely affected thereby; provided, however, that all
other benefits and obligations under the DIP Loan Documents shall apply to such Defaulting Lender,
except as provided in Section 2.03(e).

                Section 10.16 Governing Law; Submission to Jurisdiction.

           (a)    THIS AGREEMENT AND THE OTHER DIP LOAN DOCUMENTS (OTHER
THAN LETTERS OF CREDIT AND OTHER THAN AS EXPRESSLY SET FORTH IN SUCH OTHER
DIP LOAN DOCUMENTS) AND THE RIGHTS AND OBLIGATIONS OF THE PARTIES
HEREUNDER AND THEREUNDER SHALL BE GOVERNED BY AND CONSTRUED AND
INTERPRETED IN ACCORDANCE WITH THE INTERNAL LAWS OF THE STATE OF NEW
YORK (INCLUDING, WITHOUT LIMITATION, SECTION 5-1401 OF THE GENERAL
OBLIGATIONS LAW OF THE STATE OF NEW YORK). EACH LETTER OF CREDIT SHALL BE
GOVERNED BY, AND SHALL BE CONSTRUED IN ACCORDANCE WITH, THE LAWS OR
RULES DESIGNATED IN SUCH LETTER OF CREDIT, OR IF NO SUCH LAWS OR RULES ARE
DESIGNATED, THE ISP AND, AS TO MATTERS NOT GOVERNED BY THE ISP, THE INTERNAL
LAWS OF THE STATE OF NEW YORK (INCLUDING, WITHOUT LIMITATION, SECTION 5-1401
OF THE GENERAL OBLIGATIONS LAW OF THE STATE OF NEW YORK).

                 (b)     Any legal action or proceeding with respect to this Agreement or any other DIP
Loan Document may be brought in the courts of the State of New York in New York County, or of the
United States for the Southern District of New York, and, by execution and delivery of this Agreement,
each Loan Party hereby irrevocably accepts for itself and in respect of its property, generally and
unconditional, the nonexclusive jurisdiction of such courts. Each Loan Party irrevocably waives, to the
fullest extent permitted by law, any objection which it may now or hereafter have to the laying of the
venue of any such proceeding brought in such court and any claim that any such proceeding brought in
any such court has been brought in an inconvenient forum. Notwithstanding any other provision of this




                                                    116
Case 12-36495-KRH           Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                         Desc Main
                                 Document    Page 182 of 304


Section 10.16, the Bankruptcy Court shall have exclusive jurisdiction over any action or dispute
involving, relating to or arising out of this agreement or the other DIP Loan Documents.

                 (c)      Each Loan Party hereby irrevocably consents and agrees that any and all process
which may be served in any suit, action or proceeding of the nature referred to in this Section 10.16 may
be served the mailing of a copy thereof by registered or certified mail, postage prepaid, return receipt
requested, to Holdings’, Kingpin’s or the Borrower’s address referred to in Section 10.03, as the case may
be. Each Loan Party agrees that such service (i) shall be deemed in every respect effective service of
process upon it in any such suit, action or proceeding and (ii) shall, to the fullest extent permitted by law,
be taken and held to be valid personal service upon and personal delivery to it. Nothing in this Section
10.16 shall affect the right of any DIP Lender to serve process in any manner permitted by law or limit
the right of any DIP Lender to bring proceedings against Holdings, Kingpin or the Borrower in the courts
of any jurisdiction or jurisdictions.

           Section 10.17 Waiver of Jury Trial. EACH PARTY TO THIS AGREEMENT
HEREBY EXPRESSLY WAIVES ANY RIGHT TO TRIAL BY JURY OF ANY CLAIM, DEMAND,
ACTION OR CAUSE OF ACTION ARISING UNDER ANY LOAN DOCUMENT OR IN ANY WAY
CONNECTED WITH OR RELATED OR INCIDENTAL TO THE DEALINGS OF THE PARTIES
HERETO OR ANY OF THEM WITH RESPECT TO ANY LOAN DOCUMENT, OR THE
TRANSACTIONS RELATED THERETO, IN EACH CASE WHETHER NOW EXISTING OR
HEREAFTER ARISING, AND WHETHER FOUNDED IN CONTRACT OR TORT OR OTHERWISE;
AND EACH PARTY HEREBY AGREES AND CONSENTS THAT ANY SUCH CLAIM, DEMAND,
ACTION OR CAUSE OF ACTION SHALL BE DECIDED BY COURT TRIAL WITHOUT A JURY,
AND THAT ANY PARTY TO THIS AGREEMENT MAY FILE AN ORIGINAL COUNTERPART OR
A COPY OF THIS SECTION 10.17 WITH ANY COURT AS WRITTEN EVIDENCE OF THE
CONSENT OF THE SIGNATORIES HERETO TO THE WAIVER OF THEIR RIGHT TO TRIAL BY
JURY. EACH PARTY HERETO CERTIFIES THAT NO REPRESENTATIVE, AGENT OR
ATTORNEY OF ANY OTHER PARTY HAS REPRESENTED, EXPRESSLY OR OTHERWISE,
THAT SUCH OTHER PARTY WOULD NOT, IN THE EVENT OF LITIGATION, SEEK TO
ENFORCE THE FOREGOING WAIVER AND ACKNOWLEDGES THAT IT AND THE OTHER
PARTIES HERETO HAVE BEEN INDUCED TO ENTER INTO THIS AGREEMENT BY, AMONG
OTHER THINGS, THE MUTUAL WAIVERS AND CERTIFICATIONS IN THIS SECTION 10.17.

                Section 10.18 Binding Effect. This Agreement shall become effective at such time
when it shall have been executed by Holdings, Kingpin the Borrower and the DIP Agent shall have
received copies hereof (telefaxed or otherwise) which, when taken together, bear the signatures of each
DIP Lender, and thereafter this Agreement shall be binding upon and inure to the benefit of Holdings,
Kingpin, the Borrower, each Agent and each DIP Lender and their respective successors and assigns.

                  Section 10.19 Lenders’ U.S. Patriot Act Compliance Certification. Each DIP
Lender or assignee or participant of a DIP Lender that is not incorporated under the Laws of the United
States or a State thereof (and is not excepted from the certification requirement contained in Section 313
of the U.S. Patriot Act and the applicable regulations because it is both (i) an Affiliate of a depository
institution or foreign bank that maintains a physical presence in the United States or foreign country and
(ii) subject to supervision by a banking regulatory authority regulating such affiliated depository
institution or foreign bank) shall deliver to the DIP Agent the certification or, if applicable, recertification,
certifying that such DIP Lender is not a “shell” and certifying to other matters as required by Section 313
of the U.S. Patriot Act and the applicable regulations thereunder: (i) within ten (10) calendar days after
the Closing Date or, if later, the date such DIP Lender, assignee or participant of a DIP Lender becomes a
DIP Lender, assignee or participant of a DIP Lender hereunder and (ii) at such other times as are required
under the U.S. Patriot Act.




                                                      117
Case 12-36495-KRH              Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                   Desc Main
                                    Document    Page 183 of 304


                 Section 10.20 U.S. Patriot Act Notice. Each Agent and each DIP Lender (for itself
and not on behalf of any other person) hereby notifies each Loan Party that, pursuant to the requirements
of the U.S. Patriot Act, such Agent and DIP Lender is required to obtain, verify and record information
that identifies each of Holdings and each other Loan Party, which information includes the name and
address of each such Loan Party and other information that will allow such Agent and DIP Lender to
identify each such Loan Party in accordance with the U.S. Patriot Act.



                                               ARTICLE XI

                                                   SECURITY.

                Section 11.01 Security.

                  (a)     To induce the Agents and the DIP Lenders to enter into this Agreement and the
other DIP Loan Documents and to secure the due and punctual payment and performance of all DIP
Obligations of it and of all other Loan Parties, howsoever created, arising or evidenced, whether direct or
indirect, absolute or contingent, now or hereafter existing or due or to become due, in accordance with the
terms thereof and to secure the performance of all of its obligations and the obligations of all other Loan
Parties hereunder and under the other DIP Loan Documents in respect of the DIP Obligations, each Loan
Party hereby grants to the Collateral Agent for the benefit of the Secured Parties a security interest in, and
each Loan Party hereby pledges and collaterally assigns to the Collateral Agent for the benefit of the
Secured Parties, a Lien upon and a continuing priming first-priority security interest (subject only to (i)
the Permitted Existing Liens, (ii) the Carve-Out, and (iii) Liens permitted under Section 7.02) in
accordance with Sections 364(c)(2) and (3) and 364(d)(1) of the Bankruptcy Code, in all of its right, title
and interest in, to and under all personal property and other assets, whether now owned by or owing to, or
hereafter acquired by or arising in favor of such Loan Party, whether owned or consigned by or to, or
leased from or to, such Loan Party, and regardless of where located (all of which being hereinafter
collectively referred to as the “Collateral”), including but not limited to:

                         (i)      all Receivables;

                         (ii)     all Inventory;

                         (iii)    all General Intangibles;

                         (iv)     all Intellectual Property;

                        (v)    all Documents and Chattel Paper and all Supporting Obligations of any
        kind given by any Person with respect thereto;

                         (vi)     all Equipment;

                        (vii)   all Instruments, Equity Interests, Financial Assets, Investment Property
        and all Supporting Obligations of any kind given by any Person with respect thereto;

                         (viii) all Deposit Accounts, Securities Accounts, cash and other property
        deposited therein or credited thereto from time to time, all monies and property of any kind of any
        Loan Party maintained with or in the possession of an Agent from time to time (including,
        without limitation, the LC Account and the DIP Priority Account);




                                                      118
Case 12-36495-KRH           Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                      Desc Main
                                 Document    Page 184 of 304


                         (ix)    all Goods and As-Extracted Collateral;

                         (x)     all Letters of Credit and Letter of Credit Rights;

                         (xi)    all books and records (including, without limitation, customer lists, credit
        files, computer programs, printouts and other computer materials and records) of each Loan Party
        pertaining to any of the Collateral;

                       (xii)   (A) all Real Property, all Mortgage Policies (each as defined in the First
        Lien Credit Agreement) and all other related documents; and

                          (xiii) all Proceeds of all or any of the Collateral described in clauses (i)
        through (xi) hereof and any claims or causes of action (including any proceeds or property
        recovered in respect of avoidance actions or causes of action under Chapter 5 of the Bankruptcy
        Code, and, upon entry of the Final Order, avoidance actions and proceeds of avoidance actions
        under chapter 5 of the Bankruptcy Code), tort claims, insurance claims and other rights to
        payment not otherwise included in the foregoing and products of the foregoing and all accessions
        to, substitutions and replacements for, and rents and profits of, each of the foregoing;

provided, however, that the Collateral shall not include the following property (collectively, the
“Excluded Collateral”): (i) any Security owned by any Loan Party which constitutes a voting Equity
Interest issued by a Foreign Subsidiary of such Loan Party to the extent that the inclusion of such Equity
Interest the Collateral would cause the Collateral pledged by such Loan Party hereunder or under any
other DIP Loan Document to include in the aggregate more than 65% of the total combined voting power
of all classes of voting securities of such Foreign Subsidiary (such percentage subject to adjustment as
provided under Section 6.10(d)), (ii) Excluded Contracts, (iii) Excluded Equipment, (iv) Deposit
Accounts consisting of payroll, employee benefits and trust accounts and League Funds and (v) Equity
Interests owned by any Loan Party issued by Qubica JV Entity or any of its Subsidiaries; provided,
further, that if and when any property shall cease to be Excluded Collateral, immediately at and from such
time, the Collateral shall include, and the security interest granted by each Loan Party shall attach to, such
property.

                 (b)     In addition, to secure the prompt and complete payment, performance and
observance of the Obligations and in order to induce the Collateral Agent and the DIP Lenders as
aforesaid, each Loan Party hereby grants to the Collateral Agent, for itself and the benefit of Secured
Parties, a right of setoff against the property of such Loan Party held by the Collateral Agent or any
Secured Party, consisting of Collateral now or hereafter in the possession or custody of or in transit to the
Collateral Agent or any Secured Party, for any purpose, including safekeeping, collection or pledge, for
the account of such Loan Party, or as to which such Loan Party may have any right or power.

                 Section 11.02 Perfection of Security Interests. To the extent permitted by applicable
Law, each Loan Party hereby irrevocably authorizes Collateral Agent and its affiliates, counsel and other
representatives, at any time and from time to time, to file in the name of such Loan Party or otherwise and
without separate authorization or authentication of such Loan Party appearing thereon, such UCC
financing statements or continuation statements as the Collateral Agent may reasonably deem necessary
or reasonably appropriate to further perfect or maintain the perfection of the Lien of the DIP Agent under
this Agreement, and such financing statements and amendments may describe the Collateral covered
thereby “all of the debtor's personal property and assets” or words to similar effect, whether now owned
or hereafter acquired, notwithstanding that such description may be broader in scope than the Collateral
described in this Agreement. Each Loan Party hereby also authorizes Collateral Agent and its affiliates,
counsel and other representatives, at any time and from time to time, to execute and file any and all




                                                     119
Case 12-36495-KRH          Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                      Desc Main
                                Document    Page 185 of 304


agreements, instruments, documents and papers as the Collateral Agent may reasonably request to
evidence the Lien of the DIP Agent in any Patent, Trademark, Copyright or other Intellectual Property,
including without limitation the goodwill or accounts and general intangibles of such Loan Party relating
thereto or represented thereby. Such Loan Party agrees that, except to the extent that any filing office
requires otherwise, a carbon, photographic, photostatic or other reproduction of this Agreement or of a
financing statement is sufficient as a financing statement. The Loan Parties shall pay the costs of, or
incidental to, any recording or filing of any financing or continuation statements or other assignment
documents concerning the Collateral.

                Section 11.03 Pledged Collateral.

                  (a)    Delivery of Certificated Securities. Each Loan Party will promptly deliver each
Instrument and each Certificated Security (other than Cash Equivalents held in a Deposit Account or a
Securities Account which in each case is subject to an effective Account Control Agreement to the
Collateral Agent (or the DIP Agent on its behalf), accompanied by duly executed stock powers or other
instruments of transfer or assignment in blank, all in form and substance satisfactory to the Collateral
Agent and all promissory notes (other than promissory notes with an aggregate face value not in excess of
$250,000) shall be endorsed by the applicable Loan Party or accompanied by a duly executed instrument
of transfer or assignment in blank. Notwithstanding the foregoing, for so long as any Certificated Security
existing prior to the date hereof is held by the First Lien Agent there shall be no delivery requirement
under this Section 11.03(a) with respect to such Certificated Securities.

                (b)     Rights of Loan Parties with Respect to Pledged Collateral. As long as no Default
or Event of Default shall have occurred and be continuing and until written notice shall be given by the
DIP Agent to the relevant Loan Parties of its intent to exercise its corresponding rights in accordance with
Section 11.08 hereof:

                          (i)     (A) Each Loan Party shall be entitled to vote, give consents and have all
        other consensual rights with respect to any pledged Equity Interests, or any part thereof for all
        purposes not inconsistent with the provisions of this Agreement or any other DIP Loan Document
        and (B) the Collateral Agent shall execute and deliver (or cause to be executed and delivered) to
        the relevant Loan Party all such proxies and other instruments as such Loan Party may reasonably
        request for the purpose of enabling such Loan Party to exercise the voting and other rights that it
        is entitled to exercise pursuant to this Agreement; and

                          (ii)    (A) As long as no Event of Default shall have occurred and be
        continuing each Loan Party shall be entitled, from time to time, to collect, receive and retain for
        its own use, free and clear of the Lien created by this Agreement, any and all cash dividends,
        distributions, principal and interest paid in respect of the pledged Equity Interests or notes to the
        extent permitted in this Agreement other than any and all dividends, interest, principal or other
        distributions paid or payable other than in cash in respect of any pledged Collateral, and
        Instruments and other property received, receivable or otherwise distributed in respect of, or in
        exchange for, any pledged Collateral whether resulting from a subdivision, combination or
        reclassification of the outstanding Equity Interests of the issuer of any pledged Equity Interests or
        received in exchange for pledged Equity Interests or any part thereof, or in redemption thereof, or
        as a result of any merger, consolidation, acquisition or other exchange of assets to which such
        issuer may be a party or otherwise; and (B) upon the occurrence and during the continuance of an
        Event of Default, all dividends and interest and all other distributions in respect of any of the
        Equity Interests or notes, whenever paid or made, shall be delivered to the Collateral Agent to
        hold as pledged Collateral and shall, if received by any Loan Party, be received in trust for the
        benefit of the Collateral Agent, be segregated from the other property or funds of such Loan




                                                    120
Case 12-36495-KRH          Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                      Desc Main
                                Document    Page 186 of 304


        Party, and be forthwith delivered to the Collateral Agent as pledged Collateral in the same form
        as so received (with any necessary endorsement).

              Section 11.04 Collateral Agent’s and Secured Parties’ Rights; Limitations on
Agent’s and Secured Parties’ Obligations.

                  (a)     Subject to each Loan Party’s rights and duties under the Bankruptcy Code
(including Section 365 of the Bankruptcy Code), it is expressly agreed by each Loan Party that, anything
herein or in any other DIP Loan Document to the contrary notwithstanding, each Loan Party shall remain
liable under each of its respective Contractual Obligations (as defined below) incurred after the Petition
Date or assumed with the consent of the DIP Agent and Bankruptcy Court approval (which may be
pursuant to a Plan confirmed by the Bankruptcy Court) to observe and perform all the conditions and
obligations to be observed and performed by it thereunder. Neither the Collateral Agent nor any Secured
Party shall have any obligation or liability under any Contractual Obligation by reason of or arising out of
this Agreement or any other Loan Document or the granting herein of a Lien thereon or the receipt by any
Agent or any Secured Party of any payment relating to any Contractual Obligation pursuant hereto.
Neither the Collateral Agent nor any Secured Party shall be required or obligated in any manner to
perform or fulfill any of the obligations of any Loan Party with respect to any Contractual Obligation, or
to make any payment, or to make any inquiry as to the nature or the sufficiency of any payment received
by it or the sufficiency of any performance by any party under any Contractual Obligation, or, other than
as may be required in the Chapter 11 Cases, to present or file any claims, or to take any action to collect
or enforce any performance or the payment of any amounts which may have been assigned to it or to
which it may be entitled at any time or times. “Contractual Obligation” means, as applied to any Person,
any indenture, mortgage, deed of trust, contract, undertaking, agreement or other instrument to which that
Person is a party or by which it or any of its properties is bound or to which it or any of its properties is
subject.

                  (b)     At any time after an Event of Default has occurred and is continuing, after giving
notice to the relevant Loan Party of its intent to do so, each Agent may notify each of such Loan Party’s
Account Debtors and all other Persons obligated on any of the Collateral that the DIP Agent has a security
interest therein, and that payments shall be made (i) directly to the Collateral Agent (by instructing that
such payments be remitted by direct wire transfer to the Collateral Agent or to a post office box which
shall be in the name and under the control of the Collateral Agent or (ii) to one or more other banks in the
United States (by instructing that such payments be remitted by direct wire transfer to, or to a post office
box which shall be in the name and under the control of, such bank) subject to an Account Control
Agreement. Once any such notice has been given to any Account Debtor or other Person obligated on the
Collateral, none of the Loan Parties shall give any contrary instructions to such Account Debtor or other
Person without the Agents’ prior written consent.

                 (c)    At any time after an Event of Default has occurred and is continuing, the
Collateral Agent may in the Collateral Agent’s own name, in the name of a nominee of the Collateral
Agent or in the name of any Loan Party communicate (and such Loan Party hereby authorizes the
Collateral Agent to so notify) with each Account Debtor to verify with such Persons, to the Collateral
Agent’s reasonable satisfaction, the existence, amount, terms of, and any other matter relating to,
Accounts, Instruments, Chattel Paper and/or payment intangibles, and that such Collateral has been
assigned to the Collateral Agent hereunder for the benefit of the Secured Parties, and that any payments
due or to become due in respect of such Collateral are to be made directly to Collateral Agent or any other
designee on its behalf.

                (d)    It is understood and agreed that the security interests in cash and Investment
Property created hereunder shall not prevent the Loan Parties from using such assets in the ordinary




                                                    121
Case 12-36495-KRH          Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                      Desc Main
                                Document    Page 187 of 304


course of their respective businesses, subject to the provisions of the Interim Order, the Final Order (as
applicable) the Budget and the Account Control Agreements with respect to such cash and Investment
Property.

                Section 11.05 Covenants of the Loan Parties with Respect to Collateral. Without
limiting any Loan Party’s covenants and agreements contained in this Agreement and the other DIP Loan
Documents, each Loan Party covenants and agrees with the Collateral Agent, for the benefit of the Agents
and the Secured Parties, that from and after the date of this Agreement and until the DIP Termination
Date:

                (a)     Further Assurances; Pledge of Instruments; Chattel Paper.

                         (i)    At any time and from time to time, upon the reasonable written request
        of the Collateral Agent and at the sole expense of such Loan Party, such Loan Party shall
        promptly and duly execute and deliver any and all such further instruments and documents and
        take such further actions (including the filing and recording of financing statements and other
        documents) as the Agents may reasonably deem necessary to carry out the terms of this
        Agreement and of the rights and powers herein granted with respect to the Collateral, including
        (A) using its commercially reasonable efforts to secure all consents and approvals necessary or
        appropriate for the assignment to or for the benefit of the Collateral Agent of any Contractual
        Obligation held by such Loan Party (including Excluded Contracts) and to enforce the security
        interests granted hereunder; and (B) filing any financing or continuation statements under the
        UCC in effect in any jurisdiction with respect to the Liens granted hereunder or under any other
        Loan Document.

                          (ii)     (A) Without the prior written consent of the Collateral Agent, such Loan
        Party will not (x) sell, assign, transfer, pledge the pledged Collateral (except pursuant to a
        transaction permitted by this Agreement) or (y) otherwise encumber any of its rights in or to the
        pledged Collateral (except for Liens permitted under this Agreement), or any unpaid dividends,
        interest or other distributions or payments with respect to the pledged Collateral or grant a Lien in
        the pledged Collateral, unless otherwise expressly permitted by this Agreement; (B) upon the
        written request of the Collateral Agent, each Loan Party will, at its expense, promptly execute and
        deliver all such further instruments and take all such further actions as the Collateral Agent from
        time to time may reasonably request in order to ensure to Agent and Secured Parties the security
        interests to the pledged Collateral granted hereby are perfected to the extent required to be
        perfected under this Agreement; and (C) in the case of each Loan Party which is an issuer of
        pledged Collateral, such Loan Party agrees that after an Event of Default has occurred and is
        continuing it will comply with instructions of the Collateral Agent with respect to the Equity
        Interests of such issuer without further consent by the applicable Loan Party.

                        (iii)    Unless such Collateral has been delivered to the Collateral Agent
        pursuant to Section 11.03 (or to the First Lien Agent on behalf of the Collateral Agent), such
        Loan Party shall deliver to the Collateral Agent all Collateral consisting of the following
        negotiable Documents, certificated Equity Interests, Chattel Paper and Instruments (in each case,
        accompanied by stock powers, allonges or other instruments of transfer executed in blank)
        promptly (and in any event within ten (10) Business Days) after such Loan Party receives the
        same: (A) any negotiable Document or Instrument having a value in excess of $250,000, (B) any
        certificated Equity Interests (other than certificated pledged Equity Interests of Subsidiaries of
        such Loan Party delivered to Agent pursuant to Section 11.03 above) or (C) any Chattel Paper
        (other than Chattel Paper (I) the value of which, in the aggregate for all such Chattel Paper, does
        not exceed $250,000 or (II) which evidences leases of Inventory for a period of time that is less




                                                    122
Case 12-36495-KRH        Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                       Desc Main
                              Document    Page 188 of 304


      than one month), and such Loan Party will provide prompt written notice of receipt thereof to the
      Collateral Agent.

                       (iv)    Each Loan Party will, upon obtaining ownership of any additional Equity
      Interests or promissory notes or Instruments of a Pledged Entity or any Equity Interests or
      promissory notes or Instruments required to be pledged to the Collateral Agent pursuant to clause
      (iii) above, which Equity Interests are not listed on Schedule 5.12 on the date hereof, (and which
      notes or Instruments have not been delivered to the First Lien Agent prior to the Closing Date)
      promptly deliver to the Collateral Agent (x) each Instrument in certificated form (with a stock
      power executed in blank or allonge) and (y) a certificate executed by a Responsible Officer of
      such Loan Party describing any such additional Equity Interests, notes or Instruments, attaching
      supplements to Schedule 5.12 to the extent necessary to cause such schedule to be complete and
      accurate at such time and certifying that such Equity Interests, promissory notes or Instruments
      have been duly pledged with the Collateral Agent. Each Loan Party hereby authorizes the
      Collateral Agent to attach any such supplement to Schedule 5.12 to this Agreement and agrees
      that all pledged Equity Interests and Pledged Notes listed on any such certificate delivered to the
      Collateral Agent shall for all purposes hereunder be considered Collateral.

                       (v)    Upon the reasonable request of the Collateral Agent, such Loan Party
      shall, in accordance with the terms of this Agreement, obtain waivers or subordinations of Liens
      from landlords, bailees and mortgagees, and such Loan Party shall to the extent required by this
      Agreement, in all instances obtain signed acknowledgements of the Collateral Agent’s Liens from
      bailees having possession of such Loan Party’s Goods that they hold for the benefit of the DIP
      Agent.

                       (vi)     Such Loan Party shall obtain authenticated Account Control Agreements
      from (A) each Securities Intermediary issuing or holding any financial assets to or for such Loan
      Party and (B) each commodities intermediary holding commodities for such Loan Party; and such
      Loan Party shall within twenty (20) Business Days after acquiring any uncertificated securities
      that are not credited to a Securities Account obtain from each issuer of such uncertificated
      securities an acknowledgment of the pledge of such uncertificated securities to the Collateral
      Agent granting “control” (within the meaning of Section 8-106 of the UCC) over such
      uncertificated securities to the Collateral Agent and in a form that is reasonably satisfactory to the
      Collateral Agent. Each Loan Party shall obtain an Account Control Agreement as required
      pursuant to Section 6.08.

                      (vii)    If such Loan Party is or becomes the beneficiary of a Letter of Credit
      with a face value in excess of $250,000, such Loan Party shall promptly, and in any event within
      ten (10) Business Days after becoming a beneficiary, notify the Collateral Agent thereof and,
      unless otherwise consented by the Collateral Agent, cause the issuer and/or confirmation bank to
      consent to the assignment of any Letter-of-Credit Rights to the Collateral Agent and agree to
      direct all payments thereunder to a Deposit Account subject to a Account Control Agreement, all
      in form and substance reasonably satisfactory to the Collateral Agent.

                      (viii) At any time (A) upon the Collateral Agent’s reasonable written request
      or (B) if an Event of Default has occurred and is continuing, unless the Collateral Agent has
      otherwise consented in writing (which consent may be revoked), such Loan Party shall take all
      steps necessary to grant the Collateral Agent control of all Electronic Chattel Paper with a face
      value in excess of $250,000 in accordance with the UCC and all “transferable records” as defined
      in each of the Uniform Electronic Transactions Act and the Electronic Signatures in Global and
      National Commerce Act.




                                                   123
Case 12-36495-KRH          Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                     Desc Main
                                Document    Page 189 of 304


                       (ix)     Such Loan Party shall promptly, and in any event within twenty (20)
        Business Days after the same is acquired by it, notify the Collateral Agent of Commercial Tort
        Claims in excess of $1,000,000, individually or in the aggregate, acquired by it and unless
        otherwise consented by the Collateral Agent, such Loan Party shall enter into a supplement to this
        Agreement, granting to the Collateral Agent a Lien in such Commercial Tort Claim.

                (b)      Maintenance of Records. Such Loan Party shall mark its books and records
pertaining to the Collateral to evidence this Agreement and the Liens granted hereby. Upon (A) the
Collateral Agent’s reasonable written request or (B) unless the Collateral Agent shall otherwise consent in
writing (which consent may be revoked), the occurrence and during the continuance of an Event of
Default, such Chattel Paper (other than Chattel Paper the value of which, in the aggregate for all such
Chattel Paper, does not exceed $1,000,000) and Instruments (other than Instruments the value of which,
in the aggregate for all such Instruments, does not exceed $1,000,000) shall be marked by Loan Party
with a legend, in form and substance reasonably satisfactory to the Collateral Agent; provided that each
Loan Party shall be required to so mark each such Chattel Paper or Instrument only to the extent that the
same is in such Loan Party’s possession.

                (c)     Covenants Regarding Patent, Trademark and Copyright Collateral.

                        (i)     In no event shall such Loan Party, either directly or through any agent,
        employee, licensee or designee, file an application for the registration of any Patent, Trademark
        or Copyright with the United States Patent and Trademark Office, the United States Copyright
        Office or any similar office or agency without giving the Collateral Agent prior written notice
        thereof, and, upon request of the Collateral Agent, such Loan Party shall execute and deliver any
        and all Patent Security Agreements, Copyright Security Agreements or Trademark Security
        Agreements as the Collateral Agent may request to evidence the Collateral Agent’s Lien on such
        Patent, Trademark or Copyright, and the General Intangibles of Loan Party relating thereto or
        represented thereby; provided, that no Loan Party shall be required to execute a Trademark
        Security Agreement or otherwise grant a Lien in favor of the Collateral Agent on any “intent to
        use” trademark.

                         (ii)    Such Loan Party shall take all actions necessary or reasonably requested
        by any Agent to maintain and pursue (and not abandon) each application, to obtain the relevant
        registration and to maintain the registration of each of the Patents, Trademarks and Copyrights
        (now or hereafter existing that is material to the conduct of any Loan Party’s business or
        operations), including the filing of applications for renewal, affidavits of use, affidavits of
        noncontestability and opposition and interference and cancellation proceedings, unless such Loan
        Party shall determine that such Patent, Trademark or Copyright is not material to the conduct of
        its business or operations.

                         (iii)   In the event that any Loan Party becomes aware that any of the Patent,
        Trademark or Copyright Collateral that is material to the conduct of such Loan Party’s business
        or operations is infringed upon, or misappropriated or diluted by a third party, each Loan Party
        shall promptly notify Agent and, if applicable, comply with Section 11.05(a)(ix). Such Loan
        Party shall, unless it shall reasonably determine that such Patent, Trademark or Copyright
        Collateral is not material to the conduct of its business or operations, promptly sue for
        infringement, misappropriation or dilution and to recover any and all damages for such
        infringement, misappropriation or dilution, and shall take such other actions as the Collateral
        Agent shall deem appropriate under the circumstances to protect such Patent, Trademark or
        Copyright Collateral.




                                                   124
Case 12-36495-KRH           Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                       Desc Main
                                 Document    Page 190 of 304


                (d)     Notices. Such Loan Party will advise the Agents promptly, in reasonable detail,
(i) of any Lien (other than Permitted Encumbrances) on or claim made or asserted against a material
portion of the Collateral of which it has knowledge, which could reasonably be expected to have a
material adverse effect on the Collateral or the ability of the Collateral Agent to exercise any of its
remedies hereunder.

                  (e)    Organizational/Collateral Location Changes; No Reincorporation. Such Loan
Party will give Agent at least fifteen (15) calendar days prior written notice of any change to the
information set forth on Schedule 5.12 to the extent needed to make Schedule 5.12 up to date and
accurate. Such Loan Party shall not affect any such change unless it has taken all steps necessary or
reasonably required by the Collateral Agent to maintain continued perfection of the Collateral Agent’s
security interest in the Collateral with the same priority as prior to such change. Without limiting the
prohibitions on mergers involving any Loan Party as contained in this Agreement, none of the Loan
Parties shall reincorporate or reorganize itself under the laws of any jurisdiction other than the jurisdiction
in which it is incorporated or organized as of the date hereof without the prior written consent of the
Agents.

                 Section 11.06 Accounts; Collection of Accounts and Payments. Each Loan Party,
and any of its employees, agents and other Persons acting for or in concert with any Loan Party shall,
acting as trustee for the Collateral Agent and the Secured Parties, receive, as the sole and exclusive
property of Secured Parties, any moneys, checks, notes, drafts or other payments relating to and/or
constituting proceeds of Accounts or other Collateral which come into the possession or under the control
of such Loan Party or any employees, agents, or other Persons acting for or in concert with any Loan
Party, and promptly upon receipt thereof, such Loan Party or such Persons shall deposit the same or
cause the same to be deposited in kind, in the DIP Priority Account or any other Deposit Account with
any financial institution subject to an Account Control Agreement.

                 Section 11.07 Agent’s Appointment as Attorney-In-Fact.

                (a)      Until the discharge of the DIP Obligations, each Loan Party hereby irrevocably
appoints the Collateral Agent (or the DIP Agent acting upon the instructions of the Collateral Agent) and
any officer or agent thereof as its true and lawful attorney-in-fact, with full power of substitution, in the
name of such Loan Party, the Collateral Agent, the DIP Agent, the Secured Parties or otherwise, for the
sole use and benefit of the Collateral Agent and the Secured Parties, but at such Loan Party's expense, to
the extent permitted by law, to exercise at any time and from time to time while an Event of Default has
occurred and is continuing all or any of the following powers with respect to all or any of the Collateral;
such power, being coupled with an interest, is irrevocable until the discharge of DIP Obligations:

                       (i)    to take any and all appropriate action and to execute any and all
        documents and instruments which may be necessary or reasonably desirable to carry out the terms
        of this Agreement;

                        (ii)    to receive, take, endorse, assign and deliver any and all checks, notes,
        drafts, acceptances, documents and other negotiable and non-negotiable Instruments taken or
        received by such Loan Party as, or in connection with, the Collateral;

                         (iii)    to accelerate any Receivable which may be accelerated in accordance
        with its terms, and to otherwise demand, sue for, collect, receive and give acquittance for any and
        all monies due or to become due on or by virtue of any Collateral;




                                                     125
Case 12-36495-KRH           Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                    Desc Main
                                 Document    Page 191 of 304


                         (iv)    to commence, settle, compromise, compound, prosecute, defend or adjust
        any Claim, suit, action or proceeding with respect to, or in connection with, the Collateral;

                        (v)     to sell, transfer, assign or otherwise deal in or with the Collateral or the
        Proceeds or avails thereof, including, without limitation, for the implementation of any
        assignment, lease, license, sublicense, grant of option, sale or other disposition of any Patent,
        Trademark, Copyright or Software or any action related thereto, as fully and effectually as if the
        Collateral Agent were the absolute owner thereof;

                         (vi)     pay or discharge taxes and Liens levied or placed on or threatened
        against the Collateral;

                        (vii)   sign and endorse any invoices, freight or express bills, bills of lading,
        storage or warehouse receipts, drafts against debtors, assignments, verifications, notices and other
        documents in connection with any of the Collateral;

                        (viii)    obtain and adjust insurance maintained by such Loan Party or paid to the
        Collateral Agent;

                         (ix)    to the extent permitted in the Chapter 11 Cases, commence and prosecute
        any suits, actions or proceedings at law or in equity in any court of competent jurisdiction to
        collect the Collateral or any portion thereof and to enforce any other right in respect of any
        Collateral;

                         (x)     defend any suit, action or proceeding brought against such Loan Party
        with respect to any Collateral (with such Loan Party’s consent (not to be unreasonably withheld
        or delayed) to the extent such action or its resolution could materially affect such Loan Party or
        any of its affiliates in any manner other than with respect to its continuing rights in such
        Collateral);

                       (xi)    to extend the time of payment of any or all of the Collateral and to make
        any allowance and other adjustments with respect thereto;

                        (xii)    credit bid and purchase (either directly or through one or more
        acquisition vehicles) all or any portion of the Collateral at any sale thereof conducted by Agent
        under the provisions of the UCC, including pursuant to Sections 9-610 or 9-620 of the UCC, at
        any sale thereof conducted under the provisions of the Bankruptcy Code, including Section 363
        of the Bankruptcy Code or as part of restructuring plan subject to confirmation under Section
        1129(b)(2)(A)(iii) of the Bankruptcy Code, or at any sale or foreclosure conducted by the
        Collateral Agent (whether by judicial action or otherwise) in accordance with applicable law; and

                         (xiii) to do, at its option, but at the expense of such Loan Party, at any time or
        from time to time, all acts and things which the Collateral Agent reasonably deems necessary to
        protect or preserve the Collateral and to realize upon the Collateral.

Anything in this Section 11.07(a) to the contrary notwithstanding, the Agents agree that neither Agent
will exercise any rights under the power of attorney provided for in this Section 11.07(a) unless an Event
of Default shall have occurred and be continuing.

                (b)      Upon the occurrence and during the continuance of an Event of Default, if any
Loan Party fails to perform or comply with any of its agreements contained herein, the Collateral Agent,




                                                    126
Case 12-36495-KRH          Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                      Desc Main
                                Document    Page 192 of 304


at its option, but without any obligation so to do, may perform or comply, or otherwise cause performance
or compliance, with such agreement. The Collateral Agent shall provide the Loan Parties with notice of
any such performance or action in a commercially reasonable matter. Performance of such Loan Party’s
obligations as permitted under this Section 11.07 shall in no way constitute a violation of the automatic
stay provided by Section 362 of the Bankruptcy Code and each Loan Party hereby waives applicability
thereof. Moreover, none of the DIP Agent, the Collateral Agent, the DIP Lenders, the First Lien Agent,
the First Lien Lenders, the Second Lien Agent or the Second Lien Lenders shall in any way be
responsible for the payment of any costs incurred in connection with preserving or disposing of any
Collateral pursuant to Sections 105 and 506(c) of the Bankruptcy Code and the Collateral may not be
charged for the incurrence of any such cost.

                (c)      Each Loan Party hereby ratifies all that said attorneys shall lawfully do or cause
to be done by virtue hereof. Exercise by the Collateral Agent of the powers granted hereunder is not a
violation of the automatic stay provided by Section 362 of the Bankruptcy Code and each Loan Party
waives applicability thereof. All powers, authorizations and agencies contained in this Agreement are
coupled with an interest and are irrevocable until this Agreement is terminated and the security interests
created hereby are released.

                Section 11.08 Remedies; Rights Upon Default.

                  (a)      If any Event of Default has occurred and is continuing, the Collateral Agent,
directly or indirectly through the DIP Agent acting upon the instructions of the Collateral Agent may and
upon the direction of the Required DIP Lenders shall, in addition to all other rights and remedies granted
to it in this Agreement and in any other agreement securing, evidencing or relating to the DIP Obligations
(including without limitation, the right to give or cause the Collateral Agent to give instructions or a
notice of sole or exclusive control under an Account Control Agreement): (i) exercise on behalf of the
Secured Parties all rights and remedies of a secured party under the UCC (whether or not in effect in the
jurisdiction where such rights are exercised) and, in addition, (ii) without demand of performance or other
demand or notice of any kind (except as required by the Interim Order or Final Order, such notice as may
be specifically required by law and the notice specified below of time and place of public or private sale)
to or upon any Loan Party or any other Person (all and each of which demands, advertisements and
notices (except any notice required by the Interim Order or Final Order, such notice as may be
specifically required by law and the notice specified below of time and place of public or private sale) to
or upon any Loan Party or any other Person all of which demands and/or notices are hereby waived by
each Loan Party), (A) withdraw all cash and Cash Equivalents in any Deposit Account or Securities
Account of a Loan Party and apply such cash and Cash Equivalents and other cash, if any, then held by it
as Collateral in satisfaction of the DIP Obligations (B) give notice and take sole possession and control of
all amounts on deposit in or credited to any Deposit Account or Securities Account pursuant to the related
Account Control Agreement and (C) if there shall be no such cash, Cash Equivalents or other amounts or
if such cash, Cash Equivalents and other amounts shall be insufficient to pay all the DIP Obligations
(other than contingent indemnification obligations not yet due and payable)in full or cannot be so applied
for any reason or if the Collateral Agent determines to do so, collect, receive, appropriate and realize upon
the Collateral and/or sell, assign, give an option or options to purchase or otherwise dispose of and deliver
the Collateral (or contract to do so) or any part thereof at public or private sale, at any office of the
Collateral Agent or elsewhere in such manner as is commercially reasonable and as the Collateral Agent
may deem best, for cash, on credit or for future delivery, without assumption of any credit risk and at such
price or prices as the Collateral Agent may deem reasonably satisfactory.

                 (b)     To the extent permitted by applicable law, the Collateral Agent (or the DIP Agent
acting upon the instructions of the Collateral Agent) or any Secured Party may be the purchaser of any or
all of the Collateral so sold at any public sale (or, if the Collateral is of a type customarily sold in a




                                                    127
Case 12-36495-KRH           Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                      Desc Main
                                 Document    Page 193 of 304


recognized market or is of a type which is the subject of widely distributed standard price quotations, at
any private sale). Each Loan Party will execute and deliver such documents and take such other action as
the Collateral Agent deems necessary or reasonably advisable in order that any such sale may be made in
compliance with Law. Upon any such sale, the Collateral Agent (or the DIP Agent acting upon the
instructions of the Collateral Agent) shall have the right to deliver, assign and transfer to the purchaser
thereof the Collateral so sold. Each purchaser at any such sale shall hold the Collateral so sold to it
absolutely and free from any claim or right of whatsoever kind. Any such public sale shall be held at such
time or times within ordinary business hours and at such place or places as the Collateral Agent may fix
in the notice of such sale. At any such sale, the Collateral may be sold in one lot as an entirety or in
separate parcels, as the Collateral Agent may determine. Neither the Collateral Agent nor the DIP Agent
shall be obligated to make any such sale pursuant to any such notice. The Collateral Agent (or the DIP
Agent acting upon the instructions of the Collateral Agent) may, without notice or publication, adjourn
any public or private sale or cause the same to be adjourned from time to time by announcement at the
time and place fixed for the sale, and such sale may be made at any time or place to which the same may
be so adjourned without further notice. In the case of any sale of all or any part of the Collateral on credit
or for future delivery, the Collateral so sold may be retained by the Collateral Agent (directly or indirectly
through the DIP Agent acting on its behalf) until the selling price is paid by the purchaser thereof, but
neither of the Collateral Agent nor the DIP Agent shall not incur any liability in the case of the failure of
such purchaser to take up and pay for the Collateral so sold and, in the case of any such failure, such
Collateral may again be sold upon like notice.

                (c)      If an Event of Default has occurred and is continuing, the Collateral Agent shall
give each Loan Party not less than ten (10) calendar days' prior notice of the time and place of any sale or
other intended disposition of any of the Collateral, except any Collateral which is perishable or threatens
to decline speedily in value or is of a type customarily sold on a recognized market.

                 (d)     For the purpose of enforcing any and all rights and remedies under this
Agreement, the Collateral Agent may, if any Event of Default has occurred and is continuing, (i) require
each Loan Party to, and each Loan Party agrees that it will, at its expense and upon the request of the
Collateral Agent, forthwith assemble, store and keep all or any part of the Collateral as directed by the
Collateral Agent and make it available at a place designated by the Collateral Agent which is, in the
Collateral Agent's opinion, reasonably convenient to the Collateral Agent and such Loan Party, whether at
the premises of such Loan Party or otherwise, it being understood that such Loan Party's obligation so to
deliver the Collateral is of the essence of this Agreement and that, accordingly, upon application to a
court of equity having jurisdiction, the Collateral Agent shall be entitled to a decree requiring specific
performance by such Loan Party of such obligation; (ii) to the extent permitted by applicable law, enter,
with or without process of law and without breach of the peace, any premise where any of the Collateral
is or may be located, and without charge or liability to any Loan Party, seize and remove such Collateral
from such premises; (iii) have access to and use such Loan Party's books and records relating to the
Collateral; and (iv) prior to the disposition of the Collateral, store or transfer it without charge in or by
means of any storage or transportation facility owned or leased by such Loan Party, process, repair or
recondition it or otherwise prepare it for disposition in any manner and to the extent the Collateral Agent
deems appropriate and, in connection with such preparation and disposition, use, have used and license
without charge any Intellectual Property owned or used by such Loan Party. The Collateral Agent may
also render any or all of the Collateral unusable at any Loan Party's premises and may dispose of such
Collateral on such premises without liability for rent or costs.

                 (e)     If any Event of Default has occurred and is continuing, the Collateral Agent
shall, to the extent permitted by applicable law, without notice to any Loan Party or any party claiming
through any Loan Party, without regard to the solvency or insolvency at such time of any Person then
liable for the payment of any of the DIP Obligations, without regard to the then-value of the Collateral




                                                     128
Case 12-36495-KRH          Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                     Desc Main
                                Document    Page 194 of 304


and without requiring any bond from any complainant in such proceedings, be entitled as a matter of right
to the appointment of a receiver or receivers (who may be the Collateral Agent or the DIP Agent) of the
Collateral or any part thereof, and of the profits, revenues and other income thereof, pending such
proceedings, with such powers as the court making such appointment shall confer, and to the entry of an
order directing that the profits, revenues and other income of the property constituting the whole or any
part of the Collateral be segregated, sequestered and impounded for the benefit of the Collateral Agent
and the Secured Parties, and each Loan Party irrevocably consents to the appointment of such receiver or
receivers and to the entry of such order.

                  (f)    If any Event of Default has occurred and is continuing, each Loan Party agrees,
to the extent it may lawfully do so, that it will not at any time in any manner whatsoever (i) claim or take
the benefit or advantage of, any appraisal, valuation, stay, extension, moratorium, turnover or redemption
law, or any law permitting it to direct the order in which the Collateral shall be sold, now or at any time
hereafter in force which may delay, prevent or otherwise affect the performance or enforcement of this
Agreement, and each Loan Party hereby waives all benefit or advantage of all such laws, or (ii) hinder,
delay or impede the execution of any power granted to the Collateral Agent, the DIP Agent or any other
Secured Party in any DIP Loan Document.

                (g)     If any Event of Default has occurred and is continuing, each Loan Party, to the
extent it may lawfully do so, on behalf of itself and its successors and assigns and all others whose claims
derive through or under it, including, without limitation, any and all subsequent creditors, vendees and
lienors, waives and releases all rights to demand or to have any marshalling of the Collateral upon any
sale, whether made under any power of sale granted herein or pursuant to judicial proceedings or under
any foreclosure or any enforcement of this Agreement, and consents and agrees that all of the Collateral
may at any such sale be offered and sold as an entirety.

                (h)      Each Loan Party waives, to the extent permitted by law, presentment, demand,
protest and any notice of any kind (except as required by the Interim Order or Final Order or as expressly
required hereunder or in the other Loan Documents) in connection with this Agreement and any action
taken by the Collateral Agent and/or the DIP Agent with respect to the Collateral.

                 (i)    Each Agent shall take any action allowed by it to be taken pursuant to this
Section 11.08 if the Required DIP Lenders so direct and it receives satisfactory indemnities, if applicable.

                Section 11.09 Grant of License to Use Property; Intellectual Property.

                (a)      For the purpose of enabling the Collateral Agent to exercise rights and remedies
under Section 11.08 hereof (including, without limiting the terms of Section 11.08 hereof, in order to take
possession of, collect, receive, assemble, process, appropriate, remove, realize upon, sell, lease, license,
assign, give an option or options to purchase or otherwise dispose of any Collateral) at such time as the
Collateral Agent shall be lawfully entitled to exercise such rights and remedies, each Loan Party hereby
grants to the Collateral Agent, for the benefit of the Collateral Agent and the Secured Parties, an
irrevocable, nonexclusive license (exercisable without payment of royalty or other compensation to such
Loan Party) to use, license or sublicense any Intellectual Property now owned or hereafter acquired by
such Loan Party, and wherever the same may be located, and including in such license access to all media
in which any of the licensed items may be recorded or stored and to all Software and programs used for
the compilation or printout thereof and an irrevocable license (exercisable without payment of rent or
other compensation to such Loan Party) to use and occupy all real estate owned or leased by such Loan
Party.

                (b)     The Collateral Agent may:




                                                    129
Case 12-36495-KRH          Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                     Desc Main
                                Document    Page 195 of 304


                         (i)     subject to the express terms of any valid and enforceable restriction in
        favor of a Person who is not a Group Company that prohibits, or requires any consent or
        establishes any other conditions for, an assignment thereof, license, or sublicense, whether
        general, special or otherwise, and whether on an exclusive or non-exclusive basis, any Patents,
        Trademarks, Copyrights or other Intellectual Property included in the Collateral throughout the
        world for such term or terms, on such conditions and in such manner as the Collateral Agent shall
        in its sole discretion determine; provided, that, the Collateral Agent shall not license any
        Intellectual Property in a way that would result in the cancellation or voiding of any material
        Intellectual Property;

                         (ii)    without assuming any obligations or liability thereunder, at any time and
        from time to time, enforce (and shall have the exclusive right to enforce) against any Licensee or
        sublicensee all rights and remedies of any Loan Party in, to and under any License and take or
        refrain from taking any action under any provision thereof, and each Loan Party hereby releases
        the Collateral Agent and each of the Secured Parties from, and agrees to hold the Collateral Agent
        and each of the Secured Parties free and harmless from and against any claims arising out of, any
        lawful action so taken or omitted to be taken with respect thereto;

                         (iii)    request that each Loan Party will use its commercially reasonable efforts
        to obtain all requisite consents or approvals by the licensor or sublicensor of each License to
        effect the assignment of all of such Loan Party's right, title and interest thereunder to the
        Collateral Agent or its designee and will execute and deliver to the Collateral Agent a power of
        attorney, in form and substance reasonably satisfactory to the Collateral Agent, for the
        implementation of any lease, assignment, License, sublicense, grant of option, sale or other
        disposition of a Patent, Trademark, Copyright or other Intellectual Property; and

                         (iv)    direct any Loan Party to refrain, in which event each such Loan Party
        shall refrain, from using or practicing any Trademark, Patent, Copyright or other Intellectual
        Property in any manner whatsoever, directly or indirectly, and shall, if requested by the Collateral
        Agent, change such Loan Party's name to eliminate therefrom any use of any Trademark and will
        execute such other and further documents as the Collateral Agent may request to further confirm
        this change and transfer ownership of the Trademarks, Patents, Copyrights, other Intellectual
        Property and registrations and any pending applications therefor to the Collateral Agent.

                 (c)     In the event of any disposition following the occurrence and during the
continuance of any Event of Default, each Loan Party shall supply its know-how and expertise relating to
the manufacture and sale of the products or services bearing or offered under any of the Trademarks or
the products, services or works utilizing, made or rendered in connection with or under any of the Patents,
Trademarks or Copyrights, and its customer lists and other records relating to such Patents, Trademarks
or Copyrights and to the distribution of said products, services or works, to the Collateral Agent.

                 Section 11.10 Limitation on the Collateral Agent’s and Secured Parties’ Duty in
Respect of Collateral. The Collateral Agent’s sole duty with respect to the custody, safekeeping and
physical preservation of the Collateral in its possession, under Section 9-207 of the UCC or otherwise,
shall be to deal with it in the same manner as the Collateral Agent deals with similar property for its own
account. The Collateral Agent and each Secured Party shall use reasonable care with respect to the
Collateral in its possession or under its control. Neither Agent nor any Secured Parties shall have any
other duty as to any Collateral in its possession or control or in the possession or control of any agent or
nominee of the Collateral Agent or such Secured Party, or any income thereon or as to the preservation of
rights against prior parties or any other rights pertaining thereto. Each Agent shall be deemed to have
exercised reasonable care in the custody and preservation of the Collateral in its possession if the




                                                    130
Case 12-36495-KRH          Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                       Desc Main
                                Document    Page 196 of 304


Collateral is accorded treatment substantially equal to that which it accords its own property. The
Collateral Agent shall not be liable or responsible for any loss or damage to any of the Collateral, or for
any diminution in the value thereof, by reason of the act or omission of any warehousemen, carrier,
forwarding agency, consignee or other agent or bailee selected by the Collateral Agent absent gross
negligence or willful misconduct. The powers conferred on the Collateral Agent, the DIP Agent and the
Secured Parties hereunder are solely to protect the Agents’ and Secured Parties’ interests in the Collateral
and shall not impose any duty upon any Agent or any Secured Party to exercise any such powers. The
Agents and the Secured Parties shall be accountable only for amounts that they actually receive as a result
of the exercise of such powers, and neither they nor any of their officers, directors, employees or agents
shall be responsible to any Loan Party for any act or failure to act hereunder, except for their own gross
negligence or willful misconduct.

                Section 11.11 Authorized Terminations.

                 (a)      Upon any sale or other transfer by any Loan Party (other than any sale or transfer
to another Loan Party) of any Collateral that is permitted under this Agreement or upon the effectiveness
of any written consent to the release of the security interest granted hereby in any Collateral pursuant to
Section 11.02, the security interest in such Collateral shall be automatically released and such Collateral
shall be sold free and clear of the Lien and security interests created hereby.

                 (b)    Following the DIP Termination Date or the release pursuant to clause (a) above,
the Collateral Agent shall promptly, at the expense of the relevant Loan Party, execute and deliver to such
Loan Party all documents that such Loan Party shall reasonably request to evidence such termination or
release, including authorization to file termination statements and releases in accordance with Section 9-
513(c) of the UCC. Any execution and delivery of documents pursuant to this Section 11.11 shall be
without recourse to or warranty by the Collateral Agent.

                Section 11.12 Modifications.

                 (a)     The Liens, lien priority, administrative priorities and other rights and remedies
granted to the Collateral Agent for the benefit of the Secured Parties pursuant to this Agreement, the
Interim Order and/or the Final Order (specifically, including, but not limited to, the existence, perfection
and priority of the Liens provided herein and therein and the administrative priority provided herein and
therein) shall not be modified, altered or impaired in any manner by any other financing or extension of
credit or incurrence of indebtedness by any of the Loan Parties (pursuant to Section 364 of the
Bankruptcy Code or otherwise), or by any dismissal or conversion of any of the Chapter 11 Cases, or by
any other act or omission whatsoever. Without limitation, notwithstanding any such financing, extension,
incurrence, dismissal, conversion, act or omission:

                        (i)     no costs or expenses of administration which have been or may be
        incurred in any of the Chapter 11 Cases or any conversion of the same or in any other
        proceedings related thereto, and no priority claims, are or will be prior to or on a parity with the
        Superpriority DIP Claims (other than the Carve-Out) in respect of any DIP Obligation;

                          (ii)     the liens and security interests granted herein shall constitute valid and
        perfected first priority liens and security interests subject only to (i) Permitted Liens and (ii) the
        Carve-Out, and shall be prior to all other liens and security interests, now existing or hereafter
        arising, in favor of any other creditor or any other Person whatsoever; and




                                                     131
Case 12-36495-KRH           Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                      Desc Main
                                 Document    Page 197 of 304


                        (iii)   the liens and security interests granted hereunder shall continue valid and
        perfected without the necessity that financing statements be filed or that any other action be taken
        under applicable non-bankruptcy law.

                (b)     Notwithstanding any failure on the part of any Loan Party, an Agent or the
Secured Parties to perfect, maintain, protect or enforce the liens and security interests in the Collateral
granted hereunder, the Interim Order and the Final Order shall automatically, and without further action
by any Person, perfect such liens and security interests against the Collateral.

                                              ARTICLE XII

                                               GUARANTY

                 Section 12.01 Guaranty of Guaranteed DIP Obligations of the Borrower. In order
to induce the DIP Agents and the DIP Lenders to enter into this Agreement and other DIP Loan
Documents and to induce the DIP Lenders to make the DIP Loans and the Issuing Lender to incur LC
Obligations as provided for in this Agreement, each Guarantor jointly and severally hereby
unconditionally guarantees to the DIP Agent and the DIP Lenders, and their respective successors,
endorsees, transferees and permitted assigns for the benefit of Secured Parties, the prompt payment
(whether at stated maturity, by acceleration or otherwise) and performance of the DIP Obligations (other
than such Person’s own DIP Obligations under this Agreement) (hereinafter the “Guaranteed DIP
Obligations”). Each Guarantor agrees that this guaranty (the terms of Article XII, collectively, this
“Guaranty”) is a guaranty of payment and performance and not of collection, and that its obligations
under this Guaranty shall be primary, absolute and unconditional, irrespective of, and shall not be
released, discharged or otherwise affected or impaired by:

                (a)     any extension, renewal, settlement, compromise, acceleration, waiver or release
in respect of any obligation of the Borrower or any Other Loan Party under this Agreement, any other
DIP Loan Document, or any other agreement or instrument evidencing or securing any Guaranteed DIP
Obligation, by operation of law or otherwise;

               (b)     any change in the manner, place, time or terms of payment of any Guaranteed
DIP Obligation or any other amendment, supplement or modification to this Agreement, the DIP Loan
Documents or any other agreement or instrument evidencing or securing any Guaranteed DIP Obligation;

                 (c)      any release, non-perfection or invalidity of any direct or indirect security for any
Guaranteed DIP Obligation, any sale, exchange, surrender, realization upon, offset against or other action
in respect of any direct or indirect security for any Guaranteed DIP Obligation or any release of any Other
Loan Party or any other guarantor or guarantors of any Guaranteed DIP Obligation;

                 (d)    any change in the existence, structure or ownership of the Borrower or any Other
Loan Party or any insolvency, bankruptcy, reorganization, arrangement, readjustment, composition,
liquidation or other similar proceeding affecting any Borrower or any Other Loan Party or its assets or
any resulting disallowance, release or discharge of all or any portion of any Guaranteed DIP Obligation;

                (e)      the existence of any claim, set-off or other right which any Guarantor may have
at any time against the Borrower, any Other Loan Party, any Agent, any other Secured Party or any other
Person, whether in connection herewith or any unrelated transaction; provided that nothing herein shall
prevent the assertion of any such claim by separate suit or compulsory counterclaim;




                                                     132
Case 12-36495-KRH          Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                     Desc Main
                                Document    Page 198 of 304


                (f)      any invalidity or unenforceability relating to or against the Borrower or any
Other Loan Party for any reason of this Agreement, any DIP Loan Document or any other agreement or
instrument evidencing or securing any Guaranteed DIP Obligation or any provision of applicable law or
regulation purporting to prohibit the payment by the Borrower or any Other Loan Party of any Guaranteed
DIP Obligation;

                (g)      any failure by any Agent or any other Secured Party: (i) to file or enforce a claim
against any Other Loan Party or its estate; (ii) to give notice of the existence, creation or incurrence by
any Other Loan Party of any new or additional indebtedness or obligation under or with respect to the
Guaranteed DIP Obligations; (iii) to commence any action against any Other Loan Party; (iv) to disclose
to any Guarantor any facts which such Agent or such other Secured Party may now or hereafter know
with regard to any Other Loan Party; or (v) to proceed with due diligence in the collection, protection or
realization upon any collateral securing the Guaranteed DIP Obligations;

                (h)     any direction as to application of payment by the Borrower, any Other Loan
Party or any other Person;

                  (i)  any subordination by any Secured Party of the payment of any Guaranteed DIP
Obligation to the payment of any other liability (whether matured or unmatured) of any Other Loan Party
to its creditors;

              (j)     any act or failure to act by any Agent or any other Secured Party under this
Agreement or otherwise which may deprive any Guarantor of any right to subrogation, contribution or
reimbursement against any Other Loan Party or any right to recover full indemnity for any payments
made by such Guarantor in respect of the Guaranteed DIP Obligations; or

                (k)     any other act or omission to act or delay of any kind by the Borrower, any Other
Loan Party, any Agent, any Secured Party or any other Person or any other circumstance whatsoever
which might, but for the provisions of this clause, constitute a legal or equitable discharge of any
Guarantor's obligations hereunder.

Each Guarantor has irrevocably and unconditionally delivered this Agreement to the DIP Agent, for the
benefit of the Secured Parties, and the failure by any Other Loan Party or any other Person to sign this
Agreement or a guaranty similar to this Agreement or otherwise shall not discharge the obligations of any
Guarantor hereunder. The irrevocable and unconditional liability of each Guarantor hereunder applies
whether it is jointly and severally liable for the entire amount of the Guaranteed DIP Obligations, or only
for a pro-rata portion, and without regard to any rights (or the impairment thereof) of subrogation,
contribution or reimbursement that such Guarantor may now or hereafter have against any Other Loan
Party or any other Person. This Agreement is and shall remain fully enforceable against each Guarantor
irrespective of any defenses that any Other Loan Party may have or assert in respect of the Guaranteed
DIP Obligations, including, without limitation, failure of consideration, breach of warranty, statute of
frauds, payment, statute of limitations, accord and satisfaction and usury, except that a Guarantor may
assert the defense of final payment in full of the Guaranteed DIP Obligations.

Each Guarantor shall be regarded, and shall be in the same position, as the principal debtor with respect to
the Guaranteed DIP Obligations. The Guarantors agree that any notice or directive given at any time to
the DIP Agent which is inconsistent with the waiver in the immediately preceding sentence shall be null
and void and may be ignored by the DIP Agent and the Secured Parties and, in addition, may not be
pleaded or introduced as evidence in any litigation relating to this Guaranty for the reason that such
pleading or introduction would be at variance with the written terms of this Guaranty, unless the DIP
Agent and the Required DIP Lenders have specifically agreed otherwise in writing. It is agreed among the




                                                    133
Case 12-36495-KRH          Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                      Desc Main
                                Document    Page 199 of 304


Guarantors, the DIP Agent and Secured Parties that the foregoing waivers are of the essence of the
transaction contemplated by the DIP Loan Documents and that, but for this Guaranty and such waivers,
the DIP Agent and the DIP Lenders would decline to enter into this Agreement and the Secured Parties
would decline to enter into the applicable documents governing the DIP Obligations.

                 Section 12.02 Demand by the DIP Agent or the DIP Lenders. In addition to the
terms of the Guaranty set forth in Section 12.01 hereof, and in no manner imposing any limitation on such
terms, it is expressly understood and agreed that, if, at any time, the outstanding principal amount of the
Guaranteed DIP Obligations under this Agreement (including all accrued interest thereon) is declared to
be immediately due and payable, then the Guarantors shall, without demand, pay to the holders of the
Guaranteed DIP Obligations the entire outstanding Guaranteed DIP Obligations due and owing to such
holders. Payment by the Guarantors shall be made to the DIP Agent in Dollars in immediately available
funds to an account designated by the DIP Agent hereunder or at any other address that may be specified
in writing from time to time by the DIP Agent, and shall be credited and applied to the Guaranteed DIP
Obligations.

                 Section 12.03 Enforcement of Guaranty. In no event shall the DIP Agent have any
obligation (although it is entitled, at its option in its sole discretion) to proceed against Borrower or any
Collateral pledged to secure the Guaranteed DIP Obligations before seeking satisfaction from any
Guarantor, and the DIP Agent may proceed, prior or subsequent to the enforcement of the DIP Agent’s
rights hereunder, to exercise any right or remedy which it may have against any Collateral, as a result of
any Lien it may have as security for all or any portion of the Guaranteed DIP Obligations.

                Section 12.04 Waiver.

                 (a)      In addition to the waivers contained in Section 12.01 hereof, each Guarantor
hereby waives to the fullest extent permitted by Law, and each Guarantor hereby agrees that is shall not at
any time insist upon, plead or in any manner whatsoever claim or take the benefit or advantage of, any
appraisal, valuation, stay, extension, marshaling of assets or redemption laws, or exemption, whether now
or at any time hereafter in force, which may delay, prevent or otherwise affect the joint and several
performance by the Guarantors of the Guaranteed DIP Obligations under, or the enforcement by the DIP
Agent, the DIP Lenders or other Secured Parties of, this Guaranty.

                 (b)    Each Guarantor hereby waives to the fullest extent permitted by Law diligence
and presentment (whether for non-payment or protest or of acceptance, maturity, extension of time,
change in nature or form of the Guaranteed DIP Obligations, acceptance of further security, release of
further security, composition or agreement arrived at as to the amount of, or the terms of, the Guaranteed
DIP Obligations, notice of adverse change in the financial condition of the Borrower or any other Loan
Party or any other fact which might increase the risk to a Guarantor) with respect to any of the
Guaranteed DIP Obligations or all other demands whatsoever and waive the benefit of all provisions of
law which are or might be in conflict with the terms of this Guaranty.

                 Section 12.05 Modification of Guaranteed DIP Obligations, Etc. Each Guarantor
hereby acknowledges and agrees that the DIP Agent and the Secured Parties may at any time or from time
to time, to the extent permitted by this Agreement or applicable Law, with or without the consent of, or
notice to, the Guarantors:

                (a)      change or extend the manner, place or terms of payment of, or renew or alter all
or any portion of, the Guaranteed DIP Obligations;




                                                    134
Case 12-36495-KRH          Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                      Desc Main
                                Document    Page 200 of 304


                (b)      take any action under or in respect of the DIP Loan Documents in the exercise of
any remedy, power or privilege contained therein or available to it at law, equity or otherwise, or waive or
refrain from exercising any such remedies, powers or privileges;

               (c)      amend or modify, in any manner whatsoever, the DIP Loan Documents (in
accordance with the terms thereof);

               (d)    extend or waive the time for any Loan Party’s performance of, or compliance
with, any term, covenant or agreement on its part to be performed or observed under the DIP Loan
Documents, or waive such performance or compliance or consent to a failure of, or departure from, such
performance or compliance;

                (e)     (i) subject to this Agreement, take and hold Collateral for the payment of the
Guaranteed DIP Obligations guaranteed hereby or (ii) upon the occurrence and during the continuance of
an Event of Default or otherwise in accordance with the DIP Loan Documents, sell, exchange, release,
dispose of, or otherwise deal with, any property pledged, mortgaged or conveyed, or in which the DIP
Agent or any Secured Party has been granted a Lien, to secure any of the DIP Obligations;

              (f)     release any Person who may be liable in any manner for the payment of any
amounts owed by the Borrower or any Guarantor to the DIP Agent or any Secured Party;

                 (g)    modify or terminate the terms of any intercreditor or subordination agreement
pursuant to which claims of other creditors of the Borrower and the other Loan Parties are subordinated to
the claims of the DIP Agent and the Secured Parties; and/or

                 (h)    subject to this Agreement, apply any sums by whomever paid or however
realized to any amounts owing by Borrower and the other Loan Parties to the DIP Agent or any Secured
Party in such manner as the DIP Agent or any DIP Lender shall determine in its discretion;

and none of the DIP Agent or any Secured Party shall incur any liability to any Guarantor as a result
thereof, and no such action shall impair or release the Guaranteed DIP Obligations of the Guarantors
under this Guaranty (unless, subject to Section 12.06 below, such action results in the payment in full and
satisfaction of the DIP Obligations).

                 Section 12.06 Reinstatement. This Guaranty shall remain in full force and effect and
continue to be effective, or be reinstated, should any petition be filed by or against the Borrower or any
Guarantor for liquidation or reorganization, should Borrower or any Guarantor become insolvent or make
an assignment for the benefit of creditors or should a receiver or trustee be appointed for all or any
significant part of the Borrower’s or such Guarantors’ assets, and shall continue to be effective or be
reinstated, as the case may be, if at any time payment and performance of the Guaranteed DIP
Obligations, or any part thereof, is, pursuant to applicable law, rescinded or reduced in amount, or must
otherwise be restored or returned by the DIP Agent or any Secured Party, whether as a “voidable
preference”, “fraudulent conveyance”, or otherwise, all as though such payment or performance had not
been made and such Guaranteed DIP Obligations shall be deemed reduced only by such amount paid and
not so rescinded, reduced, restored or returned.

                 Section 12.07 Waiver of Subrogation, Etc. Notwithstanding anything to the contrary
in this Guaranty, or in any other DIP Loan Document, each Guarantor hereby expressly and irrevocably
waives, to the fullest extent permitted by law, on behalf of itself and its successors and assigns (including
any surety), any and all rights at law or in equity to subrogation, to reimbursement, to exoneration, to
contribution, to indemnification, to set off or to any other rights that could accrue to a surety against a




                                                    135
Case 12-36495-KRH           Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                        Desc Main
                                 Document    Page 201 of 304


principal, to a guarantor against a principal, to a guarantor against a maker or obligor, to an
accommodation party against the party accommodated, to a holder or transferee against a maker, or to the
holder of any claim against any Person, and which any such Guarantor may have or hereafter acquire
against any Loan Party in connection with or as a result of such Guarantor’s execution, delivery and/or
performance of this Guaranty, or any other documents to which such Guarantor is a party or otherwise.

                 Section 12.08 Election of Remedies. If the DIP Agent may, under applicable law,
proceed to realize benefits under any of the DIP Loan Documents giving the DIP Agent and Secured
Parties a Lien upon any Collateral of any Loan Party, either by judicial foreclosure or by non-judicial sale
or enforcement, the DIP Agent may, at its sole option, determine which of such remedies or rights it may
pursue without affecting any of such rights and remedies under this Guaranty. If, in the exercise of any of
its rights and remedies, the DIP Agent shall forfeit any of its rights or remedies, including its right to enter
a deficiency judgment against any Loan Party, whether because of any applicable laws pertaining to
“election of remedies” or the like, each Guarantor hereby consents to such action by the DIP Agent and
waives, to the fullest extent permitted by law, any claim based upon such action, even if such action by
the DIP Agent shall result in a full or partial loss of any rights of subrogation which such Guarantor might
otherwise have had but for such action by the DIP Agent. Any election of remedies which results in the
denial or impairment of the right of the DIP Agent to seek a deficiency judgment against any Loan Party
shall not impair any Guarantor’s obligation to pay the full amount of the Guaranteed DIP Obligations. In
the event the DIP Agent shall bid at any foreclosure or trustee’s sale or at any private sale permitted by
law or the DIP Loan Documents, the DIP Agent may bid all or less than the amount of the Guaranteed
DIP Obligations and the amount of such bid need not be paid by the DIP Agent but shall be credited
against the Guaranteed DIP Obligations. Any difference between such bid amount and the remaining
balance of the Guaranteed DIP Obligations shall be deemed to be the amount of the Guaranteed DIP
Obligations guaranteed under this Guaranty; provided, any present or future law or court decision or
ruling may have the effect of reducing the amount of any deficiency claim to which the DIP Agent and
Secured Parties might otherwise be entitled but for such bidding at any such sale.

                 Section 12.09 Continuation of Guaranty. This Guaranty is a continuing guaranty and
shall remain in full force and effect until the satisfaction in full of all DIP Obligations. Upon payment and
performance in full of the Guaranteed DIP Obligations, the DIP Agent shall deliver to the Guarantors
such documents as each such Guarantor may reasonably request to evidence such termination in
accordance with this Agreement. This Guaranty shall be binding on each Guarantor regardless of whether
the Chapter 11 Case with respect to each such Guarantor is dismissed.

                                          [Signature Pages Follow]




                                                      136
Case 12-36495-KRH   Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52   Desc Main
                         Document    Page 202 of 304
Case 12-36495-KRH   Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52   Desc Main
                         Document    Page 203 of 304
Case 12-36495-KRH   Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52   Desc Main
                         Document    Page 204 of 304
Case 12-36495-KRH   Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52   Desc Main
                         Document    Page 205 of 304
Case 12-36495-KRH   Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52   Desc Main
                         Document    Page 206 of 304
Case 12-36495-KRH   Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52   Desc Main
                         Document    Page 207 of 304
Case 12-36495-KRH   Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52   Desc Main
                         Document    Page 208 of 304
Case 12-36495-KRH        Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                Desc Main
                              Document    Page 209 of 304



                               SCHEDULES TO AGREEMENT

               This document contains the schedules (the “Schedules”) referred to in, and is of
the date of, that certain Senior Secured Debtor-in-Possession Credit Agreement (as amended
from time to time, the “Agreement”), dated as of November 13, 2012, among Holdings, the
Borrower, each of the other Loan Parties party thereto, the Lenders from time to time party
thereto, and Credit Suisse AG, Cayman Islands Branch, as Issuing Lender and DIP Agent.
Capitalized terms used herein and not otherwise defined have the meanings ascribed to them in
the Agreement.

               This Schedule is qualified in its entirety by reference to the specific provisions of
the Agreement. Matters reflected herein may not necessarily be limited to matters strictly
required by the Agreement to be reflected in the Schedules. To the extent that any such
additional matters are included, they are included for informational purposes only.

                Schedule headings have been placed on the Schedules for the convenience of the
parties only; such headings shall be given no substantive or interpretive effect whatsoever. The
matters disclosed in any particular schedule of these Schedules shall be deemed to have been
disclosed in all other sections of these Schedules where it is readily apparent that the matters so
disclosed are applicable to such other schedules.
Case 12-36495-KRH           Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52       Desc Main
                                 Document    Page 210 of 304



                                             Schedule 1.01A

                                   DIP Lenders and Commitments


                    Lender                          Commitment Amount   Commitment Percentage
Credit Suisse Loan Funding LLC                        $10,000,000.00          20.00%
Goldman Sachs Palmetto State Credit Fund, L.P.         $3,637,000.00           7.27%
Liberty Harbor Master Fund I, L.P.                    $22,863,000.00          45.73%
Midtown Acquisitions, L.P.                            $13,500,000.00          27.00%

Totals:                                                $50,000,000.00         100.00%
Case 12-36495-KRH         Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                               Desc Main
                               Document    Page 211 of 304



                                            Schedule 1.01D

                                           Lender Addresses

                                                            Applicable Lending Office     Applicable Lending Office
          Lender              Address for Notices               for Base Rate Loans          for Eurodollar Loans
Credit Suisse Loan        Eleven Madison Avenue             Eleven Madison Avenue         Eleven Madison Avenue
Funding LLC               New York, NY 10010                New York, NY 10010            New York, NY 10010
                          Attention: Ashwinee Sawh          Attention: Ashwinee Sawh      Attention: Ashwinee Sawh
                          Facsimile: 866-469-3871           Facsimile: 866-469-3871       Facsimile: 866-469-3871
                          or 212-442-5186                   or 212-442-5186               or 212-442-5186
Goldman Sachs Palmetto    c/o Goldman Sachs Asset           c/o Goldman Sachs Asset       c/o Goldman Sachs Asset
State Credit Fund, L.P.   Management, L.P.                  Management, L.P.              Management, L.P.
                          1 American Lane                   1 American Lane               1 American Lane
                          Greenwich, CT 06831               Greenwich, CT 06831           Greenwich, CT 06831
                          Attention: Brendan                Attention: Brendan            Attention: Brendan
                          McGovern                          McGovern                      McGovern
                          Facsimile: (212) 256-5597         Facsimile: (212) 256-5597     Facsimile: (212) 256-5597
Liberty Harbor Master     c/o Goldman Sachs Asset           c/o Goldman Sachs Asset       c/o Goldman Sachs Asset
Fund I, L.P.              Management, L.P.                  Management, L.P.              Management, L.P.
                          1 American Lane                   1 American Lane               1 American Lane
                          Greenwich, CT 06831               Greenwich, CT 06831           Greenwich, CT 06831
                          Attention: Brendan                Attention: Brendan            Attention: Brendan
                          McGovern                          McGovern                      McGovern
                          Facsimile: (212) 256-5597         Facsimile: (212) 256-5597     Facsimile: (212) 256-5597
Midtown Acquisitions,     65 East 55th St.                  65 East 55th St.              65 East 55th St.
L.P.                      20th Floor                        20th Floor                    20th Floor
                          New York, NY 10022                New York, NY 10022            New York, NY 10022
                          Attention: Lorraine Conti /       Attention: Lorraine Conti /   Attention: Lorraine Conti /
                          Lourdes Manent                    Lourdes Manent                Lourdes Manent
                          Telephone: (212) 446-             Telephone: (212) 446-         Telephone: (212) 446-
                          4053                              4053                          4053




                                                        2
Case 12-36495-KRH    Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52         Desc Main
                          Document    Page 212 of 304



                                     Schedule 1.01E

                               Insignificant Subsidiaries

                    Entity Name            Jurisdiction of Organization or
                                                      Formation
           The Bowler’s Choice Restaurant,             Maryland
           Inc.

           Corner Restaurant East, Inc.                 Maryland

           Southdale Bowler’s Restaurant,               Maryland
           Inc.

           Prince George’s Concession,                  Maryland
           Inc.
Case 12-36495-KRH      Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52         Desc Main
                            Document    Page 213 of 304



                                     Schedule 1.01F

                              Liquor License Subsidiaries

                       Entity Name           Jurisdiction of Organization or
                                                        Formation
           AMF Beverage Company of                       Oregon
           Oregon, Inc.

           Bush River Corporation                     South Carolina

           King Louie Lenexa, Inc.                       Kansas

           300, Inc.                                      Texas

           The Bowler’s Choice Restaurant,              Maryland
           Inc.

           Corner Restaurant East, Inc.                 Maryland

           Southdale Bowler’s Restaurant,               Maryland
           Inc.

           Prince George’s Concession,                  Maryland
           Inc.
     Case 12-36495-KRH      Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52       Desc Main
                                 Document    Page 214 of 304



                                             Schedule 2.05

                                      Existing Letters of Credit

       Beneficiary    LC Number     Issued Date         Expire Date             Balance
1.    iStar           TS-07002209 02/27/04            11/23/12                       $2,397,352.81
      Financial,
      Inc. – Lease
      II
2.    iStar           TS-07002208 02/27/04            11/23/12                         $2,413,248.44
      Financial,
      Inc. – Lease
      I
3.    iStar           TS-07004702 06/24/08            11/23/12                         $5,000,000.00
      Financial,
      Inc. – Lease
      I
4.    iStar           TS-07004703 06/24/08            11/23/12                         $5,000,000.00
      Financial,
      Inc. – Lease
      II
5.    AIG             TS-07002213 03/02/04            11/23/12                          $748,615.00
      (American
      International
      Group)
6.    Hartford        TS-07002230 03/11/04             11/23/12                         $356,754.00
      Fire
      Insurance
      Co.
7.    Travelers       TS-07006084 06/30/11            11/23/12                         $3,350,000.00
      Indemnity
      Co.
                                                      Total:          $19,425,970.25

     Balances as of September 30, 2012.
Case 12-36495-KRH       Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52              Desc Main
                             Document    Page 215 of 304



                                        Schedule 5.04

                                           Defaults

1. The Borrower failed to make interest payments and other deliveries required by the First Lien
   Credit Agreement and Second Lien Credit Agreement (together, the “Existing Credit
   Agreements”) pursuant to the terms of the Forbearance Agreement dated as of September 10,
   2012 (as amended by that certain First Amendment to Forbearance Agreement, dated as of
   September 28, 2012, by that certain Second Amendment to Forbearance Agreement dated as
   of October 19, 2012 and by that certain Third Amendment to Forbearance Agreement dated
   as of November 6, 2012) by and among the Borrower, Holdings, the Subsidiary Guarantors,
   the DIP Agent, and the Lenders party thereto as amended.

2. AMF Bowling Centers, Inc. (“AMF”) failed to pay rent under the iStar Master Leases
   pursuant to the terms of the Forbearance Agreement No. 2 dated as of September 28, 2012 by
   and among AMF, iStar Bowling Centers I, LP (“iStar I”) and iStar Bowling Centers II, LP
   (“iStar II”) and the Borrower.

3. AMF received notices from iStar I and iStar II (together, “iStar”) with respect to potential
   deferred maintenance in the bowling centers that iStar leased to AMF under the iStar Master
   Leases.

4. AMF vacated and ceased making rent payments under the following bowling center leases
   beginning in June 2012 (“Abandoned Center Leases”):

                          Landlord                            Center Name and Number
   Gayle S. Lovelace Revocable Trust of 2001               AMF 4848 Madison Avenue
   300 Camino Del Oeste                                    Lanes (#1569)
   Bakersfield, CA 93309
   Summit City Limits, LLC                                 AMF City Limits Lanes (#634)
   21645 Boulder Creek Drive
   Lakeville, MN 55044
   Micheltree Properties, LLC                              AMF Classic Lanes (#632)
   101 Dixie Highway
   Chicago Heights, IL 60411
   G. L. Thomas Properties LLC                             AMF Inca Lanes (#286)
   3515 Gila Ride Road
   Yuma, AZ 85366
   Lang Corporation/PAM Realty/Lang’s Bowlarama            AMF Lang’s Bowl (#172)
   25 East Main Rd
   Middletown, RI 02842
   BTR Free State Bowl, Inc.                               AMF Rolling Meadows Lanes
   3333 New Hyde Park Rd., #100                            (#385)
   New Hyde Park, NY 11042
Case 12-36495-KRH      Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52            Desc Main
                            Document    Page 216 of 304



                         Landlord                           Center Name and Number
   Shea Village, LLC                                     AMF Shea Village Lanes (#352)
   4455 E. Camelback Rd., Ste. D-280
   Phoenix, AZ 85018
   Bennprop, LLC                                         AMF Tri State Lanes (#298)
   109 East Eight St.
   Chattanooga, TN 37402
   Phillip/Ann Jacobson                                  AMF Valley Lanes (#188)
   50 North 3rd Street
   Newark, OH 43055
   Lewis Commercial Properties, LLC                      AMF Victory Lanes (#112)
   9505 Abercorn Street
   Savannah, GA 31416
   Wonder Bowl Limited Partnership                       AMF Wonder Lanes (#82)
   10 Morning Green
   San Antonio, TX 78257
   Salvatore Muzzi                                       AMF Woodhaven Lanes (#235)
   701 Meadowood Drive
   Woodland, CA 95695
   Springfield Center I Associates LP                    AMF Airway Lanes (#75)
   c/o WP Realty, Inc.
   940 Haverford Road
   Bryn Mawr, PA 19010

5. AMF Bowling Products UK Ltd (“UK BPO”) failed to perform its obligations due for
   periods after August 2012 under (i) the BPO Services Agreement between the Qubica JV
   Entity and the Borrower (“BPO Services Agreement”), (ii) the Agreement among UK BPO,
   the Borrower and QubicaAMF Worldwide, LLC, a subsidiary of the Qubica JV Entity
   (“QAMF LLC”) (“Cost Allocation Agreement”), and (iii) the UK Services Agreement
   among UK BPO, QubicaAMF BV and QubicaAMF Europe SpA (both subsidiaries of the
   Qubica JV Entity) (“UK Services Agreement”). The BPO Services Agreement, the Cost
   Allocation Agreement and the UK Services Agreement are collectively referred to herein as
   the “UK Documents”.

6. The insolvency of UK BPO (see Schedule 5.05) is a default under the Existing Credit
   Agreements. In addition, the insolvency of UK BPO triggered the commencement of the
   wind up of the UK Pension Plan (see Schedule 5.05).
Case 12-36495-KRH         Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52               Desc Main
                               Document    Page 217 of 304



                                          Schedule 5.05

                                       Financial Condition

1. Undisclosed Liabilities.
     a. As disclosed at pages 19 and 20 in the Business Plan Review (“Review”) located in the
        Data Room, which has been made available to Agent and DIP Lender, the Borrower
        identified deferred maintenance and other necessary or advisable facility investments
        with respect to the bowling centers, which will remain following the amendment to the
        iStar Master Leases (the “Remaining Centers”) that the Borrower intends to cure through
        capital expenditures during FY 2013 through FY 2017 as indicated in the Review. There
        is deferred maintenance in the Borrower’s other bowling centers with respect to which
        the Borrower has not made plans to address.
     b. AMF received notices from iStar with respect to potential defects that may violate the
        terms of the iStar Master Leases. AMF believes that the cost to remedy such defects is in
        excess of $10 million and the cost to remedy is reflected in the facility investments.
     c. The Borrower is aware that a number of its bowling centers, including those subject to
        the iStar Master Leases, are not in compliance with the technical requirements of Title III
        of the Americans With Disabilities Act, 42 U.S.C. Section 12181, et seq. (“ADA”). The
        capital expenditures to remedy the defects with respect to the Remaining Centers are
        reflected in the facility investments.
     d. UK BPO is the sponsor of a UK defined benefit pension plan called The AMF Bowling
        Pension Plan (“UK Pension Plan”). The UK Pension Plan is underfunded. UK BPO
        entered into an insolvency proceeding in the UK and is being liquidated. The liquidation
        will cause the winding up of the UK Pension Plan and the determination of the Section 75
        liability, which is the deficit or difference between the UK Pension Plan’s liabilities and
        its assets (“Deficit”). The UK Pension Plan’s actuary has estimated that the Deficit could
        exceed £8.6 million. The Borrower guaranteed 90% of the Deficit and AMF guaranteed
        100% of the Deficit. In addition, QAMF, LLC, a subsidiary of the Qubica JV Entity, in
        which the Group Company holds a 50% interest, provided a 10% guarantee of the
        Deficit.
     e. Prior to UK BPO entering into insolvency, it ceased performing under the UK
        Documents and this may result in claims by the Qubica JV Entity.
     f. AMF may have potential withdrawal liability under several Multiemployer Plans, the
        amount of which is not known (see Schedule 5.11).
     g. AMF failed to make rent payments under the Abandoned Center Leases and this may
        result in claims for damages from the landlords.
     h. The Borrower may have potential liability as guarantor under three UK bowling center
        leases that were not released when the Borrower sold the UK bowling centers business in
        2004.
2.      No Material Effect. See item 1 above.
Case 12-36495-KRH       Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52             Desc Main
                             Document    Page 218 of 304



                                        Schedule 5.07

                                      Title to Properties

With respect to the Abandoned Center Leases, certain landlords have taken legal proceedings or
exercised self-help to take possession of these bowling centers.
Case 12-36495-KRH     Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52              Desc Main
                           Document    Page 219 of 304



                                      Schedule 5.08

                                  Litigation and Claims

I.    Litigation.
      •      Maurice Lerari v. Societe Anonyme du Bowling de Montparnasse (Labor Court of
             Paris) – Suit for Overtime filed by Former GM of Montparnasse bowling center in
             France.
      •      Jerome Gaillard v. Societe Anonyme du Bowling de Montparnasse (Paris Court of
             Appeal) – Misclassification of position.
      •      4 Bowl v. AMF Bowling Centers, Inc. (U.S. District Court, Central District of
             California) – 4Bowl alleges that AMF stole its idea for a national tournament.
      •      U.S. Occupational Safety and Health Review Commission (“OSHA”) v. AMF
             Bowling Centers, Inc. – Death of Mechanic at 300 Dallas.
      •      John Truel, et al. v. A. Aguirre LLC et al, including AMF Bowling Centers, Inc.
             (District Court of Canadian County, OK) - Overcharges and False Advertising on
             Mixed Beverages.
      •      Glady Erbar and Tom Erbar v. v. A. Aguirre LLC et al, including AMF Bowling
             Centers, Inc. (District Court of Canadian County, OK) - Overcharges and False
             Advertising on Mixed Beverages.
      •      Jackson Archer v. AMF Bowling Centers, Inc. and AMF, Inc. (Madison County,
             IL) – Plaintiff claims exposure to asbestos during employment.
      •      James and Doris Burch v. AMF, Inc. (Madison County, IL) – Plaintiff claims
             exposure to asbestos during employment.
      •      Harvey Haycook v. AMF, Inc. (St. Louis County Circuit Court, MO) - Plaintiff
             claims exposure to asbestos during employment.
      •      Jewish Community Center v. AMF Bowling Centers, Inc. (St. Louis County
             Circuit Court. MO) – Breach of Lease Agreement/Removal of Equipment from
             closed center.
      •      Van Tim, Inc. v. AMF Bowling Centers, Inc. (Clark County Superior Court, WA)
             – Breach of Lease Agreement – Failure to Maintain Premises.
      •      Lang’s Bowlarama, Inc., Lang Corporation and Pam Realty, Inc. v. AMF
             Bowling Centers, Inc. (State of Rhode Island Superior Court) – Breach of Lease.
             Failure to maintain premises.
      •      W.P. Realty, Inc., as Agent for Springfield Center I Associates Limited
             Partnership (Demand Letter) – Breach of lease for Airway Lanes.
      •      Tiessen v. AMF Bowling Centers, Inc. (U.S. District Court for Western District of
             OK) – ADA.
Case 12-36495-KRH   Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52             Desc Main
                         Document    Page 220 of 304



      •    G.L. Thomas Family Living Trust dated 8/18/94 v. AMF Bowling Centers, Inc.
           (Yuma County Superior Court, AZ) – Breach of lease.
      •    Dominic Grimmett v. AMF Bowling Worldwide, Inc. (District Court of
           Oklahoma County, OK) – Wrongful Termination and Breach of Contract.
      •    Wonder Bowl Limited Partnership (73rd Judicial District Court, Bexar County,
           TX) – Breach of Lease.
      •    BTR Free State Bowls, Inc. v. AMF Bowling Centers, Inc. (Cook County Circuit
           Court, IL) – Breach of Lease.
      •    Disability Rights Section of the Civil Rights Division of the U.S. Department of
           Justice (Request for Mediation) - Anonymous Complaint re: ADA Access for
           Service Animals at AMF Pikesville Lanes.
      •    Summit City Limits, LLC v. AMF Bowling Centers, Inc. (First Judicial District,
           Dakota County, MN) – Breach of Lease.
      •    Penny Jahsman d/b/a A.J.’s Pro Shop (Commonwealth of Massachusetts Superior
           Court) – Unfair Termination of Pro Shop Lease/Ban from Center.
      •    Ashley Kessler (EEOC and PA Human Rights Commission, Pittsburgh, PA) –
           Gender, ADA, Retaliation.
      •    James Hayes (EEOC – Charlotte, NC) – Age Discrimination.
      •    Melissa Herbert (EEOC – Baltimore, MD) – Retaliation.
      •    Keiron Baronville (EEOC – Savannah, GA) – Race Discrimination.
      •    Tonya Allen (EEOC – San Antonio, TX) – Race and Retaliation.
      •    Damien Heredha (Unite Here! Local 11) – Wrongful Termination.
      •    Jeanne Isabelle (EEOC – Houston, TX) - Race Discrimination.
      •    Sara Guglielmoni (CT Human Rights Commission) – Race, Retaliation, Sex
           Discrimination.
      •    Teresa Alonzo (CA Department of Fair and Equal Housing) – Disability/Failure
           to Engage in Good Faith Interactive Process.
      •    Larry Buchanan (EEOC and Commonwealth of PA Human Relations) – ADA.
      •    Teresa Columbo – ADA (Demand Letter only).
      •    Michael Rigueur (NY State Division of Harassment) – Harassment.
      •    Megan Foley (CA DFEH) – Disability/Unfair Termination/Depression.
      •    Stephen Pulka (Demand Letter) – Unfair Termination.
      •    Frank Prescott (EEOC – Mobile, AL) – Age, Retaliation.
      •    Virginia Bratek (EEOC) – ADA, Retaliation.
      •    Alfred Olsen (Demand Letter) – Wage/Hour.
Case 12-36495-KRH    Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52          Desc Main
                          Document    Page 221 of 304



      •     John Balady (EEOC) – Age Discrimination.
      •     Laquandra Jackson – Sex, Race Discrimination.
      •     Tom Malz – Appeal of Denial of Unemployment Benefits.
      •     Jeff Moore – Wage/Hour, Retaliation, Wrongful Termination.
      •     The City of Waco, Texas and Waco Independent School District –Property Taxes
            (Pre-Petition Claim from 2001 Chapter 11 Case).
II.   Threatened Claims
      •     Linda Gabriel (MD) – Discrimination
      •     Storm Horncastle (MD) - Discrimination.
      •     Xavier Moss (EEOC, NY) – Wrongful Termination.
      •     Leigh Ann McNellie (EEOC, NY) – Discrimination.
      •     Chad Howard (Call to AMF Merit Hotline) – Sexual Harassment, Physical
            Assault, Denial of Worker’s Compensation Benefits, Discrimination.
      •     Amanda Reyes – ADA.
      •     Desirae Garza (AMF Open Door Policy) – Criminal History Background Check
            Error.
      •     Jennifer Skipper (AMF Open Door Policy) – Sexual Harassment.
      •     Rene Reese (AMF Open Door Policy) – Hostile Work Environment.
      •     Drew Groves (AMF Merit Hotline) – Retaliation.
      •     Lawrence Brasier (AMF Open Door Policy) – Wrongful Termination.
      •     Jennifer Norris (AMF Open Door Policy) – Sexual Discrimination.
      •     Malcom Roberson (AMF Merit Hotline) – Discrimination.
      •     Jeff Moore – Wrongful Termination.
      •     Todd Larner – Wrongful Termination.
      •     Cliff Crabb (AMF Open Door Policy) – Hostile Work Environment.
      •     Sanjoy Sukaphond (CA DFEH) – Racial Discrimination.
      •     Rovalia Banks (Grievance/HR) – Wrongful Termination.
      •     Mary Ann Jones (AMF Open Door Policy) – Sexual Harassment.
      •     Gavin McKinney – Retaliation.
      •     Blake Johnson (AMF Open Door Policy) – Sexual Harassment.
      •     Tenna Holloway (AMF Open Door Policy) – Sexual Harassment.
      •     Esmerelda Ickes (AMF Merit Hotline) – Wrongful Termination.
Case 12-36495-KRH        Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52          Desc Main
                              Document    Page 222 of 304



           •   Corby Hilburn (AMF Open Door Policy) – Racial Discrimination.
           •   Joe Rogers (AMF Open Door Policy) – Hostile Work Environment.
           •   Jennifer Pearson – Hostile Work Environment.
           •   Islam Skrine – Unsigned Severance and General Release Paperwork.
           •   Chris Mackin – Wrongful Termination.
           •   Lisa Jacques – Retaliation.
           •   Anna Null – Wrongful Termination.
           •   Charlene Strang – Constructive Discharge.
           •   Mehja Eskridge – Wrongful Termination.
           •   Stephen Fryer – AMF did not rehire him after summer layoff.
           •   Jacob Bryan – Hostile Work Environment.
           •   Sonjia Walker – Sexual Harassment, Discrimination, Retaliation.
           •   Stephen Solomon – Unfair dismissal.
           •   Marcus Duncan - Wage and Hour.
III. (A)       Open General Liability Matters in Litigation
[SEE ATTACHED]

III. (B)       Open General Liability – Claims

[SEE ATTACHED]

IV. Open Worker’s Compensation Claims

[SEE ATTACHED]
Case 12-36495-KRH   Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52              Desc Main
                         Document    Page 223 of 304
                    III. (A) Open General Liability - Matters in Litigation

                              Plaintiff                        Loss Date

              ALEXANDER, BARBARA                                     10/2/2010
              ALONZO, RUBEN                                          9/11/2010
              ANDREWS, TRACI                                        12/22/2009
              BARONE, MARY                                            2/3/2009
              BENNETT, MYRA                                          8/30/2009
              CALBERT, DERICK                                        5/15/2012
              CASTILLO, ANTONIA                                      4/15/2011
              CHACON, MARTA                                         12/21/2009
              CLARK, GLENDA                                           7/8/2010
              CROWELL, TRACY                                        12/15/2011
              CUCINOTTA, TINA                                        9/20/2010
              DEELEY, ROBERT                                         10/4/2009
              DONAGHY, JUSTIN                                         2/6/2010
              DREW, WANDA                                            1/15/2011
              GALLAGHER, CONNIE                                       2/7/2011
              GUERRERO, MARTHA                                        3/4/2011
              HICKS, ANGELA                                         12/12/2009
              HILL, FRED                                             12/8/2004
              HOURIGAN, GERARD                                        2/6/2010
              HOWARD, ANDREA                                         4/23/2011
              KELLY, PHILIP                                          3/29/2010
              LOVATO, PAUL                                          10/10/2008
              LUCIE, MAUREEN                                         9/29/2010
              MARSHALL, CAROLYN                                       2/5/2009
              MOLINA, JASMIN                                         1/26/2011
              NAGLE, JOHN                                            6/13/2009
              NGUYEN, CHRISTINE                                      8/13/2009
              PATRICK, BRITTNY                                       1/15/2011
              PERNICIARO, THERESA                                    2/19/2012
              PHILLIPS, STEVEN                                       10/4/2009
              PRESLEY, MONICA                                       12/16/2011
              PRINCE, STUART                                        12/30/2009
              RAFFONE, DIANE                                         9/14/2010
              RIVERA, JENNIFER                                      12/11/2010
              RYERSON, MARK                                         10/13/2009
              SALEM, IRA                                             11/4/2010
              SANTOS, MICHAEL                                       10/15/2010
              SCHROEDER, FREDA                                       3/24/2011
              SIMON, LAURA                                           5/16/2010
              STEWART, MONICA                                       11/13/2009
              TRIOLA, DOREEN                                         3/28/2010
              WELLS, JANICE                                          9/15/2008
              WILLIAMS, GERALD                                       1/11/2012
              WILLIAMS, JEANNA                                       5/15/2010
              YEAGER, KATHY                                         10/29/2011

                                          Page 1 of 1
  Case 12-36495-KRH           Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52   Desc Main
                                   Document    Page 224 of 304

   III. (B) Open General Litigation - Claims

           Claimant                 Loss Date

AHLERS, DONNA                        7/29/2012
ALDOUSARI, MOHAMMAD                   7/1/2012
ANDERSON, LINDA                      6/11/2011
BABEL, CONRAD                        6/16/2012
BARONE, LOUIS                        7/12/2010
BARTLEY, NOREEN                      6/22/2011
BENSON, JACKSON                      5/22/2012
BLEVINS, JACOB                        6/6/2012
BOSTON, LEZZO                         6/3/2011
BROMBERG, GERALD                     5/16/2011
BROWN, SHANTINA                     10/21/2011
CAMP, LANIYAH                        4/25/2012
CARROLL, KAREN                        4/3/2011
CARTER, CAROLINE                    10/31/2009
CARTER, NANCY                        2/17/2012
CASTELLANOS, NORMA                   7/21/2012
CLENNON, ISAIAH                       3/3/2012
COHEN, ALYSHA                        3/23/2011
CRETA, LUCY                         11/21/2009
CUEVA, CHRISTOPHER                   7/21/2012
DAVIS, HENRY                         1/24/2012
DAVIS, JENNIFER                      2/16/2012
DEATON, KAREN                        6/11/2012
DEBORD, VIOLET                       4/25/2012
DESSART, DANIELLE                    5/18/2012
DICKENS, EUNICE                      6/26/2011
DIETRICH, PHILOMENA                  9/20/2012
DIFRUSCIO, IDA                        2/6/2012
DIONICIO, GILMARY                     3/6/2010
DOBBINS, SHARRON                     2/25/2012
DOWDY, NELDA                         9/11/2010
DUDLEY, TAMMY                        9/16/2012
ELLENBURG, KIMBERLY                 12/17/2011
ENGLE, FRANCESCA                      6/2/2011
ESPOSITO, COURTNEY                   7/25/2010
FARMERTAYLOR, TYNEICE                 6/3/2012
FERGUSON, RHONDA                      3/3/2012
FISCHER, MARIE                       1/27/2012
FOTI, FRANK                         12/30/2011
FREDERICK, CARRIE                    4/30/2011
FRIEDMAN, JACOB                      1/30/2011
GELAKAEK, LOLITA                     7/20/2012
GORDON, ANTONIO                      1/18/2011
  Case 12-36495-KRH    Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52   Desc Main
                            Document    Page 225 of 304

GRABINER, HILDA             7/28/2012
GRAHAM, TERESA              1/22/2011
GRINNELL, CLAUDE             2/4/2011
HALBERT, EDNA               5/13/2011
HAMMOND, BRIDGETTE          3/12/2011
HERSEY, LUCI                 6/2/2012
HUDSON, HENRY                9/4/2011
JACKSON, BETTY              1/21/2011
JELAKAER, GEOVANI           7/20/2012
KAMP, NANCY                 1/27/2012
KEEL, TERESA                6/25/2012
KEELEN, JUDE                6/11/2012
KENNEDY, SANDRA             12/4/2011
LAWSON, ERIC                 3/9/2012
LITKOVITZ, MARY              6/5/2012
LOPEZ, MARTA GALARZA        2/17/2012
LORIA, ROBERT               8/14/2012
LUGO, ALIZA                10/14/2011
LYNCH, EILEEN               5/23/2011
MACALUSO, FRANK              2/3/2012
MACKAY, MEGAN               8/21/2011
MACKAY, RACHAEL             8/21/2011
MALDONADO, ESTHER           2/27/2011
MARGINSON, ROBERT            5/4/2012
MARTINEZ, DANIEL             3/2/2012
MARTINEZ, GILBERT           1/31/2011
MELENDEZ, ANA               2/11/2011
MINTER, MARCUS               2/7/2010
MIRANDA, THELMA             2/26/2012
MONACO, MARILYN             4/21/2007
MONSON, ANTHONY             1/30/2011
MOORE, DIANE                1/12/2012
MURRAY, JOHN                6/17/2011
NORRIS, MILDRED              2/2/2012
OEHRLEIN, THOR              1/30/2011
OLEARYBARBER, KAREN         3/25/2011
ONEAL, ERNEST               3/17/2012
PACHECO, ANTHONY             2/4/2011
PETTERS, BEV                6/11/2012
POGUE, THOMAS               6/27/2011
PRIEST, NADINE              5/14/2011
PULLEN, GERI               10/17/2011
RICHMOND, ROBIN            12/14/2011
RODRIGUEZ, DIANA            7/20/2011
ROSEMAN, CYNTHIA           10/22/2011
RUDDY, BARBARA               3/7/2012
SACKS, MELANIE              8/26/2012
  Case 12-36495-KRH       Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52   Desc Main
                               Document    Page 226 of 304

SCHMELKE, ARDEM                2/27/2011
SCHNITTGER, SAMANTHA           8/25/2008
SINGLETARY, GRACE               6/9/2012
SKINNAR, SHAWNTE               5/13/2012
SMITH, JERMAINE                9/25/2010
SPILLER, KAREN                11/19/2011
STULL, ERIC-JAY                 1/3/2012
SULLCAPUMA, CHRISTOPHER        3/24/2012
TERESHACK, JOAN                3/19/2011
THOMAS, DARWIN                 5/10/2009
VASQUEZ, JENNIFER               3/2/2012
VERGATI, CATHERINE             1/27/2011
WALDROP, LISA                   9/4/2011
WILSON, FLORA                   3/4/2012
WILSON, LOREN                  6/17/2011
ZEIDMAN, SHARON                 9/1/2012
Case 12-36495-KRH   Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52     Desc Main
                         Document    Page 227 of 304
                        IV. Open Worker's Compensation Claims

                            Claimant                  Loss Date
                ADWAY, CYNTHIA C.                           9/30/2012
                ALDRICH, TIMOTHY D.                         10/3/2012
                ALONZO, TERESA                              3/13/2010
                ALREWAEI DANIELS, JOSHUA A.                10/12/2012
                ALSTON, HOYT                                3/24/2010
                ALWARD, BRENDA                               2/9/2006
                Alward, Brenda                              11/7/2009
                ANGLIN, JEFFREY R                           9/21/2012
                ANTIQUINA, TARA R                           9/16/2012
                AYERS, DANNY                                 8/5/2008
                AZZARA, STEVEN R.                           9/30/2012
                BAILEY, ALAN J                               9/2/2012
                BEECKMAN, CYNTHIA A                          9/8/2012
                BENEDETTO, FRANK W                           6/1/2012
                BENEDICT, DAVID J                            9/7/2012
                BENNETT, THOMAS S                           4/27/2012
                BESSER, WENDELL                             1/19/2003
                BEST, MATTHEW D                             8/14/2012
                BIRAMONTES, JENNIFER                        3/12/2010
                BLAKE, RAVYN S                               5/6/2012
                BOE, DOLORES E                             12/11/2011
                BOGGIO, STEVEN P                            8/21/2012
                BOUCHER, CASEY L                             1/1/2012
                BOYER, CHERYL                               9/11/2009
                BRASSIL, JENIFER L.                        10/20/2012
                BRATTON, LESLIE J                          11/22/2011
                BRAZIEL, DANA M                             9/22/2012
                BROOM, STEPHEN C                            9/13/2012
                BROWN, TERI                                10/29/2009
                BRUCE, PATRICIA M.                          10/4/2012
                BURDICK, KATHY                             11/30/2004
                BURNS, MICHELLE L.                         10/13/2012
                BUSSIERE, CLAYTON D                         4/10/2012
                CADARI, LORI                                12/9/2010
                CADARI, LORI A                              12/9/2010
                CALHOUN, TERRENCE G.                        10/1/2012
                CASIO, DOTTY L.                            10/21/2012
                CASTRO, EMMA                                 1/1/2005
                CIGARROA, ELADIO Z                          7/23/2011
                CLEMENT, DAVID                              3/24/2011
                CLEMENT, DAVID                              5/23/2010
                CLONICK, PATRICIA                           1/13/2003
                CONNER, ALICIA W                           10/10/2011
                COOK, GARRETT S                             9/16/2012
                CORNWELL, DAVID                            11/17/2010
                CRABB, CLIFFORD T                           9/17/2012

                                     Page 1 of 5
Case 12-36495-KRH   Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52   Desc Main
                         Document    Page 228 of 304
                            Claimant              Loss Date
                CRAIG, ROBERT M.                        10/4/2012
                CURIEL, SAMANTHA R                      8/23/2012
                DAVENPORT, JEREMY W                     9/19/2012
                DAVIS, MEEGAN                            8/8/2012
                DAVIS, SCOTT L                          8/17/2012
                DEBONIS, CHRISTINE M.                  10/13/2012
                DOCHTERMAN, DAISY                      10/18/2007
                DOVE JR., KEITH A.                     10/23/2012
                DURANT, LYNDA                          11/14/2001
                ELACQUIA, JOHN                          1/23/2009
                EVANS, BRENDA                            8/6/2005
                EVANS, RYAN C                           8/28/2012
                FACTORA, BERNARD                        8/27/2012
                FALL, FATOU                              3/4/2012
                FANNIN, AMBER                           2/14/2010
                FLEMING, ANDREA L                      11/10/2009
                FLORES, FRANCISCO                       7/16/2012
                FLORES, JOANNE                         11/16/2009
                FORD, NATHAN A                           8/2/2012
                FORD, TIMOTHY D                         8/31/2012
                FRIEDHABER, SCOT H                     10/13/2011
                FULLER, DAVID C                         7/15/2011
                GAAR, RYAN                              9/23/2012
                GABRIEL, KAREEBA I                      8/11/2012
                GAYHEART, RANDI                        10/24/2007
                GILLOTTI, ANGEL C                       4/12/2012
                GOOD, JENNIFER                         10/13/2012
                GORDON, MARY                            11/5/2011
                GORDON, MARY                           10/12/2012
                GORDON, MARY                            9/25/2012
                GREEN, ALICE C                          8/11/2012
                GUTIERREZ, CARLOS                        3/4/2005
                HAAS, MEGAN E.                          10/7/2012
                HALL, CHRISTOPHER M                     8/17/2012
                HAMPSON, KYLIE M                        8/20/2012
                HARMON, DAVID C                         8/19/2012
                HARMON, DAVID C.                       10/10/2012
                HEFNER, SARAH J                          9/4/2012
                HINKLE, PATRICIA                         4/7/2009
                HOGGATT, WILLIAM G                      3/20/2012
                HORNER, WENDY G.                       10/12/2012
                HUBBARD, JOSHUA                         2/13/2008
                HUGHES, DONALD J                       10/16/2012
                HUGHETT, AMY                            9/19/2012
                HULL, BARNEISHA                         7/18/2012
                ISLAM, AAMIL F                          8/25/2012
                JACKSON, BARBARA D                      8/21/2012
                JOHNSON, SUSAN L.                      10/14/2012
                                    Page 2 of 5
Case 12-36495-KRH   Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52   Desc Main
                         Document    Page 229 of 304
                            Claimant             Loss Date
                JONES, MARK A                          9/11/2012
                JORSTAD, VICTORIA A.                  10/15/2012
                KENDER, ERNEST E                        1/7/2012
                KENNELL, ROBERT J                      6/19/2011
                KERLEY, ROSS E                         9/11/2012
                KING, DAROLD S                         4/17/2012
                KINNEY-CLEM, JILL A                    8/31/2012
                KLOCKO, ELIZABETH A.                  10/22/2012
                KREMBLAS, BEVERLY A.                   4/27/2002
                KUTTEN, JASMINE D.                    10/22/2012
                LAFAVE, MICHAEL A                     10/16/2012
                LANGONE, DONALD                        2/16/2005
                LEECH, WENDY R                         9/21/2012
                LITT, JOHNNA D                         3/29/2012
                LODATO, CHRISTINE J                     6/1/2012
                LUCKEY, KATI                          10/19/2012
                LYONS, SHIRLEY                         9/28/2012
                MADDOX, JUSTIN K.                     10/12/2012
                MANLEY, YALONDA E                       8/4/2012
                MAREZ, VAL P                           8/10/2012
                MARKOWITZ, SIDNEY J                    6/28/2012
                MARTIN, JAZIREEL S.                    10/6/2012
                MASTERSON, SPENCER G                   9/28/2012
                MAURIZIO, STEPHANIE M                   9/7/2012
                MCCAIN, CAROLYN M                      9/15/2012
                MCGINNIS, RONALD J                      9/6/2012
                MCKINNON, CARRIE A                      3/3/2012
                MCLAUGHLIN, AMANDA R                   8/12/2012
                MCNELLIE, LEIGH ANNE                   8/18/2012
                MCNELLIE, LEIGH ANNE                   8/18/2012
                MEDINA, ANTHONY J                      8/22/2012
                METCALF, DOUGLAS B                     8/16/2012
                MIDDLETON, SARA                        2/15/2006
                MITCHELL, LARRY C                       9/2/2011
                MOLNAR, DANE                           3/13/2012
                MONDS, ASHLEY L                        8/17/2012
                MORGAN, KELLY E                         6/2/2012
                MORGAN, KELLY E                         8/8/2012
                MURAS, JASON A.                       10/12/2012
                MURSCH, MALEAH A                       8/23/2012
                MUSTON, SAMANTHA M                      9/2/2012
                NELSON, MICHAEL J                      9/27/2012
                NEWSOM III, WILLIAM B                  7/26/2012
                NOWACKI, DIANE M                       9/22/2012
                ORTEGA, RAUL R.                        10/4/2012
                OUSLEY, ROBIN J                        1/13/2012
                PAGANO, KEVIN                          12/1/2011
                PAIGE, ANGELA N.                      10/13/2012
                                   Page 3 of 5
Case 12-36495-KRH   Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52   Desc Main
                         Document    Page 230 of 304
                             Claimant              Loss Date
                PASTER, TIFFANY J                        8/25/2012
                PERKINS-GENTRY, ANNETTE                  12/1/2006
                PORTER JR, EDWARD                       12/27/2010
                POWELL, ASHLEE                            9/9/2012
                PRINGLE, WENDY                           1/13/2011
                PROHASKA, ALAN                          11/15/2008
                RAMOS, ROBERT C                          9/14/2012
                RAMSAY, JESSICA K                        10/3/2012
                RECZEK, CYNTHIA                          1/28/2008
                REED, JIMMIE D                           7/30/2012
                REYES, GRACIANO E.                       10/7/2012
                RICE, RUTH G                             9/15/2012
                RICHARDS, ERIC                           3/30/2009
                RILEY, ANNALISA                          5/14/2012
                RIVERA, ERIC R                           6/25/2012
                ROBERTS, LISA                            7/18/2009
                ROBINSON PICKARD, JOEL K.               10/12/2012
                RODRIGUEZ, GILBERT III                   8/26/2012
                ROGERS, JOE                              6/29/2011
                ROGERS, JOE P                            3/20/2012
                ROKITA, RICK E.                          10/7/2012
                ROME, DAVID J                            9/25/2012
                ROPPOLO, JOSEPH                          1/18/2010
                ROSE, BRYAN S                            9/20/2012
                ROWEL, AMBER A.                         10/14/2012
                SABORDO, JEFFREY F                        9/5/2012
                SALAIS, JESSICA J.                      10/16/2012
                SAXMAN, CHRIS                            10/4/2009
                SCOTT, DELTA B                           9/16/2012
                SELPH, DONNA E                           9/24/2012
                SENAY, STEPHEN P                        10/26/2010
                SHAFER, SABRA                             3/7/2010
                SHELTON, BRENDAN T.                     10/23/2012
                SHOEMAKER, TAMMY                         12/7/2002
                SIBERT, RYAN                              1/8/2011
                SIMPSON, KATHY L                         1/13/2012
                SMITH, ALLEN G                           9/15/2012
                SMITH, EDWARD C                          3/13/2012
                SMITH, JACQUELINE                       10/31/2007
                SNYDER, SHIRLEY J.                       12/6/2001
                SOMERVILLE, JEROME                      12/24/2007
                SOREN, DAVID                             5/27/2010
                SPENCER, KETURAH R                       8/26/2012
                STANLEY-BEALS, JULIA K                    2/6/2012
                STATEN, DARIUS O.                       10/10/2012
                STENSON, BRIAN                           9/26/2010
                STINSON, NIKKI M.                        9/19/2012
                STROUD, KATRINA T                         4/1/2012
                                     Page 4 of 5
Case 12-36495-KRH   Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52   Desc Main
                         Document    Page 231 of 304
                            Claimant             Loss Date
                SUMMERS, JENNIFER A.                  10/17/2012
                TALBOT, MARIE V                        8/25/2012
                TAYLOR, GLENDA S                       8/14/2012
                TAYLOR, ZACHARY C.                    10/12/2012
                TAYLOR, ZACHARY C.                    10/12/2012
                THOMAS, KENVAL A                       8/26/2012
                THORNTON, JEFFREY I.                  10/13/2012
                THORPE, ANTHONY D                      9/16/2012
                TOMCZAK, MARY                           5/3/2011
                TOUHEY, HOWARD                          5/2/2010
                TOWNSEND, RODD M                        5/7/2012
                TREJO, GABRIEL                        10/12/2012
                TREVARROW, MICHAEL J                   8/14/2012
                TURCOTT, DEBORAH                       1/27/2008
                VERTUCCI, ARTHUR                       3/31/2012
                VINSON, PATRICIA                      11/24/2011
                VITALI, CHERYL                          7/9/2001
                WEGWERTH, LAURA J.                    10/12/2012
                WHITE, ROBERT                          9/13/2006
                WIESE, SABRINA                         3/15/2009
                WILBANKS, NEIL A                       8/26/2012
                WILHELM, THEODORE                     12/11/2006
                WILHELM, THEODORE                      10/2/2012
                WILLIAMS, JERIAH M                     9/21/2012
                WOOD, CHRISTOPHER S.                  10/23/2012
                WOODIN, RONALD                         3/12/2010
                WYSINGER, NICHOLAS W                   8/16/2012
                ZAJAC, KEITH                          10/10/2009




                                   Page 5 of 5
Case 12-36495-KRH      Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52            Desc Main
                            Document    Page 232 of 304



                                       Schedule 5.09

                                           Taxes

1. The Internal Revenue Service (“IRS”) is examining whether the Group Company properly
   withheld and reported payroll taxes on tip income received by certain employees in the
   bowling centers. This matter is currently in examination by the IRS.

2. Income Tax Audits & Notices – FYE 7/1/12.

   a. New York State Audit. New York State (“NYS”) is currently auditing AMF and its
      affiliates’ return for the period of 6/28/2008 to 6/27/2010. Due to a 2007 NYS tax law
      change that requires ownership to be greater than 50% they have determined that AMF
      Holdings, Inc. (“AMF Holdings”) should not have been included in the return. This is
      based upon the fact that AMF Holdings does not own a greater than 50% share of the
      Qubica JV Entity, the company which creates nexus in NYS. In addition, NYS has taken
      the position that the wholly owned concession companies, 300, Inc., AMF Beverage
      Company of Oregon, Inc., Bush River Corporation, and King Louie Lenexa, Inc. should
      have been included in the combined return. Since the concession companies do not do
      business within NYS, this change has lowered AMF’s apportionment percentage. This
      may result in a potential NYS tax refund of $291,999 and a refund of the NYS MTA
      Surcharge of $32,284.

      The potential refund from the NYS audit has not been recorded in FYE 7/1/2012 since
      the amount is not definite.

   b. Michigan Tax Notice. AMF and its affiliates received a tax notice from the State of
      Michigan for $59,467.41 for the FYE -7/02/2011 which is being protested. AMF and its
      affiliates filed amended returns for FYE June 28, 2009 and June 27, 2010. The
      overpayment from the amended returns should have been applied to FY 2011. AMF and
      its affiliates have sent the State of Michigan the supporting documentation in order to
      have the assessment abated. The matter is currently pending.
Case 12-36495-KRH       Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                Desc Main
                             Document    Page 233 of 304



                                         Schedule 5.10

                                    Compliance with Law

1.    ADA. Certain bowling centers, including those subject to the iStar Master Lease, are not
      in compliance with the technical requirements of the ADA.

2.    OSHA. Certain bowling centers, including those subject to the iStar Master Lease, are
      included in a proposed Stipulation and Settlement Agreement with the U.S. Department
      of Labor through the Occupational Health and Safety Administration (“OSHA”) relating
      to compliance with OSHA regulations as to AMF’s bowling equipment and operating
      procedures. This proposed Stipulation and Settlement Agreement (“OSHA Agreement”)
      is expected to be finalized shortly. The estimated cost of remediation pursuant to the
      OSHA Agreement is approximately $2 million, of which approximately $900,000
      remains to be spent.

      The OSHA Agreement arises out of an accident occurring on February 20, 2011, at
      AMF’s 300 Dallas Center, located at 3805 Beltline Road, Addison, TX 75001. On this
      date, AMF employee Michael Jeffrey was killed while performing maintenance on
      bowling equipment, specifically a pinsetter on lane 37 in the course and scope of his
      employment as a mechanic for AMF. AMF has settled the private lawsuit with respect to
      this accident and has no further outstanding liabilities with respect to the private lawsuit.

      As a result of the accident, an investigation was performed by OSHA with citations
      issued on July 25, 2011. In summary, the citations relate to the following two categories:

      (1) Bowling Equipment. Requirements relating to pinsetter machines, including guardrail
          systems, fixed stairs, and guards, including those related to pulleys, horizontal belts,
          vertical or inclined belts and flexible cords.

      (2) Operating Procedures. Requirements to include for lock out/tag out procedures and
          annual inspections of energy control procedures.

      Following AMF’s appeal of the citations, AMF and OSHA entered into settlement
      negotiations to reach an agreement on the citations and abatement of the citations. The
      OSHA Agreement details the abatement measures to be taken by AMF concerning the
      control of hazardous energy, machine guarding, electrical hazards, fall hazards and
      implementation of additional operating procedures. AMF has begun the process of
      implementing these measures.
Case 12-36495-KRH        Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52         Desc Main
                              Document    Page 234 of 304



                                          Schedule 5.11

                                Pension and Benefit Plans

1. Multiemployer Plans

   a.     Service Employees International Union National Industry Pension Fund

   b.     South Bay Hotel Employees and Restaurant Employees Pension Plan and Welfare
          Trust Fund

   c.     Greater St. Louis Service Employees Pension Fund

   d.     Long Beach and Orange County Hotel Employees and Restaurant Employees Health
          Benefit and Retirement Funds

   e.     Unite Here! Local 11 - Health

   A Group Company may have potential withdrawal liability under the above Multiemployer
   Plans, the amount of which is not known.

2. Pursuant to an Employment Agreement dated February 1, 2002 with Roland Smith, a former
   chief executive officer of the Borrower, Mr. Smith is entitled to receive a lifetime
   nonqualified supplemental retirement benefit at age 65. The outstanding liability is
   approximately $125,000.

3. UK BPO is the sponsor of the UK Pension Plan. UK BPO terminated its active employees on
   September 28, 2012 and ceased trading. UK BPO appointed an administrator and began an
   insolvency proceeding on October 12, 2012. The insolvency proceeding will result in a
   windup of the Plan. The UK Pension Plan’s Unfunded Liabilities have been guaranteed by
   the Borrower (90%) and AMF (100%). The UK Pension Plan’s Unfunded Liabilities could
   exceed £8.6 million.
                  Case 12-36495-KRH    Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52        Desc Main
                                            Document    Page 235 of 304



                                                     Schedule 5.12

                                                      Subsidiaries

Name of Subsidiary     Jurisdiction   Subsidiary   Authorized        Outstanding        Holder of Outstanding Equity
                            of        Guarantor     Shares             Shares                     Interests
                        Formation
Kingpin Intermediate     Delaware        No        1,000         1,000 shares        Kingpin Holdings, LLC
Corp.                                                                                (100%)


AMF Bowling             Delaware         No        1,000         1,000 shares        Kingpin Intermediate Corp.
Worldwide, Inc.                                    (post-merger)                     (100%)

AMF BCH LLC             Delaware         Yes       1,000         100                 AMF Bowling Worldwide, Inc.
                                                                                     (100%)
AMF Bowling              Virginia        Yes       15,000        9485.1              AMF Bowling Centers Holdings Inc.
Centers, Inc.                                                                        (100%)

AMF Beverage             Oregon          Yes       10,000        94.851              AMF Bowling Centers Holdings Inc.
Company of Oregon,                                                                   (100%)
Inc.

Bush River               South           Yes       100,000       18,895.1919193838   AMF Bowling Centers Holdings Inc.
Corporation             Carolina                                                     (100%)

King Louie Lenexa,       Kansas          Yes       30,000        94.851              AMF Bowling Centers Holdings Inc.
Inc.                                                                                 (100%)

300, Inc.                 Texas          Yes       1,000,000     10,000              AMF Bowling Centers Holdings Inc.
                                                                                     (100%)
                   Case 12-36495-KRH    Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52   Desc Main
                                             Document    Page 236 of 304



Name of Subsidiary      Jurisdiction   Subsidiary   Authorized     Outstanding      Holder of Outstanding Equity
                             of        Guarantor     Shares          Shares                   Interests
                         Formation
American Recreation      California       Yes       26,484,375   100             AMF Bowling Centers, Inc.
Centers, Inc.                                                                    (100%)

Bowler’s Choice          Maryland         No        1,000        100             AMF Bowling Centers, Inc.
Restaurant, Inc.                                                                 (60% or 60 shares), Ethel V. Haley
                                                                                 (20% or 20 shares) and Jacob Gilyeat
                                                                                 (20% or 20 shares)

Corner Restaurant        Maryland         No        5,000        100             AMF Bowling Centers, Inc.
East, Inc.                                                                       (97% or 97 shares), Douglas C.
                                                                                 Meister (1% or 1 share), Walter
                                                                                 Reynolds (1% or 1 share) and Joseph
                                                                                 Godsey (1% or 1 share)

Southdale Bowler’s       Maryland         No        2,000        100             AMF Bowling Centers, Inc.
Restaurant, Inc.                                                                 (98% or 98 shares), Jo Anna Marshall
                                                                                 (1% or 1 share) and Doug Meister (1%
                                                                                 or 1 share)

Prince George’s          Maryland         No        1,000        100             AMF Bowling Centers, Inc.
Concession, Inc.                                                                 (74% or 74 shares),
                                                                                 Norman Hawkins (25% or 25 shares)
                                                                                 and Tony Green (1% or 1 share)

AMF WBCH LLC             Delaware         Yes       1,000        100             AMF BCH LLC
                                                                                 (100%)
                 Case 12-36495-KRH     Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52    Desc Main
                                            Document    Page 237 of 304



Name of Subsidiary     Jurisdiction   Subsidiary   Authorized      Outstanding       Holder of Outstanding Equity
                            of        Guarantor     Shares           Shares                    Interests
                        Formation
Societe Anonyme du        France         No        3,500        3,500             AMF WBCH LLC
Bowling de                                                                        (3490 shares),
Montparnasse                                                                      Rachel S. Labrecque
                                                                                  (3 shares),
                                                                                  Dan McCormack
                                                                                  (4 shares) and Marc Leemans
                                                                                  (3 shares)

AMF Bowling             Delaware         Yes       1,000        75.6972           AMF Worldwide Bowling Centers
Mexico Holding, Inc.                                                              Holdings Inc.
                                                                                  (100%)

Boliches AMF, Inc.       Virginia        Yes       10,000       100.00000000052   AMF Worldwide Bowling Centers
                                                                                  Holdings Inc.
                                                                                  (100%)

Boliches AMF y           Mexico          No        N/a          N/a               AMF Bowling Mexico Holding, Inc.
Compania                                                                          (79%) and
                                                                                  Boliches AMF, Inc. (21%)

Servicios AMF, S.A.      Mexico          No        N/a          50,000            AMF Bowling Mexico Holding, Inc.
de C.V.                                                                           (79%) and
                                                                                  Boliches AMF, Inc. (21%)

Operadora Mexicana       Mexico          No        N/a          1,500             Boliches AMF y Compania
de Boliches, S.A.                                                                 (85%) and
                                                                                  AMF Bowling Mexico Holding, Inc.
                                                                                  (15%)
                    Case 12-36495-KRH    Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52    Desc Main
                                              Document    Page 238 of 304



Name of Subsidiary       Jurisdiction   Subsidiary   Authorized       Outstanding      Holder of Outstanding Equity
                              of        Guarantor     Shares            Shares                   Interests
                          Formation
Promotora de               Mexico          No        N/a          6,955,562         Boliches AMF y Compania
Boliches, S.A. de                                                                   (85%) and
C.V.                                                                                AMF Bowling Mexico Holding, Inc.
                                                                                    (15%)

Inmuebles Obispado,        Mexico          No        N/a          4,500             Boliches AMF y Compania (100%)
S.A.

Inmuebles                  Mexico          No        N/a          4,400             Boliches AMF y Compania (100%)
Minerva, S.A.

AMF Bowling                United          No        1,000        1                 AMF Holdings, Inc. (100%)
Products UK Limited       Kingdom

AMF Bowling               Delaware         Yes       1,000        100               AMF Bowling Worldwide, Inc.
Centers Holdings Inc.                                                               (100%)
AMF Worldwide             Delaware         Yes       1,000        100               AMF Bowling Worldwide, Inc.
Bowling Centers                                                                     (100%)
Holdings Inc.
AMF Holdings, Inc.        Delaware         Yes       1,000        1,000             AMF Bowling Worldwide, Inc.
                                                                                    (100%)
Case 12-36495-KRH   Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52   Desc Main
                         Document    Page 239 of 304



                                 Schedule 5.16

                            Environmental Matters

None.
Case 12-36495-KRH     Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52          Desc Main
                           Document    Page 240 of 304



                                     Schedule 5.17

                                 Intellectual Property

Trademarks

Country        Trademark        Application   Registration    Status       Filing     Registration
                                   No.            No.                      Date          Date

Argentina    AMF and Triangle    2472978        1972105      Registered 10/31/2003    11/30/1993
                 design

Argentina    AMF and Triangle    2838414        2302047      Registered   12/9/1997    12/9/1977
                 design

Argentina    AMF and Triangle    2119742        2838415      Registered   12/9/1997    8/24/1998
                 design

Argentina    AMF and Triangle    2338385        1892902      Registered   5/15/2001   10/31/2002
                 design

Argentina    AMF and Triangle    2338384        2259971      Registered   5/15/2001   11/27/2008
                 design

Argentina    AMF and Triangle    2338383        2223522      Registered   5/15/2001    4/9/2008
                 design

Argentina    AMF and Triangle    2338386        2223523      Registered   5/15/2001    4/9/2008
                 design

Argentina    AMF and Triangle    2338382        2223524      Registered   5/15/2001    4/9/2008
                 design

Argentina    AMF and Triangle    1008775         821553      Registered   11/8/1974    4/14/1975
                 design
                                                              (Pend-
                                                              Cancl)

Argentina    AMF and Triangle    1160147        2284941      Registered                9/14/1981
                 design

Argentina     AMF CLASSIC        2338294        1907328      Registered   5/14/2001   12/11/2002
              with Pinsplash
                 Design

Argentina     AMF CLASSIC        2338293        1907327      Registered   5/14/2001   12/11/2002
              with Pinsplash
Case 12-36495-KRH    Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52          Desc Main
                          Document    Page 241 of 304



Country       Trademark        Application   Registration    Status       Filing     Registration
                                  No.            No.                      Date          Date

                Design


Argentina    AMF CLASSIC        2338295       2259972       Registered   5/14/2001   11/27/2008
             with Pinsplash
                Design

Argentina   AMF THUNDER         2435859       1997253       Registered   6/6/2003     11/2/2004
               BOWL

Argentina    BOWLING and        2004711                      Pending
                design

Australia   AMF ALWAYS           762074        762074       Registered   5/13/1998    5/13/1998
             MEANS FUN

Australia    AMF and Circle      135883        135883       Registered   2/27/1958    2/27/1958
                design

Australia   AMF and Triangle     243430        243430       Registered 10/26/1970    10/26/1970
                design

Australia   AMF and Triangle     243431        243431       Registered 10/26/1970    10/26/1970
                design

Australia   AMF and Triangle     249685        249685       Registered   7/5/1971     7/5/1971
                design

Australia   AMF and Triangle     875604        875604       Registered   5/14/2001    5/14/2001
                design

Australia    AMF CLASSIC         875344        875344       Registered   5/10/2001    5/3/2002
             with Pinsplash
                Design

Australia    AMF GOLD            899533        899533       Registered   1/5/2002     12/1/2003
            MEDAL LANES                                      (Pend-
                                                             Cancl)

Australia   AMF THUNDER         9556734        956734       Registered   6/4/2003     6/4/2003
               BOWL

Australia    AMF XTREME         1020202        1020202      Registered   9/13/2004    9/13/2004
Case 12-36495-KRH    Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52          Desc Main
                          Document    Page 242 of 304



Country       Trademark        Application   Registration    Status       Filing     Registration
                                  No.            No.                      Date          Date

Australia      XTREME            882534        882534       Registered   7/13/2001    5/22/2003


Austria     AMF and Triangle                    69557       Registered                7/14/1971
                design

Benelux     AMF and design       504323        008638       Registered   2/1/1971     2/1/1972


Benelux     AMF and Triangle     597904        0320217      Registered   5/22/1973    5/22/1973
                design

Brazil      AMF ALWAYS         820881503     820881503      Registered   6/30/1998    11/4/2003
             MEANS FUN

Brazil      AMF and Triangle   819998559     819998559      Registered   8/4/1997     7/5/2005
                design

Brazil      AMF and Triangle   823923800     823923800      Registered   5/16/2001   12/12/2006
                design

Brazil      AMF and Triangle   823923819     823923819      Registered   5/16/2001   12/12/2006
                design

Brazil      AMF and Triangle   823923797     823923797      Registered   5/16/2001   12/12/2006
                design

Brazil      AMF and Triangle   823923789     823923789      Registered   5/16/2001   12/12/2006
                design

Brazil      AMF and Triangle   823923770     823923770      Registered   5/16/2001    1/13/2009
                design

Brazil      AMF and Triangle   823923827     823923827      Registered   5/16/2001   12/12/2006
                design

Brazil       AMF CLASSIC       823776646     823776646      Registered   8/14/2001   11/18/2008
             with Pinsplash
                Design

Brazil       AMF CLASSIC       823776654     823776654      Registered   8/14/2001   11/18/2008
             with Pinsplash
                Design
Case 12-36495-KRH   Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52           Desc Main
                         Document    Page 243 of 304



Country      Trademark        Application   Registration    Status        Filing     Registration
                                 No.            No.                       Date          Date

Brazil      AMF CLASSIC       823776662     823776662      Registered   8/14/2001    11/18/2008
            with Pinsplash
               Design

Canada          AMF             341711      TMA193805      Registered   4/8/1971      9/7/1973


Canada     AMF ALWAYS          0889985      TMA560190      Registered   9/11/1998     4/15/2002
            MEANS FUN

Canada     AMF and Triangle    1106387      TMA593908      Registered   6/13/2001     11/5/2003
               design

Canada      AMF CLASSIC        1104877      TMA609489      Registered   5/30/2001     5/5/2004
            with Pinsplash
               Design

Canada          AMF             763295      TMA467917      Registered   9/6/1994     12/19/1996
            PLAYMASTER
              and design

Canada         AMF             1178955      TMA655294      Registered   5/26/2003    12/16/2005
           THUNDERBOWL

Chile           AMF             559845        630572       Registered   2 /28/2002    1 /4 /1982


Chile      AMF and Triangle     540392        668510       Registered   8 /23/2001    7 /7 /2003
               design

Chile       AMF CLASSIC         540393        663263       Registered   8 /23/2001    4 /17/2003
            with Pinsplash
               Design

Chile       AMF CLASSIC         540394        667372       Registered   8/23/2001     6 /17/2003
            with Pinsplash
               Design

China       AMF (Chinese       1465148       1465148       Registered   8/5/1999     10/28/2000
             Characters)

China         AMF              94038418       834813       Registered   5 /3 /1994    4 /28/1996
           ACCUSYSTEM
Case 12-36495-KRH   Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52             Desc Main
                         Document    Page 244 of 304



Country      Trademark        Application     Registration    Status        Filing     Registration
                                 No.              No.                       Date          Date

China      AMF and Triangle       n/a           812700       Registered   2 /25/1994    2 /7 /1996
               design

China      AMF and Triangle    94033020         803425       Registered   4 /19/1994   12/28/1995
               design

China      AMF and Triangle    94033018         826640       Registered   4 /19/1994    3/28/1996
               design

China      AMF and Triangle    94033019         809639       Registered   4 /19/1994    1 /21/1996
               design

China      AMF and Triangle    94033017         812398       Registered   4/19/1994     2 /7/1996
               design

China      AMF and Triangle   2001083342       1986035       Registered   5/21/2001    11/28/2002
               design

China       AMF CLASSIC       2001083355       1941156       Registered   5/21/2001     2/21/2005
            with Pinsplash
               Design

China       AMF CLASSIC       2001083354       1985760       Registered   5/21/2001    11/28/2002
            with Pinsplash
               Design

China           AMF            94033025         803421       Registered   4 /19/1994   12/28/1995
            PLAYMASTER

China      AMF THUNDER          3572092        3572092       Registered   5 /28/2003    8 /28/2005
              BOWL

Colombia   AMF and Triangle                     99.051       Registered 11/29/1978      5/28/1982
               design

Colombia   AMF and Triangle                     99.052       Registered 11/29/1978      5/28/1982
               design

Czech      AMF and Triangle     122271          218695       Registered   5 /21/1997    7 /26/1999
Republic       design

Denmark    AMF and Triangle   VA 2425 1979   VR 1980 01892   Registered   6/13/1979     5/1/1980
               design
Case 12-36495-KRH      Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52          Desc Main
                            Document    Page 245 of 304



Country        Trademark        Application   Registration    Status        Filing     Registration
                                   No.            No.                       Date          Date

Dominican    AMF and Triangle                    34805       Registered                 11/4/1982
Republic         design

Ecuador      AMF and Triangle                    26-82       Registered                10/21/1982
                 design

Ecuador      AMF and Triangle                    27-82       Registered                10/21/1982
                 design

European     AMF THUNDER        003209491     003209491      Registered   6/3/2003      6/3/2003
Union           BOWL
(CTM)

Federation        AMF           2001704676      240363       Registered   2/19/2001     3/13/2003
of Russia

Federation   AMF and Triangle    97706941       185452       Registered   5/16/1997     3/3/2000
of Russia        design

Federation    AMF and Two       2001704677      226076       Registered   2/19/2001     2/19/2001
of Russia     Triangle design

Federation    AMF and Two       2001707698      226078       Registered   3 /15/2001    3/15/2001
of Russia     Triangle design
                 (Colored)

Federation        AMF           2002703532      262465       Registered   2/5/2002      1/27/2004
of Russia     PINSPOTTER

Federation   AMF THUNDER        2003722287      290472       Registered 11/13/2003      6/10/2005
of Russia       BOWL

Federation       AMF with       2001707704      240306       Registered   3/15/2001     3/13/2003
of Russia     Triangle Design
                 (Colored)

France       AMF ALWAYS          98732629      98732629      Registered   5 /15/1998    5 /15/1998
              MEANS FUN

France       AMF and Triangle    98748100      98748100      Registered   9/2/1998      9/2/1998
                 design

France        AMF CLASSIC       013105362     01/3105362     Registered   6/13/2001     6/13/2001
              with Pinsplash
Case 12-36495-KRH    Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52              Desc Main
                          Document    Page 246 of 304



Country       Trademark         Application     Registration    Status        Filing     Registration
                                   No.              No.                       Date          Date

                Design


France           AMF            023145415       02/3145415     Registered   2/4/2002      2/4/2002
             PINSPOTTER

France       AMF XTREME         04/3309773      04/3309773     Registered   8/25/2004     8/25/2004


France        XTREME            04/3309776      04/3309776     Registered   8/25/2004     8/25/2004
              BOWLING

Germany     AMF ALWAYS           39829795        39829795      Registered   5/27/1998     11/6/1998
             MEANS FUN

Germany     AMF and Triangle                      924106       Registered   6/15/1973     6 /15/1973
                design

Germany     AMF and Triangle   30130438.6/41     30130438      Registered   5 /16/2001    4 /23/2002
                design

Germany      AMF CLASSIC       30129894.7/41     30129894      Registered   5 /12/2001    1 /21/2002
             with Pinsplash
                Design

Hong Kong   AMF and Triangle                   200205081AA     Registered                 5/14/2001
                design

Hong Kong   AMF and Triangle    12751/1995      07004/1997     Registered   10/9/1995     10/9/1995
                design

Hong Kong   AMF and Triangle    2002/14460      2003/10654     Registered   9 /13/2002    8 /27/2003
             design (Series)

Hong Kong    AMF CLASSIC                       2003B07676AA Registered      5/14/2001     5/8/2001
             with Pinsplash
                Design

India           AMF               844706          844706       Registered   3 /11/1999    3 /11/1999
             ADVANTAGE

India       AMF ALWAYS            802457          802457       Registered   5 /15/1998    5/15/1998
             MEANS FUN
Case 12-36495-KRH    Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52            Desc Main
                          Document    Page 247 of 304



Country       Trademark        Application    Registration    Status        Filing     Registration
                                  No.             No.                       Date          Date

India       AMF and Triangle                    311751       Registered   1/19/1976     1/19/1976
                design

India       AMF and Triangle                    311749       Registered   1/19/1976     1/19/1976
                design

India       AMF and Triangle                    311748       Registered   1/19/1976     1/19/1976
                design

India           AMF             1079024        1079024       Registered   2/7/2002      2/7/2002
             PINSPOTTER

India           AMF             1079023        1079023       Registered   2/7/2002
             PINSPOTTER

India       AMF THUNDER         1204899         442322       Registered   6/9/2003      6/9/2003
               BOWL

Indonesia   AMF ALWAYS         D98 09363     IDM000189480    Registered   6/1/1998      2/18/2000
             MEANS FUN

Indonesia   AMF ALWAYS         D98 09364        439813       Registered   6/1/1998      2/18/2000
             MEANS FUN

Ireland     AMF and Triangle    5674/90        B143922       Registered   10/2/1990     10/2/1990
                design

Ireland     AMF and Triangle    90/5673        B143921       Registered   10/2/1990     10/2/1990
                design

Ireland     AMF and Triangle    90/5675         143923       Registered   10/2/1990     10/2/1990
                design

Israel       AMF and Circle                      20495       Registered   2/1/1962      2 /1 /1962
                design

Israel       AMF and Circle                      20494       Registered   2/1/1962      2 /1 /1962
                design

Israel       AMF and Circle                      20496       Registered   2/1/1962      2 /1 /1962
                design

Israel      AMF THUNDER          165199         165199       Registered   6 /19/2003    11/3/2004
               BOWL
Case 12-36495-KRH    Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52           Desc Main
                          Document    Page 248 of 304



Country      Trademark          Application   Registration    Status       Filing     Registration
                                   No.            No.                      Date          Date

Italy      AMF ALWAYS          RM98C002455      1299803      Registered   5/15/1998    3/8/2001
            MEANS FUN

Italy      AMF and Triangle      93 2251        668354       Registered   3/26/1993    2/1/1996
               design

Japan            AMF            S34-020211     00564177      Registered   6/24/1959    1/10/1961


Japan            AMF             8301689        2516299      Registered   7/21/1989    3/31/1993


Japan            AMF            S48-073124      1320170      Registered   5/7/1973     1/25/1978


Japan            AMF             11119390       2670427      Registered   10/2/1990    5/31/1994


Japan      AMF & Triangle      2007-024992     05129854      Registered   3/23/2007    4/18/2008
            Design in Red

Japan      AMF ALWAYS           42674/1998     4454078       Registered   5/21/1998    2/16/2001
            MEANS FUN

Japan          AMF and         2007-024993     5129855       Registered   3/22/2007    4/18/2008
               Katakana

Japan          AMF and         2008-003149     5230580       Registered   1/21/2008    5/15/2009
               Katakana

Japan      AMF and Triangle    111192/1990     2670020       Registered   10/2/1990    5/31/1994
               design

Japan      AMF and Triangle     S47-132912      1296240      Registered   9/22/1972    9/1/1977
            design (Colored)

Japan      AMF and Triangle    2001-047611     4579530       Registered   5/28/2001    6/21/2002
            design (Colored)

Japan      AMF and Triangle     H04-240873      3073564      Registered   9/28/1992    8/31/1995
            design (Colored)

Japan      AMF and Triangle     H04-238935      3140654      Registered   9/28/1992    4/30/1996
            design (Colored)
Case 12-36495-KRH    Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52           Desc Main
                          Document    Page 249 of 304



Country      Trademark         Application   Registration    Status        Filing     Registration
                                  No.            No.                       Date          Date

Japan      AMF and Triangle    2008-003147    5230579       Registered   1/21/2008     5/15/2009
            design (Colored)

Japan      AMF CLASSIC         2001-044148    04717030      Registered   5/16/2001    10/10/2003
            with Pinsplash
           Design (colored)

Japan           AMF            2002-006829    04724577      Registered   1/31/2002     11/7/2003
            PINSPOTTER

Japan        AMF Stylized      S48-073123      1296241      Registered   5/7/1973      9/1/1977
              (Katakana
              Characters)

Japan      AMF THUNDER         2003-045493    04733408      Registered   6 /3 /2003   12/12/2003
              BOWL

Malaysia   AMF and Triangle                   MB65052       Registered   4/15/1974     4/15/1974
               design

Mexico           AMF                           163505       Registered                 9/29/1970


Mexico           AMF                           163506       Registered                 9/29/1970


Mexico     AMF and Triangle      130756        224130       Registered 10/27/1978     10/27/1978
               design

Mexico     AMF and Triangle      493667        801930       Registered   7 /2 /2001    8 /1 /2003
               design

Mexico     AMF and Triangle      493668        739726       Registered   7 /2 /2001    3 /26/2002
               design

Mexico     AMF and Triangle      493670        756880       Registered   7 /2 /2001    7 /30/2002
               design

Mexico     AMF and Triangle      493671        752235       Registered   7 /1 /2001    7 /2 /2001
               design

Mexico     AMF and Triangle      533185        753716       Registered   2 /19/2002    2 /19/2002
               design
Case 12-36495-KRH   Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52           Desc Main
                         Document    Page 250 of 304



Country      Trademark        Application   Registration    Status        Filing     Registration
                                 No.            No.                       Date          Date

Mexico     AMF and Triangle     493669        870470       Registered   1 /17/2002    2 /28/2005
               design

Mexico      AMF CLASSIC         485822       00755581      Registered   5 /17/2001    5 /17/2001
            with Pinsplash
               Design

Mexico      AMF CLASSIC         485823        780084       Registered   5 /17/2001    2 /25/2003
            with Pinsplash
               Design

Mexico      AMF CLASSIC         485824        753302       Registered   5 /17/2001    6 /28/2002
            with Pinsplash
               Design

Mexico     AMF THUNDER          606295        808035       Registered   6 /20/2003    9 /29/2003
              BOWL

New        AMF and Triangle                    61519       Registered   2/26/1958     12/7/1959
Zealand        design

New        AMF and Triangle                   234899       Registered   3/9/1994     11/26/1996
Zealand        design

New        AMF and Triangle     784321        784321       Registered   2/15/2008     2/15/2008
Zealand        design

New         AMF XTREME          784320        784320       Registered   2/15/2008     2/15/2008
Zealand

Norway          AMF                            99480       Registered                 9 /1 /1977


Norway     AMF and Triangle                    94941       Registered                 10/2/1975
               design

Pakistan    AMF and Circle                     30691       Registered                 1/30/1962
               design

Portugal   AMF ALWAYS           331146        331146       Registered   6/26/1998    12/10/1998
            MEANS FUN

Portugal   AMF and Triangle     271479        271479       Registered   2/12/1991     2/3/1993
               design
Case 12-36495-KRH       Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52           Desc Main
                             Document    Page 251 of 304



Country          Trademark        Application   Registration    Status        Filing     Registration
                                     No.            No.                       Date          Date

Portugal       AMF THUNDER                        372938       Registered   6/5/2003      7/26/2004
                  BOWL

Singapore           AMF            1106/83      T91/03309B     Registered   3/26/1991     3 /26/1991


Singapore       AMF (stylized)     s/1107/83    T83/01107G     Registered   3 /4 /1983    2 /5 /1988


Singapore          AMF            T97/033631    T97/033631     Registered   3 /24/1997    3 /24/1997
                ADVANTAGE

Singapore      AMF ALWAYS         S/4837/98     T98/04837J     Registered   5 /21/1998    5 /21/1998
                MEANS FUN

Singapore      AMF ALWAYS         S/4836/98     T98/04836B     Registered   5 /21/1998    5 /21/1998
                MEANS FUN

Singapore      AMF and Triangle                 T91/03144H     Registered   3/19/1991     3 /21/1991
                   design

Slovak         AMF and Triangle    1376-97        196915       Registered   5/21/1997     5/21/2007
Republic           design

South Africa   AMF and Triangle                   74/6231      Registered                11/27/1974
                   design

South Africa   AMF and Triangle                   74/6234      Registered 11/27/1974     11/27/1974
                   design

South Africa   AMF and Triangle                   74/6230      Registered 11/27/1974     11/27/1974
                   design

South Korea        AMF            1997-11670      411031       Registered   3 /17/1997    7/20/1998
                ADVANTAGE

South Korea    AMF and Triangle   1990-19789      224091       Registered   7/4/1990     10/17/1991
                   design

South Korea    AMF and Triangle   1996-4835     XX-XXXXXXX     Registered   7/18/1996     6/16/1997
                   design

South Korea    AMF and Triangle    82-7238         92561       Registered   7/14/1982     7/5/1983
                   design
Case 12-36495-KRH      Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52           Desc Main
                            Document    Page 252 of 304



Country         Trademark        Application   Registration    Status        Filing     Registration
                                    No.            No.                       Date          Date

South Korea   AMF and Triangle   1993-1434        95460       Registered   5/13/1993     7/25/1994
                  design

South Korea   AMF and Triangle   1996-4834       128138       Registered   7/18/1996     8 /5/1986
                  design

South Korea   AMF and Triangle   1996-4833      0127682       Registered   6/15/1985     7/25/1986
                  design

South Korea   AMF and Triangle   1990-19788      221889       Registered   7/4/1990      9/24/1991
                  design

South Korea   AMF and Triangle   1996-4832       126058       Registered   7/18/1996     6/16/1997
                  design

South Korea   AMF and Triangle    94/38125       330004       Registered   9/22/1994    12/22/1995
                  design

Spain         AMF ALWAYS          2848177        2848177       Pending     5/14/2008    10/20/2008
               MEANS FUN

Spain         AMF and Triangle   718242(2)      718242(2)     Registered   6 /19/1973    6 /21/1977
                  design

Spain         AMF and Triangle   718246(5)      718246(5)     Registered   6 /19/1973    2/17/1975
                  design

Spain         AMF and Triangle   718243(0)      718243(0)     Registered   6 /19/1973    1/21/1976
                  design

Spain          AMF CLASSIC        2412367       2412367       Registered   7/3/2001      6/8/2002
               with Pinsplash
                  Design

Spain          AMF CLASSIC        2412366       2412366       Registered   7/3/2001      6/8/2002
               with Pinsplash
                  Design

Sweden             AMF                           141619       Registered                12/29/1972


Sweden             AMF                           130729       Registered                 3/20/1970
Case 12-36495-KRH      Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52           Desc Main
                            Document    Page 253 of 304



Country         Trademark        Application   Registration    Status        Filing     Registration
                                    No.            No.                       Date          Date

Sweden             AMF            0200701        354551       Registered   1/31/2002     4/19/2002
               PINSPOTTER

Switzerland        AMF                           373597       Registered   5/9/1989     12/12/1989


Switzerland   AMF ALWAYS            3880         455079       Registered   5/12/1998     5/12/1998
               MEANS FUN

Switzerland   AMF and Triangle                   279720       Registered   4/22/1975     4/22/1975
                  design

Taiwan        AMF and Triangle                   152240       Registered                 5/1/1981
                  design

Taiwan        AMF and Triangle                   151694       Registered                 4/16/1981
                  design

United             AMF             987612        987612       Registered   2 /17/1972    2 /17/1972
Kingdom

United        AMF ALWAYS          2374682       2374682       Registered   10/4/2004     4/15/2005
Kingdom        MEANS FUN

United        AMF and Triangle    2048550       2048550       Registered 12/13/1995      8/29/1997
Kingdom           design

United        AMF and Triangle    2270649       2270649       Registered   5/21/2001     4/19/2002
Kingdom        design (Series)

United         AMF CLASSIC        2269724       2269724       Registered   5/11/2001     5/11/2001
Kingdom        with Pinsplash
                  Design

United             AMF            2292038       2292038       Registered   2/6/2002      2/6/2002
Kingdom        PINSPOTTER

United         AMF XTREME         2371445        2371445      Registered   8/24/2004     2/11/2005
Kingdom

United             AMF           72/180,820     0,785,142     Registered 11/12/1963      2/16/1965
States
Case 12-36495-KRH   Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52           Desc Main
                         Document    Page 254 of 304



Country      Trademark        Application   Registration    Status        Filing     Registration
                                 No.            No.                       Date          Date

United          AMF           72/096,824      714,104      Registered   5/11/1960     4/18/1961
States

United          AMF           72/344,657      912,787      Registered 11/26/1969      6/8/1971
States

United          AMF           72/342,005      942,646      Registered 10/29/1969      9/12/1972
States

United          AMF           72/341,772      913,754      Registered 10/27/1969      6/8/1971
States

United     AMF ALWAYS         75/324,568     2,286,177     Registered   7 /15/1997   10/12/1999
States      MEANS FUN

United     AMF and Triangle   78/521,522     3,041,394     Registered 11/23/2004      1/10/2006
States         design

United     AMF and Triangle   74/709,676     2,013,389     Registered   8/1/1995      11/5/1996
States         design

United     AMF and Triangle   85/046,971     3,907,307     Registered   5/25/2010     1/18/2011
States         Design

United      AMF CLASSIC       76/253,754     2,703,766     Registered   5/8/2001      4/8 /2003
States       and Pinsplash
                Design

United     AMF GENUINE        85/354,286                    Pending     6/23/2011
States      PARTS and
              Design

United     AMF KIDS FEST      85/667,675                    Pending     7/03/2012
States       and Design

United          AMF           76/395,174     2,879,988     Registered   4/12/2002     8/31/2004
States      PINSPOTTER

United     AMF SUMMER         85/581,076                    Pending     3/27/2012
States     PASS and Design

United     AMF SUMMER         85/582,031                    Pending     3/28/2012
States      UNPLUGGED
           TURN OFF THE
            TV. TURN ON
Case 12-36495-KRH        Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52            Desc Main
                              Document    Page 255 of 304



Country           Trademark        Application     Registration     Status      Filing     Registration
                                      No.              No.                      Date          Date

                THE FREE FUN.
                  And Design

United          AMF THUNDER        78/254,116       2,924,302     Registered   5/24/2003    2/1/2005
States             BOWL

United            BOWL OUT         77/149,702       3,502,402     Registered   4/5/2007     9/16/2008
States

United          GIO'S PIZZA and    78/662,377       3,235,027     Registered   7/1/2005     4/24/2007
States               Design

United           SLUGGO'S and      75/350,348       2,195,726     Registered   9/2/1997    10/13/1998
States              design

United            STAY AND         85/560,514                       Pending    8/07/2012
States              PLAY

United           STRIKINGLY        77/084,782       3,399,150     Registered   1/17/2007    3/18/2008
States            DIFFERENT

United             XTREME          75/125,607       2,224,594     Registered   6/26/1996    2/16/1999
States

Venezuela        AMF and Circle                      45872F       Registered                9/6/1963
                    design

Venezuela       AMF and Triangle                     86723F       Registered                5 /31/1978
                    design

Vietnam         AMF and Triangle     36258            42252       Registered   11/5/1997    11/5/1997
                    design

Virginia          HANOVER                              1531       Registered               11/14/1995
(State             LANES
Registration)



For informational purposes only, the following “intent to use” Trademarks:

    1.    AMF GENUINE PARTS Logo.
Case 12-36495-KRH     Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52     Desc Main
                           Document    Page 256 of 304




   2. AMF KIDS FEST Logo.




   3. STAY AND PLAY wordmark.

Patents

None.

Copyrights

Title                 Registration No.    Registration Date     Owner

AMF playbook :        TX0005645797        10-17-2002            AMF Bowling
business strategies                                             Centers, Inc.
that work!

AMF Guide to          RE0000345399        07-13-1987            AMF Pinspotters, Inc.
natural bowling. By
Victor Kalman &
Manny Haller.



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    LEISURELAND, MAGICSCORE, PERMABASE, PINDICATOR, PINVEYOR,
Case 12-36495-KRH      Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52         Desc Main
                            Document    Page 257 of 304



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   C. Third Amendment to TLA (6/29/2009).
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   C. Third Amendment to TLA (7/1/2009).

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9. Trade Mark License Agreement (09/30/2004). Licensor: the Borrower, Licensee: AMF
   Bowling UK Limited. Marks Covered: AMF & Triangle Design, AMF & Pinsplash Design
   and AMF XTREME.

10. Trademark Agreement (06/13/2005). Licensor: the Borrower, Licensee: QubicaAMF
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11. A. Exclusive Licensing Agreement (08/2005). Licensor: the Borrower, Licensee:
       ZeniMax Media Inc. Marks Covered: AMF BILLARDS & GAMES, AMF
    PLAYMASTER.
    B. First Amendment (4/26/2007).
    C. Second Amendment (10/7/2008).
Case 12-36495-KRH        Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52         Desc Main
                              Document    Page 258 of 304



12.       Content License and Services Agreement (05/2007). Parties: Bowling Music Network,
      Inc., and AMF Bowling Centers, Inc. Subject Matter: AMF licenses music and video
      content from BMN

13. Software License and Support Agreement (06/28/2007). Parties: Centaman Systems Pty Ltd.,
    AMF Bowling Centers, Inc., and the Borrower (Guarantor). Subject Matter: Centaman
    license of software to AMF.

14. Trademark License Agreement (          2008). Licensor: the Borrower, Licensee: Bowling
    Centres Australia Pty Limited. Marks: AMF and Triangle design, AMF XTREME.

15. Trademark License Agreement (02/08/2005). Licensor: the Borrower, Licensee: Bowling
    Centres Australia Pty Limited Marks: AMF & Triangle Design and AMF & Pinsplash
    Design.
Case 12-36495-KRH     Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52           Desc Main
                           Document    Page 259 of 304



                                         Schedule 5.21

                                          Ownership

                                   Kingpin Holdings, LLC
                                    Unit Holder              Common Units
            Code Hennessy & Simmons IV LP                      7,455,557.00
            c/o Code Hennessy & Simmons LLC
            10 South Wacker Drive, Suite 3175
            Chicago, IL 60606
            Facsimile: (312) 876-3854
            CHS Associates IV                                      12,243.00
            c/o Code Hennessy & Simmons LLC
            10 South Wacker Drive, Suite 3175
            Chicago, IL 60606
            Facsimile: (312) 876-3854
            PineBridge Horizon Partners, L.P.                    400,000.00
            599 Lexington Avenue, 25th Floor
            New York, New York 10022
            Attn: FT Chong
            Facsimile:
            PineBridge Horizon Side-by-Side Partners, L.P.       600,000.00
            599 Lexington Avenue, 25th Floor
            New York, New York 10022
            Attn: FT Chong
            Facsimile:
            PineBridge Horizon Side-by-Side Partners, L.P.       140,000.00
            599 Lexington Avenue, 25th Floor
            New York, New York 10022
            Attn: David Pinkerton
            Facsimile:
             PineBridge Private Equity Portfolio, L.P.            130,000.00
            599 Lexington Avenue, 25th Floor
            New York, New York 10022
            Attn: David Pinkerton
            Facsimile:
             APEN Bermuda Ltd.                                    100,000.00
            29 Richmond Road
            Pembroke HM 08, Bermuda
            Facsimile:
             PineBridge PEP III Direct, L.P.                      130,000.00
            c/o AIG Private Equity Portfolio III, L.P
            599 Lexington Avenue, 25th Floor
            New York, New York 10022
            Attn: David Pinkerton
            Facsimile:
            Bruckmann, Rosser, Sherrill & Co., II, L.P.          1,447,239.20
            c/o Bruckmann, Rosser, Sherrill & Co., Inc.
            126 East 56th Street, 29th Floor
            New York, NY 10022
            Facsimile:
Case 12-36495-KRH     Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                  Desc Main
                           Document    Page 260 of 304



                                 Unit Holder                         Common Units
            Julie Frist                                                    1,890.80
            c/o Bruckmann, Rosser, Sherrill & Co., Inc.
            126 East 56th Street, 29th Floor
            New York, NY 10022
            Facsimile:
            Bruckmann, Rosser, Sherrill & Co., Inc.                          435.00
            126 East 56th Street, 29th Floor
            New York, NY 10022
            Facsimile:
            Marilena Tibrea                                                  435.00
            c/o Bruckmann, Rosser, Sherrill & Co., Inc.
            126 East 56th Street, 29th Floor
            New York, NY 10022
            Facsimile:
            Edgewater Private Equity Fund III, L.P.                      100,000.00
            900 N. Michigan Avenue, Suite 1800
            Chicago, IL 60611
            Facsimile: (312) 664-8571
            Edgewater Capital Growth Partners I, L.P.                    650,000.00
            900 N. Michigan Avenue, Suite 1800
            Chicago, IL 60611
            Facsimile: (312) 664-8571
            GM Capital Partners I, L.P.                                 1,146,690.58
            767 Fifth Avenue, 16th Floor
            New York, NY 10153
            Attention: Charles G. Froland, Managing Director
            Facsimile: (212) 418-3644
            First Plaza Group Trust                                      853,309.42
            767 Fifth Avenue, 16th Floor
            New York, NY 10153
            Attention: Charles G. Froland, Managing Director
            Facsimile: (212) 418-3644
            Randolph Street Partners VI                                  31,500.00
            c/o Kirkland & Ellis LLP
            200 E. Randolph Drive, Suite 5400
            Chicago, IL 60601
            Facsimile: (312) 861-2200
            Edgewater Funds IV                                            2,565.00
            John Stokely                                                  2,565.00
            Frederick R. Hipp and Brenda B. Hipp, Trustees U/A The      300,000.00
            Hipp Family Trust dated 2/6/2001.
            Frederick R. Hipp and Brenda B. Hipp, Trustees U/A The         234,859
            Hipp Family Trust dated 2/6/2001
            Walsh, Paige                                                    700.00
            Barkley, Paul                                                  6,666.00
            Buhl, Jay                                                      4,667.00
            Caesar, Chris                                                 17,333.00
            Hatcher, Mark                                                  4,667.00
            Holland, Ian                                                   1,667.00
            Kilpatrick, Mark                                               2,067.00
Case 12-36495-KRH     Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52   Desc Main
                           Document    Page 261 of 304



                                 Unit Holder           Common Units
            McCormack, Dan                                  6,500.00
            Meade, Rohana                                   2,000.00
            Pastula, Jody                                   6,834.00
            Ponsiglione, Tony                              15,833.00
            Ross, Larry                                     3,333.00
            Satterwhite, Steve                              5,834.00
            Scarnaty, Joe                                   8,166.00
            Shearer, Simon                                  6,666.00
            Walker, John                                   27,333.00
            White, Wayne                                    7,000.00
            Wood, Ron                                       5,333.00
            Wreden, Merrell                                 9,166.00
Case 12-36495-KRH   Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52   Desc Main
                         Document    Page 262 of 304



                                 Schedule 5.22

                                 Broker’s Fees

                                    None.
Case 12-36495-KRH   Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52    Desc Main
                         Document    Page 263 of 304



                                Schedule 6.10(b)

                             Excluded Real Property

        Center #                   City & State                  County
           28             Fort Oglethorpe, GA         Catoosa County
           76             New York, NY                New York County
           78             Garden City, NY             Nassau County
           82             San Antonio, TX             Bexar County
          155             San Antonio, TX             Bexar County
          172             Cranston, RI                Providence County
          182             Portland, OR                Multnomah County
          209             Plainview, NY               Nassau County
          210             Woodside, NY                Queens County
          214             Alexandria, VA              Fairfax County
          263             Los Angeles, CA             Westchester County
          284             Garden Grove, CA            Orange County
          295             Thornton, CO                Adams County
          358             Northglenn, CO              Adams County
          420             Mesa, AZ                    Maricopa County
          423             Phoenix, AZ                 Maricopa County
          501             Portland, OR                Multnomah County
          512             Commack, NY                 Suffolk County
          536             Greenbrook, NJ              Somerset County
          543             Bellevue, WA                King County
          547             Richmond Hill, NY           Queens County
          567             Cerritos, CA                Los Angeles County
          580             San Jose, CA                Santa Clara County
          581             Pinole, CA                  Pinole County
          584             Clovis, CA                  Fresno County
          623             Arcadia, CA                 Los Angeles County
Case 12-36495-KRH      Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52           Desc Main
                            Document    Page 264 of 304



                                      Schedule 7.06

                                   Existing Investments

   1. Investment by Holdings, Borrower or any Subsidiaries of Borrower in the Qubica JV
      Entity or any of its respective Subsidiaries.
Case 12-36495-KRH      Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52         Desc Main
                            Document    Page 265 of 304



                                      Schedule 7.09

                               Transaction with Affiliates

1. Securityholders Agreement, dated as of 2/27/04, by Holdings, Code Hennessy & Simmons
   IV, LP, and the other co-investors listed therein.

2. Registration Agreement, dated as of 2/27/04, by and among Holdings and Code Hennessy &
   Simmons IV, LP,

3. Management Agreement, dated as of 2/27/04, by and among the Borrower and CHS
   Management IV LP.

4. Employment Agreement, dated as of 2/27/04, by and between the Borrower and Frederick R.
   Hipp, as amended.
Case 12-36495-KRH   Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52   Desc Main
                         Document    Page 266 of 304



                               Schedule 11.01(a)

                                    Claims

                                     None
Case 12-36495-KRH                 Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                 Desc Main
                                       Document    Page 267 of 304


                                                        Exhibit A-1

                                              Form of Notice of Borrowing

                                                                                       [Date]

Credit Suisse, Cayman Islands Branch,
as DIP Agent
Eleven Madison Avenue
New York, New York 10010

Ladies and Gentlemen:

Reference is made to the Senior Secured Debtor-In-Possession Credit Agreement dated as of November
[__], 2012 (as amended, restated, modified or supplemented, from time to time, the “Credit Agreement”),
among Kingpin Intermediate Corp., AMF Bowling Worldwide, Inc., the banks and other financial
institutions from time to time party thereto and Credit Suisse, Cayman Islands Branch, as Issuing Lender
and DIP Agent. Capitalized terms used herein but not otherwise defined herein have the respective
meanings given to such terms in the Credit Agreement. This notice constitutes a Notice of Borrowing
pursuant to Section 2.02 of the Credit Agreement.

           1.        The date of the Borrowing will be [___]

           2.        The aggregate principal amount of the Borrowing will be $ [___]

           3.        The Borrowing will be comprised of [Base Rate] [Eurodollar] Loans.

           4.        [The initial Interest Period for the Loans comprising such Borrowing will be _______ .]1

           5.        The wire-instructions and other account information with respect to the Borrower's
                     account into which proceeds of the Borrowing should be disbursed are as follows:

                     [BORROWER WIRE / ACCOUNT INSTRUCTIONS]

                                                  [Signature page follows]




1
    For Eurodollar Borrowings only, otherwise delete.
Case 12-36495-KRH   Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52   Desc Main
                         Document    Page 268 of 304


                        AMF BOWLING WORLDWIDE, INC.


                                         By.
                                         Name:
                                         Its:
Case 12-36495-KRH                 Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                   Desc Main
                                       Document    Page 269 of 304


                                                        Exhibit A-2

                                       Form of Notice of Extension/Conversion

                                                                                       [Date]

Credit Suisse, Cayman Islands Branch,
as DIP Agent
Eleven Madison Avenue
New York, New York 10010

Ladies and Gentlemen:

         This notice shall constitute a “Notice of Extension/Conversion” pursuant to Section 2.07(b) and
(c) of the Senior Secured Debtor-In-Possession Credit Agreement dated as of November [__], 2012 (as
amended, restated, modified or supplemented, from time to time, the “Credit Agreement”) among
Kingpin Intermediate Corp., AMF Bowling Worldwide, Inc., the banks and other lending institutions
from time to time party thereto and Credit Suisse, Cayman Islands Branch, as Issuing Lender and DIP
Agent. Capitalized terms defined in the Credit Agreement and not otherwise defined herein have, as used
herein, the respective meanings provided for therein.

           1.        The Loans (or portion thereof) to which this notice applies is [all or a portion of all Base
                     Rate Loans currently outstanding] [all or a portion of all Eurodollar Loans currently
                     outstanding having an Interest Period of __ months and ending on the Election Date
                     specified below].

           2.        The date on which the conversion or continuation selected hereby is to be effective is
                     [___] (the “Election Date”).

           3.        The principal amount of the Loans (or portion thereof) to which this notice applies is
                     $ ________.

           4.        [The Loans (or portion thereof) which are to be converted will [bear interest based upon
                     the [Base Rate] [Eurodollar Rate]].

           5.        [The Interest Period for such Loans will be _________ .]2


                                                                 AMF BOWLING WORLDWIDE, INC.


                                                                 By.
                                                                 Name:
                                                                 Its:




2
    For Eurodollar Borrowings only, otherwise delete.
Case 12-36495-KRH          Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                    Desc Main
                                Document    Page 270 of 304


                                               Exhibit B

                                             Form of Note

Lender:
Principal Sum: $                                                                 ________________
                                                                                 [Dated on or before
                                                                                 the Closing Date]

         For value received, AMF Bowling Worldwide, Inc., a Delaware corporation (the “Borrower”),
hereby promises to pay to the order of the Lender set forth above (the “Lender”) for the account of its
Applicable Lending Office, at the office of Credit Suisse, Cayman Islands Branch(the “DIP Agent”), as
set forth in the Senior Secured Debtor-In-Possession Credit Agreement dated as of November [__], 2012
(as amended, restated, modified or supplemented, from time to time, the “Credit Agreement”), among
Kingpin Intermediate Corp., AMF Bowling Worldwide, Inc., the banks and other lending institutions
from time to time party thereto and Credit Suisse, Cayman Islands Branch, as Issuing Lender and DIP
Agent, the Principal Sum set forth above (or such lesser amount as shall equal the aggregate unpaid
principal amount of the Term Loan made by the Lender to the Borrower under the Credit Agreement), in
lawful money of the United States of America and in immediately available funds, on the dates and in the
principal amounts provided in the Credit Agreement, and to pay interest on the unpaid principal amount
of such Term Loan, at such office, in like money and funds, for the period commencing on the date of
such Term Loan until such Term Loan shall be paid in full, at the rates per annum and on the dates
provided in the Credit Agreement. If any amount is not paid in full when due hereunder, such unpaid
amount shall bear interest, payable on demand, from the due date thereof until the date of actual payment
(and before as well as after judgment) computed at the rates per annum set forth in the Credit Agreement.

        This note is one of the Notes referred to in the Credit Agreement and evidences the Term Loan
made by the Lender thereunder. Capitalized terms used in this Note and not otherwise defined shall have
the respective meanings assigned to them in the Credit Agreement and the terms and conditions of the
Credit Agreement are expressly incorporated herein and made a part hereof.

        The Credit Agreement provides for the acceleration of the maturity of the Term Loan evidenced
by this Note upon the occurrence of certain events (and for payment of collection costs in connection
therewith) and for prepayments of such Term Loan upon the terms and conditions specified therein. In the
event this Note is not paid when due at any stated or accelerated maturity, the Borrower agrees to pay, in
addition to the principal and interest, all costs of collection, including reasonable attorney fees in
accordance with the terms of the Credit Agreement.

        The date, amount, Type and duration of Interest Period (if applicable) of the Term Loan made by
the Lender to the Borrower, and each payment made on account of the principal thereof, shall be recorded
by the Lender on its books; provided that the failure of the Lender to make any such recordation or
endorsement shall not affect the obligations of the Borrower to make a payment when due of any amount
owing under the Credit Agreement or under this Note in respect of the Term Loan to be evidenced by this
Note, and each such recordation or endorsement shall be prima facie evidence of such information.

       The Borrower, for itself, its successors and assigns, hereby waives diligence, presentment, protest
and demand and notice of protest, demand, dishonor and non-payment of this Note.

         This Note and the Term Loan evidenced hereby may be transferred in whole or in part only by
registration of such transfer on the Register maintained for such purpose by or on behalf of the Borrower
as provided in Section 10.06 of the Credit Agreement.
Case 12-36495-KRH   Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52   Desc Main
                         Document    Page 271 of 304




      THIS NOTE SHALL BE GOVERNED BY, AND CONSTRUED IN ACCORDANCE
WITH, THE LAWS OF THE STATE OF NEW YORK.


                             [Signature page follows]
Case 12-36495-KRH       Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52           Desc Main
                             Document    Page 272 of 304


        IN WITNESS WHEREOF, the Borrower has caused this Note to be executed as
of the date first above written.

                                                   [BORROWER NAME]


                                                   By.
                                                   Name:
                                                   Its:
Case 12-36495-KRH          Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                      Desc Main
                                Document    Page 273 of 304


                                                Exhibit C

                                  Form of Assignment and Acceptance

        Reference is made to the Senior Secured Debtor-In-Possession Credit Agreement dated as of
November [__], 2012 (as amended, restated, modified or supplemented, from time to time, the “Credit
Agreement”), among Kingpin Intermediate Corp., AMF Bowling Worldwide, Inc., the banks and other
lending institutions from time to time party thereto and Credit Suisse, Cayman Islands Branch, as Issuing
Bank and DIP Agent. Capitalized terms used but not defined herein shall have the respective meanings
ascribed thereto in the Credit Agreement.

The “Assignor” and the “Assignee” referred to on Schedule 1 hereto agree as follows:

                 1.       The Assignor hereby sells and assigns, without recourse, to the Assignee, and the
Assignee hereby purchases and assumes, without recourse, from the Assignor, effective as of effective
date of the assignment as designated in paragraph 4 below (the “Effective Date”), the interests set forth on
Schedule 1 hereto (collectively, the “Assigned Interest”) in the Assignor's rights and obligations under the
Credit Agreement, including, without limitation, (i) the interests set forth on Schedule 1 hereto in the
Term Loan Commitment Percentage of the Assignor on the Effective Date and (ii) the Loans owing to the
Assignor in connection with the Assigned Interest which are outstanding on the Effective Date. Periodic
payments made with respect to the Assigned Interest which (i) accrued prior to the Effective Date shall be
remitted to the Assignor and (ii) accrue from and after the Effective Date shall be remitted to the Assignee.
From and after the Effective Date, the Assignee, if it is not already a Lender under the Credit Agreement,
shall become a “Lender” for all purposes of the Credit Agreement and the other DIP Loan Documents and,
to the extent of such assignment, the assigning Lender shall be relieved of its obligations under the Credit
Agreement.

                 2.      The Assignor: (i) represents and warrants that it is the legal and beneficial owner
of the Assigned Interest being assigned by it hereunder and that such Assigned Interest is free and clear of
any adverse claim; (ii) makes no representation or warranty and assumes no responsibility with respect to
any statements, warranties or representations made in or in connection with the DIP Loan Documents or
for the execution, legality, validity, enforceability, genuineness, sufficiency or value of the DIP Loan
Documents or any other instrument or document furnished pursuant thereto; (iii) makes no representation
or warranty and assumes no responsibility with respect to the financial condition of any Credit Party or
the performance or observance by any Credit Party of any of its obligations under the DIP Loan
Documents or any other instrument or document furnished pursuant thereto; (iv) represents and warrants
that under applicable Laws no tax will be required to be withheld by the DIP Agent or any Borrower with
respect to any payments to be made to the Assignee hereunder or under any DIP Loan Document, and
unless otherwise expressly notified to the DIP Agent, no tax forms described in Section 3.01(d) of the
Credit Agreement are required to be delivered by the Assignee and (v) as applicable, delivers in
connection therewith the Notes held by the Assignor and requests that the DIP Agent exchange such
Notes for new Notes payable to the order of the Assignee in the amounts owed to the Assignee after
giving effect to this Assignment and Acceptance, and to the order of the Assignor in the amounts, if any,
owed to the Assignor after giving effect to this Assignment and Acceptance.

                 3.       The Assignee: (i) confirms that it has received a copy of the Credit Agreement,
together with copies of the financial statements referred to in Sections 5.05 and 6.01 thereof and such
other documents and information as it has deemed appropriate to make its own credit analysis and
decision to enter into this Assignment and Acceptance; (ii) agrees that it will, independently and without
reliance upon the DIP Agent, the Assignor or any other Lender and based on such documents and
information as it shall deem appropriate at the time, continue to make its own credit decisions in taking or
Case 12-36495-KRH          Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                      Desc Main
                                Document    Page 274 of 304


not taking action under the Credit Agreement; (iii) confirms that it is an Eligible Assignee; (iv) appoints
and authorizes the DIP Agent and the Collateral Agent to take such action as agent on its behalf and to
exercise such powers and discretion under the DIP Loan Documents as are delegated to the DIP Agent
and the Collateral Agent by the terms thereof, together with such powers and discretion as are reasonably
incidental thereto; and (v) agrees that it will perform in accordance with their terms all of the obligations
that by the terms of the Credit Agreement are required to be performed by it as a Lender.

                4.      Following the execution of this Assignment and Acceptance, it will be delivered
to the DIP Agent for acceptance and recording by the DIP Agent. The effective date for this Assignment
and Acceptance (the “Effective Date”) shall be the date of acceptance hereof by the DIP Agent, unless
otherwise specified on Schedule 1.

                5.       Upon such acceptance and recording by the DIP Agent, as of the Effective Date
(i) the Assignee shall be a party to the Credit Agreement and, to the extent provided in this Assignment
and Acceptance, have the rights and obligations of a Lender thereunder and (ii) the Assignor shall, to the
extent provided in this Assignment and Acceptance, relinquish its rights and be released from its
obligations under the Credit Agreement.

                 6.       Upon such acceptance and recording by the DIP Agent, prior to the Effective
Date, the Agents shall make all payments under the Credit Agreement and the Notes in respect of the
interests assigned hereby (including, without limitation, all payments or principal, interest and fees with
respect thereto) to the Assignor, and from and after the Effective Date, the Agents shall make all
payments under the Credit Agreement and the Notes in respect of the interests assigned hereby (including,
without limitation, all payments of principal, interest and fees with respect thereto) to the Assignee.

                 7.     This Assignment and Acceptance shall be governed by, and construed in
accordance with, the laws of the State of New York. This Assignment and Acceptance may be executed
in any number of counterparts and by different parties hereto in separate counterparts, each of which
when so executed shall be deemed to be an original and all of which taken together shall constitute one
and the same agreement. Delivery of an executed counterpart of this Assignment and Acceptance by
telecopier shall be effective as delivery of a manually executed counterpart of this Assignment and
Acceptance.

                 8.     This Assignment and Acceptance shall be effective only upon consent of the DIP
Agent and, if applicable, the Borrower (and any other Person whose consent is required under Section
10.06 of the Credit Agreement) and delivery to the DIP Agent of this Assignment and Acceptance,
together with the transfer fee payable pursuant to Section 10.06(b)(iv) of the Credit Agreement in
connection herewith and recordation in the Register pursuant to Section 10.06(d) of the Credit Agreement
of the terms hereof.

                9.      Attached hereto as Schedule 2 is all contact, address, account and other
administrative information relating to the Assignee, including the Assignee's notice address for purposes
of Section 10.01 of the Credit Agreement and its Applicable Lending Office for each Loan held or
committed to be made by the Assignee.

                                         [Signature Page Follows]
Case 12-36495-KRH          Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                     Desc Main
                                Document    Page 275 of 304


       IN WITNESS WHEREOF, the Assignor and the Assignee have caused this Assignment and
Acceptance to be executive by their officers thereunto duly authorized as of the date specified thereon.

                                                          CONSENTED TO:

                                                          Credit Suisse, Cayman Islands Branch,
                                                          as DIP Agent


                                                          By.
                                                          Name:
                                                          Its:




                                                          By.
                                                          Name:
                                                          Its:



                                                          AMF BOWLING WORLDWIDE, INC.


                                                          By.
                                                          Name:
                                                          Its:



                                                          [__________ ],
                                                          as Assignor


                                                          By.
                                                          Name:
                                                          Its:



                                                          [__________ ], as Assignee


                                                          By.
                                                          Name:
                                                          Its:
Case 12-36495-KRH       Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                 Desc Main
                             Document    Page 276 of 304


                                      SCHEDULE 1
                                          to
                              ASSIGNMENT AND ACCEPTANCE

(a)   Date of Assignment:

(b)   Legal Name of Assignor:

(c)   Legal Name of Assignee:

(d)   Effective Date of Assignment:

(e)   Term Loan Commitment Percentage Assigned (expressed as a
      percentage set forth to at least 8 decimals)                            _________________%

      Term Loan Commitment Percentage of Assignee after giving effect to
      this Assignment and Acceptance on the Effective Date (set forth to at
      least 8 decimals)                                                       _________________%

      Term Loan Commitment Percentage of Assignor after giving effect to
      this Assignment and Acceptance on the Effective Date (set forth to at
      least 8 decimals)                                                       _________________%

      Outstanding Principal Balance of Term Loan as of the Effective Date     $_________________

      Principal Amount of Assignor's portion of the Term Loan after
      giving effect to this Assignment and Acceptance Agreement on
      the Effective Date                                                      $_________________

      Principal Amount of Assignee's portion of the Term Loan after
      giving effect to this Assignment and Acceptance Agreement on
      the Effective Date                                                      $_________________
Case 12-36495-KRH        Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                 Desc Main
                              Document    Page 277 of 304


                                       SCHEDULE 2
                                           to
                               ASSIGNMENT AND ACCEPTANCE

Administrative Details

       (Assignee to list names of credit contacts, addresses, phone and facsimile numbers, electronic
mail addresses and account and payment information, including the Assignee's notice address for
purposes of Section 10.01 of the Credit Agreement and its Applicable Lending Office)
Case 12-36495-KRH   Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52   Desc Main
                         Document    Page 278 of 304


                                   Exhibit E

                                    Budget
AMF Bowling Worldwide, Inc              Case 12-36495-KRH                           Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                                                              Desc Main
Cash Forecast
($ in 000s)                                                                              Document    Page 279 of 304
                                        Period        1             2             3             4              5             6             7             8             9            10           11           12          13           14          15
                                        Ending     11/11/12      11/18/12      11/25/12      12/02/12      12/09/12      12/16/12      12/23/12      12/30/12      01/06/13      01/13/13     01/20/13     01/27/13    02/03/13     02/10/13    02/17/13
 Total Cash Receipts                             $     7,954   $     8,830   $     8,236   $     8,158   $     9,306   $     8,998   $     8,546   $     9,350   $     9,961   $     9,625   $ 10,489     $ 10,052    $ 10,678     $ 10,348    $ 10,699
 Operating Disbursements
 Food & Beverage                                        696           885           801           762           894            869          881           815           902           854           891         978          856       1,061          982
 Other AP                                               407           439           284           350           428            778          490           321           261           283           323         419          356         485          330
 Facilities                                             669           905           882           688           584            536          438           445           815           485           505         951          509         455          414
 iStar rent                                               -             -             -             -         2,389              -            -             -         2,389             -             -           -        2,389           -            -
 Other rent                                               -             -             -         1,309             -              -            -         1,438             -             -             -       1,308            -           -            -
 Utilities                                              322           795           747           477           457            414          685           400           435           425           490         615          382         380          613
 Payroll                                              4,251           713         3,467         1,768         3,365          1,692        3,712         1,874         3,368         1,856         3,997       2,380        3,513       1,917        3,387
 Qubica                                                 110           749           448           389           377            618          397            79           499           141            96         254          148         125          246
 Capex                                                  557         1,103         1,057           754           542            542          452           352           563           317           317         317          452         503          503
 Insurance                                              133            10            10            10            10            282           10            33            10            10            10          10           10          10           10
 Taxes                                                  198         2,040           749           729           248            581        1,497           376           564           400         2,529         324          579          50        1,382
 League transfers                                       565           621           621           620           621            621          623           620           621           725           729         724          626         622          631
  Total Operating Disbursements                       7,907         8,260         9,067         7,854         9,915          6,934        9,186         6,753        10,428         5,495         9,890       8,280        9,819       5,607        8,498

 Net Operating Cash Flows                                47           570          (831)          305          (608)         2,064         (640)        2,597          (467)        4,130           599       1,772         859        4,740        2,202

 Non-Operating Disb/ (Receipts)
 Interest / Debt service                                  -         2,374             -           286             -              -            -           296             -             -             -           -          296           -            -
 Professional fees                                    1,732         1,500             -           763             -              -            -             -             -         2,588             -           -            -       2,530            -
 Restructuring costs                                      3        10,140         1,042         1,623         1,253          4,183           44         1,210            44           255            44          44          854          44           44
  Total Non-Operating Disbursements                   1,735        14,013         1,042         2,672         1,253          4,183           44         1,506            44         2,843            44          44        1,150       2,574           44

 Total Net Disbursements                              9,643         22,273       10,109        10,526        11,167         11,117        9,230         8,259        10,472         8,338         9,934       8,324       10,969       8,181        8,542
  Net Cash Receipts(Disbursements)               $   (1,688) $     (13,443) $    (1,874) $     (2,368) $     (1,861) $      (2,119) $      (684) $      1,091    $     (511) $      1,287    $      555   $   1,728   $     (291) $    2,166   $    2,158

 Net Cash Balance
    Beginning Book Cash Balance                       6,246          4,558            -             -             -              -            -             -             -             -             -            -           -            -           -
    Net Cash Receipts(Disb)                          (1,688)       (13,443)      (1,874)       (2,368)       (1,861)        (2,119)        (684)        1,091          (511)        1,287           555        1,728        (291)       2,166       2,158
    Borrowings (paybacks)                                 -          8,885        1,874         2,368         1,861          2,119          684        (1,091)          511        (1,287)         (555)      (1,728)        291       (2,166)     (2,158)
 Ending Book Balance                             $    4,558 $            - $          - $           - $           - $            - $          - $           - $           - $           - $           - $          - $         - $          - $         -

 DIP Financing
 Beginning borrowing balance                               -            -         8,885     10,758.97        13,127         14,988       17,107        17,791        16,700        17,211         15,924      15,368      13,641       13,932      11,765
  Additional borrowings                                    -        8,885         1,874         2,368         1,861          2,119          684             -           511             -              -           -         291            -           -
  Paybacks / excess cash flow                              -            -             -             -             -              -            -        (1,091)            -        (1,287)          (555)     (1,728)          -       (2,166)     (2,158)
 Ending outstanding balance (excess cash)        $         -   $    8,885    $   10,759    $ 13,127      $   14,988    $    17,107   $   17,791    $   16,700 $      17,211    $   15,924 $       15,368 $    13,641 $    13,932   $   11,765 $     9,608




                                                                                                                           Page 1
AMF Bowling Worldwide, Inc              Case 12-36495-KRH                       Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                                                         Desc Main
Cash Forecast
($ in 000s)                                                                          Document    Page 280 of 304
                                        Period       16          17           18            19             20             21               22             23             24             25              26              27             28
                                        Ending    02/24/13    03/03/13     03/10/13      03/17/13       03/24/13       03/31/13         04/07/13       04/14/13       04/21/13       04/28/13        05/05/13        05/12/13       05/19/13
 Total Cash Receipts                             $ 12,212    $ 11,134     $ 11,284     $     10,413   $      9,591   $      9,892     $      9,790   $      8,469   $      7,965   $      7,777    $      7,079    $      6,306   $      6,180
 Operating Disbursements
 Food & Beverage                                     1,012        1,155        1,063         1,172            946             1,021           886            906            729            823             738             787            663
 Other AP                                              518          530          495           397            416               427           660            386            366            723             614             471            429
 Facilities                                            610          828          368           566            697               525           502            376            458            793             522             407            351
 iStar rent                                              -        2,389            -             -              -                 -         2,389              -              -              -           2,389               -              -
 Other rent                                          1,316            -            -             -              -             1,313             -              -              -          1,313               -               -              -
 Utilities                                             291          309          587           620            875               296           441            452            476            417             410             795            848
 Payroll                                             2,020        3,507        1,951         3,501          2,030             3,484         1,834          5,091          1,971          4,025           1,877           3,362          1,783
 Qubica                                                102          154           53            37            125               126           121            114            246             95              58             218             98
 Capex                                                 503          637          639           639            639               639           695            560            560            560             695             412            412
 Insurance                                              10           10           10            10             10                33            10             26             10             10           2,374              10             10
 Taxes                                                 901           42           20           429          1,599                57           563            141          2,039            701             103              41          1,882
 League transfers                                      618          619          618           623            631               637           618            625            631            618             624             652            648
  Total Operating Disbursements                      7,900       10,179        5,806         7,995          7,968             8,559         8,719          8,676          7,487         10,079          10,405           7,155          7,123

 Net Operating Cash Flows                            4,312         954         5,478         2,418          1,623             1,333         1,071           (206)           478          (2,301)         (3,326)          (849)          (944)

 Non-Operating Disb/ (Receipts)
 Interest / Debt service                                 -         267             -             -              -               296             -              -              -            286               -               -              -
 Professional fees                                       -           -         2,845             -              -                 -         2,250              -          1,387              -           2,199               -              -
 Restructuring costs                                    44         585         2,044            44             44             1,208            44             44             44             44             622              44             44
  Total Non-Operating Disbursements                     44         852         4,889            44             44             1,504         2,294             44          1,431            331           2,821              44             44

 Total Net Disbursements                             7,944       11,032       10,695         8,039          8,012         10,063           11,013          8,720          8,917         10,409          13,225           7,199          7,167
  Net Cash Receipts(Disbursements)               $   4,268   $      102   $      589   $     2,374    $     1,579    $      (172) $        (1,223) $        (251) $        (953) $      (2,632) $       (6,146) $         (893) $        (988)

 Net Cash Balance
    Beginning Book Cash Balance                           -           -            -              -              -                -              -             -              -               -               -              -              -
    Net Cash Receipts(Disb)                           4,268         102          589          2,374          1,579             (172)        (1,223)         (251)          (953)         (2,632)         (6,146)          (893)          (988)
    Borrowings (paybacks)                            (4,268)       (102)        (589)        (2,374)        (1,579)             172          1,223           251            953           2,632           6,146            893            988
 Ending Book Balance                             $        - $         - $          - $            - $            - $              - $            - $           - $            - $             - $             - $            - $            -

 DIP Financing
 Beginning borrowing balance                          9,608       5,340        5,238          4,649          2,274             695            867          2,090          2,340          3,293           5,925          12,071         12,965
  Additional borrowings                                   -           -            -              -              -             172          1,223            251            953          2,632           6,146             893            988
  Paybacks / excess cash flow                        (4,268)       (102)        (589)        (2,374)        (1,579)              -              -              -              -              -               -               -              -
 Ending outstanding balance (excess cash)        $    5,340 $     5,238 $      4,649 $        2,274 $          695 $           867    $     2,090    $     2,340    $     3,293    $     5,925     $    12,071     $    12,965    $    13,952




                                                                                                                     Page 2
AMF Bowling Worldwide, Inc              Case 12-36495-KRH                           Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52            Desc Main
Cash Forecast
($ in 000s)                                                                              Document    Page 281 of 304
                                        Period        29              30             31             32              33              34
                                        Ending     05/26/13        06/02/13       06/09/13       06/16/13        06/23/13        06/30/13
 Total Cash Receipts                             $      6,236    $      6,567   $      7,340   $       6,759   $       7,167   $     11,796
 Operating Disbursements
 Food & Beverage                                         601             693            536             592             717             597
 Other AP                                                329             577            312             557             424             347
 Facilities                                              898             498            451             378             401             632
 iStar rent                                                -               -          2,389               -               -               -
 Other rent                                                -           1,321              -               -               -           1,321
 Utilities                                               509              85            112              27             546             891
 Payroll                                               3,356           1,819          3,184           1,901           3,363           1,594
 Qubica                                                  118             467             43             144              97              21
 Capex                                                   412             547            257             257             257             257
 Insurance                                                70              10             10              10              10           1,595
 Taxes                                                   865             258             36             243           1,071              33
 League transfers                                        629             648            643             624             628             631
  Total Operating Disbursements                        7,785           6,923          7,973           4,733           7,514           7,919

 Net Operating Cash Flows                              (1,549)          (356)          (634)          2,026            (347)          3,877

 Non-Operating Disb/ (Receipts)
 Interest / Debt service                                   -             296              -               -               -             286
 Professional fees                                         -               -          2,060               -               -           9,145
 Restructuring costs                                      44             641             44              44              44           1,376
  Total Non-Operating Disbursements                       44             937          2,104              44              44          10,806

 Total Net Disbursements                                7,829           7,860        10,077           4,777           7,558          18,725
  Net Cash Receipts(Disbursements)               $     (1,593) $       (1,293) $     (2,738) $        1,982    $       (392) $       (6,929)

 Net Cash Balance
    Beginning Book Cash Balance                             -               -              -               -              -               -
    Net Cash Receipts(Disb)                            (1,593)         (1,293)        (2,738)          1,982           (392)         (6,929)
    Borrowings (paybacks)                               1,593           1,293          2,738          (1,982)           392           6,929
 Ending Book Balance                             $          - $             - $            - $             - $            - $             -

 DIP Financing
 Beginning borrowing balance                          13,952          15,545         16,839          19,577          17,594          17,986
  Additional borrowings                                1,593           1,293          2,738               -             392           6,929
  Paybacks / excess cash flow                              -               -              -          (1,982)              -               -
 Ending outstanding balance (excess cash)        $    15,545     $    16,839    $    19,577    $     17,594 $        17,986    $     24,915




                                                                                                                      Page 3
Case 12-36495-KRH         Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                    Desc Main
                               Document    Page 282 of 304


                                               Exhibit G

                                     Form of Intercompany Note

                                                                                        No. ____

                                       INTERCOMPANY NOTE

                                                                                        [City of Closing]
                                                                                                   [Date]
$________________

         For value received, [PAYOR NAME], [PAYOR DESCRIPTION] (together with its successors
and permitted assigns, the “Payor”), hereby promise to pay on demand to the order of [PAYEE NAME],
[PAYEE DESCRIPTION] (together with its successors and permitted assigns, the “Payee”), the unpaid
principal amount of all loans and advances made by the Payee to the Payor. The Payor promises to pay
interest on the unpaid principal amount hereof from the date hereof until paid at such rate per annum as
shall be agreed upon from time to time by the Payor and the Payee. All such payments of principal and
interest shall be made without offset, counterclaim or deduction of any kind in lawful money of the
United States of America in immediately available funds at such location in the United States of America
as the Payee shall designate from time to time.

        Upon the occurrence and continuation of an Event of Default (as defined in the Credit
Agreement) and acceleration of any Obligations (as defined in the Credit Agreement), the unpaid
principal amount hereof shall become immediately due and payable without presentment, demand, protest
or notice of any kind, all of which are hereby waived by the Payor.

         The Payee is hereby authorized (but not required) to record all loans and advances made by it to
the Payor (all of which shall be evidenced by this Intercompany Note), and all repayments or
prepayments thereof, in its books and records, such books and records constituting prima facie evidence
of the accuracy of the information contained therein.

        This Intercompany Note is one of the Intercompany Notes referred to in the Senior Secured
Debtor-In-Possession Credit Agreement dated as of [___], 2012 (as amended, restated, modified or
supplemented, from time to time, the “Credit Agreement”), among Kingpin Intermediate Corp., AMF
Bowling Worldwide, Inc., the banks and other financial institutions from time to time party thereto and
Credit Suisse, Cayman Islands Branch, as Issuing Lender and DIP Agent. This Intercompany Note shall
be pledged by the Payee pursuant to the Credit Agreement. Each Payor hereby acknowledges and agrees
that the Collateral Agent pursuant to and as defined in the Pledge Agreement may exercise all rights
provided therein with respect to this Intercompany Note.
Case 12-36495-KRH      Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52   Desc Main
                            Document    Page 283 of 304


      THIS INTERCOMPANY NOTE SHALL BE GOVERNED BY AND CONSTRUED AND
INTERPRETED IN ACCORDANCE WITH THE INTERNAL LAWS OF THE STATE OF NEW
YORK (INCLUDING WITHOUT LIMITATION SECTION 5-1401 OF THE GENERAL
OBLIGATIONS LAW OF THE STATE OF NEW YORK), WITHOUT REGARD TO CONFLICTS OF
LAWS PRINCIPLES.


                                            [PAYOR NAME]

                                            By.
                                            Name:
                                            Its:


Pay to the order of:

[PAYEE NAME]


By.
Name:
Its:
Case 12-36495-KRH       Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                 Desc Main
                             Document    Page 284 of 304


                                            Exhibit H

                     Form of Intercompany Note Subordination Provisions

EACH PROMISSORY NOTE EVIDENCING AN INTERCOMPANY LOAN OR ADVANCE
INCURRED BY THE BORROWER OR A WHOLLY-OWNED DOMESTIC SUBSIDIARY OF THE
BORROWER OWING TO ANY FOREIGN SUBSIDIARY OF THE BORROWER OR ANY NON-
WHOLLY-OWNED SUBSIDIARY OF THE BORROWER SHALL HAVE INCLUDED ON ITS FACE
THE FOLLOWING PROVISION AND SHALL HAVE “ANNEX A TO INTERCOMPANY NOTE”
ATTACHED THERETO AND MADE A PART THEREOF.

      “This Intercompany Note, and the obligations of the Payor hereunder, shall be subordinate
      and junior in right of payment to all Senior Debt (as defined in Section 1 of Annex A hereto)
      on the terms and conditions set forth in Annex A hereto. Annex A hereto is incorporated
      herein by reference in its entirety and is a part of this Intercompany Note to the same extent
      as if it had been set forth in its entirety in this Intercompany Note.”
Case 12-36495-KRH          Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                       Desc Main
                                Document    Page 285 of 304


                                             ANNEXA
                                               TO
                                       INTERCOMPANY NOTE

        Section 1.       Definitions. Capitalized terms defined in the Credit Agreement (as defined in the
promissory note to which this Annex A is attached (the “Intercompany Note”) and not otherwise defined
herein have, as used in this Annex A, the respective meanings provided for therein. The following
additional terms, as used herein, have the following respective meanings:

         “Senior Debt” means the DIP Obligations, including any DIP Obligations the proceeds of which
are used to refinance other DIP Obligations, in each case whether now owed or hereafter arising, whether
fixed or contingent, whether for principal, premium (if any), interest (including, without limitation, any
interest which accrues after the commencement of any case, proceeding or other action relating to the
bankruptcy, insolvency or reorganization of any Loan Party), expenses, indemnifications, reimbursement
obligations or otherwise, together with all renewals, extensions, increases or rearrangements thereof.

        “Subordinated Debt” means all principal of and interest on all obligations, liabilities and
indebtedness of the Payor now or hereafter owing to the Payee or any other holder from time to time of
the Intercompany Note under the Intercompany Note, whether fixed or contingent and whether for
principal, interest (including, without limitation, any interest which accrues after the commencement of
any case, proceeding or other action relating to the bankruptcy, insolvency or reorganization of the Payor,
whether or not allowed or allowable as a claim in any such proceeding), fees, expenses, indemnifications,
reimbursement obligations, subrogation or contribution claims or otherwise, together with all renewals,
extensions, increases or rearrangements thereof.

         Section 2.      Subordination by the Payee. Each of the Payee and each other holder from time
to time of the Intercompany Note by its acceptance thereof hereby covenants and agrees that the payment
of the Subordinated Debt shall be subordinate and subject in right of payment, to the extent set forth
herein, to the prior payment in full of the Senior Debt. The provisions of this Annex A shall constitute a
continuing offer to all Persons who, in reliance upon such provisions, become holders of, or continue to
hold, Senior Debt, and such provisions are made for the benefit of the holders of the Senior Debt. The
holders of the Senior Debt are hereby made obligees hereunder with the same force and effect as if their
names were written herein as such, and they and/or each of them may proceed to enforce such provisions.

        Section 3.      Priority and Payment Over in Certain Events.

        (a)     Priority and Payment Over Upon Acceleration. In the event of the occurrence and
continuation of an Event of Default and acceleration of the Obligations, then and in any such event:

                 (i)      the holders of the Senior Debt shall be entitled to receive payment in full of all
        amounts due or to become due on or in respect of all Senior Debt before the Payee shall be
        entitled to receive and retain any direct or indirect payment on account of the principal, interest or
        other amounts due or to become due on the Subordinated Debt, including, without limitation, by
        exercise of any right of set off and any payment which might be payable or deliverable by reason
        of any other indebtedness being subordinated in right of payment to the Subordinated Debt (other
        than in the form of securities permitted to be paid in accordance with the first parenthetical in
        clause (ii) below);

                  (ii) any payment or distribution of any kind or character, whether in cash, property or
        securities which may be payable or deliverable in respect of the Subordinated Debt, including any
        such payment or distribution which may be payable or deliverable by reason of the payment of
Case 12-36495-KRH           Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                      Desc Main
                                 Document    Page 286 of 304


        any other indebtedness of the Payor which is subordinated to the payment of the Subordinated
        Debt (except for any such payment or distribution (each an “Excepted Payment”)) (A) authorized
        by an unstayed, final, nonappealable order or decree stating that effect is being given to the
        subordination of the Subordinated Debt to the Senior Debt and made by a court of competent
        jurisdiction in a reorganization proceeding under any applicable bankruptcy law and (B) of
        securities which, if debt securities, are subordinated to at least the same extent as the
        Subordinated Debt is to (y) the Senior Debt or (z) any securities issued in exchange for the Senior
        Debt; provided, however, that (i) the final maturity date of such securities shall not be earlier than
        one year following the maturity date of the last to mature of the Senior Debt (including any
        securities issued in exchange therefor) at the time outstanding, (ii) such securities shall contain
        covenants and shall not contain greater defaults than as are contained in such instruments and (iii)
        such securities shall bear interest at a rate per annum less than or equal to 3% per annum), shall
        be paid by the Payor or by the trustee in bankruptcy, debtor-in-possession, receiver, liquidating
        trustee, custodian, assignee, agent or other Person making payment or distribution of assets of the
        Payor directly to the DIP Agent (or all of the Secured Parties, as applicable) to the extent
        necessary to pay all Senior Debt in full after giving effect to any concurrent payment or
        distribution to or for the benefit of the holders of the Senior Debt.

                 The consolidation of the Payor with, or the merger of the Payor into, another Person or
the liquidation or dissolution of the Payor following the conveyance or transfer of its assets substantially
as an entirety to another Person upon terms and conditions permitted under the Credit Agreement shall
not be deemed a dissolution, winding up, liquidation, reorganization, assignment for the benefit of
creditors or marshaling of assets and liabilities of the Payor for purposes of this Section 3(a) if the Person
formed by such consolidation or into which the Payor is merged or the Person which acquires by
conveyance or transfer such property and assets substantially as an entirety, as the case may be, shall
comply with the conditions set forth in the Credit Agreement as a prerequisite for such consolidation,
merger, conveyance or transfer.

        (b)     Payment on Subordinated Debt Suspended When Senior Debt is in Default. In the event
and during the continuation of any Default or Event of Default under the Credit Agreement or under any
other agreement or instrument evidencing or securing any Senior Debt, then unless and until such Default
or Event of Default shall have been cured or waived or shall have ceased to exist and any resulting
acceleration shall have been rescinded or annulled, or in the event any judicial proceeding shall be
pending with respect to any such Default or Event of Default, then no direct or indirect payment,
including any payment which may be payable by reason of the payment of any other indebtedness of the
Borrower which is subordinated to the payment of the Subordinated Debt) (but excluding any Excepted
Payment), shall be made by or on behalf of the Payor on account of the principal of or interest on the
Subordinated Debt or on account of the purchase or other acquisition by it of the Subordinated Debt. The
provisions of this Section 3(b) shall not apply to any payment with respect to which Section 3(a) would
be applicable.

         (c)    Rights and Obligations of the Payees. If, notwithstanding the foregoing provisions of this
Section 3, any Payee or other holder of the Subordinated Debt shall have received any payment or
distribution of assets of the Payor of any kind or character, whether in cash, property or securities,
including any such payment or distribution which may be payable or deliverable by reason of the payment
of any other indebtedness of the Payor which is subordinated to the payment of the Subordinated Debt
(but excluding any Excepted Payment), before all amounts due or to become due on or in respect of all
Senior Debt have been irrevocably paid in full, then and in such event such payment or distribution shall
be received in trust for the Secured Parties and other holders of the Senior Debt and shall be forthwith
paid over or delivered by the Payee or other holder of the Subordinated Debt receiving the same directly
to the DIP Agent (or the Secured Parties) or, to the extent legally required, to the trustee in bankruptcy,
Case 12-36495-KRH           Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                      Desc Main
                                 Document    Page 287 of 304


debtor-in-possession, receiver, liquidating trustee, custodian, assignee, agent or other Person making such
payment or distribution of assets of the Payor, for application to the payment of all Senior Debt remaining
unpaid to the extent necessary to pay all Senior Debt in full after giving effect to any concurrent payment
or distribution to or for the benefit of the holders of the Senior Debt.

         Section 4.       Rights of the Secured Parties Not to be Impaired. No right of the DIP Agent
or any other Secured Party or any other present or future holder of the Senior Debt to enforce
subordination as herein provided shall at any time in any way be prejudiced or impaired by any act or
failure to act in good faith by the DIP Agent or any other such Secured Party or other holder of the Senior
Debt or by any noncompliance by any Payee with the terms and provisions and covenants herein
regardless of any knowledge thereof the DIP Agent or any other such Secured Party or other holder may
have or otherwise be charged with. The holders of the Senior Debt may, without in any way affecting the
obligations of the Payee or any other holder of the Subordinated Debt with respect thereto, at any time or
from time to time in their absolute discretion, change the manner, place or terms or payment of, change or
extend the time or payment of or renew or alter any Senior Debt, or amend, supplement or modify any
agreement or instrument governing or evidencing such Senior Debt or any other document referred to
therein, or exercise or refrain from exercising any other of their rights under the Senior Debt including,
without limitation, the waiver of any Default or Event of Default thereunder and the release of any
collateral securing such Senior Debt, all without notice to or assent from the Payee or any other holder of
the Subordinated Debt. The provisions of this Annex A are intended to be for the benefit of the Secured
Parties and each other holder of the Senior Debt and shall be enforceable directly by the DIP Agent or
other Secured Parties, as applicable, or any other present or future holder or holders of the Senior Debt.

         Section 5.       Restriction on Assignment of Subordinated Debt. The Payee and each other
holder from time to time of the Subordinated Debt by its acceptance thereof agrees not to sell, assign or
transfer all or any part of the Subordinated Debt while any Senior Debt remains unpaid unless such sale,
assignment or transfer is made expressly subject to the provisions of this Annex A. The Payee represents
that no other subordination of the Subordinated Debt is in existence on the date hereof, and the Payee
agrees that the Subordinated Debt will not be subordinated to any indebtedness other than the Senior Debt.

        Section 6.     Reliance on Subordination. The Payee and each other holder from time to time
of the Subordinated Debt by its acceptance thereof consents and agrees that all Senior Debt shall be
deemed to have been made or incurred at the request of the Payee and all other holders from time to time
of the Subordinated Debt and in reliance upon the subordination of the Subordinated Debt pursuant to this
Annex A.

         Section 7. Actions Against the Payor; Exercise of Remedies. Neither the Payee nor any other
holder of the Subordinated Debt will (i) commence (unless the DIP Agent or other Secured Parties, as
applicable, or other holders of the Senior Debt shall have commenced) any action or proceeding against
the Payor to recover all or any part of the Subordinated Debt or (ii) join with any creditor (unless the DIP
Agent or other Secured Parties, as applicable, or other holders of the Senior Debt shall also join) in
bringing any proceeding against the Payor under the United States Bankruptcy Code or any other state,
federal or foreign insolvency statute unless and until, in each case, the Senior Debt shall have been
irrevocably paid in full. Neither the Payee nor any other holder of the Subordinated Debt will ask,
demand, sue for, take or receive from the Payor, directly or indirectly, in cash, property or securities or by
set off or in any other manner (including, without limitation, from or by way of attachment or seizure of
or foreclosure upon any property or assets of the Payor which may now or hereafter constitute collateral
for any Subordinated Debt), payment of all or any part of the Subordinated Debt if an Event of Default
shall have occurred and be continuing under the Credit Agreement or under any other agreement or
instrument evidencing or securing the Senior Debt unless and until all Senior Debt shall have been
Case 12-36495-KRH          Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                     Desc Main
                                Document    Page 288 of 304


irrevocably paid in full or the benefits of this sentence waived by or on behalf of the Secured Parties or
the other holder or holders of the Senior Debt.

         Section 8.      Subrogation. The Payee or other holder from time to time of the Subordinated
Debt shall be subrogated to the rights of the holders of the Senior Debt to receive payments or
distributions of assets of the Payor applicable to the Senior Debt until all amounts owing on the
Subordinated Debt has been paid in full; provided that neither the Payee nor any other holder of the
Subordinated Debt shall enforce any payment by way of subrogation (whether contractual, under Section
509 of the United States Bankruptcy Code or otherwise) until the Commitments have been terminated and
the principal of and interest on the Notes and all other amounts payable under or with respect to the
Senior Debt have been irrevocably paid in full. For the purposes of the rights of subrogation set forth in
this Section 8, no payments or distributions to any Secured Party or other holder or holders of the Senior
Debt of any cash, property or securities to which the Payee or other holder or holders of the Subordinated
Debt would be entitled but for the provisions of this Annex A, and no payments over pursuant to the
provisions of this Annex A to any Secured Party or other holder or holders of the Senior Debt by the
Payee or other holder or holders of the Subordinated Debt, shall, as among the Payor, its creditors (other
than the Secured Parties and any other holder or holders of the Senior Debt) and the Payee and other
holder or holders of the Subordinated Debt, be deemed to be a payment or distribution by the Payor to or
on account of the Senior Debt, it being understood that the provisions of this Annex A are
solely for the purpose of defining the relative rights of the Secured Parties or any other holder or holders
of the
Senior Debt and the Payee and any other holder or holders of the Subordinated Debt.

         If any payment or distribution to which the Payee or other holder or holders of the Subordinated
Debt would otherwise have been entitled but for the provisions of this Annex A shall have been applied,
pursuant to the provisions of this Annex A, to the payment of all amounts payable under the Senior Debt,
then the Payee or other holder or holders of the Subordinated Debt shall be entitled to receive from the
Secured Parties or other holder or holders of the Senior Debt at the time outstanding any payments or
distributions received by the Secured Parties or such holder or holders of the Senior Debt in excess of the
amount sufficient to irrevocably pay all amounts under or in respect of the Senior Debt in full.

         Section 9.      Waiver of UCC Provisions. If any applicable provisions of the Uniform
Commercial Code as in effect in the State of New York or any other relevant jurisdiction (the “UCC”)
requires the DIP Agent, the Collateral Agent or any other Secured Party or holder of the Senior Debt or
any representative thereof to notify the Payee or other holder of the Subordinated Debt that the DIP Agent,
the Collateral Agent or such other Secured Party or holder or representative thereof will foreclose or
otherwise realize upon any collateral or other property provided to secure the Senior Debt, whether
pursuant to Article 5 of the UCC or otherwise, the Payee and each other holder from time to time of the
Subordinated Debt by its acceptance thereof hereby waives, to the extent permitted by applicable law, all
such required notice(s) and, to the extent such requirement of notice may not be waived under applicable
law, agrees that five Business Days' written notice of any such foreclosure or other realization shall be
commercially reasonable. The Payee and each other holder from time to time of the Subordinated Debt by
its acceptance thereof further waives, to the extent permitted by applicable law, any and all rights it may
have to require the DIP Agent, the Collateral Agent or any other Secured Party or other holder of the
Senior Debt or representative thereof to marshal any collateral or other property provided as security for
the Senior Debt and any and all other rights and remedies now or hereafter available to the Payee or such
other holder of the Subordinated Debt under Section 9-504 of the UCC. The Payee and each other holder
from time to time of the Subordinated Debt by its acceptance thereof agrees that the DIP Agent, the
Collateral Agent and any other Secured Party or holder of the Senior Debt or representative thereof may
sell inventory that constitutes collateral or other security for any Senior Debt pursuant to a repurchase
agreement, that such sale shall not be deemed a transfer subject to Section 9-504(5) of the UCC or any
Case 12-36495-KRH           Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                       Desc Main
                                 Document    Page 289 of 304


similar provisions of any other applicable law (such provisions, to the extent otherwise applicable to such
sale, being hereby waived), and that the repurchase of inventory by a seller under a repurchase agreement
shall be a commercially reasonable method of disposition.

         Section 10.       Proofs of Claim. The Payee and each other holder from time to time of
Subordinated Debt may file such proofs of claim and other papers or documents as may be necessary or
advisable in order to have the claims of the Payee or such other holder allowed in any judicial
proceedings relative to the Payor, its creditors or its property. If the Payor or any other holder from time
to time of Subordinated Debt files any claim, proof of claim or similar instrument in any judicial
proceeding referred to above and all Senior Debt has not been irrevocably paid in full, the Payor or such
other holder shall (i) file such claim, proof of claim or similar instrument on behalf of the other holder or
holders of the Senior Debt as such Secured Parties' or other holder's or holders' interests may appear and
(ii) take all such other actions as may be appropriate to ensure that all payments and distributions made in
respect of any such proceedings are made to the DIP Agent or other Secured Parties, as applicable, and
any other holder or holders of the Senior Debt as its or their interests may appear.

         Any term or provision of this Section 10 to the contrary notwithstanding, if any judicial
proceeding referred to above is commenced by or against the Payor, and so long as all Senior Debt has
not been irrevocably paid in full: (i) the DIP Agent, the Secured Parties, or any other holder or holders of
the Senior Debt or representatives thereof are hereby irrevocably authorized and empowered (in each case,
in its own name, as administrative agent or representative on behalf of the Secured Parties or in the name
of the Payee or any other holder or holders from time to time of the Subordinated Debt or otherwise), but
shall have no obligation, to (A) demand, sue for, collect and receive every payment or distribution
received in respect of any such proceeding and give acquittance therefor and to file claims and proofs of
claims and (B) exercise any voting rights otherwise attributable to the Payee or other holders of the
Subordinated Debt in any such proceeding; (ii) the Payee or such other holder or holders of the
Subordinated Debt shall duly and promptly take, for the account of the Secured Parties and any other
holders or holders of the Senior Debt, such action as the DIP Agent, the Secured Parties or other holder or
holders of the Senior Debt or representatives thereof may request to collect all amounts payable by the
Payor in respect of the Subordinated Debt and to file the appropriate claims or proofs of claim in respect
of the Subordinated Debt; and (iii) the Payee and each other holder of Subordinated Debt shall, at the
request of the DIP Agent, the Secured Parties or other holder or holders of the Senior Debt or
representatives thereof duly and promptly consent to or join in or stipulate its agreement with any action
or position which the Secured Parties and each other holder of the Senior Debt may take in any such
judicial proceeding referred to above, including, without limitation, such actions and positions as the
Secured Parties may take with respect to requests for relief from the automatic stay, for authority to use
cash collateral or to use, sell or lease other property of the estate, for assumption, assignment or rejection
of any executory contract and to obtain credit. The Payee and each other holder from time to time of
Subordinated Debt by its acceptance thereof hereby appoints the DIP Agent, the Collateral Agent or the
other Secured Parties, as applicable, or other holder or holders of the Senior Debt or representatives
thereof as its agent(s) and attorney(s) in fact, all acts of such attorney(s) being hereby ratified and
confirmed and such appointment(s), being coupled with an interest, being irrevocable until the Senior
Debt is irrevocably paid in full, to exercise the rights and file the claims referred to in this Section 10 and
to execute and deliver any documentation necessary for the exercise of such rights or to file such claims.
Notwithstanding anything to the contrary contained herein, neither the Payee nor any other holder of
Subordinated Debt shall file any claim or take any action which competes or interferes with the rights and
interests of the Secured Parties or any other holders of the Senior Debt under the Credit Agreement and
other DIP Loan Documents or any other agreement or instrument evidencing or securing the Senior Debt.
Until the Senior Debt has been irrevocably paid in full, neither the Payee nor any other holder of the
Subordinated Debt will (in any proceeding of the type described in Section 2(a)) discharge all or any
portion of the obligations of the Payor in respect of the Subordinated Debt, whether by forgiveness,
Case 12-36495-KRH           Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                      Desc Main
                                 Document    Page 290 of 304


receipt of capital stock, exercise of conversion privileges or otherwise, without the prior written consent
of the DIP Agent or the other Secured Parties, as applicable.

          Section 11.     Obligation of the Payor Unconditional. Nothing contained in this Annex A or
in the Intercompany Note is intended to or shall impair, as between the Payor and the holder of the
Intercompany Note, the obligation of the Payor, which is absolute and unconditional, to pay to the holder
of the Intercompany Note the principal of and interest on the Intercompany Note as and when the same
shall become due and payable in accordance with their terms, or is intended to or shall affect the relative
rights of the holder of the Intercompany Note and creditors of the Payor other than the holders of the
Senior Debt, nor shall anything herein or therein, except as expressly provided, prevent the holder of the
Intercompany Note from exercising all remedies otherwise permitted by applicable law, subject to the
rights, if any, under this Annex A of the holders of Senior Debt in respect of cash, property, or securities
of the Payor received upon the exercise of any such remedy. Upon any distribution of assets of the Payor
referred to in this Annex A, the holder of the Intercompany Note shall be entitled to rely upon any order
or decree made by any court of competent jurisdiction in which such dissolution, winding up, liquidation
or reorganization proceedings are pending, or a certificate of the liquidating trustee or agent or other
Person making any distribution to the holder of the Intercompany Note, for the purpose of ascertaining
the Persons entitled to participate in such distribution, the holders of the Senior Debt and other
indebtedness of the Payor, the amount thereof or payable thereon, the amount or amounts paid or
distributed thereon and all other facts pertinent thereto or to this Annex A.

         Section 12.    Reinstatements in Certain Circumstances. If, at any time, all or part of any
payment with respect to Senior Debt theretofore made by the Payor or any other Person is rescinded or
must otherwise be returned by the holders of Senior Debt for any reason whatsoever (including, without
limitation, the insolvency, bankruptcy or reorganization of Payor or such other Persons), the
subordination provisions set forth herein shall continue to be effective or be reinstated, as the case may be,
all as though such payment had not been made.
Case 12-36495-KRH           Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                       Desc Main
                                 Document    Page 291 of 304


                                                  Exhibit I

                                Form of Loan Party Accession Agreement

              LOAN PARTY ACCESSION AGREEMENT dated as of [___] among AMF
        BOWLING WORLDWIDE, INC., the NEW LOAN PARTY referred to herein and CREDIT
        SUISSE, CAYMAN ISLANDS BRANCH, as DIP Agent and Collateral Agent.

        AMF Bowling Worldwide, Inc., a Delaware corporation (together with its successors and
permitted assigns, the “Borrower”), entered into a Senior Secured Debtor-In-Possession Credit
Agreement dated as of November [__], 2012 (as amended, restated, modified or supplemented, from time
to time, the “Credit Agreement”) among Kingpin Intermediate Corp. (“Holdings”), Borrower, the banks
and other lending institutions from time to time party thereto and Credit Suisse, Cayman Islands Branch,
as Issuing Lender and DIP Agent. Capitalized terms defined in the Credit Agreement and not otherwise
defined herein have, as used herein, the respective meanings provided for therein.

        [New Loan Party Name], [New Loan Party Description] (the “New Loan Party”), was [formed]
[acquired] by [the Borrower] [Name of Immediate Parent Company], [Description of Immediate Parent
Company] and is a [Wholly-Owned] Subsidiary of the Borrower], [DESCRIBE FORMATION OR
ACQUISITION TRANSACTION, AS APPLICABLE].

         Section 6.10 of the Credit Agreement requires each Subsidiary (other than certain Foreign
Subsidiaries, the Qubica Joint Venture and non-Wholly-Owned Liquor License Subsidiaries) formed or
acquired by Holdings or the Borrower or any of their respective Subsidiaries after the Closing Date to
become an additional “Guarantor” and a “Loan Party” to the Credit Agreement. To induce the Lenders
to make or maintain extensions of credit to the Borrower under the Credit Agreement and the other DIP
Loan Documents referred to therein, and as consideration for extensions of credit previously made to the
Borrower, the New Loan Party has agreed to execute and deliver this Loan Party Accession Agreement
(as the same may be amended, supplemented or modified from time to time, this “Agreement”) in order to
evidence its agreement to become a “Guarantor” and a “Loan Party” under the Credit Agreement.
Accordingly, the parties hereto agree as follows:

        Section 1.       Joinder. In accordance with Section 6.10 of the Agreement, the New Loan
Party hereby: (i) agrees that, by execution and delivery of a counterpart signature page to the Credit
Agreement in the form attached hereto, the New Loan Party shall become a “Guarantor” and a “Loan
Party” under the Credit Agreement with the same force and effect as if originally named therein, (ii)
acknowledged receipt of a copy of and agrees to be obligated and bound as a “Guarantor” and a “Loan
Party” by all of the terms and provisions of the Credit Agreement, (iii) grants to the Collateral Agent for
the benefit of the Secured Parties a continuing security interest in the Collateral, in each case to secure the
full and punctual payment of the Obligations in accordance with the terms thereof and to secure the
performance of all of the obligations of each Loan Party under the Credit Agreement and the other DIP
Loan Documents and (iv) acknowledges and agrees that, from and after the date hereof, each reference in
the Credit Agreement a “Guarantor” or a “Loan Party” shall be deemed to include the New Loan Party.
The New Loan Party hereby waives acceptance by the DIP Agent and the Secured Parties of the
guarantee by the New Loan Party under the Credit Agreement upon the execution and delivery by each of
the New Loan Party of the counterpart signature referred to herein.

        Section 2.       Representations and Warranties. The New Loan Party hereby represents and
warrants that:
Case 12-36495-KRH          Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                     Desc Main
                                Document    Page 292 of 304


        (a)     This Agreement has been duly authorized, executed and delivered by the New Loan Party,
and each of this Agreement, the Credit Agreement and each of the other DIP Loan Documents to which
the New Loan Party is a party, as acceded to hereby by the New Loan Party, constitutes a valid and
binding agreement of the New Loan Party, enforceable against the New Loan Party in accordance with its
terms, except in each case as such enforceability may be limited by bankruptcy, insolvency,
reorganization, moratorium or similar laws affecting the enforceability of creditors' rights generally and
by equitable principles of general applicability (regardless of whether such enforceability is considered in
a proceeding in equity or at law).

        (b)     Each of the representations and warranties contained in the Credit Agreement and each of
the other DIP Loan Documents to which the New Loan Party is a party is true and correct in all material
respects as of the date hereof (unless they specifically relate back to an earlier date, then such
representations and warranties are true and correct as of such date), with the same effect as though such
representations and warranties had been made on and as of the date hereof after giving effect to the
accession of the New Loan Party as an additional “Guarantor” and an additional “Loan Party” under the
Credit Agreement.

       (c)    Attached hereto as Exhibit A is a correct and complete Perfection Certificate relating to
the New Loan Party and its Collateral.

        Section 3.      Effectiveness. This Agreement and the accession of the New Loan Party to the
Credit Agreement as provided herein shall become effective with respect to the New Loan Party when (i)
the DIP Agent shall have received a counterpart of this Agreement duly executed by such New Loan
Party and (ii) the DIP Agent and/or the Collateral Agent, as applicable, shall have received a duly
executed counterpart signature pages to the Credit Agreement as contemplated hereby.

        Section 4.       Integration; Confirmation.        On and after the date hereof, the Credit
Agreement and the schedules thereto shall be supplemented as expressly set forth herein; all other terms
and provisions of each of the Credit Agreement and the other DIP Loan Documents and the respective
schedules thereto shall continue in full force and effect and unchanged and are hereby confirmed in all
respects.

        Section 5.       Expenses. The New Loan Party agrees to pay (i) all out-of-pocket expenses of
the Agents, including reasonable and documented fees and disbursements of special and local counsel for
the Agents, in connection with the preparation, execution and delivery of this Agreement and any
document or agreement contemplated hereby and (ii) all taxes which the Collateral Agent or any Secured
Party may be required to pay by reason of the security interests granted in the Collateral (including any
applicable transfer taxes).

      Section 6.  GOVERNING LAW. THIS AGREEMENT AND THE RIGHTS AND
OBLIGATIONS OF THE PARTIES HEREUNDER SHALL BE GOVERNED BY AND CONSTRUED
AND INTERPRETED IN ACCORDANCE WITH THE LAWS OF THE STATE OF NEW YORK
(INCLUDING, WITHOUT LIMITATION, SECTION 5-1401 OF THE GENERAL OBLIGATIONS
LAW OF THE STATE OF NEW YORK), WITHOUT REGARD TO CONFLICTS OF LAWS
PRINCIPLES, EXCEPT AS OTHERWISE REQUIRED BY MANDATORY PROVISIONS OF LAW.

         Section 7.      Counterparts. This Agreement may be signed in any number of counterparts,
each of which shall be an original, with the same effect as if the signatures thereto and hereto were upon
the same instrument. This Agreement may be transmitted and/or signed by facsimile and if so transmitted
or signed, shall, subject to requirements of law, have the same force and effect as a manually signed
original and shall be binding on the New Loan Party, the Agents and the Secured Parties. The DIP Agent
Case 12-36495-KRH          Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                     Desc Main
                                Document    Page 293 of 304


may also require that this Agreement be confirmed by a manually signed original hereof; provided,
however, that the failure to request or deliver the same shall not limit the effectiveness of any facsimile
document or signature.

                                      [Signature Pages to Follow]
Case 12-36495-KRH        Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52               Desc Main
                              Document    Page 294 of 304


         IN WITNESS WHEREOF, the parties hereto have caused this Agreement to be duly executed by
their respective authorized officers as of the day and year first above written.


                                                    AMF BOWLING WORLDWIDE, INC.


                                                    By.
                                                    Name:
                                                    Its:



                                                    [NEW LOAN PARTY NAME]


                                                    By.
                                                    Name:
                                                    Its:

                                                    Credit Suisse, Cayman Islands Branch, as
                                                    DIP Agent and Collateral Agent


                                                    By.
                                                    Name:
                                                    Its:



                                                    By.
                                                    Name:
                                                    Its:
Case 12-36495-KRH   Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52   Desc Main
                         Document    Page 295 of 304


                                  EXHIBIT A

                          PERFECTION CERTIFICATE
Case 12-36495-KRH   Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52   Desc Main
                         Document    Page 296 of 304


                                    Exhibit L

                          Form of Secretary’s Certificate
Case 12-36495-KRH       Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52                Desc Main
                             Document    Page 297 of 304



                                   [NAME OF COMPANY]

                              SECRETARY’S CERTIFICATE

                                    NOVEMBER __, 2012

       I, __________________, hereby certify that I am the duly elected, qualified and acting
Secretary of __________________, a __________________ (the “Company”) and am
authorized to execute this Certificate on behalf of the Company. This Certificate is delivered
pursuant to the Senior Secured Debtor-In-Possession Credit Agreement (the “Agreement”) dated
as of the date hereof, among Kingpin Holdings, LLC, a Delaware limited liability company,
Kingpin Intermediate Corp., a Delaware corporation, AMF Bowling Worldwide, Inc., a
Delaware corporation and a debtor and a debtor-in-possession under Chapter 11 of the
Bankruptcy Code, each of the other Loan Parties party thereto, as debtors and debtors-in-
possession under Chapter 11 of the Bankruptcy Code, the banks, other financial institutions and
other Persons from time to time party thereto (the “DIP Lenders”) and Credit Suisse, Cayman
Islands Branch, as Issuing Lender and DIP Agent. Capitalized terms used herein but not
otherwise defined shall have the meanings set forth in the Agreement.

       Solely in my capacity as __________________ of the Company and not in my individual
capacity, I certify as of the date hereof that:

               (a)    Attached hereto as Exhibit A is a true, accurate and complete copy of the
       Certificate of Formation of the Company (including any amendments thereto, the
       “Charter”). Except as attached hereto, no document with respect to an amendment
       thereto has been filed in the office of __________________, and no actions have been
       taken by the Company in contemplation of the dissolution, liquidation, bankruptcy,
       receivership, merger or consolidation of the Company. The Charter of the Company has
       not been modified or amended, except as shown, rescinded or revoked, and is in full force
       and effect.

              (b)    Attached hereto as Exhibit B is a true, accurate and complete copy of the
       amended and restated __________________ of the Company (including any further
       amendments thereto, the “Operating Agreement”) in effect as of the date hereof. The
       Operating Agreement of the Company have not been modified or amended, except as
       shown, rescinded or revoked, and are in full force and effect.

               (c)     Attached hereto as Exhibit C is a true, accurate and complete copy of the
       resolutions duly adopted by the managers (the “Managers”), of the Company approving
       and authorizing the execution, delivery and performance of the Agreement and the other
       DIP Loan Documents to be entered into or delivered by the Company and each of the
       other agreements, instruments, certificates and documents contemplated thereby, and the
       consummation of all of the other transactions contemplated thereby. Such resolutions
       have not been amended, rescinded, revoked or modified since their adoption and remain
       in full force and effect as of the date hereof and there are no inconsistent or conflicting
       resolutions that have been adopted by the Managers of the Company.
Case 12-36495-KRH      Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52               Desc Main
                            Document    Page 298 of 304



              (d)    The persons whose names appear on Exhibit D hereto are as of the date
      hereof duly elected, qualified and acting officers of the Company occupying the offices
      set forth adjacent to their respective names on Exhibit D, and the signatures set forth
      adjacent to their respective names are their true signatures, and each such officer is and
      was at the time of signing duly authorized and empowered to execute and deliver on
      behalf of the Company the Agreement and the other DIP Loan Documents to which the
      Company is a party, and each of the other agreements, instruments, certificates and
      documents contemplated thereby and to act as an authorized officer on behalf of the
      Company under the Agreement, the other DIP Loan Documents and each of the other
      agreements, instruments, certificates and documents contemplated thereby.

             (e)    Attached hereto as Exhibit E is a copy of a written confirmation from the
      office of __________________ of the Company, dated as of a recent date herewith,
      confirming that the Company is in good standing in __________________.
Case 12-36495-KRH     Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52          Desc Main
                           Document    Page 299 of 304



        IN WITNESS WHEREOF, I have hereunto set my hand on behalf of the Company as of
the date hereof.


                                         By:    ______________________________
                                         Name:
                                         Title:


              The undersigned, being the duly elected and qualified __________________ of
the Company, hereby certifies that __________________ is the duly elected and qualified
Secretary of the Company and that the foregoing signature appearing above his name is his
genuine signature.


        IN WITNESS WHEREOF, I have hereunto set my hand on behalf of the Company as of
the date hereof.


                                         By:    ______________________________
                                         Name:
                                         Title:




                                   Secretary’s Certificate
Case 12-36495-KRH   Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52   Desc Main
                         Document    Page 300 of 304



                                  Exhibit A

                                   Charter

                                   Attached.
Case 12-36495-KRH   Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52   Desc Main
                         Document    Page 301 of 304




                                  Exhibit B

                             Operating Agreement


                                   Attached.
Case 12-36495-KRH   Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52   Desc Main
                         Document    Page 302 of 304




                                  Exhibit C

                                  Resolutions


                                   Attached.
Case 12-36495-KRH   Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52     Desc Main
                         Document    Page 303 of 304



                                    Exhibit D


                                  Incumbency



      Name                      Office                           Signature



                                                        ____________________________



                                                        ____________________________


                               Secretary
                                                        ____________________________




                               Incumbency Certificate
Case 12-36495-KRH   Doc 72 Filed 11/14/12 Entered 11/14/12 16:18:52   Desc Main
                         Document    Page 304 of 304



                                  EXHIBIT E
                          Certificate of Good Standing
